Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 1 of 235 PageID
                                    2365


     · · · · · · · · UNITED STATES DISTRICT COURT
     · · · · · · · · ·MIDDLE DISTRICT OF FLORIDA
     · · · · · · · · · · · ·OCALA DIVISION

     · · · · · · · · · CASE NO:· 5:23-cv-00661


     KRYSTI MERCHANT, as Personal
     Representative for the Estate of
     Cory Merchant, Deceased,

     · · · · · · · ·Plaintiff,

     vs.

     BILLY WOODS, Sheriff of Marion County,
     Florida, in his official capacity;
     Deputy Justin Kosinski;
     Deputy Dellun Miller,
     Sergeant Jerome Dukes,

     · · · · · · · ·Defendants.
     _________________________________________/

     · · · · · · · · · · · · ·All participants appearing
     · · · · · · · · · · · · ·via videoconference and/or
     · · · · · · · · · · · · ·teleconference

     · · · · · · · · · · · · ·Friday, April 4, 2025

     · · · · · · · · · · · · ·11:03 a.m. (EST) - 2:36 p.m. (EST)




     · · · · · · · · · · · VIDEOCONFERENCED

     · · · · · · · · · · · ·DEPOSITION OF:

     · · · · · · · · · · · · PAUL M. ADEE




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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 2 of 235 PageID
                                    2366
                                                                                     2

     A P P E A R A N C E S:

     · · ·SAM HARTON, ATTORNEY AT LAW
     · · ·Romanucci and Blandin, LLC
     · · ·321 North Clark Street, Suite 900
     · · ·Chicago, Illinois· ·60654

     · · · · · Appearing by videoconference on behalf
     · · · · · of the Plaintiff

     · · ·BRUCE R. BOGAN, ATTORNEY AT LAW
     · · ·Hilyard, Bogan & Palmer, P.A.
     · · ·105 East Robinson Street, Suite 201
     · · ·Orlando, Florida· ·32801

     · · · · · Appearing by videoconference on behalf
     · · · · · of the Defendants




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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 3 of 235 PageID
                                    2367
                                                                                     3

     · · · · · · · · · · · · ·I N D E X

     TESTIMONY OF PAUL M. ADEE:

     · · ·Direct Examination - By Mr. Bogan· · · · · · · · · ·5
     · · ·Cross-Examination - By Ms. Harton· · · · · · · · ·136

     CERTIFICATE OF OATH· · · · · · · · · · · · · · · · · · 146
     CERTIFICATE OF REPORTER· · · · · · · · · · · · · · · · 147

     DEFENDANTS' EXHIBITS MARKED FOR IDENTIFICATION:

     · ·Exhibit 1 - Notice of Taking Deposition and
     · · · · · · · ·duces tecum list
     · ·Exhibit 2 - Technical Report
     · ·Exhibit 3 - Appendix 3
     · ·Exhibit 4 - Entire electronic file




                             Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 4 of 235 PageID
                                    2368
                                                                                     4

·1· · · · The videoconferenced deposition of PAUL M. ADEE,
·2· ·taken on behalf of the Defendants, on Friday, April 4,
·3· ·2025, beginning at 11:03 a.m. (EST), before Candy
·4· ·Morgan, being a Registered Professional Reporter,
·5· ·Florida Professional Reporter, and Notary Public,
·6· ·State of Florida at Large.
·7· · · · · · · · · · · · - - - -
·8· · · · · · ·The attorneys and parties participating in
·9· ·this deposition acknowledge that I, Candy Morgan, the
10· ·stenographer and notary public licensed in the state
11· ·of Florida, although not physically present with the
12· ·witness, have taken notice of their picture
13· ·identification for verification; and that I will be
14· ·reporting the proceedings and administering the oath
15· ·remotely.· This arrangement is pursuant to the Florida
16· ·Supreme Court Administrative Order No. AOSC-20-16 (and
17· ·extended by AOSC-20-23).· The parties and their
18· ·counsel consent to this arrangement and waive any
19· ·objections to this manner of reporting and my keeping
20· ·of this record.
21· · · · · · ·Please indicate your agreement and/or
22· ·stipulation by stating your name and your agreement on
23· ·the record, as well as making mention of anyone else
24· ·present with you in the room during these proceedings.
25· · · · · · ·So, Ms. Harton?


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 5 of 235 PageID
                                    2369
                                                                                     5

·1· · · · · · ·MS. HARTON:· Sam Harton for the Plaintiff and I
·2· · · · consent.
·3· · · · · · ·MR. BOGAN:· Bruce Bogan, I consent.
·4· · · · · · ·THE STENOGRAPHER:· All right.
·5· · · · · · · · · Now, Mr. Adee, if you'll raise your right
·6· · · · hand, I'll put you under oath.
·7· · · · · · · · · Do you solemnly swear or affirm the
·8· · · · testimony you're about to give will be the truth, the
·9· · · · whole truth and nothing but the truth, so help you
10· · · · God?
11· · · · · · ·PAUL MICHAEL ADEE:· I do.
12· · · · · · ·THE STENOGRAPHER:· Thank you, sir.
13· · · · · · · · · · · · · PAUL MICHAEL ADEE,
14· ·after having first been duly sworn testified as follows:
15· · · · · · · · · · · · DIRECT EXAMINATION
16· ·BY MR. BOGAN:
17· · · · Q.· ·Good morning, sir.
18· · · · · · ·Can you state your full name for the record for
19· ·us?
20· · · · A.· ·Good morning.
21· · · · · · ·My name is Paul Michael Adee, A-d-e-e.
22· · · · Q.· ·And where are you giving the -- where are you
23· ·appearing at today, the address?
24· · · · A.· ·I'm in my home in Plant City, Florida.
25· · · · Q.· ·All right.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 6 of 235 PageID
                                    2370
                                                                                     6

·1· · · · · · ·So prior to the deposition today, I know that you
·2· ·may or may not have seen this but I need to, I guess,
·3· ·identify, for purposes of the record, whether you were
·4· ·provided a copy of Exhibit A that was attached to the
·5· ·notice of taking your deposition.
·6· · · · A.· ·Yes, I received it this morning.
·7· · · · Q.· ·Okay.
·8· · · · · · ·And, again, I apologize for the lateness and so
·9· ·what I, you know, would like to do would be to just
10· ·probably -- we'll mark some things that, you know, have
11· ·been identified, obviously, to us previously, but I want to
12· ·also identify if there are some things on this list that I
13· ·may want to get from you later.
14· · · · A.· ·Sure.
15· · · · Q.· ·So, first of all, I have a copy of what's been
16· ·previously produced to me, it's called a Technical Report,
17· ·and it looks like it was dated January 2nd of 2025, that
18· ·represents, I guess, your opinions and things that you have
19· ·looked at, as well as your CV and a list of the cases that
20· ·you have previously given testimony in.
21· · · · · · ·So I guess my question to you -- assuming that
22· ·is -- well, is that the current and correct, first of all,
23· ·CV and list of cases that was produced in January of 2025?
24· · · · A.· ·I believe I've had one more deposition since
25· ·then.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 7 of 235 PageID
                                    2371
                                                                                     7

·1· · · · Q.· ·Okay.
·2· · · · · · ·And so we can add to that -- and we'll talk about
·3· ·that in a minute -- so you've had one additional
·4· ·deposition.
·5· · · · · · ·Have you had any trial testimony since that time?
·6· · · · A.· ·No, sir.
·7· · · · Q.· ·Okay.
·8· · · · · · ·And then, I guess it appears as though you do
·9· ·have some additional documents which we -- I guess
10· ·depositions that you have reviewed and would be part of
11· ·your Appendix 3?
12· · · · A.· ·Yes, sir.
13· · · · Q.· ·Okay.· Do you have an updated Appendix 3?
14· · · · A.· ·I provided that to Miss Harton prior to today.
15· · · · Q.· ·Okay.
16· · · · · · ·MR. BOGAN:· And I don't -- Sam, I don't think I
17· · · · got that, I think I got what was just notes but I
18· · · · didn't see an additional --
19· · · · · · ·MS. HARTON:· I'm pretty sure in that email that I
20· · · · sent you, I -- let me double-check -- but I sent you
21· · · · his updated list, as well.
22· · · · · · ·MR. BOGAN:· Okay.
23· · · · · · · · · So, then, what we'll end up doing, then, is
24· · · · attaching the updated appendix as a separate exhibit.
25· · · · · · · · · So, Candy, just before we get too confusing


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 8 of 235 PageID
                                    2372
                                                                                     8

·1· · · · here down the road, I'm gonna mark as Exhibit No. 1
·2· · · · the Notice of Taking Deposition with the duces
·3· · · · tecum list; and, then, No. 2 will be the Technical
·4· · · · Report -- it's a composite exhibit -- which was served
·5· · · · in January -- or, excuse me, dated January 2nd of
·6· · · · 2025; and then No. 3's gonna be the appendix -- the
·7· · · · supplemental appendix that, I think, Miss Harton says
·8· · · · she's already provided to me.
·9· · · · · · · · · So --
10· · · · · · ·MS. HARTON:· I'm so sorry -- sorry, Bruce, it's
11· · · · the Appendix 3.· It's the one with the asterisks to
12· · · · some of documents -- the new documents that I think
13· · · · you were just looking at.
14· · · · · · ·MR. BOGAN:· Okay.· So it's labeled Appendix 3?
15· · · · · · ·MS. HARTON:· Yeah.
16· · · · · · ·MR. BOGAN:· And so we'll mark it also as item No.
17· · · · 3 on the -- the exhibits here today.
18· ·BY MR. BOGAN:
19· · · · Q.· ·And then, looking at Exhibit A to the Notice of
20· ·Taking Deposition, I guess, number 1, looking at -- we've
21· ·asked for the professional resume' or current CV.
22· · · · · · ·Is there any changes to the CV that was pAroduced
23· ·previously in January?
24· · · · A.· ·No, sir.
25· · · · Q.· ·Okay.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 9 of 235 PageID
                                    2373
                                                                                     9

·1· · · · · · ·And then, I guess, I need to find out, have you
·2· ·been the author of any scientific or technical publications
·3· ·in your field --
·4· · · · A.· ·No, sir.
·5· · · · Q.· ·-- of expert --
·6· · · · · · ·All right.· Then number 3, time records, diaries
·7· ·and bills.
·8· · · · · · ·I know Miss Harton has sent to me here this
·9· ·morning a number of bills that I guess her firm has
10· ·received from you.
11· · · · · · ·I don't know if you've had a chance to look at
12· ·those, if those represent complete and up-to-date billing.
13· · · · A.· ·I have not.· I assume they're up-to-date.· Our
14· ·billing department sends those out to the clients
15· ·periodically.
16· · · · Q.· ·Okay.
17· · · · A.· ·I don't have access to them.
18· · · · Q.· ·Okay.· So the -- and we'll talk about your
19· ·employment here in just a second -- but -- so Robson
20· ·Forensic is who you are either an employee or work with and
21· ·they do all the billing in the case.
22· · · · A.· ·That is correct.
23· · · · Q.· ·Okay.
24· · · · · · ·And so any bills that have been submitted so far
25· ·in the case have been through Robson Forensic.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 10 of 235 PageID
                                     2374
                                                                                 10

·1· · · · A.· ·That is correct.
·2· · · · Q.· ·And do you work with -- or do you work off of a
·3· ·retainer agreement?· In other words, when you initially
·4· ·sign on the case, is there a retainer that you work from?
·5· · · · A.· ·Yes, sir.
·6· · · · Q.· ·Okay.
·7· · · · · · ·And what's the amount of the retainer that
·8· ·usually is required?
·9· · · · A.· ·That varies from case to case.
10· · · · Q.· ·In this case, what was the retainer?
11· · · · A.· ·I believe the retainer in this case was $3,000.
12· · · · · · ·And just for clarification, I am a full-time
13· ·employee of Robson Forensic.
14· · · · Q.· ·Okay.· Appreciate that.
15· · · · · · ·All right.· And so then, going back to the list,
16· ·obviously --
17· · · · · · ·Well, other than the bills that Robson Forensic
18· ·generates and is sent to the client, are there any other
19· ·billing records?
20· · · · A.· ·No, sir.
21· · · · Q.· ·And then, the -- your report, obviously, and then
22· ·any notes prepared, I believe Miss Harton has sent me
23· ·multiple emails which contain the notes that you have made
24· ·after reviewing the case and then, of course, we have your
25· ·report.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 11 of 235 PageID
                                     2375
                                                                                 11

·1· · · · · · ·Any other documents that would be responsive to
·2· ·our request for reports and/or notes rendered or prepared
·3· ·in this case?
·4· · · · A.· ·I am in the process of drafting a supplemental
·5· ·report.· I'm waiting on additional materials, once
·6· ·depositions are done being taken, so it's a work in
·7· ·progress.
·8· · · · Q.· ·Okay.
·9· · · · · · ·And so what are you being asked to supplement?
10· · · · A.· ·New information that becomes available,
11· ·supplement my report.
12· · · · Q.· ·Supplement your report to reflect that you have
13· ·now had additional materials reviewed?
14· · · · A.· ·Correct.
15· · · · Q.· ·Okay.
16· · · · · · ·And -- but not supplementing any new opinions or
17· ·providing new opinions.
18· · · · A.· ·Only if the materials change my opinion, only if
19· ·the new materials did.
20· · · · Q.· ·Okay.
21· · · · · · ·To the extent that it -- at this point, have the
22· ·materials that you've reviewed in preparation of the
23· ·supplemental report changed your opinions?
24· · · · A.· ·No, sir.
25· · · · Q.· ·And when do you anticipate completing that


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 12 of 235 PageID
                                     2376
                                                                                 12

·1· ·supplemental report?
·2· · · · A.· ·I'm not sure when -- when depositions are gonna
·3· ·be done -- or taken, so I really don't know.
·4· · · · Q.· ·All right.
·5· · · · · · ·So in your, I guess, what you would characterize
·6· ·as the materials that you have been provided and reviewed,
·7· ·how do you maintain those?· Do you have one complete
·8· ·electronic file that contains all of the materials that you
·9· ·are -- have been provided?
10· · · · A.· ·Yes, sir.· And that database is maintained by
11· ·Robson Forensic.
12· · · · Q.· ·Okay.· So is Robson Forensic able to produce to
13· ·me an electronic file that contains all of the materials
14· ·that have been provided to you by Plaintiff's counsel?
15· · · · A.· ·I don't know.· I've never been asked that
16· ·question, so I don't know what the answer would be to that.
17· · · · Q.· ·Okay.
18· · · · · · ·So you've never been asked in a deposition that
19· ·you've given so far to produce the materials that you have
20· ·reviewed and to support your opinions?
21· · · · A.· ·Oh, I'm --
22· · · · · · ·MS. HARTON:· Objection; that misstates his
23· · · · testimony.
24· ·BY MR. BOGAN:
25· · · · Q.· ·Go ahead.· You can answer.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 13 of 235 PageID
                                     2377
                                                                                 13

·1· · · · A.· ·I've been asked for a list of materials that
·2· ·I've -- that I have reviewed but not the actual files that
·3· ·I've reviewed.
·4· · · · Q.· ·Okay.
·5· · · · · · ·So in this particular case, do you know whether
·6· ·or not an electronic copy of the file materials can be
·7· ·produced by Robson to me?
·8· · · · A.· ·I suppose they could.· It exists.
·9· · · · Q.· ·Okay.
10· · · · A.· ·I don't know if they would.· I just don't know
11· ·that answer.
12· · · · Q.· ·So whatever is on Appendix, I guess --
13· · · · A.· ·3, I believe it is.
14· · · · Q.· ·-- 3, as well as the original appendix, so I --
15· ·yeah.· Yeah, Appendix 3.· So, I guess -- are there two
16· ·Appendix 3 or is it a continuing list off the original one?
17· · · · A.· ·It was a continuing list of the original one.
18· · · · Q.· ·Okay.· So all -- everything should be listed on
19· ·the current Appendix 3; is that --
20· · · · A.· ·Yes.
21· · · · Q.· ·Okay.
22· · · · · · ·And a -- if I request an electronic copy of
23· ·Appendix 3, you can ask for it to be produced in an
24· ·electronic format to me for purposes of this deposition?
25· · · · A.· ·Are you asking for the entire file, the actual


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 14 of 235 PageID
                                     2378
                                                                                 14

·1· ·physical electronic documents or just the list?
·2· · · · Q.· ·I'm asking for all of the electronic documents,
·3· ·yes.
·4· · · · A.· ·I could ask, I just don't know if they would give
·5· ·it to you.
·6· · · · Q.· ·Okay.· And -- all right.
·7· · · · A.· ·I've never been asked.· I don't know the answer
·8· ·to that.
·9· · · · Q.· ·Well, I don't think it's particularly an unusual
10· ·request, to be honest with you but -- so I can't think of
11· ·any expert deposition I've ever taken in 38 years where
12· ·I've never asked for a complete copy of the materials that
13· ·the expert has reviewed.· But in any event that doesn't
14· ·make it any better or worse.
15· · · · · · ·But what I'm asking you is, what I would like to
16· ·have done is a copy of those materials sent to me
17· ·electronically and I'm going to mark, for purposes of this
18· ·deposition, that electronic file as Exhibit No. 4.
19· · · · · · ·MS. HARTON:· Bruce, I'm gonna just object.· Rule
20· · · · 26 only requires a list of his -- of his documents.
21· · · · It doesn't require him to produce to you a Dropbox
22· · · · link of everything that's been disclosed in this case.
23· · · · · · ·MR. BOGAN:· Well, it's a little different than
24· · · · what is a Rule 26 disclosure.· We're now in a
25· · · · deposition and so this is entirely separate from what


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 15 of 235 PageID
                                     2379
                                                                                 15

·1· · · · has to be produced during the time you disclose him as
·2· · · · an expert.· So I'm entitled to it and I think I can
·3· · · · get a copy of those documents electronically.· I don't
·4· · · · think it's all that unusual nor is it that difficult,
·5· · · · I wouldn't think, for -- if they have them stored
·6· · · · electronically, to just put them in electronic format
·7· · · · and send them to me, so that's what I'm asking to be
·8· · · · done.
·9· ·BY MR. BOGAN:
10· · · · Q.· ·So let's go on to the next thing here.
11· · · · · · ·I'm assuming -- well, correct me -- have you --
12· ·outside of what's contained in what we're gonna mark as --
13· · · · · · ·MR. BOGAN:· Did I say that was Exhibit 4, Candy?
14· · · · · · ·THE STENOGRAPHER:· Yes, sir.
15· ·BY MR. BOGAN:
16· · · · Q.· ·Outside of Exhibit 4, are there any other medical
17· ·records, hospital records, or other documents that you
18· ·reviewed in the case?
19· · · · A.· ·No, sir.
20· · · · Q.· ·And would the same go for investigative files
21· ·that were utilized by you in any manner --
22· · · · A.· ·No, sir.
23· · · · Q.· ·-- number 8?
24· · · · · · ·Okay.
25· · · · · · ·Number 9, does it include, also, in Exhibit 4,


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 16 of 235 PageID
                                     2380
                                                                                 16

·1· ·the audio files that you reviewed?
·2· · · · A.· ·It would include everything.
·3· · · · Q.· ·Gotcha.
·4· · · · · · ·Would it also include item number 10, policies
·5· ·and procedures of the Marion County Sheriff?
·6· · · · A.· ·Yes, sir.
·7· · · · Q.· ·And then, number 11 -- so, again, 11 would
·8· ·encompass all of the documents that would be contained
·9· ·within what we're calling Exhibit No. 4, your file
10· ·materials?
11· · · · A.· ·It would contain that, as well.
12· · · · Q.· ·Okay.
13· · · · · · ·Number 12, do you have any articles that you've
14· ·authored or co-authored or contributed to concerning --
15· ·that might be applicable to this case?
16· · · · A.· ·No, sir.
17· · · · Q.· ·And I would assume the same would apply to any
18· ·publication or syllabus or other handout that you have ever
19· ·used during a lecture or presentation that relates to this
20· ·case.
21· · · · A.· ·You would be correct in that assumption.
22· · · · Q.· ·Okay.
23· · · · · · ·Any tables or charts that are referred to in your
24· ·report?
25· · · · A.· ·Only the stuff that's in my report.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 17 of 235 PageID
                                     2381
                                                                                 17

·1· · · · Q.· ·Okay.
·2· · · · · · ·And in your report do you actually cite to any
·3· ·authoritative text?
·4· · · · A.· ·Related to my --
·5· · · · Q.· ·Yeah, any of your opinions.
·6· · · · · · ·Yeah, I know you cite to -- I think it was the
·7· ·U.S. Department of Justice, if I'm not mistaken.
·8· · · · A.· ·I cited several resources that I utilized in
·9· ·supporting my opinion.
10· · · · Q.· ·Okay.
11· · · · · · ·MS. HARTON:· I'm sorry, I was on mute but I did
12· · · · object to the question.
13· · · · · · · · · Object to form.
14· ·BY MR. BOGAN:
15· · · · Q.· ·And I apologize if I misquoted it as the
16· ·Department of Justice.· It would have been the U.S. -- it
17· ·was the National Institute of Corrections.· You have
18· ·quoted, I think, several of the passages from that source.
19· · · · · · ·Do you actually have the document, itself, or is
20· ·that something you looked up and then relied upon
21· ·electronically?
22· · · · A.· ·I actually relied upon it electronically.
23· · · · Q.· ·Okay.
24· · · · · · ·Did you rely upon any policies and procedures
25· ·from the Hillsborough County Sheriff's Office in


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 18 of 235 PageID
                                     2382
                                                                                 18

·1· ·preparation of your report?
·2· · · · A.· ·No, sir.
·3· · · · Q.· ·Do you have copies of the Hillsborough County
·4· ·Sheriff's Office Corrections policies and procedures?
·5· · · · A.· ·No, sir.
·6· · · · Q.· ·Okay.· Going back to my list here -- so I
·7· ·don't -- I don't believe you've done any calculations but
·8· ·are there any calculations -- documents showing
·9· ·calculations you performed in this case?
10· · · · A.· ·I think I -- I believe I provided percentages of
11· ·how often the watches were -- began at certain times and
12· ·how -- how long they took at certain times but my
13· ·calculations are listed -- are listed within my report.
14· · · · Q.· ·Okay.
15· · · · · · ·And there's no separate document that you
16· ·prepared --
17· · · · A.· ·No, sir.
18· · · · Q.· ·-- concerning any calculations?
19· · · · A.· ·No, sir.
20· · · · Q.· ·So number 17 is the list of cases and -- so
21· ·you've got one new cases -- one new case and I don't
22· ·remember --
23· · · · · · ·Well, do you know the name of that case off the
24· ·top of your head?
25· · · · A.· ·Off the top of my head, no, but I could look it


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 19 of 235 PageID
                                     2383
                                                                                 19

·1· ·up if you'd like.
·2· · · · Q.· ·Okay.· Could you do that for me?· I'd appreciate
·3· ·it.
·4· · · · A.· ·Okay.· If you're ready, it is Chantelle Maria
·5· ·Marler, individually, and on behalf of her minor child,
·6· ·HLM, versus Sheriff Mark Wood, RPSO Deputies John and Jane
·7· ·Does 1 through 10, Unknown Medical Service Provider and
·8· ·Medical Staff Members John and Jane Does 11 through 20,
·9· ·Case No. 1:22-cv-02460.· That's in the United States
10· ·District Court of West -- of the Western District of
11· ·Louisiana, Alexandria Division.
12· · · · Q.· ·All right.
13· · · · · · ·Can you spell the -- Chantelle's last name for
14· ·the court reporter?
15· · · · A.· ·Yes.· M-a-r-l-e-r.
16· · · · · · ·THE STENOGRAPHER:· Thank you.
17· · · · · · ·THE WITNESS:· You're very welcome.
18· ·BY MR. BOGAN:
19· · · · Q.· ·And you've given a deposition in that case?
20· · · · A.· ·Yes, sir.
21· · · · Q.· ·And when was that?
22· · · · A.· ·Oh, I shouldn't have closed it that quickly.
23· · · · · · ·That was February 13th of 2025.
24· · · · Q.· ·All right.
25· · · · · · ·Is that case still going on?


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 20 of 235 PageID
                                     2384
                                                                                 20

·1· · · · A.· ·To the best of my knowledge, it is.
·2· · · · Q.· ·All right.
·3· · · · A.· ·Are we done with that?
·4· · · · Q.· ·Yes, you can close it.
·5· · · · · · ·So do you have deposition transcripts from all of
·6· ·the depositions that you've given?
·7· · · · A.· ·I don't have any deposition transcripts.
·8· · · · Q.· ·Okay.
·9· · · · · · ·So are there any documents that are contained
10· ·within your prior materials that describe the scope of your
11· ·employment in this case?
12· · · · A.· ·Other than what's in the report itself, there is
13· ·nothing else.
14· · · · · · ·And there's a small paragraph in the report that
15· ·discusses that.
16· · · · Q.· ·Number 21, I guess Robson Forensic is an entity
17· ·that your -- is your employer; is that what you described?
18· · · · A.· ·Correct.
19· · · · Q.· ·And does Robson Forensic do advertising?
20· · · · A.· ·Absolutely.
21· · · · Q.· ·And in what media forms do they do advertising?
22· · · · A.· ·I'm not -- I'm not part of that.· I'm sure it's
23· ·social media, as well as direct marketing via email.
24· · · · Q.· ·Okay.
25· · · · A.· ·I know I've also done -- done a webinar through


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 21 of 235 PageID
                                     2385
                                                                                 21

·1· ·Robson Forensic.· It's all on our website.
·2· · · · Q.· ·Okay.
·3· · · · · · ·And I was mispronouncing it.· I guess it's
·4· ·Robson?
·5· · · · A.· ·Correct.
·6· · · · Q.· ·Does Robson Forensic do any television
·7· ·commercials in the form of media, television broadcasts,
·8· ·and things of that nature?
·9· · · · A.· ·Not that I'm aware of.
10· · · · Q.· ·Have you ever appeared as an expert in your field
11· ·on any media -- news media formats to give an opinion about
12· ·a case that is being reported by the media?
13· · · · A.· ·I believe I was interviewed by the -- I think the
14· ·Washington Post at one point regarding a case.
15· · · · Q.· ·That was a written --
16· · · · A.· ·It was a written article.
17· · · · Q.· ·Okay.
18· · · · · · ·And how long ago was that?
19· · · · A.· ·Oh, year and a half to two years ago.· It was
20· ·pretty close to right after starting with Robson.
21· · · · Q.· ·Okay.
22· · · · · · ·Did you do any consulting work while you were
23· ·still employed at the Hillsborough County Sheriff?
24· · · · A.· ·No, sir.
25· · · · Q.· ·Have you ever previously worked on any cases with


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 22 of 235 PageID
                                     2386
                                                                                 22

·1· ·the Romanucci & Blandin law firm?
·2· · · · A.· ·No, sir.
·3· · · · Q.· ·And how about Mr. Slater, the -- Slater Legal
·4· ·PLLC, that firm?
·5· · · · A.· ·No, sir.
·6· · · · Q.· ·All right.
·7· · · · · · ·Can we agree that there is no document and
·8· ·history of any fight between the decedent, Cory Merchant,
·9· ·and Eric Lutterloah before November 7th of 2021?
10· · · · A.· ·I haven't seen any.
11· · · · Q.· ·Okay.· In your review of the case.
12· · · · A.· ·Correct.
13· · · · Q.· ·Okay.
14· · · · · · ·And in your review of the case, did you see any
15· ·history of any disagreement or dispute between Cory
16· ·Merchant and the Defendants in this case, individually --
17· ·and we'll take them individually -- Deputy Miller, for
18· ·example?· Do you see anything in there in the history
19· ·between Merchant and Miller that would give you concern
20· ·that they had some sort of disagreement in the past?
21· · · · A.· ·No, sir.
22· · · · Q.· ·Did you see anything in your review of the case
23· ·that would suggest that Mr. Merchant and Deputy Kosinski
24· ·had had any sort of disagreement, dispute or reason that
25· ·would cause you concern in the past as to their


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 23 of 235 PageID
                                     2387
                                                                                 23

·1· ·relationship?
·2· · · · A.· ·No, sir.
·3· · · · Q.· ·And the same question for Sergeant Dukes, did you
·4· ·see anything in your review of the case that suggested
·5· ·Sergeant Dukes and Cory Merchant had had any disagreements
·6· ·or problems in the past before this incident?
·7· · · · A.· ·No, sir.
·8· · · · Q.· ·So can you see any reason whatsoever that would
·9· ·support an argument that they -- the Defendants in this
10· ·case were in any way acting in a manner that would be
11· ·deliberately contrary to the rights of Mr. Merchant?
12· · · · · · ·MS. HARTON:· I'm gonna object to the form.
13· ·BY MR. BOGAN:
14· · · · Q.· ·You can answer.
15· · · · A.· ·No, sir.
16· · · · Q.· ·Okay.
17· · · · · · ·Can we agree that there is no reported or
18· ·documented request for a keep-away from --
19· · · · · · ·Well, strike that.· Let me reask the question.
20· · · · · · ·Can we agree that there is no reported request
21· ·for a keep-away by the decedent, Cory Merchant, against
22· ·Eric Lutterloah?
23· · · · A.· ·Not in the materials that I reviewed.
24· · · · Q.· ·Okay.
25· · · · · · ·And can we agree, also, in the materials that


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 24 of 235 PageID
                                     2388
                                                                                 24

·1· ·you've reviewed, that there was no report or documented
·2· ·request by Eric Lutterloah seeking a keep-away from Cory
·3· ·Merchant?
·4· · · · A.· ·Yes, sir.
·5· · · · Q.· ·And can we agree that, based upon your review of
·6· ·the case, that Cory Merchant was obviously aware that he
·7· ·could request a keep-away because he had done so in the
·8· ·past with other inmates?
·9· · · · · · ·MS. HARTON:· Objection to the form.
10· · · · · · ·THE WITNESS:· Yes, sir.
11· ·BY MR. BOGAN:
12· · · · Q.· ·And, in fact, that information is also -- well,
13· ·before I ask you this, let me ask you this way:· Would you
14· ·agree with me there was documentation that reflects that
15· ·Cory Merchant was provided with an inmate handbook by the
16· ·Marion County Sheriff when he was in the facility?
17· · · · A.· ·I don't recall offhand that he -- that there's
18· ·proof that he received one.· I'm not sure.· He may have.
19· · · · Q.· ·Okay.
20· · · · · · ·So are you aware whether or not that information
21· ·was contained within the Marion County Jail's inmate
22· ·handbook; in other words, that it describes the process
23· ·where you can request for a keep-away?
24· · · · A.· ·I don't recall if that information's in the
25· ·handbook.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 25 of 235 PageID
                                     2389
                                                                                 25

·1· · · · Q.· ·Can we agree that there -- in terms of your
·2· ·review of the case and the documents that you've looked
·3· ·at -- that there's no evidence of any disputes or arguments
·4· ·between Lutterloah and Merchant before the point where
·5· ·Lutterloah, that evening of November 7th, gets out of his
·6· ·bunk and goes over and confronts Merchant and then they
·7· ·begin to have some words or disagreement and a few seconds
·8· ·later, a three-punch fight occurs?
·9· · · · · · ·MS. HARTON:· Object to the form.
10· · · · · · ·THE WITNESS:· I don't remember if I'm supposed to
11· · · · be -- if you asked me if we can agree on that or not.
12· ·BY MR. BOGAN:
13· · · · Q.· ·Yeah.
14· · · · A.· ·I don't recall any other incidents wherein
15· ·Lutterloah and Merchant had a verbal or a physical
16· ·altercation prior to that date.
17· · · · Q.· ·Okay.
18· · · · · · ·And nor did anybody else report, at any point
19· ·later during the post-incident investigation, that there
20· ·had been an ongoing dispute of some kind between Merchant
21· ·and Lutterloah before that night when they had a fight?
22· · · · A.· ·I don't recall seeing anything that would
23· ·indicate that.
24· · · · Q.· ·And in terms of the fight itself, would you agree
25· ·with me it was essential a three-punch fight?


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 26 of 235 PageID
                                     2390
                                                                                 26

·1· · · · A.· ·It was a -- it was -- it was quick.
·2· · · · Q.· ·And after the third punch, Mr. Merchant went to
·3· ·the ground, hit his head on the concrete floor, and
·4· ·according to the medical examiner he sustained a serious
·5· ·head injury as a result of that.
·6· · · · A.· ·I'm not sure if he hit his head on the floor or
·7· ·not.
·8· · · · Q.· ·Would you agree with me that the medical examiner
·9· ·found that he had a serious head injury and that was the
10· ·cause of his death?
11· · · · A.· ·I would agree with that.
12· · · · Q.· ·You have no -- you know -- no, I guess, reason to
13· ·dispute that the floor caused the head injury when he hit
14· ·the ground.
15· · · · A.· ·It may have.
16· · · · Q.· ·Did you time the fight?
17· · · · A.· ·I did not.
18· · · · Q.· ·So would you dispute if I told you that the total
19· ·amount of time between the point when Lutterloah gets out
20· ·of his bunk and walks over to Merchant, who is already out
21· ·of his bunk, and they have words, the fight occurs and he
22· ·goes to the ground or out of -- or at least out of the
23· ·picture, that it's approximately 20 seconds?
24· · · · A.· ·I have no reason to dispute that.
25· · · · Q.· ·Okay.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 27 of 235 PageID
                                     2391
                                                                                 27

·1· · · · · · ·And it appears as though that this is a rather
·2· ·spontaneous and quick fight; would that be a fair way to
·3· ·characterize it?
·4· · · · · · ·MS. HARTON:· Object to form.
·5· · · · · · ·THE WITNESS:· That would be fair.
·6· ·BY MR. BOGAN:
·7· · · · Q.· ·Now, in terms of housing, let me ask you
·8· ·this:· You're aware that, I guess, Merchant had a prior
·9· ·conviction for domestic battery?
10· · · · A.· ·I believe I recall seeing that.
11· · · · Q.· ·Okay.
12· · · · · · ·And, in fact, he was actually coming directly
13· ·from the Department of Corrections to the Marion County
14· ·Jail after he was charged on the child sexual battery case;
15· ·isn't that correct?
16· · · · · · ·MS. HARTON:· Object to form.
17· · · · · · ·THE WITNESS:· I don't recall seeing anything that
18· · · · indicated that he was coming from the Department of
19· · · · Corrections to the Marion County Jail.
20· ·BY MR. BOGAN:
21· · · · Q.· ·You don't recall that?· Okay.
22· · · · A.· ·I don't recall that.
23· · · · Q.· ·You're aware he was serving a Department of
24· ·Corrections sentence that ended in 2019?
25· · · · A.· ·No, I'm not aware of that.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 28 of 235 PageID
                                     2392
                                                                                 28

·1· · · · Q.· ·You're not aware of that.· Okay.
·2· · · · · · ·Would that make a difference to you in terms of
·3· ·classification in housing?
·4· · · · A.· ·Not necessarily.
·5· · · · Q.· ·Okay.
·6· · · · · · ·And why not?
·7· · · · A.· ·Because I don't know what the charges were.
·8· · · · Q.· ·Okay.
·9· · · · · · ·Do you know, in terms of Merchant's housing at
10· ·the Marion County Jail, whether the entire time he was
11· ·there, from 2019 until November of 2021, that he was always
12· ·housed in the G Pod?
13· · · · A.· ·I believe that's accurate.
14· · · · Q.· ·So have you been provided a copy of his housing
15· ·log or a report that shows where he was housed the entire
16· ·time?
17· · · · A.· ·I would have to look back through my case notes.
18· · · · Q.· ·The Housing Movement Report, in other words, I
19· ·think is the actual correct word for it.
20· · · · A.· ·I may have but I would have to look back through
21· ·my reports -- or my notes.
22· · · · Q.· ·He was -- if I indicated to you that he was
23· ·placed at various times in Medical, in H -- H, B and F
24· ·pods, you have no reason to believe that would be
25· ·inaccurate at this point?


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 29 of 235 PageID
                                     2393
                                                                                 29

·1· · · · A.· ·I vaguely remember him going to Medical at
·2· ·some -- being housed in Medical at some point, so I don't
·3· ·have any reason to dispute that.
·4· · · · Q.· ·Okay.
·5· · · · · · ·And then he was placed in disciplinary
·6· ·confinement for, I think, at least two occasions in 2021?
·7· · · · A.· ·I -- that may be accurate.· I -- I'd have to look
·8· ·at my case notes.
·9· · · · Q.· ·Once for fighting and then the other from being
10· ·combative and disrespectful to the corrections officers?
11· · · · A.· ·I remember seeing a report where he was written
12· ·up by the corrections staff.· Again, I don't have any
13· ·reason to dispute that.
14· · · · Q.· ·Okay.
15· · · · · · ·So Merchant's classification level at the jail in
16· ·2019 was what's called Medium in a pre-sentence status; is
17· ·that fair?
18· · · · A.· ·It was a Medium 5.
19· · · · Q.· ·Okay.
20· · · · · · ·And do you disagree with that category for him?
21· · · · A.· ·I do not.
22· · · · Q.· ·So that Medium 5 would have been an appropriate
23· ·level of classification for Cory Merchant in your opinion.
24· · · · A.· ·Based on what I've reviewed, yes.
25· · · · Q.· ·Okay.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 30 of 235 PageID
                                     2394
                                                                                 30

·1· · · · · · ·And what you have reviewed is the classification
·2· ·paperwork that is generated for Mr. Merchant -- as well as
·3· ·any inmate in the facility has the same type of
·4· ·classification; is that fair?
·5· · · · A.· ·Yes, sir.
·6· · · · Q.· ·And that's -- that's according to their policies
·7· ·and procedures of the Marion County Jail that all of the
·8· ·inmates that are being housed and detained in the facility
·9· ·go through a classification process.
10· · · · A.· ·Yes, sir.
11· · · · Q.· ·And that classification process includes
12· ·analyzing the inmate's not only current status but past
13· ·charges, as well as their past incarcerations?
14· · · · A.· ·It encompasses current and past charges, current
15· ·and past behavior histories, anything that might lend
16· ·credence to where they should be housed, yes.
17· · · · Q.· ·So, in terms of Eric Lutterloah, what is your
18· ·understanding of what his classification level was?
19· · · · A.· ·He was a Medium 3.
20· · · · Q.· ·Okay.
21· · · · · · ·And --
22· · · · A.· ·Which is on the upper end of that medium spectrum
23· ·closest to the maximum security.
24· · · · Q.· ·And do you believe that Mr. Lutterloah was
25· ·appropriately classified as a Medium 3?


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 31 of 235 PageID
                                     2395
                                                                                 31

·1· · · · A.· ·Without analyzing their actual classification
·2· ·system and seeing how they -- how things are given the
·3· ·points to get him to that, I can't necessarily agree with
·4· ·that.
·5· · · · · · ·I agree that he is -- based on his current
·6· ·charges, is -- his security level or classification level
·7· ·should be higher than that of Cory Merchant's.
·8· · · · Q.· ·Okay.
·9· · · · · · ·And it was, I guess, according to at least what
10· ·your --
11· · · · A.· ·Yes.
12· · · · Q.· ·-- understanding is, it was --
13· · · · A.· ·Yes.
14· · · · Q.· ·-- five numbers?· Okay.
15· · · · · · ·So in reviewing -- and, again, I apologize -- I
16· ·think I have a complete list of all the documents that you
17· ·looked at.· I -- I don't remember if you saw the Florida
18· ·Model Jail Inspections for the Marion County Jail.· Is that
19· ·something you've reviewed?
20· · · · A.· ·I don't recall that.
21· · · · · · ·If I could look at my list, I would be able to
22· ·tell you.
23· · · · Q.· ·Yeah.· Go right ahead.
24· · · · · · ·MS. HARTON:· Sorry.· Bruce, did you say the Model
25· · · · Jail Standards or the inspections?


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 32 of 235 PageID
                                     2396
                                                                                 32

·1· · · · · · ·MR. BOGAN:· I said the Florida Model Jail
·2· · · · Standard Inspection.
·3· · · · · · · · · Well, yeah, probably just a Florida Model
·4· · · · Jail Inspection as opposed to standards.
·5· · · · · · ·MS. HARTON:· You're not referring to the
·6· · · · standards, themselves, you're referring to the
·7· · · · inspections that are related to the standards.
·8· · · · · · ·MR. BOGAN:· Correct.
·9· · · · · · ·MS. HARTON:· Okay.
10· · · · · · ·THE WITNESS:· I don't recall seeing that and I
11· · · · don't see it listed in my list of documents that I
12· · · · reviewed.
13· ·BY MR. BOGAN:
14· · · · Q.· ·Okay.
15· · · · · · ·As somebody who's worked in the Hillsborough
16· ·County Jail for -- I guess, for almost 25 years or --
17· · · · A.· ·30 -- 30 years.
18· · · · Q.· ·-- 30 years -- okay -- you would expect that the
19· ·Marion County Jail would undergo, as required by Florida
20· ·law, an inspection of its facility on a -- on a regular
21· ·basis.· Would you agree with that?
22· · · · A.· ·Yes, sir.
23· · · · Q.· ·And that would include an inspection related to
24· ·whether they are in compliance with the Florida Model Jail
25· ·Standards, correct?


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 33 of 235 PageID
                                     2397
                                                                                 33

·1· · · · A.· ·Yes, sir.
·2· · · · Q.· ·Okay.
·3· · · · · · ·And, as far as you are aware, do you know, as you
·4· ·sit here today, whether Marion County had passed the
·5· ·Florida Model Jail's inspection in the year 2021 or the
·6· ·year previous, 2020?
·7· · · · A.· ·I don't recall seeing any documents to indicate
·8· ·one way or the other.
·9· · · · Q.· ·Okay.
10· · · · · · ·Are you familiar with -- well, strike that.
11· · · · · · ·Have you ever served as an inspector for a
12· ·Florida Model Jail Standards inspection?
13· · · · A.· ·Yes, I have.
14· · · · Q.· ·Okay.
15· · · · · · ·And have you ever inspected the Marion County
16· ·Jail for a Florida Model Jail Standards inspection?
17· · · · A.· ·I don't believe that I've conducted a formal
18· ·inspection of it.
19· · · · · · ·I remember being in Marion County for -- I
20· ·believe it was either a meeting or a class related to the
21· ·jail standards because I attended those, as well.· But I
22· ·don't -- I don't believe that I've ever participated in a
23· ·formal inspection at that facility.
24· · · · Q.· ·Okay.
25· · · · · · ·You would agree with me that, as an inspector or


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 34 of 235 PageID
                                     2398
                                                                                 34

·1· ·someone who's done an inspection in the past, that one of
·2· ·the things that you are looking at is the policies and
·3· ·procedures of the -- the written policies and procedures of
·4· ·the facility under -- under the process of the Florida
·5· ·Model Jail Standards.
·6· · · · A.· ·I'm making sure that they conform to or comport
·7· ·with the Florida Model Jail Standards, themselves, which
·8· ·may or may not be comprehensive in that particular subject
·9· ·or it may be vague in that particular subject.· But what we
10· ·are looking for is that the facility actually comports with
11· ·what is prescribed by the jail standards.
12· · · · Q.· ·And as far as jail standards that are set forth
13· ·in the Florida Model Jail Standards, would you agree with
14· ·me that includes topics such as a classification of
15· ·inmates?
16· · · · A.· ·It does.
17· · · · Q.· ·And it includes topics such as the housing and
18· ·the supervision of inmates in their housing units?
19· · · · A.· ·It does.
20· · · · Q.· ·It would include topics that include security of
21· ·the inmates.
22· · · · A.· ·It does.
23· · · · Q.· ·It would include topics that relate to the use of
24· ·force on inmates.
25· · · · A.· ·It does.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 35 of 235 PageID
                                     2399
                                                                                 35

·1· · · · Q.· ·Okay.
·2· · · · · · ·It would include policies and procedures related
·3· ·to the supervision of corrections officers.
·4· · · · A.· ·It does not -- it does not have policies and
·5· ·procedures in there.· What -- typically, what the jail
·6· ·standard says is that there has to be a policy and
·7· ·procedure in these different areas.· It does not tell you
·8· ·what the policies and procedures need to be.· It's very --
·9· ·it's typically from about a 30,000-foot view and they leave
10· ·it up to the agency to develop the policy itself and how
11· ·deep in the weeds they go.
12· · · · Q.· ·It provides certain minimum standards, if I'm not
13· ·mistaken, doesn't it?
14· · · · A.· ·It may in some instances and in some -- the
15· ·minimum standard may actually say you must have a policy
16· ·and procedure regarding tool control.· It doesn't
17· ·necessarily say how your policy and procedure has to be
18· ·laid out, it just says a very general statement that you
19· ·have to have a policy.· It doesn't tell you what the policy
20· ·is supposed to be.
21· · · · Q.· ·So let me ask you this way:· Have you consulted
22· ·with the Florida Model Jail Standards for purposes of your
23· ·analysis in this case?
24· · · · A.· ·I have reviewed it.· I've reviewed the November
25· ·14th, 2022 version that's listed as number 68 in the


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 36 of 235 PageID
                                     2400
                                                                                 36

·1· ·documents that I reviewed.
·2· · · · Q.· ·Okay.
·3· · · · · · ·And in your review of the, I guess, the '22
·4· ·version, did you find that, in your opinion, there were
·5· ·some policies and procedures of the Marion County Jail that
·6· ·were not in compliance with the Florida Model Jail
·7· ·Standards?
·8· · · · A.· ·They were in compliance with the jail standards.
·9· · · · Q.· ·Okay.
10· · · · · · ·Are you aware of whether or not the Marion County
11· ·Jail is accredited by the Florida Corrections Accreditation
12· ·Commission?
13· · · · A.· ·I would have to review my -- again, my list of
14· ·documents.
15· · · · Q.· ·Okay.
16· · · · · · ·If -- and I'll just represent to you -- I mean,
17· ·if you want to look it up, go ahead and look it up, but I'm
18· ·gonna represent to you that they are FCAC certified.
19· · · · A.· ·I haven't received any documents that indicate
20· ·that.
21· · · · Q.· ·Okay.
22· · · · · · ·So did you review any FCAC certifications or
23· ·requirements for certifications in this particular case?
24· · · · A.· ·As it related to how often they are to conduct
25· ·well-being, wellness or safety checks, yes, I did.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 37 of 235 PageID
                                     2401
                                                                                 37

·1· · · · Q.· ·Okay.
·2· · · · · · ·And so -- and what did you -- what was your
·3· ·conclusion about well-being or safety checks as it relates
·4· ·to FCAC requirements?
·5· · · · A.· ·If I was to opine on that, I -- that was not part
·6· ·of my -- my report but they were in compliance with the
·7· ·FCAC Standard.
·8· · · · Q.· ·Okay.
·9· · · · · · ·So FCAC Standards specifically set forth some
10· ·timing in terms of what your understanding for how often
11· ·well-being or security checks should be done?
12· · · · A.· ·That's --
13· · · · · · ·MS. HARTON:· Object to the form.
14· · · · · · · · · (Discussion off the record)
15· ·BY MR. BOGAN:
16· · · · Q.· ·Does the FCAC requirements set forth a specific
17· ·timing for conducting well-being and security checks?
18· · · · · · ·MS. HARTON:· Object to form.
19· · · · · · ·THE WITNESS:· It does set forth a specific
20· · · · timing.
21· ·BY MR. BOGAN:
22· · · · Q.· ·And what's your recollection of what the timing
23· ·is in FCAC?
24· · · · A.· ·If my memory serves me correctly, it was either
25· ·10:00 p.m. or 11:00 p.m. to 6:00 a.m. -- 6:00 a.m. in the


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 38 of 235 PageID
                                     2402
                                                                                 38

·1· ·morning that hourly checks were required.
·2· · · · Q.· ·All right.
·3· · · · · · ·Does that -- well, strike that, first of all.
·4· · · · · · ·Have you ever conducted inspections for FCAC?
·5· · · · A.· ·I have not.
·6· · · · Q.· ·And is the requirements for an ACA certification
·7· ·similar to FCAC?
·8· · · · A.· ·I assume that they're pretty similar.
·9· · · · Q.· ·Do you know if the standards, as it relates to
10· ·how often well-being checks or security checks are
11· ·performed, is different under the ACA than the FCAC?
12· · · · A.· ·That, I don't know.
13· · · · Q.· ·Okay.
14· · · · · · ·And, I guess, similar question, have you ever
15· ·conducted inspections for the ACA certification?
16· · · · A.· ·I have not.
17· · · · Q.· ·So, in terms of the cases where you've been
18· ·permitted to -- well, I guess, you've not been permitted to
19· ·testify in a courtroom -- I want to make sure I got that
20· ·correct, first -- but you've never gone into a courtroom
21· ·anywhere and testified as an expert in corrections
22· ·practices and procedures.
23· · · · A.· ·I have not.
24· · · · Q.· ·And the -- in the three cases that you have
25· ·testified, were you involved in -- well, let's just take


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 39 of 235 PageID
                                     2403
                                                                                 39

·1· ·them one at a time.
·2· · · · · · ·So this French versus Mosley Architects case,
·3· ·were you retained there as a corrections expert?
·4· · · · A.· ·I was.
·5· · · · Q.· ·And what was the general nature of the
·6· ·corrections field that you're talking about there?
·7· · · · A.· ·I'm not permitted to discuss that based upon a
·8· ·confidentiality agreement that I've signed with my firm.
·9· · · · Q.· ·Okay.
10· · · · · · ·So with your firm's confidentiality agreement,
11· ·does that mean that you're not allowed to talk about any
12· ·case that you've ever given either a deposition or a report
13· ·on?
14· · · · A.· ·That's my understanding of it, yes, sir.
15· · · · Q.· ·Okay.
16· · · · · · ·So as far as you understand, has anyone ever
17· ·challenged that in terms of your employer's able -- ability
18· ·to enforce that?
19· · · · A.· ·I don't know.
20· · · · · · ·That's way beyond my -- my level in the firm.
21· · · · Q.· ·Okay.
22· · · · · · ·So is the French case still an ongoing case?
23· · · · A.· ·I don't think so but I'm not a hundred percent
24· ·sure.
25· · · · Q.· ·All right.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 40 of 235 PageID
                                     2404
                                                                                 40

·1· · · · · · ·And the French case was not a federal court case;
·2· ·is that fair?
·3· · · · A.· ·I'd have to look at my list.· I believe it was a
·4· ·state court case.
·5· · · · Q.· ·Yeah.· I mean, it looks like South Carolina Court
·6· ·of Common Pleas, which I'm assuming must be a state court
·7· ·case.
·8· · · · A.· ·Yes, sir.
·9· · · · Q.· ·And then Joshua Brown versus Gail Watts, same
10· ·question, can you tell me were you there providing
11· ·testimony in that deposition concerning the field of
12· ·corrections?
13· · · · A.· ·Yes, sir.
14· · · · Q.· ·And you were offered as an expert in the field of
15· ·corrections on what subject matter?
16· · · · A.· ·Again, I cannot -- I can't tell you that based on
17· ·my confidentiality agreement.
18· · · · Q.· ·And the same goes with this Marker -- Marler
19· ·case.· Obviously, that one is in federal court and there
20· ·you gave a deposition.· Again, were you giving opinions as
21· ·an expert in corrections?
22· · · · A.· ·Yes, sir.
23· · · · Q.· ·And what was the subject matter in the field of
24· ·corrections?
25· · · · A.· ·I'm not able to disclose that based upon the


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 41 of 235 PageID
                                     2405
                                                                                 41

·1· ·confidentiality agreement that I signed.
·2· · · · Q.· ·So have you ever been the subject of a Daubert
·3· ·motion in any of those three cases?
·4· · · · A.· ·Not that I'm aware of.
·5· · · · Q.· ·Okay.
·6· · · · · · ·So you're not familiar with the fact that, I
·7· ·guess, in the Smith case there was a request to have your
·8· ·testimony limited?
·9· · · · A.· ·What case?
10· · · · Q.· ·In the Miranda Smith -- which is the Estate of
11· ·Alvis Shrewsbury and it's, I guess, a West Virginia
12· ·Division of Corrections and Rehabilitation.
13· · · · A.· ·I'm familiar with the case.
14· · · · Q.· ·And it was in federal court in Beckley, West
15· ·Virginia, it looks like?
16· · · · A.· ·That would stand to reason.
17· · · · Q.· ·So is that the one that's still going on?
18· · · · A.· ·I -- I -- first of all, what -- what was -- what
19· ·did you find?· What type of motion was in there?
20· · · · Q.· ·So I'm looking at a memo and an order that was by
21· ·the court where, I guess, there was a limitation of your
22· ·ability to give an opinion about whether the death of Mr.
23· ·Shrewsbury was preventable.· When I say -- yeah, I said
24· ·preventable.
25· · · · · · ·And although they said you were certainly capable


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 42 of 235 PageID
                                     2406
                                                                                 42

·1· ·of rendering opinions about customs, practices and
·2· ·procedures, you were not permitted to give an opinion about
·3· ·whether his death would have been preventable.
·4· · · · A.· ·Which is news to me.
·5· · · · Q.· ·Okay.
·6· · · · · · ·So -- and I'll just -- just so you know, that
·7· ·order is dated September 13th of 2024.
·8· · · · A.· ·Thank you.
·9· · · · Q.· ·So, other than that, are you aware of any other
10· ·attempts to limit or prevent your testimony from being
11· ·given in a courtroom?
12· · · · A.· ·No, sir.
13· · · · Q.· ·Have you ever been sued?
14· · · · A.· ·I have.
15· · · · Q.· ·And how many times?
16· · · · A.· ·I believe it was once and it was dismissed at
17· ·summary judgment.
18· · · · Q.· ·And where was that?
19· · · · A.· ·It would have been in Hillsborough County,
20· ·through -- based upon my work for the Sheriff's Office.
21· · · · Q.· ·So you were sued by an inmate?
22· · · · A.· ·Correct.
23· · · · Q.· ·And I take it that what the inmate alleged
24· ·against you was not true.
25· · · · A.· ·Correct.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 43 of 235 PageID
                                     2407
                                                                                 43

·1· · · · Q.· ·And do you recall what the nature of the
·2· ·allegations were?
·3· · · · A.· ·Defamation of his legal materials, if I remember
·4· ·right.
·5· · · · Q.· ·Do you remember the inmate's name?
·6· · · · A.· ·I want to say it was Monteverde (ph).
·7· · · · · · ·It's funny how something like that sticks with
·8· ·you 20-something years later.
·9· · · · Q.· ·Okay.
10· · · · · · ·So do you remember an inmate named Ivan
11· ·Rodriguez?
12· · · · A.· ·I do not.
13· · · · Q.· ·Okay.· You're not aware that Ivan Rodriguez also
14· ·sued you?
15· · · · A.· ·He -- that's possible.
16· · · · Q.· ·Okay.
17· · · · A.· ·Ivan Rodriguez.
18· · · · Q.· ·So I guess the point I was gonna make is that not
19· ·everything that an inmate says can always be taken with
20· ·believability, let me just put it that way.
21· · · · · · ·MS. HARTON:· I would object to form.
22· · · · · · ·THE WITNESS:· Is there a question in there?
23· ·BY MR. BOGAN:
24· · · · Q.· ·Yeah.· Would you agree with me that not
25· ·everything inmates say is always credible or believable?


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 44 of 235 PageID
                                     2408
                                                                                 44

·1· · · · A.· ·I agree -- I agree with that.
·2· · · · Q.· ·And inmates many times have motivation to do a
·3· ·lot of things to gain advantage, privilege, whatever, in
·4· ·the system and they will be untruthful to foster their
·5· ·ability to make -- accomplish a gain in the system.
·6· · · · A.· ·Sure.
·7· · · · · · ·MS. HARTON:· Object -- object to form.
·8· · · · · · ·THE WITNESS:· I would agree with that.
·9· ·BY MR. BOGAN:
10· · · · Q.· ·Okay.
11· · · · · · ·And the same would go -- I'm assuming, then,
12· ·therefore, when you're reviewing things for purposes of --
13· ·of evaluating a case, that you have to take into
14· ·consideration that everything that inmates say may not
15· ·always be truthful.
16· · · · · · ·MS. HARTON:· Object to form.
17· · · · · · ·THE WITNESS:· I would agree with that.
18· ·BY MR. BOGAN:
19· · · · Q.· ·And that would even go in this case, right?
20· · · · A.· ·I would agree with that.
21· · · · Q.· ·And, in particular, when inmates come forward and
22· ·say that there are Friday night fights and that there are
23· ·things that corrections officers are doing to encourage
24· ·fights, you have to take that into consideration whether or
25· ·not it's believable or not.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 45 of 235 PageID
                                     2409
                                                                                 45

·1· · · · · · ·MS. HARTON:· Object to form.
·2· · · · · · ·THE WITNESS:· I would agree with that but, in
·3· · · · this specific instance, there is other testimony that
·4· · · · corroborates the very nature of Friday night fights.
·5· ·BY MR. BOGAN:
·6· · · · Q.· ·So there were only two inmates that said that,
·7· ·correct?
·8· · · · A.· ·Two inmates and then Deputy Justin Kosinski
·9· ·corroborated that in his testimony.
10· · · · Q.· ·Well, Deputy Kosinski didn't say there were
11· ·Friday night fights, he said he heard the term, correct?
12· · · · A.· ·He's heard the term and he's also heard --
13· ·potentially heard other employees -- other officers say
14· ·that term, themselves.
15· · · · Q.· ·Okay.· But saying a term doesn't necessarily mean
16· ·that it's truthful or it's happening, correct?
17· · · · · · ·MS. HARTON:· Object to form.
18· · · · · · ·THE WITNESS:· It would not but it corroborates
19· · · · the inmates' -- the very -- the very notion that
20· · · · Friday night fights occurred.
21· ·BY MR. BOGAN:
22· · · · Q.· ·So if --
23· · · · A.· ·If it didn't -- if they weren't occurring, if
24· ·this wasn't a thing, Deputy Kosinski wouldn't -- would
25· ·never have heard the term.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 46 of 235 PageID
                                     2410
                                                                                 46

·1· · · · Q.· ·So did you actually speak to those two inmates?
·2· · · · A.· ·I have not.
·3· · · · Q.· ·So you haven't interviewed Terry Place?
·4· · · · A.· ·I have not.
·5· · · · Q.· ·Do you know who did interview him to get that
·6· ·statement?
·7· · · · A.· ·I have no idea.
·8· · · · Q.· ·And the statement was presented to you in a
·9· ·written format?
10· · · · A.· ·Yes, it was.
11· · · · Q.· ·And it's part of what your materials are,
12· ·correct?
13· · · · A.· ·I believe so, yes, sir.
14· · · · · · ·I'm looking through the materials now to find the
15· ·number.
16· · · · Q.· ·So, in terms of Terry Place's motivation for
17· ·giving that testimony, do you have any idea whether or not
18· ·he had some particular ax to grind, reason to get back at
19· ·someone or the fact that he's just unhappy in the jail?
20· · · · A.· ·I have --
21· · · · · · ·MS. HARTON:· Object to form.
22· · · · · · ·THE WITNESS:· I have no idea.
23· ·BY MR. BOGAN:
24· · · · Q.· ·Okay.
25· · · · · · ·So just so I'm clear, as far as the written


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 47 of 235 PageID
                                     2411
                                                                                 47

·1· ·policies and procedures of the Marion County Jail are
·2· ·concerned, in your review of this case -- and you may or
·3· ·may not have been, I guess, targeting that particular topic
·4· ·but I just want to make sure -- you didn't notice anything
·5· ·that you believe was contrary to the Florida Model Jail
·6· ·Standards or FCAC Standards as it relates to the written
·7· ·procedures that you reviewed in this case.
·8· · · · · · ·MS. HARTON:· Object to form.
·9· · · · · · ·THE WITNESS:· From a comprehensive standpoint, I
10· · · · did not look at it in that manner; very limited in
11· · · · scope, specifically related to the -- how often --
12· · · · when and how often the checks were supposed to be
13· · · · conducted.
14· ·BY MR. BOGAN:
15· · · · Q.· ·Right.· And I think we talked about that already
16· ·and you found that those checks were consistent with what
17· ·the Florida Model Jail Standards and the FCAC required.
18· · · · A.· ·Yes.· They are consistent with both of those --
19· ·those bodies.· They don't comply with the standard of care,
20· ·though.
21· · · · Q.· ·So you would agree with me that under Florida
22· ·law, the Florida Model Jail Standards are what the jails
23· ·are required to follow -- the minimum of what jails must
24· ·follow.
25· · · · A.· ·That would be the minimum, yes, sir.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 48 of 235 PageID
                                     2412
                                                                                 48

·1· · · · Q.· ·And that's by law in Florida.
·2· · · · A.· ·Yes, sir.
·3· · · · Q.· ·So did the Hillsborough County Sheriff's Office
·4· ·jail conduct its inmate security checks in accordance with
·5· ·what Florida Model Jail Standards recommended?
·6· · · · A.· ·They did for a period of time and then it was
·7· ·expanded 24 hours a day.· I don't know -- when I left -- I
·8· ·don't know what it was when he left.· I had been reassigned
·9· ·to the courthouse in our training division for a number of
10· ·years prior to leaving -- going into retirement and I'm not
11· ·sure what it -- what the incremental time frame was that we
12· ·were utilizing at that point.
13· · · · Q.· ·So you had been, I guess, out of the jail for a
14· ·couple of years before you actually retired?
15· · · · A.· ·That's fair to say.
16· · · · Q.· ·Okay.
17· · · · A.· ·Between -- teen -- I had a couple of different
18· ·assignments at our courthouse and one within our training
19· ·division near the end of my career.
20· · · · Q.· ·Okay.
21· · · · · · ·So at the end of your career when you were still
22· ·there -- let me restate that.
23· · · · · · ·At the point that you were still at the jail, was
24· ·the -- the increments of time for -- and the hours that
25· ·were conducted for security and/or well-being checks the


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 49 of 235 PageID
                                     2413
                                                                                 49

·1· ·same as what Marion County uses?
·2· · · · A.· ·That I -- as I already said, I don't recall what
·3· ·the incremental time frame was.
·4· · · · Q.· ·All right.
·5· · · · A.· ·We went from the -- the eight hours in the
·6· ·nighttime, we expanded that to 24 hours a day where we
·7· ·were -- where we required our deputies to conduct
·8· ·well-being and wellness checks.
·9· · · · · · ·What I'm telling you is I don't recall if it was
10· ·a 30 -- if it was within every 30 minutes or within every
11· ·60 minutes.
12· · · · Q.· ·Okay.· And I guess I misunderstood.· I thought
13· ·you said that that 24 hours was what it was actually when
14· ·you left employment at the Sheriff's Office.
15· · · · A.· ·It was as far as I know because I was the one
16· ·that changed it to that many years before that.
17· · · · Q.· ·Okay.
18· · · · · · ·So what time frame did they switch it to 24 hours
19· ·as versus eight-hour shifts?
20· · · · A.· ·That would have been sometime between 2010 and --
21· ·I retired in 2021, so sometime in that 11-year period, we
22· ·had changed it because I instituted that change.
23· · · · Q.· ·Okay.· Well, that's a pretty big gap, I guess.
24· · · · · · ·So do you know specifically --
25· · · · A.· ·I don't.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 50 of 235 PageID
                                     2414
                                                                                 50

·1· · · · Q.· ·-- any other time frame?
·2· · · · A.· ·I don't.
·3· · · · Q.· ·And do you know for a fact they're still
·4· ·following that today?
·5· · · · A.· ·Oh, I couldn't tell you.· I'm not involved in
·6· ·their operation.
·7· · · · Q.· ·Do you have a copy of the -- I think I asked you
·8· ·this already, I'll make sure -- but you don't have a copy
·9· ·of the Hillsborough County Sheriff's Office --
10· · · · A.· ·No, sir.
11· · · · Q.· ·-- policies and procedures that were in effect in
12· ·2021?
13· · · · A.· ·No, sir.
14· · · · Q.· ·And you haven't done any comparison of those
15· ·policies to Marion County's policies in 2021?
16· · · · A.· ·No, sir.
17· · · · Q.· ·So did the Hillsborough County Sheriff's Office
18· ·conduct jail staffing analysis at any time in the calendar
19· ·years of 2017 through 2020?
20· · · · A.· ·I don't know.
21· · · · Q.· ·Have you ever seen the Hillsborough County Jail
22· ·conduct a staffing analysis through an independent agency
23· ·such as NIC or --
24· · · · A.· ·I do recall that occurring.· I don't know what
25· ·year it was but I recall that occurring at least once,


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 51 of 235 PageID
                                     2415
                                                                                 51

·1· ·maybe more than once, throughout my career.
·2· · · · Q.· ·Okay.
·3· · · · · · ·And is that because they were having staffing
·4· ·problems at the point when they requested the analysis?
·5· · · · A.· ·I'm not sure if it was that or if we were opening
·6· ·new facilities and -- I don't know.
·7· · · · · · ·In my career, we -- we -- at the beginning of my
·8· ·career we opened a brand-new facility, it was opened the
·9· ·year before I started.· It housed 1700 inmates but then
10· ·they -- during my career we built a whole 'nother facility
11· ·that could house 3300 inmates and that opened in different
12· ·phases and, certainly, a staffing analysis could have been
13· ·conducted at any one of those times or for other reasons,
14· ·even, I'm not sure.· I wasn't in a position of authority or
15· ·leadership at that time.
16· · · · Q.· ·Okay.
17· · · · · · ·So just so I understand the -- I guess the -- the
18· ·logistics of the Hillsborough jail, they had multiple
19· ·facilities -- or when I say facilities, multiple jails?
20· · · · A.· ·We had two.
21· · · · Q.· ·Two jails, okay.
22· · · · · · ·And so they had jail -- they call them Jail 1 and
23· ·Jail 2?
24· · · · A.· ·Jail Divisions 1 and 2.
25· · · · Q.· ·Jail -- 1 and 2.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 52 of 235 PageID
                                     2416
                                                                                 52

·1· · · · A.· ·Yeah.· 1's the Orient Road Jail and then the
·2· ·other one's the Falkenburg Road Jail.
·3· · · · Q.· ·Okay.
·4· · · · · · ·And so while you were there then, you were a
·5· ·commander in both of those facilities?
·6· · · · A.· ·At different times I was, yes, sir.
·7· · · · Q.· ·Okay.
·8· · · · · · ·And all of -- all of the jail system, then, is --
·9· ·who is in charge of that?· That is the Colonel?
10· · · · A.· ·That is the Colonel and I fell -- I was
11· ·immediately below the Colonel.
12· · · · Q.· ·Okay.
13· · · · · · ·And who was the Colonel in the jail at the time
14· ·that -- over the jail, I should say -- at the time you
15· ·retired?
16· · · · A.· ·That would have been Colonel Melissa Moore.
17· ·She's no longer the Colonel there, as far as I know.
18· · · · Q.· ·Okay.
19· · · · · · ·And who is currently the Colonel?
20· · · · A.· ·I believe it is Robert Ura, U-r-a.
21· · · · Q.· ·So just so we're clear, in 2021, how many inmates
22· ·would have been housed in the, I guess, Jail Division 1?
23· · · · A.· ·That, I'm unsure of.· The entire facility was not
24· ·being utilized.· They were utilizing portions of it and
25· ·they were renovating other portions of it.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 53 of 235 PageID
                                     2417
                                                                                 53

·1· · · · Q.· ·Okay.
·2· · · · · · ·So what was the -- what was the average daily
·3· ·inmate population for both of those jails in 2021?
·4· · · · A.· ·I'm -- this is an educated guess but it --
·5· ·probably around 32 or 3300, if I -- if memory serves me
·6· ·correctly.
·7· · · · Q.· ·And so did the average daily inmate population
·8· ·fluctuate from year to year?
·9· · · · A.· ·It typically did but not in great numbers.
10· · · · Q.· ·And so in -- when you left actually working in
11· ·the jail, that would have been in 2019?
12· · · · A.· ·I would have to look at my CV but that sounds
13· ·like it may be correct.
14· · · · Q.· ·Okay.
15· · · · · · ·And then that's when you transferred to, I think
16· ·you said, Court Services?
17· · · · A.· ·I went to Court Services for a very brief period
18· ·of time and then was moved to be the commander of our
19· ·training division.· And then, ultimately, before I retired,
20· ·I was transferred back to the courthouse.
21· · · · Q.· ·So does the training division handle both the
22· ·patrol and corrections?
23· · · · A.· ·Yes, it does, as well as civilians.
24· · · · Q.· ·So do you have any statistics for the
25· ·Hillsborough County Jail as far as that you would be able


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 54 of 235 PageID
                                     2418
                                                                                 54

·1· ·to compare to the Marion County Jail on, for example,
·2· ·inmate-on-inmate assaults?
·3· · · · A.· ·I don't have statistics.· I don't have anything
·4· ·in my possession related to the Hillsborough County
·5· ·Sheriff's Office and the operation of its jail.
·6· · · · Q.· ·Okay.
·7· · · · · · ·So you wouldn't be able to tell us, for example,
·8· ·how many inmate-on-inmate battery or assaults occurred in
·9· ·the Hillsborough County Jail in 2020 --
10· · · · A.· ·No, sir.
11· · · · Q.· ·-- or 2021?
12· · · · A.· ·No, sir.
13· · · · Q.· ·Would you agree with me it's impossible to
14· ·prevent an inmate-on-inmate assault?
15· · · · · · ·MS. HARTON:· Object to form.
16· · · · · · ·THE WITNESS:· Would I agree with you that it's
17· · · · impossible?
18· ·BY MR. BOGAN:
19· · · · Q.· ·Yeah, it's impossible for a jail administrator to
20· ·sit here today and tell me, I can guarantee you that no
21· ·inmate-on-inmate assault will ever occur in my jail?
22· · · · A.· ·Oh, I absolutely --
23· · · · · · ·MS. HARTON:· Object to form.
24· · · · · · ·THE WITNESS:· I'm sorry, Sam.
25· · · · · · ·MS. HARTON:· That's okay.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 55 of 235 PageID
                                     2419
                                                                                 55

·1· · · · · · · · · (Discussion off the record)
·2· · · · · · ·THE WITNESS:· I couldn't agree -- no jail
·3· · · · administrator could guarantee that there's gonna be
·4· · · · zero assaults -- inmate-on-inmate assaults.
·5· ·BY MR. BOGAN:
·6· · · · Q.· ·Okay.
·7· · · · A.· ·They can do things to reduce the possibility of
·8· ·that occurring, though.
·9· · · · Q.· ·Exactly.· And that was gonna be my next question.
10· ·I mean, they do -- they try to do their best to maintain a
11· ·facility and security to where it couldn't -- or shouldn't
12· ·happen but the reality of it is, it does and can happen and
13· ·they can't prevent it.
14· · · · · · ·MS. HARTON:· Object to form.
15· · · · · · ·THE WITNESS:· They can -- they can minimize it by
16· · · · having staff in the areas more frequently.
17· ·BY MR. BOGAN:
18· · · · Q.· ·Exactly.· But they can't prevent it a hundred
19· ·percent from ever happening.
20· · · · A.· ·I would agree with that.
21· · · · Q.· ·And would you agree with me that just because it
22· ·does occur or it does happen, it doesn't mean that the
23· ·officers had failed to adequately perform their duties?
24· · · · A.· ·I can agree with that, too.
25· · · · Q.· ·Do you know, in terms of -- I know you gave me an


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 56 of 235 PageID
                                     2420
                                                                                 56

·1· ·estimate on the average daily population for the jail in
·2· ·Hillsborough.· Do you know approximately how many inmates
·3· ·are booked in Hillsborough County each year?
·4· · · · · · ·MS. HARTON:· Object to the form.
·5· · · · · · ·THE WITNESS:· I don't know how many they book.                   I
·6· · · · can't even give you an estimate.
·7· ·BY MR. BOGAN:
·8· · · · Q.· ·Okay.· You couldn't even tell me whether it's a
·9· ·hundred thousand or --
10· · · · A.· ·No, sir.
11· · · · Q.· ·Okay.
12· · · · · · ·And would you agree with me that -- since you've
13· ·been to both jails, obviously -- that Hillsborough is a
14· ·bigger jail --
15· · · · A.· ·Yes, sir.
16· · · · Q.· ·-- and has bigger capacity?
17· · · · A.· ·Yes, sir.
18· · · · Q.· ·And Hillsborough County is a larger population
19· ·than Marion County.
20· · · · A.· ·Yes, sir.
21· · · · Q.· ·And it would be safe to say that, more likely
22· ·than not, Hillsborough has a higher average booking number
23· ·than Marion County.
24· · · · A.· ·I would suspect that.
25· · · · Q.· ·So other than -- well, strike that before I go


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 57 of 235 PageID
                                     2421
                                                                                 57

·1· ·on.
·2· · · · · · ·So during the period of time when you were at the
·3· ·jail, do you recall how many open positions the jail had
·4· ·for corrections deputies that were not filled?
·5· · · · A.· ·I do not know that answer.
·6· · · · Q.· ·Did they have openings that they could not fill
·7· ·in the Corrections Division while you were there at the
·8· ·jail?
·9· · · · A.· ·At different points, absolutely, yes, they did.
10· · · · Q.· ·And is that something that -- based on your
11· ·experience -- that it is common that jails and even prisons
12· ·sometimes experience difficulty in filling open positions
13· ·for corrections deputies?
14· · · · · · ·MS. HARTON:· Object to form.
15· · · · · · ·THE WITNESS:· Yes, sir.
16· ·BY MR. BOGAN:
17· · · · Q.· ·So when will the -- well, strike that.
18· · · · · · ·How did Hillsborough County deal with the issue
19· ·when they had positions that were available they couldn't
20· ·fill and they obviously still have a jail to run and
21· ·they've got, you know, deputies and inmates that need to be
22· ·surprised; how do you deal with that?
23· · · · A.· ·They did that through voluntary overtime.
24· · · · Q.· ·So in voluntary versus mandatory overtime; is
25· ·that why you say voluntary?


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 58 of 235 PageID
                                     2422
                                                                                 58

·1· · · · A.· ·Yes.· We were fortunate.· We had enough people
·2· ·that volunteered to do overtime where we never had to
·3· ·mandate it while -- at least while I was there.
·4· · · · Q.· ·Okay.
·5· · · · · · ·And mandating overtime would be, I guess, an
·6· ·option if, in fact, you didn't get folks to voluntarily
·7· ·agree to work overtime.
·8· · · · A.· ·Oh, we discussed it more than once because of --
·9· ·because we teetered on -- on the doorway of that, of not
10· ·having enough.
11· · · · Q.· ·Okay.
12· · · · · · ·So is there a particular -- well, strike that.
13· · · · · · ·Let me ask you this:· What type of housing units
14· ·did -- I guess, we'll do the -- was the newest one Division
15· ·1?
16· · · · A.· ·No.· I --
17· · · · · · ·Are you trying to figure out what type -- what
18· ·style of jail management we utilized?
19· · · · Q.· ·Yeah.· In the housing units, what their -- how
20· ·they were laid out, yes.
21· · · · A.· ·So they were -- primarily, they were direct
22· ·supervision jails, both of them, at least 90% of it, the
23· ·jails -- each of the jails were, with about 10% being
24· ·remote supervision, where we housed our lockdown inmates,
25· ·our administrative confinement, disciplinary confinement,


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 59 of 235 PageID
                                     2423
                                                                                 59

·1· ·own protection stuff, people like that.
·2· · · · · · ·At the Orient Road Jail, the cells -- each of
·3· ·the -- each of the pods had 48 cells, some of them were
·4· ·double-bunked, some were not.
·5· · · · · · ·And then, at the Falkenburg Road Jail, they were
·6· ·open-bay dormitories.
·7· · · · Q.· ·So the Falkenburg Jail, was that the newer jail
·8· ·or the older one?
·9· · · · A.· ·That is the newer one.
10· · · · · · ·And in both of those -- both instances, they're
11· ·operated in -- I think I already said direct supervision,
12· ·where we had a deputy right in there with the inmates.
13· · · · Q.· ·Okay.
14· · · · · · ·So in the open-dormitory unit in Falkenburg, how
15· ·many -- approximately how many were in each of the
16· ·dormitories?
17· · · · A.· ·Up to 72.· We housed up to 72 in each dormitory.
18· · · · Q.· ·And when you say direct supervision, are you
19· ·referring to the fact that the -- one of the housing unit
20· ·deputies is inside -- stationed inside of the dormitory or
21· ·he is stationed right outside the dormitory or how does
22· ·that work?
23· · · · A.· ·Well, they're right inside freely walking around
24· ·the pod where they could touch an inmate, an inmate could
25· ·touch them, there's no barriers.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 60 of 235 PageID
                                     2424
                                                                                 60

·1· · · · Q.· ·And so, in terms of -- of the setup for the
·2· ·housing unit which is dormitory style, where does the
·3· ·corrections deputy stay during the night?
·4· · · · A.· ·In the pod with the inmates.· They have a
·5· ·workstation that has a computer and other equipment that
·6· ·they might need, but they're in there 24 hours a day, seven
·7· ·days a week, 365 days a year.
·8· · · · Q.· ·Yeah.· And what I'm more interested in is that
·9· ·workstation and how that's set up inside of the unit.
10· · · · · · ·So is that in an area where he is elevated, where
11· ·the deputies are going to be able to observe things from an
12· ·elevated status?
13· · · · A.· ·Tricky question because some -- some were not
14· ·elevated and as I -- as I understand, as I was leaving they
15· ·were building some that I believe were elevated but they
16· ·were right out there in the open area of the pod.· They
17· ·weren't separated by walls or windows or anything, it
18· ·was -- they all breathed the same air.
19· · · · Q.· ·And how many deputies were inside of the housing
20· ·unit which had 72, I guess, inmates?
21· · · · A.· ·One.
22· · · · Q.· ·And the up to 72 inmates in that housing unit
23· ·were all on double bunks -- bunk beds, I guess?
24· · · · A.· ·No.· In fact, most of them were single bunks.
25· ·There was only a couple of double bunks in that area.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 61 of 235 PageID
                                     2425
                                                                                 61

·1· · · · Q.· ·Okay.
·2· · · · · · ·So then --
·3· · · · A.· ·It makes for better -- better line of sight and
·4· ·vision when you're looking out throughout the pod to
·5· ·observe the inmates and make sure nothing bad is happening.
·6· · · · Q.· ·So did they use double bunks at all or not?
·7· · · · A.· ·We had -- at the opposite end of the pod, there
·8· ·was one cubical -- so the -- the dormitories at Falkenburg
·9· ·Road Jail were set up in cubicles where four inmates were
10· ·assigned to each cubical, they all had a single bunk of
11· ·their own and none of them -- those weren't double-
12· ·stacked -- but there was one cubical that had a -- there
13· ·was one or two cubicles that had one bunk bed each in it.
14· · · · Q.· ·Okay.
15· · · · A.· ·They were at the far end and against the wall, if
16· ·my memory serves me correctly.
17· · · · Q.· ·Okay.
18· · · · · · ·So have you been to Gulf Pod in Marion County
19· ·Jail?
20· · · · A.· ·I have not.· I've only seen video of it.
21· · · · Q.· ·Okay.
22· · · · · · ·MS. HARTON:· Hey, Bruce, we've been going about
23· · · · an hour 20.
24· · · · · · ·MR. BOGAN:· Okay.
25· · · · · · ·MS. HARTON:· I don't know how much you have left


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 62 of 235 PageID
                                     2426
                                                                                 62

·1· · · · but if we want to take a break or if we just want to
·2· · · · power through it.
·3· · · · · · ·MR. BOGAN:· Yeah, this is fine.· This is a good
·4· · · · time to take a break.
·5· · · · · · ·MS. HARTON:· Five, ten minutes?
·6· · · · · · ·MR. BOGAN:· Yeah.· Ten?
·7· · · · · · ·MS. HARTON:· I said five but it's -- it's up to
·8· · · · you guys.
·9· · · · · · ·MR. BOGAN:· Five's good with me.· Whatever.
10· · · · · · ·MS. HARTON:· Let's come back at 11:30, seven
11· · · · minutes.
12· · · · · · ·MR. BOGAN:· Sounds good.· All right.
13· · · · · · · · · (Whereupon, a short break was taken)
14· · · · · · ·MR. BOGAN:· All right.· Let's go back on the
15· · · · record.
16· ·BY MR. BOGAN:
17· · · · Q.· ·In reviewing your report, one of the criticisms
18· ·that -- that I know you have against the Marion County Jail
19· ·policies is related to the fact that they were doing the
20· ·security checks every 60 minutes between the hours of 10:00
21· ·p.m. and 6:00 a.m.· And in your view, that is inadequate;
22· ·am I characterizing that accurately?
23· · · · A.· ·Yes, you are.
24· · · · · · ·More frequent officer presence is the more that
25· ·deters bad behavior such as inmate assaults.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 63 of 235 PageID
                                     2427
                                                                                 63

·1· · · · Q.· ·Okay.
·2· · · · A.· ·As well as a host of other things.
·3· · · · Q.· ·And so -- and that's what I'm trying to figure
·4· ·out here.
·5· · · · · · ·In terms of your -- the support for your position
·6· ·that that's inadequate, I know you've cited the U.S.
·7· ·Department of Justice, National Resources for Jail
·8· ·Administrators.
·9· · · · · · ·Is there any other authoritative text of any kind
10· ·that you have relied upon to support that opinion?
11· · · · A.· ·I would have to look at my report to see what's
12· ·in there.
13· · · · Q.· ·Okay.· Go ahead.
14· · · · A.· ·Yeah.· There's a couple of different resources,
15· ·they're both put out by the National Institute of
16· ·Corrections.· One is the Sheriff's Guide to Effective Jail
17· ·Operations and then the other is the Resource Guide for
18· ·Jail Administrators.
19· · · · Q.· ·Okay.
20· · · · · · ·Any other sources that you're relying upon?
21· · · · A.· ·No, sir.
22· · · · Q.· ·Okay.
23· · · · · · ·And, I guess, can we agree that the -- the
24· ·National Resource for Jail Institute -- or, excuse me, Jail
25· ·Administration, it was not intended, actually, to establish


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 64 of 235 PageID
                                     2428
                                                                                 64

·1· ·policies or procedures for standard of care for any
·2· ·particular jail, these were put out as guidelines that you
·3· ·can or you can choose not to follow but it's not mandated
·4· ·by any law?
·5· · · · · · ·MS. HARTON:· Object to the form.
·6· · · · · · ·THE WITNESS:· So they support my position that
·7· · · · more frequent checks are reasonable and prudent and I
·8· · · · know that the -- those documents actually say that
·9· · · · it's not intended to establish a standard of care.
10· · · · But it also -- it also talks about these are sound
11· · · · correctional principles and practices, and they are.
12· · · · And that's -- if you don't -- if you don't supervise
13· · · · the inmates, they're gonna do what they want to do.
14· · · · · · · · · More frequent observation of them -- and I'm
15· · · · never gonna say that -- that direct supervision is the
16· · · · only way to manage an inmate population because direct
17· · · · supervision, remote supervision, linear supervision,
18· · · · they're all acceptable models of jail supervision and
19· · · · management.
20· · · · · · · · · When you operate something other than a
21· · · · direct supervision, you have to make sure your staff
22· · · · members are in there more frequently than every hour
23· · · · only between the hours of 10:00 p.m. and 6:00 a.m.· If
24· · · · they are not, inmates are going to do what they want
25· · · · to do.· The laws of the jungle prevail at that point.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 65 of 235 PageID
                                     2429
                                                                                 65

·1· · · · The biggest and the strongest is gonna have their way
·2· · · · with the weaker.
·3· ·BY MR. BOGAN:
·4· · · · Q.· ·So can we agree, then, that these are not
·5· ·standard of cares that have to be followed -- well, let me
·6· ·restate that.
·7· · · · · · ·Can we agree that this policy by the National
·8· ·Resource for Jail Administrators is within their discretion
·9· ·to whether or not they can set up that level of a
10· ·supervision or check or they can choose to do something
11· ·differently because, obviously, they can choose to follow
12· ·something less or more, depending upon what their
13· ·jurisdiction is and what their circumstances are?
14· · · · · · ·MS. HARTON:· Objection to form.
15· · · · · · ·THE WITNESS:· A reasonable and prudent jail
16· · · · administrator would inact policies that would require
17· · · · checks at least 30 minutes apart 24 hours a day.
18· ·BY MR. BOGAN:
19· · · · Q.· ·Okay.
20· · · · A.· ·That's what a reasonable and prudent
21· ·administrator would do.
22· · · · Q.· ·And you would agree with me it's not a deviation
23· ·of a standard of care for reasonable supervision of inmates
24· ·not to have a policy that requires 30-minute interval
25· ·checks versus 60-minute interval checks on an eight-hour


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 66 of 235 PageID
                                     2430
                                                                                 66

·1· ·basis?
·2· · · · A.· ·Could you repeat that?
·3· · · · Q.· ·Yeah.
·4· · · · · · ·Can we agree that an administrator's decision not
·5· ·to have 30-minute interval checks 24 hours a day, instead,
·6· ·doing 60-minute checks eight hours a day, plus having
·7· ·the -- obviously, the officers still present in the
·8· ·facility the remainder of the day, is not a deviation of
·9· ·some standard of care?
10· · · · A.· ·It would be --
11· · · · · · ·MS. HARTON:· Object to form.
12· · · · · · ·THE WITNESS:· It would be a deviation of the
13· · · · standard of care, in my opinion.
14· ·BY MR. BOGAN:
15· · · · Q.· ·In your opinion.
16· · · · · · ·So is it your opinion, then, that this -- this
17· ·standard of care from the National Resource Jail
18· ·Administrator must be followed by the Hernando -- excuse
19· ·me, by the Marion County Jail?
20· · · · A.· ·I didn't say that that was the -- that they
21· ·created the standard, I said a reasonable and prudent jail
22· ·administrator would do that.
23· · · · · · ·Now, that -- that document -- those books, if you
24· ·will, they support my opinion.· But that is my opinion that
25· ·the 30-minute -- 30-minute watches 24 hours a day or 30-


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 67 of 235 PageID
                                     2431
                                                                                 67

·1· ·minute staggered watches, unpredictible, within the 30-
·2· ·minute time frame is the prudent and sound way of managing
·3· ·a jail --
·4· · · · Q.· ·Would you --
·5· · · · A.· ·-- thereby producing -- or reducing the
·6· ·possibility of inmate-on-inmate assaults.
·7· · · · Q.· ·Would you agree with me that whether or not there
·8· ·was a deviation of a correctional standard of care is a
·9· ·decision that the jury has to make as opposed to an expert?
10· · · · · · ·MS. HARTON:· Object to form.
11· · · · · · ·THE WITNESS:· I wouldn't agree with that.
12· ·BY MR. BOGAN:
13· · · · Q.· ·No?· Okay.
14· · · · · · ·So you believe that's your role in this case, to
15· ·say, A, what the standard is and, B, whether there was a
16· ·deviation of that standard?
17· · · · A.· ·Absolutely.
18· · · · · · ·MS. HARTON:· Object to form.
19· ·BY MR. BOGAN:
20· · · · Q.· ·In this particular case, then -- and just so I
21· ·want to be clear -- you're not suggesting that the law in
22· ·Florida requires the National Resource Jail Administrator
23· ·policies or the Sheriff's guide that you referenced must be
24· ·followed under Florida law.
25· · · · A.· ·I'm saying --


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 68 of 235 PageID
                                     2432
                                                                                 68

·1· · · · · · ·MS. HARTON:· Object to form.
·2· · · · · · ·THE WITNESS:· I'm saying a reasonable and prudent
·3· · · · jail administrator would have -- would inact policies
·4· · · · that conform with that 30-minute window 24 hours a
·5· · · · day.· Does Florida law require that?· No, Florida law
·6· · · · does not require that.
·7· ·BY MR. BOGAN:
·8· · · · Q.· ·Okay.· Thank you.
·9· · · · A.· ·Florida law requires less than.· And, in my
10· ·opinion, it's not good enough.
11· · · · Q.· ·So, do you have a -- a number that you can tell
12· ·me of the jails within the state of Florida that follow
13· ·that specific guideline of doing 24 hours a day and 30-
14· ·minute interval checks on its inmates?
15· · · · A.· ·I couldn't tell you that number.
16· · · · · · ·I would hope that they all do it because
17· ·inmate-on-inmate fights can occur 24 hours a day and will
18· ·occur 24 hours a day, if you're not in there.
19· · · · Q.· ·Okay.
20· · · · · · ·So you don't have any numbers that you can give
21· ·me of what percentages of the jails in Florida follow what
22· ·you've described as what you think is reasonable.
23· · · · A.· ·No, I don't.
24· · · · Q.· ·You're not disputing that Marion County has
25· ·policies and procedures in place for supervision in


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 69 of 235 PageID
                                     2433
                                                                                 69

·1· ·managing and controlling inmates that are in conformance
·2· ·with not only the Florida Model Jail Standards, as well as
·3· ·the Florida Correctional Accreditation Commission.
·4· · · · · · ·MS. HARTON:· Object to form.
·5· · · · · · ·THE WITNESS:· I'm saying that the policies that
·6· · · · the Marion County Jail has in place are inadequate;
·7· · · · however, they do conform with the Florida Model Jail
·8· · · · Standards but they're still inadequate.
·9· ·BY MR. BOGAN:
10· · · · Q.· ·So the -- going back to the second -- to the
11· ·issue of classification, there are some terms that were
12· ·thrown out and I just want to get your view of what you're
13· ·characterizing -- and maybe it's based on what you've
14· ·reviewed from the Sheriff's Office, I don't know -- but how
15· ·would you characterize an inmate who has a felony charge
16· ·that is nonassaultive, what does that mean to you versus an
17· ·assaultive felony charge?
18· · · · A.· ·I'm basing that on how they characterize that and
19· ·how they documented it.
20· · · · · · ·But, certainly, if there's violence or the threat
21· ·of violence involved in someone's crime, it would be a
22· ·violent crime.
23· · · · Q.· ·Okay.
24· · · · · · ·And what is -- what is violence -- so does an
25· ·assaultive crime -- well, strike that.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 70 of 235 PageID
                                     2434
                                                                                 70

·1· · · · · · ·Does assaultive felony, in your opinion, always
·2· ·have to be violent?
·3· · · · A.· ·There's a threat of violence so that -- I mean,
·4· ·otherwise, where does the assault come from if there's no
·5· ·threat of violence?
·6· · · · Q.· ·And I'm not asking for a legal opinion, I'm just
·7· ·understanding what your view of that -- the term is because
·8· ·I don't think it's particularly very clear and I'll just be
·9· ·honest with you.
10· · · · · · ·Okay.· So an assault -- a nonassaultive felon is
11· ·someone who can be charged with a rape?
12· · · · · · ·MS. HARTON:· Object to form.
13· · · · · · ·THE WITNESS:· Say that question again?
14· ·BY MR. BOGAN:
15· · · · Q.· ·Yeah.· Is a nonassaultive felon a person that can
16· ·be charged with rape?
17· · · · · · ·MS. HARTON:· Object to form.
18· · · · · · ·THE WITNESS:· There may be circumstances that --
19· · · · · · · · · One, I don't know that Florida has a rape
20· · · · charge, even, that they utilize.
21· ·BY MR. BOGAN:
22· · · · Q.· ·Sexual battery, yeah.
23· · · · A.· ·Sexual assault, I believe, is the charge that
24· ·they use.· And, certainly, there are instances where sexual
25· ·assaults are charged where they have -- based on ages of --


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 71 of 235 PageID
                                     2435
                                                                                 71

·1· ·of the perpetrator and the victim, if you will, that it's
·2· ·automatically classified as a sexual assault despite the
·3· ·fact that there's no threat of violence occurring, just
·4· ·based merely on the ages of the participants -- of the two
·5· ·people.
·6· · · · Q.· ·So you agree that minors can't consent to having
·7· ·sex in Florida; if you're under the age of --
·8· · · · A.· ·I -- I agree with that.· But your question was,
·9· ·is it violent?· Is it always -- is there violence involved?
10· ·And there's not always violence involved.
11· · · · Q.· ·And so you believe, then, that they should -- in
12· ·classification, they should always split that hair and
13· ·decide whether the nonconsensual sexual battery charge is
14· ·violent versus nonviolent.
15· · · · · · ·MS. HARTON:· Object to form.
16· · · · · · ·THE WITNESS:· They should consider that, yes.
17· ·BY MR. BOGAN:
18· · · · Q.· ·Okay.
19· · · · · · ·So, in terms of your opinions on, you know, the
20· ·segregation of inmates, have you relied upon any
21· ·authoritative text?
22· · · · A.· ·Upon the segregation of inmates?
23· · · · Q.· ·Yeah.· Separation, Class 3, yeah.
24· · · · A.· ·I believe I listed some supporting articles in
25· ·there.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 72 of 235 PageID
                                     2436
                                                                                 72

·1· · · · Q.· ·So -- articles.· Okay.
·2· · · · · · ·So are these articles --
·3· · · · A.· ·Or publications, I should say.
·4· · · · Q.· ·What publication -- besides an article -- have
·5· ·you relied upon to support your position on the inmate
·6· ·classification or separation?
·7· · · · A.· ·So the National Institutes of Corrections -- of
·8· ·Jail -- Objective Jail Classification System, a Guide for
·9· ·Jail Administrators.
10· · · · Q.· ·Same authority that was previously cited by you
11· ·for the inmate checks?
12· · · · A.· ·No.· It's a different publication.· Same -- same
13· ·National Institute of Corrections, yes.
14· · · · Q.· ·Okay.
15· · · · · · ·Again, a guideline but not a mandatory guide that
16· ·has to be followed by a Marion County Jail official.
17· · · · A.· ·So we can probably make this pretty easy.
18· · · · · · ·There's not a written national guideline
19· ·regarding jail and prison operations, that's where the
20· ·standard of care comes in, is what would a reasonable and
21· ·prudent jail administrator or sheriff or warden, whoever
22· ·you want to put in charge of that facility, what should
23· ·they -- what would they be doing?
24· · · · Q.· ·And what did Hernando -- excuse me, Hillsborough
25· ·County -- I apologize for saying Hernando because I just


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 73 of 235 PageID
                                     2437
                                                                                 73

·1· ·finished a Hernando County case yesterday -- so what did
·2· ·Hillsborough County Jail's policies and procedures provide
·3· ·as it relates to the housing of sex offenders?
·4· · · · A.· ·It depended on a case-by-case basis where they
·5· ·were housed.· Some were housed in isolation for their own
·6· ·protection and some were housed in the general population.
·7· · · · Q.· ·So you would agree that there is a risk to sex
·8· ·offender inmates being housed in general population and
·9· ·that's one of the reasons why they considered that and
10· ·considered housing them together?
11· · · · A.· ·Sure.· I agree with that.
12· · · · Q.· ·And sex offenders -- and particularly depending
13· ·on the charge -- but the sex offense involving a minor
14· ·could even be more dangerous with housing that person in
15· ·general population.
16· · · · A.· ·Depending on the -- on the circumstances of, you
17· ·know, the age of the minor and levels of violence, if there
18· ·is violence.· A whole number of things would go into
19· ·consideration when you're determining where to house them.
20· · · · · · ·And, certainly -- certainly, the inmate,
21· ·themselves, if they request protective custody or not.
22· · · · Q.· ·Do you know -- do you know why Cory Merchant had
23· ·requested a keep-away on the inmates that were identified
24· ·in his keep-away request?
25· · · · A.· ·I don't know.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 74 of 235 PageID
                                     2438
                                                                                 74

·1· · · · · · ·MS. HARTON:· Object to the form.
·2· ·BY MR. BOGAN:
·3· · · · Q.· ·Have you ever interviewed Krysti Merchant or
·4· ·Tommie Merchant, the Plaintiffs in this case?
·5· · · · A.· ·No, sir.
·6· · · · Q.· ·Do you have a copy of the criminal investigation?
·7· ·Is that part of what you reviewed as far as Cory Merchant's
·8· ·case?
·9· · · · A.· ·I can't remember.· I would have to look.                 I
10· ·believe there was some investigative materials that I
11· ·utilized but I'm not a hundred percent sure, I'd have to
12· ·look at my list of documents.
13· · · · Q.· ·Okay.
14· · · · · · ·I mean -- I mean, if you want to look, I'm not
15· ·stopping you from looking but I guess it's important to
16· ·know, obviously, that -- what the nature of this charge was
17· ·and the circumstances behind it.· I think you're suggesting
18· ·that the Sheriff should consider that.
19· · · · A.· ·I'm sorry, I was mistaken.· I thought you were
20· ·talking about after the incident with Cory Merchant.
21· · · · Q.· ·Oh.
22· · · · A.· ·You're talking about arrest documents leading --
23· ·that brought Latterloah and Merchant into the jail to begin
24· ·with.
25· · · · Q.· ·Yes.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 75 of 235 PageID
                                     2439
                                                                                 75

·1· · · · A.· ·Yes, there was specific violence threatened by
·2· ·Lutterloah and utilized by Lutterloah and I didn't see any
·3· ·of that with Merchant.
·4· · · · Q.· ·And what did you see with Merchant?
·5· · · · A.· ·That he was having -- he had -- had some sort
·6· ·of relationship with an underaged girl where he and her
·7· ·were -- he was sneaking in and out of her house through a
·8· ·window having sex.
·9· · · · Q.· ·So that's what you would characterize it as, as
10· ·an underaged girl relationship?
11· · · · A.· ·I didn't see anything to -- to dispute that.
12· · · · Q.· ·Okay.
13· · · · A.· ·And maybe I just don't recall.· I don't know.
14· · · · Q.· ·Okay.
15· · · · A.· ·I remember him going in and out through a window.
16· · · · Q.· ·Did you -- were you aware that there was an
17· ·investigation whether or not Cory Merchant was attempting
18· ·to contact the victim to try and get her to drop the
19· ·testimony against him?
20· · · · · · ·MS. HARTON:· Object to form.
21· · · · · · ·THE WITNESS:· I don't recall.· That doesn't mean
22· · · · it's not there, I just don't recall.
23· ·BY MR. BOGAN:
24· · · · Q.· ·Okay.· That, in fact, someone -- and that the
25· ·investigation centered around it -- wrote a letter to the


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 76 of 235 PageID
                                     2440
                                                                                 76

·1· ·victim representing that it was the Plaintiff, Krysti
·2· ·Merchant, that was writing this letter asking Cory --
·3· ·asking the victim to drop the case against Cory.· And it
·4· ·turns out the investigation showed that it wasn't Krysti
·5· ·Merchant that wrote that letter.· You did not see that?
·6· · · · A.· ·I don't recall that.
·7· · · · Q.· ·Okay.
·8· · · · · · ·And the suspicion was that, in fact it was Cory
·9· ·Merchant that was writing that letter to the victim and
10· ·using his sister's name.· You don't -- didn't have that?
11· · · · A.· ·I don't recall.
12· · · · Q.· ·I'm assuming you haven't, then, looked at any of
13· ·the -- well, strike that.
14· · · · · · ·You watched the videos, correct, from that night?
15· · · · A.· ·Yes, sir.
16· · · · Q.· ·Have you listened to any audio recordings?
17· · · · A.· ·I don't remember.· I'd have to look at my list.
18· · · · · · ·Yes.· There was -- there was a number of
19· ·interviews that I listened to.
20· · · · Q.· ·Okay.
21· · · · · · ·So -- and I think I've asked you this but I want
22· ·to make sure you haven't spoken to any of the people that
23· ·were in the facility or housed in that dormitory that
24· ·night.
25· · · · A.· ·No, sir.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 77 of 235 PageID
                                     2441
                                                                                 77

·1· · · · Q.· ·And all of the statements that you've looked at
·2· ·are the ones that are, obviously, contained within your
·3· ·file but they were statements taken by the Sheriff's
·4· ·criminal investigator?
·5· · · · A.· ·Say that again, please?
·6· · · · Q.· ·Yeah.· The statements that you've looked at or
·7· ·read or heard, were those all taken by the Sheriff's
·8· ·criminal investigators?
·9· · · · A.· · Other than --
10· · · · · · ·MS. HARTON:· Object to the form.
11· · · · · · ·THE WITNESS:· Other than the two previously
12· · · · mentioned statements from -- that were written by the
13· · · · two inmate -- former inmates.
14· ·BY MR. BOGAN:
15· · · · Q.· ·Okay.· So the interviews of Terry Place and
16· ·Steven Murphy, those were taken by whom?
17· · · · A.· ·I don't know.· I read a document.· That's what I
18· ·read.· I don't know anything else about it.
19· · · · Q.· ·So what's your understanding of what the security
20· ·activity is, in terms of the officers' presence in the
21· ·daytime hours at the jail, for example, Gulf Pod?
22· · · · A.· ·I have no clue.· I didn't -- I don't see where
23· ·they're mandated to even go in and out of there probably
24· ·other than to do their other duties such as feeding, maybe
25· ·changing laundry, bringing the nurse through, things like


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 78 of 235 PageID
                                     2442
                                                                                 78

·1· ·that.· There's no other mandate that says they have to be
·2· ·in there at all.
·3· · · · Q.· ·So, in terms of the officer's duties during the
·4· ·day, you're not familiar with what he's requred to do as
·5· ·far as those inmates are concerned?
·6· · · · A.· ·I can't recall if there was a -- a post order
·7· ·that outlined that or not.· There may be.· It doesn't -- it
·8· ·doesn't require them to be in there a certain amount of
·9· ·time, though.
10· · · · Q.· ·Okay.
11· · · · · · ·So -- but they are responsible to do a lot of
12· ·things for those inmates throughout the day; you would
13· ·agree with that, correct?
14· · · · A.· ·Sure, I agree.
15· · · · Q.· ·They're responsible to make sure they are fed
16· ·three times a day, beginning at 6:00 a.m.· They're
17· ·responsible to do inmate checks, in other words, counts,
18· ·checks during the day.
19· · · · A.· ·Well, counts and checks are different things.
20· · · · Q.· ·Okay.· Correct.
21· · · · · · ·A count is done as well as a check.· Both in the
22· ·night and during the day there are counts done, correct?
23· · · · A.· ·I would agree with that.
24· · · · Q.· ·Okay.
25· · · · · · ·And then, again, you mentioned the fact that they


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 79 of 235 PageID
                                     2443
                                                                                 79

·1· ·are responsible to make sure the food -- inmate food is
·2· ·brought in and that they're served in that dormitory --
·3· ·that same dormitory -- you agree with that -- that -- where
·4· ·they -- the housing of the bunks are, correct?
·5· · · · A.· ·Yes, I agree with that.
·6· · · · Q.· ·And so the officer has to come in when food is
·7· ·being delivered and when the food is being passed out,
·8· ·correct?
·9· · · · A.· ·Based on what I saw on video, the officer stands
10· ·at the door while that's being passed out.· They don't --
11· ·they're not going in and walking through the pod conducting
12· ·any type of safety or security or well-being check, they're
13· ·simply monitoring the feeding process right there at the
14· ·door --
15· · · · Q.· ·Okay.
16· · · · · · ·And --
17· · · · A.· ·-- based on the video I saw.
18· · · · Q.· ·Based on one video you saw, but do you know for a
19· ·fact that the officers never go in the cell -- or, excuse
20· ·me, the dormitory every time food is delivered or served?
21· · · · · · ·MS. HARTON:· Object to form.
22· · · · · · ·THE WITNESS:· I've only seen one video and they
23· · · · were standing right inside the doorway.
24· ·BY MR. BOGAN:
25· · · · Q.· ·Okay.· So other than that video, you have no


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 80 of 235 PageID
                                     2444
                                                                                 80

·1· ·other information as to what else is done when the feeding
·2· ·is done, which is three times a day, correct?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·And they also -- when the nurse comes to deliver
·5· ·medications, they have to go into or at the cell door.
·6· ·When the nurse calls out the inmate's name, they line up
·7· ·and then their medications are given and the officer has to
·8· ·stand there right with the nurse, fair?
·9· · · · A.· ·Correct.· They stand right there with the nurse,
10· ·probably right inside the door, I'm assuming.· Just like
11· ·when they feed the inmates, they're not walking around --
12· ·based on common practice, they wouldn't be walking around
13· ·bunk to bunk to pass medication out, they would have the
14· ·inmates line up, typically, at the door, where the nurse
15· ·would position herself -- the nurse and the deputy.
16· · · · Q.· ·So they also are required to have movement of the
17· ·inmates for various reasons throughout the day; some may
18· ·have to go to court, some may have to go out for exercise,
19· ·so there's a lot of different reasons besides just meals
20· ·and medical for an officer to go in the housing unit during
21· ·the day, correct?
22· · · · A.· ·None of those things require the officer or the
23· ·deputy to walk around and ensure the security and the
24· ·safety of the inmates that are in there.· All of that,
25· ·everything that you just mentioned, whether it's feeding,


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 81 of 235 PageID
                                     2445
                                                                                 81

·1· ·the nurse, pulling inmates out for recreation, out for
·2· ·court, all of that can be and is routinely done from a
·3· ·doorway.
·4· · · · Q.· ·Well -- and, again, that's what your assumption
·5· ·is --
·6· · · · A.· ·Yes.
·7· · · · Q.· ·-- but you don't know for a fact, do you --
·8· · · · A.· ·No.
·9· · · · Q.· ·-- because you only saw one video that saw a guy
10· ·standing at the door, correct?
11· · · · A.· ·You are correct.
12· · · · Q.· ·So in terms of other types of checks, would you
13· ·agree that periodically -- and I'm not saying it happens
14· ·every day -- but there are searches, there are things that
15· ·are done that are not planned with the officers and the
16· ·inmates, as far as would be a security type, you know, duty
17· ·on the part of the deputies, fair?
18· · · · A.· ·I agree with that.
19· · · · Q.· ·So, you know, I know that you have this criticism
20· ·about that the security checks are predictible because they
21· ·start at 10:00 o'clock and so, therefore, the inmates
22· ·somehow can time when the prediction -- or when the --
23· ·their presence is going to be done.
24· · · · · · ·So I guess my question to you, would you agree
25· ·with me that the testimony in this case is that the -- in


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 82 of 235 PageID
                                     2446
                                                                                 82

·1· ·terms of -- we're just talking the Gulf Pod housing units;
·2· ·they are not consistently done in the cell checks in the
·3· ·same manner every night other than whichever housing unit
·4· ·they select to begin with, that's what starts it first,
·5· ·fair?
·6· · · · · · ·MS. HARTON:· Object to form.
·7· · · · · · ·THE WITNESS:· I didn't follow that question at
·8· · · · all.
·9· ·BY MR. BOGAN:
10· · · · Q.· ·So let's just say, hypothetically, Gulf Pod, they
11· ·stuck -- you know that there's more than one housing unit
12· ·in the Gulf Pod, right?
13· · · · A.· ·Yes, sir.
14· · · · Q.· ·Okay.
15· · · · · · ·And so, if the housing search -- or not search --
16· ·security check starts at 10:00 o'clock, they cannot,
17· ·obviously, go in all four housing units at the same time,
18· ·correct?
19· · · · A.· ·That's correct.
20· · · · Q.· ·They've got to do them one at a time, fair?
21· · · · A.· ·Correct.
22· · · · Q.· ·Okay.
23· · · · · · ·So there's nothing that indicates that they do
24· ·the same housing units in the same manner consecutively
25· ·each night, Do you see anything that says that?


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 83 of 235 PageID
                                     2447
                                                                                 83

·1· · · · A.· ·No.
·2· · · · · · ·MS. HARTON:· Object to the form.
·3· · · · · · ·THE WITNESS:· I do not.
·4· ·BY MR. BOGAN:
·5· · · · Q.· ·And so, again, my question is, A, obviously, the
·6· ·housing units are separate and so you can't search all four
·7· ·units simultaneously, fair?
·8· · · · A.· ·Correct.
·9· · · · Q.· ·And so it's going to take some period of time for
10· ·each unit to be inspected or checked, I should say; fair?
11· · · · A.· ·That is true.· And if they were keeping accurate
12· ·records, they would keep track of what time they were in
13· ·which of the units between this time and this time --
14· · · · Q.· ·Okay.
15· · · · A.· ·-- instead of just using one blanket time to
16· ·start and finish for four different units.
17· · · · Q.· ·Okay.
18· · · · · · ·So -- so, I guess, again, going back to my
19· ·question, you would agree that they're not conducting every
20· ·search of housing units in Gulf Pod at 10:00 p.m.
21· · · · · · ·MS. HARTON:· Object to form.
22· · · · · · ·THE WITNESS:· They can't do all four at one time,
23· · · · I would agree with that.
24· ·BY MR. BOGAN:
25· · · · Q.· ·Okay.· It's virtually impossible to say -- to


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 84 of 235 PageID
                                     2448
                                                                                 84

·1· ·say, absolutely, at 10:00 o'clock tonight that this officer
·2· ·is gonna be coming in our unit because he doesn't know
·3· ·which unit's gonna be searched first -- or checked first.
·4· · · · A.· ·I agree.
·5· · · · Q.· ·Okay.
·6· · · · · · ·So -- and at the end of the night, obviously, a
·7· ·search or check -- I'm sorry -- a check of the unit is
·8· ·going to take anywhere from 10 to 15 minutes per housing
·9· ·unit.
10· · · · · · ·MS. HARTON:· Object to form.
11· · · · · · ·THE WITNESS:· It should take longer than that if
12· · · · they're doing an adequate check of each inmate.
13· ·BY MR. BOGAN:
14· · · · Q.· ·Well -- and, again, depending upon, I guess, what
15· ·you consider to be necessary but they're walking through
16· ·areas which are all double-bunked, correct?
17· · · · A.· ·Sure.
18· · · · Q.· ·So you're -- essentially, you can look at two
19· ·inmates at once when you're walking through the aisle --
20· · · · A.· ·I disagree that that's an adequate check.
21· · · · · · ·You might -- you might know that they're both
22· ·there, they haven't escaped, but you haven't done an
23· ·adequate wellness check because you don't know if the
24· ·person's alive and breathing.· You're looking at both of
25· ·them at one time.· Like you're saying, you have to spend an


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 85 of 235 PageID
                                     2449
                                                                                 85

·1· ·ample amount of time there to make sure you see that.· And,
·2· ·certainly, at night when they're under a blanket and it's
·3· ·dark, it's more difficult to do that.· So, in theory, it
·4· ·should take a little bit longer at night to do these checks
·5· ·than it would during the day where everybody's up walking
·6· ·around.
·7· · · · Q.· ·So would you agree with me that this -- that
·8· ·issue, whether or not Cory Merchant, for example, was in
·9· ·bed unconscious and suffering from some medical condition
10· ·is not what this case is about?
11· · · · A.· ·It is not.
12· · · · Q.· ·This is --
13· · · · A.· ·But the amount of time that you spent -- that the
14· ·officers spend in that pod, in that unit, directly reflects
15· ·upon the level of violence that may or may not exist there.
16· · · · · · ·Without the --
17· · · · · · ·I think, where you're -- where you and I aren't
18· ·seeing eye to eye or communicating this the best is, I'm
19· ·trying -- I'm trying to say that without staff presence, it
20· ·is more likely -- inmate-on-inmate violence is more likely
21· ·to occur when staff is not present.· The more often you can
22· ·have staff going in there and the longer that they're in
23· ·there, the less likelihood of that inmate-on-inmate
24· ·violence is to occur.
25· · · · Q.· ·Sure.· Certainly, if an officer's standing right


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 86 of 235 PageID
                                     2450
                                                                                 86

·1· ·there, then they're not going to, you know, attempt,
·2· ·theoretically, to engage in, you know, illegal or
·3· ·assaultive behavior.· I get that part of your argument.
·4· · · · · · ·I guess what I'm asking you to agree is, this is
·5· ·not a situation where we have a -- an inmate's medical
·6· ·emergency is happening because he's, you know, in his bunk
·7· ·and he stopped breathing and you didn't check to make sure
·8· ·that -- you know, to look at his face to see if he, you
·9· ·know, was alive or not, that's not what's important in this
10· ·case; would you agree with that?
11· · · · A.· ·I would agree.
12· · · · Q.· ·So during inmates' period of lockdown at Marion
13· ·County, the -- I guess the policy and procedures are they
14· ·do have a right to get up and get out of their bunk and go
15· ·to the restroom.· You're familiar with that, right?
16· · · · A.· ·I am.
17· · · · Q.· ·Is that common, you know, in any dormitory-style
18· ·setting that the inmates are permitted, during both lock-
19· ·down, to get up and go to use the restroom?
20· · · · A.· ·Yes, sir.
21· · · · Q.· ·Is that something that they did in the
22· ·Hillsborough County Jail?
23· · · · A.· ·Absolutely.
24· · · · Q.· ·And so is there a time limit that Hillsborough
25· ·County has on how long you can be out of your bunk to go to


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 87 of 235 PageID
                                     2451
                                                                                 87

·1· ·the restroom?
·2· · · · A.· ·You would go to the restroom and you'd be
·3· ·expected to get back on your bunk immediately thereafter.
·4· · · · Q.· ·Okay.· But there's no time limit imposed on that.
·5· · · · A.· ·I don't know that you can quantify the amount of
·6· ·time it takes to walk from the restroom back to your bunk
·7· ·but that's the expectation and that's what the -- that's
·8· ·what's enforced.
·9· · · · Q.· ·Okay.
10· · · · · · ·And so, other than that, what if they want to get
11· ·a drink of water?
12· · · · A.· ·They can do that, as well.
13· · · · Q.· ·What if they're not feeling well and they feel
14· ·like they need to talk to the corrections officer, are they
15· ·allowed to get up and go to the officer?
16· · · · A.· ·Yes, sir.
17· · · · Q.· ·Okay.
18· · · · · · ·Any other basis for them to get up out of their
19· ·bunk that wouldn't violate their lockdown privilege?
20· · · · A.· ·There may be.· If you came up with one, I may or
21· ·may not agree with it.· Off the top of my head, I can't
22· ·think of any.
23· · · · · · ·Maybe the medication nurse comes through in the
24· ·middle of the night for a small number of inmates so they'd
25· ·have to get up for their medicine.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 88 of 235 PageID
                                     2452
                                                                                 88

·1· · · · · · ·You might have a couple of inmates up cleaning in
·2· ·the pod.
·3· · · · · · ·All this is with -- with proper authorization.
·4· · · · Q.· ·Okay.
·5· · · · · · ·Some inmates have special privileges that others
·6· ·don't, in terms of if you're a trustee or you're
·7· ·responsible to clean something, something of that nature,
·8· ·so they would have, I guess, ability to move around better
·9· ·or with permission, I should say.
10· · · · A.· ·Yes.
11· · · · Q.· ·So going back to the interviews that you read
12· ·from the two inmates, Terry Place and --
13· · · · A.· ·Steven Murphy?
14· · · · Q.· ·-- Steven Murphy --
15· · · · · · ·Okay.· Thank you.
16· · · · A.· ·You're welcome.
17· · · · Q.· ·-- would you agree with me that they did not
18· ·identify -- we'll take them one at a time -- Deputy Miller
19· ·being present during -- or having knowledge about Friday
20· ·night fights?
21· · · · A.· ·I would have to review the -- both of the
22· ·declarations to opine specifically on what they did or
23· ·didn't say.
24· · · · Q.· ·Okay.
25· · · · · · ·So they say what they say, obviously, but as far


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 89 of 235 PageID
                                     2453
                                                                                 89

·1· ·as you can remember off the top of your head, did they
·2· ·identify Miller, Kosinski or Dukes of being involved in
·3· ·permitting or advocating, you know, inmate fights?
·4· · · · A.· ·Not to my recollection, no.
·5· · · · Q.· ·So, are you, I guess, going to give an opinion
·6· ·about how long it takes for the deputies to conduct a
·7· ·security check in Gulf Pod, each housing unit?
·8· · · · A.· ·I did give an opinion on that.
·9· · · · Q.· ·Okay.· How much time did -- and I apologize that
10· ·I don't remember -- what did you say?
11· · · · A.· ·It's simple.· I initially -- based on the numbers
12· ·I was provided -- the number of inmates that were in
13· ·each -- in each pod, then collectively together, I said
14· ·that it should take at least five to ten seconds to check
15· ·each person.
16· · · · · · ·Then, based on the original number I was
17· ·provided, before Captain Peterson testified, it was in the
18· ·neighborhood of 21 minutes it should take, roughly.· And
19· ·give or take, I'm not -- I wouldn't say if it's under 21
20· ·minutes, it's not sufficient because there are different
21· ·factors that play into -- into it.· But that's at a five --
22· ·that's at a five-second -- stopping and looking at each
23· ·inmate for five seconds.
24· · · · · · ·Now, if you increase -- if I use that same five
25· ·seconds to the number of inmates that Captain Peterson said


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 90 of 235 PageID
                                     2454
                                                                                 90

·1· ·that were in the unit, then that increases to about 26
·2· ·minutes to complete it.
·3· · · · · · ·Now, at 26 minutes, if it was down -- at that
·4· ·number of inmates, if it was down three or four, five
·5· ·minutes, that's probably not a -- not that big of a deal.
·6· · · · · · ·But what I think was somewhere in the 80 and 90
·7· ·percentile that these checks were done in nine minutes or
·8· ·less, if my memory serves me correctly, Miller said that it
·9· ·only takes him six minutes, typically, to do a check.
10· · · · Q.· ·Okay.
11· · · · · · ·And so -- and, again, I guess that would depend
12· ·on how many inmates are in the housing unit at that time.
13· · · · · · ·Even though you've got 80 bunks, they're not all
14· ·full, correct?
15· · · · A.· ·I don't know.· It looked like Alpha Pod was full.
16· · · · Q.· ·I understand that you're talking about on the
17· ·night of question, but I'm asking you -- I mean, I think
18· ·your assessment of all of the --
19· · · · A.· ·Yeah.
20· · · · Q.· ·-- housing logs is related to before the date of
21· ·this incident, if I'm not mistaken.· Isn't that what you
22· ·were looking at averaging how much time is done?
23· · · · A.· ·It's the month leading up to it, yes, sir --
24· · · · Q.· ·Yeah.· And so --
25· · · · A.· ·-- and the night of.


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 91 of 235 PageID
                                     2455
                                                                                 91

·1· · · · Q.· ·Were you given an average daily population for
·2· ·Alpha or Gulf Pod entirely during that month?
·3· · · · A.· ·I don't recall seeing that.
·4· · · · Q.· ·That would be important to know, though, wouldn't
·5· ·it?
·6· · · · · · ·So I just want to ask you some questions about
·7· ·your findings and making sure that -- and if you want to
·8· ·flip to Page 21 of your report, I have no problem with
·9· ·that.
10· · · · · · ·So you make some conclusory statements.· And I
11· ·want to, I guess, understand the basis for each of your --
12· ·what I call conclusory statements.· The first one is that
13· ·the Sheriff failed to provide a safe environment for the
14· ·inmates in their care and that this was a violation of the
15· ·corrections standard of care and caused harm to Cory
16· ·Merchant.
17· · · · · · ·So what is the basis for your concluding that the
18· ·Sheriff failed to provide a safe environment to the
19· ·inmates?· Is it the fact that Cory Merchant got into a
20· ·fight and was injured?
21· · · · A.· ·No.· They failed to have adequate policies and
22· ·procedures and permitted certain customs and practices
23· ·regarding the supervision or lack thereof of the inmate
24· ·population and failed to -- to -- they failed to adequately
25· ·supervise and they let them break rules, stay off their


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 92 of 235 PageID
                                     2456
                                                                                 92

·1· ·bunks, all hours of the night, thereby, creating an
·2· ·environment where the inmates are gonna take care of
·3· ·business themselves because the deputies didn't do it.
·4· · · · Q.· ·So let's break this down.
·5· · · · · · ·What policies and procedures, specifically --
·6· ·you're using that term, obviously, in a broad general
·7· ·sense -- and I want to know specifically what policies and
·8· ·procedures were not -- according to what, in your opinion,
·9· ·should have been required of the deputies?
10· · · · A.· ·Sure.· That would be the -- the policy and
11· ·procedure regarding the supervision of inmates, head count
12· ·of inmates --
13· · · · Q.· ·And so do you have the policy numbers there?
14· · · · A.· ·Sure.· Policy 6011.00 --
15· · · · Q.· ·Okay.
16· · · · A.· ·-- 6164.00 --
17· · · · Q.· ·And which policy is that?· That's security --
18· · · · A.· ·The first one was supervision of inmates, the
19· ·second one is head count of inmates.
20· · · · · · ·This is partially inadequate and partially
21· ·they're not enforcing their own policy.· You've got a
22· ·custom and practice of not enforcing your own policy
23· ·regarding making sure the inmates remain on their bunks
24· ·other than the instances that they delineate as appropriate
25· ·reasons.


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Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 93 of 235 PageID
                                     2457
                                                                                 93

·1· · · · · · ·They let Cory Merchant stay off his bunk in an
·2· ·area that wasn't his, thereby creating some sort of tension
·3· ·within the pod, where Lutterloah felt as though he needed
·4· ·to handle the business -- his business and stop him from --
·5· ·Merchant from doing it because the deputy wasn't in there.
·6· · · · Q.· ·Cory Merchant was off his bunk maybe ten seconds
·7· ·before the fight?
·8· · · · A.· ·I don't know.· I would have to look at the video
·9· ·again.
10· · · · Q.· ·Okay.
11· · · · · · ·Well, we -- I think we have already agreed that
12· ·the whole -- the whole incident, start to finish, when he
13· ·got off the bunk until he hit Merchant, knocked him down
14· ·and he went down out of sight, was 20 seconds.
15· · · · A.· ·Yes.
16· · · · · · ·MS. HARTON:· Object to form, Bruce.
17· · · · · · · · · You said Lutterloah got off -- you said
18· · · · Merchant got off his bunk ten seconds before --
19· · · · · · ·MR. BOGAN:· So I apologize.· Yeah.· So I meant to
20· · · · say Lutterloah.
21· · · · · · ·THE WITNESS:· Yeah.· I don't know how long
22· · · · Merchant was off his bunk.
23· ·BY MR. BOGAN:
24· · · · Q.· ·Okay.· So --
25· · · · A.· ·The fact of the matter is, it was -- it was


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 94 of 235 PageID
                                     2458
                                                                                 94

·1· ·after 1:00 o'clock in the morning and he was in another
·2· ·area of -- of the bunk beds that he shouldn't have been.
·3· · · · Q.· ·And I'm not disputing that Merchant wasn't off of
·4· ·the bunk.· My question is, is there any evidence that you
·5· ·know of that tells us exactly how long Merchant had been
·6· ·off his bunk before the fight happened?
·7· · · · A.· ·No.
·8· · · · Q.· ·And we know, from the video, we see Lutterloah
·9· ·get out of his bunk, walk over, they have the words
10· ·exchange and then the fight happens and you look at the
11· ·timer, it's about 20 seconds in total.
12· · · · · · ·So other than that period of time -- let's just
13· ·say it was ten -- ten seconds -- is there any other
14· ·evidence as to how long Lutterloah was off his bunk before
15· ·the fight happened?
16· · · · A.· ·No.
17· · · · Q.· ·All right.
18· · · · · · ·And so, despite that, you're saying that there is
19· ·this policy of allowing inmates to remain off their bunk.
20· · · · · · ·Is there -- well, strike that question.
21· · · · · · ·Is there anything else that you're relying upon
22· ·to say that there's a policy of -- a practice, I should
23· ·say, of allowing inmates to -- allowed off their bunks
24· ·after lockdown?
25· · · · A.· ·I recall reading witness testimony -- deposition


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 95 of 235 PageID
                                     2459
                                                                                 95

·1· ·testimony to that effect, yes.
·2· · · · Q.· ·And what -- specifically -- practice was there
·3· ·that allows inmates to remain off their bunk?
·4· · · · A.· ·Captain McNeely, I believe it was, said that each
·5· ·one of the deputies enforces the rules -- nothing's in
·6· ·black and white, they enforce the rules how they see fit,
·7· ·something to that effect, and they allowed that to occur.
·8· · · · Q.· ·So McNeely -- or was it Sergeant Dukes, I'm not
·9· ·sure -- but I think that there's a reference that the
10· ·officers have to have some discretion as to how long a
11· ·person can remain off their bunk when they're doing
12· ·something; is that fair?
13· · · · A.· ·I would agree with that.
14· · · · · · ·And discretion does come into play.
15· · · · Q.· ·Corrections officers have to have some discretion
16· ·if the guy gets up to walk to get a drink of water and on
17· ·his way, he stops and there's a guy, you know, reading a
18· ·book and says hello to him, he has to be able to have the
19· ·discretion to decide, okay, is he now violating the rule or
20· ·not violating the rule, correct?
21· · · · A.· ·I agree.
22· · · · Q.· ·And he may have the discretion to go, okay, he's
23· ·just on his way to the bathroom and I'll let it go.
24· · · · · · ·So isn't that what, essentially, McNeely and
25· ·Dukes were referring to when they say the officers have to


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 96 of 235 PageID
                                     2460
                                                                                 96

·1· ·have discretion?
·2· · · · A.· ·Maybe.· I don't know what they were referring to.
·3· ·That's very possible and plausible.
·4· · · · Q.· ·So what other policy are you referring to that
·5· ·you believe was -- was not enforced?
·6· · · · A.· ·That may be the only one that wasn't enforced.
·7· · · · Q.· ·Okay.
·8· · · · A.· ·That's not the only one that was inadequate but
·9· ·that may be the only one that they didn't enforce.
10· · · · Q.· ·Okay.
11· · · · · · ·In terms of inadequacy -- I may have cut you off.
12· ·I know you got through policy 6011, 6164, and what was
13· ·the -- is there any other policy you think is inadequate?
14· · · · A.· ·The post orders.
15· · · · Q.· ·What policy?
16· · · · A.· ·For G Pod.· It's not a policy number.
17· · · · Q.· ·Okay.
18· · · · A.· ·Post order.
19· · · · · · ·I don't -- I don't have the -- I don't believe I
20· ·have the supervisory policy but based on testimony, the
21· ·supervisors are not required -- there's not specific
22· ·enunciation or delineation of their responsibilities in how
23· ·they supervise or track, monitor their employees'
24· ·performance.· That would be inadequate.
25· · · · Q.· ·Okay.· Anything else?


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 97 of 235 PageID
                                     2461
                                                                                 97

·1· · · · A.· ·Their own classification policy, they don't
·2· ·follow that.
·3· · · · · · ·And I'll lump classification policy and housing
·4· ·plan together because they go hand-in-hand.
·5· · · · Q.· ·So is there a particular number on the
·6· ·classification policy?
·7· · · · · · ·MS. HARTON:· Object to form.
·8· ·BY MR. BOGAN:
·9· · · · Q.· ·The one that you're referencing.
10· · · · A.· ·Yeah, I've got to go back through the --
11· · · · · · ·Policy 6766.00.
12· · · · Q.· ·Okay.
13· · · · · · ·Any other policies that you think are inadequate?
14· · · · A.· ·I believe that's all of them.
15· · · · Q.· ·Okay.
16· · · · · · ·So, in terms of, then, your -- you know, your
17· ·conclusory opinion number one, the policies that you say
18· ·are inadequate that led to there not being a safe
19· ·environment in this case, are the supervisory policy 6.011,
20· ·the head counter policy 6164, the post orders for the G
21· ·Pod, and then the supervisory policy which has -- I don't
22· ·think it has a number, you said, and then the
23· ·classifications policy.
24· · · · · · ·So let's go back to what is it about the
25· ·supervisor policy of 6 point -- supervision policy, excuse


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 98 of 235 PageID
                                     2462
                                                                                 98

·1· ·me, of 6011 that is inadequate?
·2· · · · A.· ·How often they require their staff to actually go
·3· ·in and supervise the inmates.
·4· · · · Q.· ·Okay.
·5· · · · A.· ·They, therefore, by and large left them
·6· ·unsupervised the vast, vast, vast majority of the day.
·7· · · · Q.· ·Okay.· And, again, I think we've talked about
·8· ·that probably extensively now.· We're referring to the 30
·9· ·minutes versus 60 minutes and 24 hours versus eight hours.
10· · · · A.· ·That all goes into the supervision of inmates.
11· ·If you're not there to supervise, how can you provide
12· ·supervision?
13· · · · Q.· ·Right.
14· · · · A.· ·You can't provide supervision from outside the
15· ·pod.· You might be able to monitor them through a window or
16· ·through -- through surveillance video but that's not
17· ·adequate supervision.
18· · · · Q.· ·And so, again, head count, 6164, how is that
19· ·inadequate?
20· · · · A.· ·That's the one that they're not -- that they're
21· ·not complying with by making inmates stay in their bunks.
22· · · · Q.· ·Okay.· So that's the head count.
23· · · · · · ·That's the lockdown you're referring to, not the
24· ·fact that the head count -- it's contained within the head
25· ·count policy --


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                                                                                      YVer1f
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 99 of 235 PageID
                                     2463
                                                                                 99

·1· · · · A.· ·Correct.
·2· · · · Q.· ·-- the lockdown provision, okay.
·3· · · · A.· ·Right.
·4· · · · Q.· ·And then what about the post orders of the G Pod
·5· ·do you think are inadequate?
·6· · · · A.· ·Let me look at it.
·7· · · · · · ·The fact that the head count or the observation
·8· ·of the inmates only occurs between 2200 and 0600.· And it
·9· ·says accomplished every hour.· And that's actually what
10· ·they do.· They actually -- they actually comply with that
11· ·policy and they do it every hour on the hour, making them
12· ·very predictable.
13· · · · · · ·So that's inadequate.· And their custom and
14· ·practice of doing it in a predictable manner.
15· · · · Q.· ·So -- and I think we've already talked about this
16· ·but you agree with me, they're not conducting the security
17· ·checks exactly at the same time every night, other than it
18· ·starts at 10:00 o'clock and they're not -- there's no
19· ·testimony that they conduct the same order of the housing
20· ·units each night at 10:00 o'clock.
21· · · · A.· ·There's no testimony to that effect.
22· · · · Q.· ·Okay.
23· · · · · · ·So what's wrong with the supervisor policies?
24· · · · A.· ·Well, I haven't seen a supervisor policy.· I'm
25· ·basing that on -- on the testimony of Captain Peterson and


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                                                                                      YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 100 of 235
                                 PageID 2464
                                                                                  100

·1· ·Captain McNeely.
·2· · · · Q.· ·Okay.· That there is no policy that describes
·3· ·what a supervising sergeant does?
·4· · · · A.· ·It doesn't delineate what they do, correct, what
·5· ·they're responsible for, the actual supervision of their
·6· ·employees.· They're told they have to walk through -- they
·7· ·have to walk through the units but it -- but it -- once a
·8· ·shift.· But they -- it doesn't tell them how to monitor
·9· ·their employees for performance because, had they been
10· ·monitoring them, they would have seen that both Kosinski
11· ·and Miller are -- are doing these checks in a manner that's
12· ·totally predictable.· One of them, I believe, was 94 or 96%
13· ·of the time, they start their check at 10:00 o'clock.
14· · · · · · ·Albeit you -- you've made your point that they
15· ·could start in A, B, C or D or it could be B, C, A and D.
16· ·I don't know what -- where they start, but that goes back
17· ·to inadequate recordkeeping, as well.· Had they kept
18· ·adequate records, we would know a time that they were in
19· ·each of those areas.· But they have one master record for
20· ·four different sections or pods.
21· · · · Q.· ·So that opinion, you agree, is based on
22· ·assumptions that you're making from the housing log record
23· ·of when the security checks are being made.
24· · · · · · ·MS. HARTON:· Objection to form; that misstates
25· · · · his testimony.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 101 of 235
                                 PageID 2465
                                                                                  101

·1· ·BY MR. BOGAN:
·2· · · · Q.· ·Agree?
·3· · · · A.· ·Say the question again, please?
·4· · · · Q.· ·Yeah.· You're making assumptions, based on what
·5· ·is written in the housing record logs, because they don't
·6· ·delineate what housing unit gets searched first.
·7· · · · A.· ·You mean where they walk through which one first?
·8· · · · Q.· ·Yes.· Yeah.· It's not recorded they went to A, B
·9· ·or C --
10· · · · A.· ·They don't keep record of it at all.· That's what
11· ·I mean, that makes that an inadequate record.
12· · · · · · ·The fact that they don't delineate or they don't
13· ·identify what pod of the section they're going into at what
14· ·time, that's an inadequate record of it, in and of itself.
15· · · · Q.· ·They keep a record as to when a security check
16· ·takes place in the Gulf Pod, correct?· You've seen it.
17· · · · A.· ·I have seen it.
18· · · · Q.· ·Okay.
19· · · · · · ·And you don't like it because it's not meticulous
20· ·enough, I guess, for you, in terms of being able to
21· ·establish which unit at what exact time -- which housing
22· ·unit at what exact time in Gulf Pod, how long they were in
23· ·there and did they, you know, record that insufficiently,
24· ·in your opinion; is that where that is?
25· · · · A.· ·It would be impossible for me, you, or anybody


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 102 of 235
                                 PageID 2466
                                                                                  102

·1· ·else to be able to identify what time they were in each of
·2· ·the areas and what time they saw each of the inmates
·3· ·because they don't keep a record of it.
·4· · · · Q.· ·So it should be impossible for you to criticize
·5· ·and say it was done insufficiently -- either, it was
·6· ·sufficiently or insufficiently?
·7· · · · A.· ·I don't agree with that.
·8· · · · Q.· ·Okay.
·9· · · · · · ·So you're just assuming it's insufficient, then,
10· ·based on the fact that they didn't record specifically how
11· ·long they spent in each housing unit.
12· · · · A.· ·No, I'm telling you --
13· · · · · · ·MS. HARTON:· Form.
14· · · · · · ·THE WITNESS:· -- the time they spent in each
15· · · · housing unit was insufficient.
16· ·BY MR. BOGAN:
17· · · · Q.· ·So, in terms of what was recorded, it was for the
18· ·entire Gulf -- but I don't want to argue with you -- the
19· ·fact is, the record says what it says in terms of, you
20· ·know, when the inspection for the Gulf Pod takes place.
21· · · · · · ·And I think those records, obviously, you're
22· ·being critical of and I think you're making assumptions on
23· ·those records.· And I guess my question is, you know, to be
24· ·fair, you shouldn't criticize those records without having
25· ·complete and full accurate information as to how long they


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 103 of 235
                                 PageID 2467
                                                                                  103

·1· ·spent in each housing unit.
·2· · · · A.· ·I'm telling you, based on the amount of time that
·3· ·they recorded for the overall pod -- G Pod, that it is --
·4· ·it is impossible for them to be conducting an adequate
·5· ·check in four different sections within that one pod of the
·6· ·number of inmates that they have in there in that amount of
·7· ·time.
·8· · · · Q.· ·So did you make any assumptions as to how many
·9· ·checks were done in G Pod the night of November 7th?
10· · · · A.· ·I believe I've recorded that somewhere.
11· · · · Q.· ·Okay.
12· · · · A.· ·I'd have to look.
13· · · · Q.· ·Okay.· Go ahead.
14· · · · A.· ·Okay.
15· · · · · · ·I'm not sure if that's in my notes or where it's
16· ·at.· Let me --
17· · · · · · ·I don't have that list.
18· · · · Q.· ·Do you know when the last security check was done
19· ·in Gulf Pod Alpha -- or even Gulf Pod before the incident
20· ·with Cory Merchant occurred?
21· · · · A.· ·There was two of them listed, if my memory serves
22· ·me correctly.· One said it started at 1:00 o'clock and
23· ·ended at 1:04, which was four minutes; one said it started
24· ·at 1:00 o'clock and ended at 1:09, which was the nine
25· ·minutes.· I'm not sure, you know, which one is accurate or


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 104 of 235
                                 PageID 2468
                                                                                  104

·1· ·not because they listed two of them.
·2· · · · Q.· ·And so who -- who recorded those?
·3· · · · A.· ·It was either Kosinski or Miller.· I think it
·4· ·was -- Kosinski was working the post at that point, if I
·5· ·remember right.· I'd have to check my report.
·6· · · · Q.· ·So -- so how long was 1:09 before the incident
·7· ·with Cory Merchant and Lutterloah?
·8· · · · A.· ·I would have to look at what time the report was
·9· ·written regarding the fight.
10· · · · · · ·Stand by a minute.
11· · · · · · ·It was at 1:10 hours, so a minute after the 1:09
12· ·or six minutes after the 1:04, whichever one you choose.
13· · · · Q.· ·So, are you suggesting that those -- that
14· ·security check was not done in Gulf Pod Alpha at either
15· ·1:06 or 1:09?
16· · · · A.· ·I didn't suggest that at all.
17· · · · Q.· ·So if, in fact, those security checks were done
18· ·at 1:06 or 1:09 and went through -- you know, went into
19· ·Gulf Pod Alpha, what else would you have expected Kosinski
20· ·to have done that night?
21· · · · A.· ·It goes back to the pattern in practice of when
22· ·they -- if the inmates know you're coming in at the same
23· ·time every night -- or at the same time every hour, they're
24· ·gonna -- as soon as you walk out of there then you're not
25· ·coming back for an hour, they're going to start doing their


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 105 of 235
                                 PageID 2469
                                                                                  105

·1· ·misdeeds.
·2· · · · Q.· ·Well, I mean, obviously, the inmates, you know,
·3· ·are able to calculate, I guess, time, correct?· I mean,
·4· ·they have a clock in there?
·5· · · · A.· ·I don't know if they have a clock in there or
·6· ·not.
·7· · · · Q.· ·Okay.
·8· · · · · · ·So, at the end of the day, if, in fact, there
·9· ·were two security checks done within that time frame, that
10· ·wouldn't be predictable, would it?
11· · · · A.· ·I don't know that two security checks were
12· ·conducted at that time.· They're overlapping.
13· · · · Q.· ·Well, again, that's what the records show, right?
14· · · · A.· ·Yes.
15· · · · Q.· ·Okay.
16· · · · A.· ·It shows that one check was conducted from 1:00
17· ·a.m. to 1:04 a.m. and one check was conducted from 1:00
18· ·a.m. to 1:09 a.m.· One person's not -- can't do both those
19· ·checks, can they?
20· · · · Q.· ·So at the end of the day, if, in fact, checks
21· ·were done at that time frame, that that was what a
22· ·reasonable correctional facility should be doing to try and
23· ·make sure that the inmates are secure and in their bunks.
24· · · · · · ·MS. HARTON:· Object to form.
25· · · · · · ·THE WITNESS:· That is one of the things that they


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 106 of 235
                                 PageID 2470
                                                                                  106

·1· · · · should be doing, yes.
·2· ·BY MR. BOGAN:
·3· · · · Q.· ·Okay.
·4· · · · A.· ·They should be doing security checks and
·5· ·enforcing the rules while they're in there.
·6· · · · Q.· ·And I think we've already established before
·7· ·that, you know, inmate-on-inmate assaults can occur
·8· ·spontaneously without predictability and it can happen at
·9· ·any time of the day or night.
10· · · · A.· ·They can.· And it is enhanced when they're not
11· ·supervised.
12· · · · Q.· ·But they were supervised that night, correct,
13· ·sir?
14· · · · · · ·MS. HARTON:· Object to form.
15· · · · · · ·THE WITNESS:· They were supervised inadequately.
16· ·BY MR. BOGAN:
17· · · · Q.· ·Well, I understand that's your view.· But whether
18· ·you think it's inadequately or adequately, they did have
19· ·supervision that evening.
20· · · · A.· ·Yeah.· I thought the whole purpose -- I was here
21· ·to give my opinion and that's why I say inadequately.
22· · · · Q.· ·I gotcha.
23· · · · · · ·So let's move down a little bit to -- because I
24· ·think some of your opinions overlap here.
25· · · · · · ·Well, I want to go to the number 2.· You say,


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 107 of 235
                                 PageID 2471
                                                                                  107

·1· ·inmates were -- excuse me.· The Marion County Sheriff's
·2· ·Office Policies, Procedures, and Post Orders regarding
·3· ·observations were contradictory and noncomprehensive; i.e.,
·4· ·failed to require said checks to be conducted 24 hours a
·5· ·day and inadequate.· This was in violation of correctional
·6· ·standard of care and caused harm to Cory Merchant.
·7· · · · · · ·So is this -- are we referring to the same thing
·8· ·that we've just talked about in terms of the timing of the
·9· ·security checks?
10· · · · A.· ·Yes, sir, in part.
11· · · · Q.· ·Okay.· What's the other --
12· · · · A.· ·They also had -- they also had contradictory
13· ·policies.· One of them stated it starts at 10:00 o'clock,
14· ·one states it starts at 11:00 o'clock.
15· · · · Q.· ·Okay.· And I think you wrote to that earlier.
16· · · · · · ·So one policy was applicable to this particular
17· ·Gulf Pod, correct?
18· · · · A.· ·Yes, sir.
19· · · · Q.· ·And that the other policy was not applicable to
20· ·Gulf Pod, correct?
21· · · · A.· ·No, that's not correct.· It's applicable there,
22· ·as well.· One was a policy and one was a post order.
23· · · · Q.· ·Okay.
24· · · · · · ·So in the post order that you reviewed said that
25· ·they should start at 11:00 and one -- the other policy --


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 108 of 235
                                 PageID 2472
                                                                                  108

·1· ·the written policy says it should start at 10:00.
·2· · · · A.· ·That sounds accurate.
·3· · · · Q.· ·Okay.
·4· · · · · · ·So regardless of whether or not they followed
·5· ·either one of those policies, they would have had, at 1:00
·6· ·o'clock in the morning, there should have been a search --
·7· ·or a security check, I should say, of Gulf Pod A regardless
·8· ·of which policy they were following.
·9· · · · A.· ·That is correct, they did a -- they did one
10· ·immediately before.
11· · · · Q.· ·So did you see anything that supports your
12· ·conclusion that these contradictory starting times between
13· ·the post order and the general policy was confusing to the
14· ·deputies and they didn't know what to do or when to do
15· ·security checks?
16· · · · A.· ·No.· The fact that they don't do security checks
17· ·more frequently and throughout the entire day is where they
18· ·failed to do them.· They set a stage for something to
19· ·happen within that pod.
20· · · · · · ·First, they put inmates -- violent inmates in
21· ·there with nonviolent inmates and then they don't supervise
22· ·them and -- by going in there when they should -- and they
23· ·don't enforce rules like they're supposed to, so it's no
24· ·wonder that this happened.
25· · · · Q.· ·So -- and just so I'm clear, you know, when you


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 109 of 235
                                 PageID 2473
                                                                                  109

·1· ·say it's violation of correctional standard of care, are we
·2· ·referring to the same correctional standard of care that
·3· ·you've already talked about here, the National Institute of
·4· ·Corrections --
·5· · · · A.· ·You keep implying that that is the standard of
·6· ·care.· That's where that comes from.
·7· · · · · · ·The standard of care is what would a reasonable
·8· ·or prudent agency or jail administrator do?
·9· · · · · · ·Does that support -- do those publications
10· ·support what reasonable and jail administrators do?· It
11· ·certainly does.· Does that make it a written standard of
12· ·care?· I don't know that it does.· I don't know that
13· ·anything can -- can codify or put in writing what the
14· ·standard of care is.· It's what would a reasonable and
15· ·prudent person or agency do?
16· · · · Q.· ·So then the primary basis for -- and maybe all of
17· ·these opinions is it's your opinion, that's what you
18· ·believe a reasonable standard of care should be for a
19· ·correctional facility.
20· · · · A.· ·Which is supporting --
21· · · · · · ·MS. HARTON:· Objection to form.
22· · · · · · ·THE WITNESS:· Which is supported by these
23· · · · reputable sources, yes.
24· ·BY MR. BOGAN:
25· · · · Q.· ·And that's what I'm trying to figure out here.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 110 of 235
                                 PageID 2474
                                                                                  110

·1· ·I'm not trying to be difficult with you.· So you say with
·2· ·reputable sources and I want to know what those reputable
·3· ·sources are besides your opinion.
·4· · · · A.· ·They're the ones listed in my report that we've
·5· ·discussed at length.
·6· · · · Q.· ·Okay.
·7· · · · · · ·So then, number 3, again, you say the Sheriff's
·8· ·Office had a custom and practice of conducting well-being/
·9· ·wellness/security checks on a predictable schedule.· This
10· ·was in violation of the correctional standard of care.
11· · · · · · ·So, again, is -- are we talking about the same
12· ·thing again, your opinion plus what you say, relying upon
13· ·of the National Institute of Correctional Care with the
14· ·Department of Justice?
15· · · · A.· ·It's not just my opinion.
16· · · · · · ·In fact -- in fact, Captain Peterson, Captain
17· ·McNeely and I believe Deputy Kosinski all said the same
18· ·thing in their testimony; that you don't want the inmates
19· ·to be able to predict when you come in, so you should start
20· ·them at different times.
21· · · · Q.· ·Well --
22· · · · A.· ·But in the same testimony, Deputy Kosinski said,
23· ·I started on the dot every time at the top of the hour.
24· · · · · · ·And I believe Miller said something very similar
25· ·to that.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 111 of 235
                                 PageID 2475
                                                                                  111

·1· · · · Q.· ·Well --
·2· · · · A.· ·They support the notion that, hey, this is a --
·3· ·this is a sound and prudent practice of, we don't want the
·4· ·inmates to be able to figure out when we're coming in
·5· ·because then they do bad things.· That's what the testimony
·6· ·indicates, okay?
·7· · · · Q.· ·So --
·8· · · · A.· ·That's what I'm saying.· We all agreed on it.
·9· · · · Q.· ·Well, that wasn't what I asked you.· I asked you,
10· ·you know, in terms of authoritative text --
11· · · · · · ·I agree that the testimony is what it is and I
12· ·respectfully disagree with your characterization.· They
13· ·agreed that it shouldn't be done, you know, to a -- to the
14· ·extent that the inmates can predict when it's going to be
15· ·done but no one in this case has said that they did that;
16· ·that they were predictable in terms of when they were
17· ·actually conducting the checks every night.· There is no
18· ·testimony that says that.
19· · · · A.· ·No, the testimony doesn't say that.
20· · · · Q.· ·It says he starts at 10:00.· It doesn't mean that
21· ·he started in Gulf Pod A at 10:00 every night.· He didn't
22· ·say that.
23· · · · · · ·MS. HARTON:· Object to form.
24· · · · · · · · · Bruce, like, we can't be arguing about what
25· · · · testimony is what, we're just -- ask your question.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 112 of 235
                                 PageID 2476
                                                                                  112

·1· · · · This is a waste of time.
·2· · · · · · ·MR. BOGAN:· I think he -- well, I'm doing the
·3· · · · same thing he's doing because he's characterizing what
·4· · · · he said the testimony is in the case and it's not
·5· · · · right.· So --
·6· · · · · · ·MS. HARTON:· It's argumentative.
·7· · · · · · · · · Let's move on.
·8· ·BY MR. BOGAN:
·9· · · · Q.· ·So, again, sir, I mean, I don't know, you want to
10· ·point me to a line and page as specifically of where
11· ·Kosinski says that he checks Gulf Pod A every night at
12· ·10:00 o'clock?
13· · · · A.· ·He doesn't say that.
14· · · · Q.· ·Okay.
15· · · · · · ·So question number 4, the Marion County
16· ·Sheriff's -- or not question, I'm sorry -- finding number
17· ·4, Marion County Sheriff's Office had a custom and policy
18· ·of conducting inadequate well-being/wellness/security
19· ·checks form -- and form; i.e., length of time actually
20· ·observing inmates.· This was in violation of the
21· ·corrections standard of care and causing harm to Cory
22· ·Merchant.
23· · · · · · ·So, again, the basis for that -- obviously, I
24· ·think we've talked a little bit about -- is your opinion is
25· ·that they weren't spending enough time and that's your


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 113 of 235
                                 PageID 2477
                                                                                  113

·1· ·view, that it takes longer than that.
·2· · · · · · ·What I'm asking is, in terms of your position
·3· ·that it's a violation of correctional standard of care, is
·4· ·there anything else that you're relying upon besides your
·5· ·experience and your opinion?
·6· · · · A.· ·My training, my education, my experience, all of
·7· ·that is taken into consideration when I form my opinion and
·8· ·it is supported by, again, the National Institute of
·9· ·Corrections and the authors of those publications.
10· · · · Q.· ·So is there a publication or an authoritative
11· ·text that says you must spend a certain amount of time
12· ·conducting a security check?
13· · · · A.· ·I'm just saying --
14· · · · · · ·MS. HARTON:· Object to the form.
15· · · · · · ·THE WITNESS:· I'm sorry --
16· · · · · · · · · I thought Miss Harton was speaking.
17· · · · · · ·MS. HARTON:· I just objected to the form of the
18· · · · question and I think it's been asked and answered.
19· · · · · · · · · But go ahead.
20· · · · · · ·THE WITNESS:· Can you ask the question again?
21· ·BY MR. BOGAN:
22· · · · Q.· ·So, my question was, is there anything besides
23· ·your opinion, which is based as I understand on your
24· ·experience, training and education, that you relied upon
25· ·that described, specifically, the amount of time that needs


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 114 of 235
                                 PageID 2478
                                                                                  114

·1· ·to be spent conducting a security check on either one
·2· ·inmate or how many inmates, I don't know?
·3· · · · A.· ·That is based upon all that and my actually doing
·4· ·these checks and how long it takes for you, as a person, to
·5· ·be able to ascertain if that person is alive and okay while
·6· ·they're laying in their bed under a blanket --
·7· · · · Q.· ·Okay.
·8· · · · A.· ·-- sometimes with their head covered even.
·9· · · · · · ·So there is a -- there's 32-plus years of
10· ·experience going into that opinion.
11· · · · Q.· ·Okay.
12· · · · · · ·So there's no NIC standard or any standard that
13· ·says how much time you have to spend to make that
14· ·conclusion.
15· · · · A.· ·No, not that I'm aware of.
16· · · · Q.· ·So you go on to say in number 5, concluding that
17· ·the Marion County Sheriff provided inadequate supervision
18· ·of its employees and this was in violation of the
19· ·correctional standard of care and caused harm to Cory
20· ·Merchant.
21· · · · · · ·So, again, how does this --
22· · · · · · ·Well, first of all, how did the Marion County --
23· ·what's the basis for the Sheriff to inadequately supervise
24· ·its inmates?· What's your basis for your opinion on that?
25· · · · A.· ·Well, Sergeant Dukes knew that -- Sergeant Dukes,


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 115 of 235
                                 PageID 2479
                                                                                  115

·1· ·Captain Peterson, I believe there's more than one person
·2· ·that's indicated that they knew that the -- that inmates
·3· ·were allowed to stay up.
·4· · · · · · ·They, also, had they -- had they been providing
·5· ·adequate supervision, they would know that the deputies
·6· ·aren't doing adequate cell checks or wellness checks on the
·7· ·inmates in these units, both timing and form, as well as
·8· ·predictability-wise.· Had they been providing adequate
·9· ·supervision, they would have identified that.
10· · · · · · ·Furthermore -- furthermore, in their own policy,
11· ·they require the lieutenant to walk through every night, as
12· ·well, and there's not one notation in the month leading up
13· ·to this event that the lieutenant actually walked through.
14· · · · · · ·But when Sergeant Dukes did walk through, he --
15· ·he literally walked through.· He did not -- according to --
16· ·according to what I gathered from the testimony, he did
17· ·not -- he did not actually stop in these units and actually
18· ·conduct any type of supervisory oversight, review, dialogue
19· ·with staff, with inmates or anybody.
20· · · · Q.· ·So that's your conclusion based on his
21· ·deposition?
22· · · · A.· ·Oh, that's -- that was one of the things that I
23· ·had mentioned.· I mentioned a whole lot of other things
24· ·right there, as well.
25· · · · Q.· ·So let me just ask you, are you relying on


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 116 of 235
                                 PageID 2480
                                                                                  116

·1· ·authoritative text at all, as it relates to that opinion,
·2· ·or is that just, again, what you conclude after reviewing
·3· ·depositions?
·4· · · · A.· ·Well, no, that's --
·5· · · · · · ·MS. HARTON:· Object to form.
·6· · · · · · ·THE WITNESS:· I believe -- I believe the -- let's
·7· · · · see here.· The Resource Guide for Jail Administrators,
·8· · · · as well as the -- there's another publication for
·9· · · · Direct Supervision Jails and the Role of the
10· · · · Administrator.· Those would be the couple of
11· · · · authoritative publications that support my opinion.
12· ·BY MR. BOGAN:
13· · · · Q.· ·I'm sorry, which -- which authoritative text did
14· ·you say, the National Institute of --
15· · · · A.· ·National Institute of Corrections for both of
16· ·them.· The Resource Guide for Jail Administrators and then
17· ·the Direct Supervision Jails and Role of the Administrator.
18· · · · Q.· ·And none of which are required to be followed but
19· ·are guidelines, correct?
20· · · · A.· ·Sure.
21· · · · Q.· ·So let me just -- let me just ask you this
22· ·question, because you've -- you've made this conclusion at
23· ·the end of every one of these 14 findings and you said,
24· ·this was in violation of the correctional standard of care,
25· ·which obviously I, you know, respect that you can have that


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 117 of 235
                                 PageID 2481
                                                                                  117

·1· ·opinion, but then you go on to say, after every one of
·2· ·these opinions, that this caused harm to Cory Merchant.· Do
·3· ·you see that?
·4· · · · A.· ·It did.
·5· · · · Q.· ·And, in fact, aren't you doing exactly what the
·6· ·court told you you cannot do in that Smith case?
·7· · · · · · ·MS. HARTON:· Object to form; you are
·8· · · · mischaracterizing that opinion.
·9· ·BY MR. BOGAN:
10· · · · Q.· ·Aren't you, in fact, telling the jury this is
11· ·what caused the harm to Cory Merchant?
12· · · · · · ·That's not your role in this case, correct, sir?
13· · · · A.· ·It's at least --
14· · · · · · ·MS. HARTON:· Hold on.· Hold on.· Hold on.
15· · · · · · · · · Object to form; that opinion was about his
16· · · · ability to provide medical testimony.
17· · · · · · · · · You're mischaracterizing his opinions, sir.
18· · · · · · ·MR. BOGAN:· It's the same thing.· What's
19· · · · different about it, Sam?· There's nothing different
20· · · · about him concluding this is what caused the harm to
21· · · · Cory Merchant; that's up to the jury to decide in this
22· · · · case.
23· ·BY MR. BOGAN:
24· · · · Q.· ·Do you agree with that, sir?
25· · · · · · ·MS. HARTON:· Object to form; it's --


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 118 of 235
                                 PageID 2482
                                                                                  118

·1· · · · · · ·THE WITNESS:· I don't agree with that.
·2· ·BY MR. BOGAN:
·3· · · · Q.· ·So you think it's within your province to tell
·4· ·the jury as to what caused the harm in this case.
·5· · · · A.· ·I do.
·6· · · · Q.· ·And you think you should be allowed to give that
·7· ·opinion.
·8· · · · A.· ·I do.
·9· · · · Q.· ·So, opinion number 7, the Marion County Sheriff's
10· ·Office policy and procedure regarding inmate classification
11· ·and housing were inadequate.· So what is inadequate about
12· ·the classification and housing plan?
13· · · · A.· ·They housed all sex offenders, regardless of
14· ·whether they were violent or nonviolent, within the same
15· ·living area without exception.
16· · · · · · ·And I -- I take that back, with exception of
17· ·escape risks or people that were suicidal or needed medical
18· ·care.· Otherwise, sex offenders were all housed there --
19· · · · Q.· ·So there can --
20· · · · A.· ·-- regardless of their classification.
21· · · · Q.· ·Sex offenders can come in and they're classified
22· ·as maximum security inmates and you agree that they would
23· ·not be housed with all other sex offenders, true?
24· · · · · · ·MS. HARTON:· Object to the form.
25· · · · · · ·THE WITNESS:· I disagree with that.· That's not


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 119 of 235
                                 PageID 2483
                                                                                  119

·1· · · · what -- that's not what the testimony was.
·2· ·BY MR. BOGAN:
·3· · · · Q.· ·So you disagree that a person coming in on sex
·4· ·offender charge who is housed -- excuse me, who is
·5· ·classified as a maximum security inmate, they will not be
·6· ·housed in Gulf Pod?· You disagree with that?
·7· · · · A.· ·Oh, they're going to house them in Gulf Pod, in
·8· ·Gulf Alpha.
·9· · · · Q.· ·Even if they're a max security inmate and a
10· ·security risk?
11· · · · A.· ·Yes.
12· · · · · · ·Well, wait.· You just added security risk.· Your
13· ·initial question was, if they're -- if they're maximum
14· ·security.· If you throw in the security risk of being an
15· ·escape risk, then they would house you in a single cell
16· ·somewhere else is what they said.
17· · · · Q.· ·So is there any other -- as far as you've been, I
18· ·guess, provided documentation in this case, is there any
19· ·other basis for a max security inmate to be put into a
20· ·single-cell housing besides the fact that they're a
21· ·security risk?
22· · · · A.· ·I'm not --
23· · · · · · ·MS. HARTON:· Object to form.
24· · · · · · ·THE WITNESS:· I'm not saying that a max security
25· · · · person has to go to the single-cell housing, I'm


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 120 of 235
                                 PageID 2484
                                                                                  120

·1· · · · saying that you should keep the violent offenders away
·2· · · · from the nonviolent offenders.
·3· ·BY MR. BOGAN:
·4· · · · Q.· ·Okay.· So I just want to -- I think you tried to
·5· ·clarify your answer and I just want to make sure that I
·6· ·understand how you're clarifying it.· Because there can be
·7· ·a sex offender who is a max security inmate that comes to
·8· ·that facility and he could be housed in single-cell
·9· ·classification and not in Gulf Pod.
10· · · · A.· ·With certain qualifiers, that's what -- that's
11· ·what -- that's what they -- the testimony --
12· · · · Q.· ·Okay.
13· · · · · · ·And do you have an understanding of what those
14· ·qualifiers are or not today?
15· · · · A.· ·I just said that.· If somebody was an escape
16· ·risk, if somebody was -- needed medical attention, if
17· ·somebody was on a suicide watch, there was -- there was
18· ·certain qualifiers that took them away from Gulf Alpha and
19· ·put them somewhere else.
20· · · · Q.· ·Well, so what if this inmate had a sex charge
21· ·against a minor who -- there was a risk of harm to him
22· ·placing him in Gulf Pod?
23· · · · · · ·MS. HARTON:· Object to form.
24· · · · · · ·THE WITNESS:· And you've lost me.
25· ·BY MR. BOGAN:


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 121 of 235
                                 PageID 2485
                                                                                  121

·1· · · · Q.· ·Yeah.· So you're not disputing that there are --
·2· ·there's a risk to sex offenders, when they come into the
·3· ·facility, that they can be harmed by other inmates just for
·4· ·that charge alone.
·5· · · · A.· ·Sure, they can.
·6· · · · Q.· ·And a sex offender who is well-known in -- you
·7· ·know, either it's a publicized case, committed a murder of
·8· ·a child and a sex offense on a child, that -- that
·9· ·individual very clearly would not be housed in general Gulf
10· ·Pod housing, fair?
11· · · · A.· ·I would hope not.· It would be a wise move.
12· · · · · · ·Now, there is one thing:· The housing plan
13· ·actually had two other -- two other areas that were capable
14· ·of housing sex offenders according to their own plan.
15· · · · Q.· ·And -- okay.· Explain.· What do you mean?
16· · · · A.· ·So -- hold on one second.
17· · · · · · ·So Alpha Pod -- no, it's Delta.· Delta Pod
18· ·Section E and Section F were actually -- it says will house
19· ·male felony inmates with sexual offenses, for both those
20· ·areas.
21· · · · · · ·It also says, for Alpha Pod Section D will house
22· ·high mediums and maximum security population male inmates
23· ·with custody Levels 2 and 3 which Lutterloah falls into
24· ·that category.
25· · · · · · ·However, they -- because they put all sex


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 122 of 235
                                 PageID 2486
                                                                                  122

·1· ·offenders, regardless, without -- regardless, without the
·2· ·other qualifiers that we previously mentioned, all sex
·3· ·offenders go into Gulf Alpha.
·4· · · · Q.· ·So just so we're clear, what you just read -- and
·5· ·you're conceding that Lutterloah was correctly classified
·6· ·and placed in Gulf Pod Alpha according to that policy.
·7· · · · · · ·MS. HARTON:· Objection.
·8· · · · · · ·THE WITNESS:· No, that's not accurate.
·9· ·BY MR. BOGAN:
10· · · · Q.· ·You just said he was --
11· · · · A.· ·That's not what I said.
12· · · · Q.· ·Well, what you just read, that he was a -- a
13· ·max -- excuse me, a max --
14· · · · A.· ·So wait a minute.· Wait a minute.
15· · · · · · ·You're mistaking Alpha Pod with Gulf Pod.· Alpha
16· ·pod is its own pod.· But they had Section D within Alpha
17· ·Pod.
18· · · · Q.· ·Okay.
19· · · · A.· ·He was actually housed in Gulf Pod Alpha section.
20· ·He should have been housed in Alpha Pod Delta section is
21· ·what I'm -- I said.
22· · · · Q.· ·Your position is, okay.· I'm --
23· · · · A.· ·Based on -- based on their own housing policy and
24· ·classification policy, that's what I'm basing that on.
25· · · · Q.· ·Okay.· So that's your view.· Obviously, I don't


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 123 of 235
                                 PageID 2487
                                                                                  123

·1· ·think they agree with you but now I understand what
·2· ·distinction -- you know, between the two pods.· And I had
·3· ·heard you say Gulf Alpha and that's why I had that
·4· ·question.
·5· · · · A.· ·Fair enough.
·6· · · · · · ·MS. HARTON:· Hey, Bruce, we're approaching the
·7· · · · three-hour mark.· If you want to take a break -- get
·8· · · · through the final questioning, can we take a break?
·9· · · · · · ·MR. BOGAN:· Okay.· Yeah.· We can take a break.
10· · · · · · · · · I'm hoping to wrap up here in, like, about
11· · · · 30 minutes.
12· · · · · · ·MS. HARTON:· 30 minutes?· Okay.
13· · · · · · · · · Well, I have some questions, too, so maybe
14· · · · we'll take a break and then probably have another
15· · · · hour.
16· · · · · · ·MR. BOGAN:· Okay.· All right.· Let's take a
17· · · · five-minute break.
18· · · · · · · · · (Whereupon, a short break was taken)
19· ·BY MR. BOGAN:
20· · · · Q.· ·I want to jump down to number 9, Sergeant Dukes
21· ·provided inadequate supervision of Kosinski and Dellun
22· ·Miller.· So what's the basis for that opinion?
23· · · · A.· ·We discussed that in opinion number 5.· We just
24· ·finished that.
25· · · · Q.· ·Okay.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 124 of 235
                                 PageID 2488
                                                                                  124

·1· · · · · · ·He failed -- he -- did he fail to follow a
·2· ·particular policy and procedure that you're aware of in the
·3· ·Marion County Sheriff's Office that applied to sergeants?
·4· · · · A.· ·I don't have that policy.· I don't know.
·5· · · · Q.· ·Okay.
·6· · · · · · ·But, in your opinion, the inadequate supervision
·7· ·was because he didn't have enough presence in the dorm, as
·8· ·well as with Kosinski and Miller?
·9· · · · A.· ·And he did not -- he did not take any steps to
10· ·determine whether the quality of their work was adequate
11· ·regarding wellness checks.
12· · · · Q.· ·On the issue of wellness checks.
13· · · · · · ·Any other aspects?
14· · · · · · ·Have you read any of his reviews of their
15· ·performance?
16· · · · A.· ·I'm not sure if Dukes actually gave a performance
17· ·review of either of them.
18· · · · Q.· ·Okay.
19· · · · A.· ·I'm not sure if he was the supervisor that gave
20· ·any performance reviews.
21· · · · · · ·But he also -- he also was very well aware of the
22· ·fact that they conducted their checks at the top of every
23· ·hour.· He said -- he said as much in his testimony.
24· · · · Q.· ·Gotcha.· And they started at the same time --
25· · · · · · ·Did he say it starts at the same time, every


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 125 of 235
                                 PageID 2489
                                                                                  125

·1· ·housing unit?
·2· · · · A.· ·You mean each section?
·3· · · · Q.· ·Right.· So each section.
·4· · · · · · ·Well, I guess, he used the term Gulf.· There's
·5· ·pods and I thought there were housing units which are the
·6· ·same as section units.· I don't know which term we want to,
·7· ·you know, agree to but, I think, in Gulf Pod there were at
·8· ·least four other housing units in Gulf Pod.· Is that what
·9· ·your understanding is?
10· · · · A.· ·There's four total in Gulf Pod as far as --
11· · · · Q.· ·Yeah.
12· · · · A.· ·-- that's my understanding.
13· · · · Q.· ·Okay.
14· · · · A.· ·And, no, I did not see anything that he indicated
15· ·that they began in a particular section or whether they
16· ·rotated that.
17· · · · Q.· ·Okay.· Is there anything else for the basis of
18· ·your opinion that he did not do a good -- or an adequate
19· ·supervision of Kosinski and Miller?
20· · · · A.· ·Had he -- had he reviewed video of them, he would
21· ·see them doing inadequate checks and providing inadequate
22· ·supervision of the inmates in their pods.
23· · · · Q.· ·So do you have video that shows them doing
24· ·inadequate checks?
25· · · · A.· ·No.· I have the timing that it took for them to


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 126 of 235
                                 PageID 2490
                                                                                  126

·1· ·do their checks and that's inadequate.
·2· · · · Q.· ·So based on the -- what they wrote on the logs,
·3· ·do you have any other basis to say that they're
·4· ·inadequately performing the checks?
·5· · · · A.· ·No.· That's -- that's a very reliable source for
·6· ·me to make that opinion.
·7· · · · Q.· ·Okay.
·8· · · · · · ·And you didn't look at any videos of their prior
·9· ·performance on that issue.
10· · · · A.· ·No, sir.
11· · · · Q.· ·And not to -- to go over all this again but the
12· ·correctional standard of care for that opinion is the same
13· ·as what we're talking about, past -- your experience and
14· ·training, as well as the NIC standards?
15· · · · A.· ·What would a reasonable and prudent
16· ·practitioner -- a correctional practitioner do?· Whether
17· ·that's the administrator or the officer, what would a
18· ·reasonable and prudent practitioner do?
19· · · · Q.· ·Okay.
20· · · · A.· ·Coupled with my education, training, 32-plus
21· ·years' experience.
22· · · · Q.· ·Any particular provision of the NIC that you're
23· ·pointing to that relates to Sergeant Dukes' inadequate
24· ·supervision?
25· · · · A.· ·I think we already discussed that in number 5.


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 127 of 235
                                 PageID 2491
                                                                                  127

·1· · · · · · ·It would be the NIC Resource Guide for Jail
·2· ·Administrators and the NIC Direct Supervision Jails and the
·3· ·Role of the Administrator support my opinion.
·4· · · · Q.· ·Then, you have Dukes provided inadequate
·5· ·supervision of the inmates.· What's the basis for that
·6· ·opinion?
·7· · · · A.· ·So just as though he's supposed to -- he should
·8· ·be going through and supervising the -- his officers, he
·9· ·should be doing that with the inmates, too.· And that
10· ·encompasses actually stopping and talking to inmates if --
11· ·if they so desire.· But he said he doesn't -- they -- he
12· ·said he doesn't do that -- or they said he doesn't do that.
13· ·Testimony shows that he doesn't do that.
14· · · · Q.· ·So whose testimony?· Because I'm pretty sure I
15· ·was at Sergeant Dukes' deposition and he testified he walks
16· ·through the housing units every night.
17· · · · A.· ·He said he walks through them, but he only stops
18· ·to talk to inmates in one of them is what he said.
19· · · · · · ·The other three pods, he does a drive-by.· He
20· ·walks through to satisfy that paper requirement that he was
21· ·there.· But he doesn't actually do anything to -- to say
22· ·that he's actually supervising; he's walking through.
23· · · · Q.· ·And so isn't his presence good enough?
24· · · · A.· ·Not in that instance, no.
25· · · · Q.· ·And what is it -- what is it that's ineffective


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 128 of 235
                                 PageID 2492
                                                                                  128

·1· ·about his presence being that the officers and the inmates
·2· ·know that he is coming through and walking through?· What's
·3· ·inefficient about that?
·4· · · · A.· ·So when the supervisor goes through, they should
·5· ·be allowing the inmates to actually approach them and talk
·6· ·to them.· It breaks down barriers.· And if -- if Merchant,
·7· ·if Lutterloah, if any of the other inmates that are in any
·8· ·of these pods had any problems with how the pods were
·9· ·running by the deputies, they would be able to hear that
10· ·firsthand from the inmates and then they could look into
11· ·it.· That all goes to part of the supervision of not only
12· ·the inmates but as well as the staff.· Those are things
13· ·that we, as -- as floor supervisors and administrators,
14· ·that's one of the things that we do; we talk to inmates so
15· ·we know what's going on within the facility.· Because just
16· ·by walking around and observing, you don't get the full
17· ·breadth of it.· You have to talk to inmates in order to
18· ·learn what's happening.
19· · · · · · ·And the fact that he's not willing to do that --
20· ·or doesn't do that, I should say, on a consistent basis, it
21· ·means he's not supervising, he's not providing adequate
22· ·supervision.
23· · · · Q.· ·Well, what if the inmates are asleep?
24· · · · A.· ·Well, then, they won't -- then they wouldn't, but
25· ·that's not what he said.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 129 of 235
                                 PageID 2493
                                                                                  129

·1· · · · Q.· ·Okay.
·2· · · · A.· ·That's not what he said.
·3· · · · · · ·In fact, I believe most of the times that the
·4· ·supervisor went through -- if my memory serves me correctly
·5· ·from the logbooks -- was they were going through before
·6· ·lockdown, which is a good practice.
·7· · · · Q.· ·Okay.
·8· · · · · · ·So is there any other basis for your opinion that
·9· ·he's not properly supervising the inmates?
10· · · · A.· ·No.· That's it.· That sums it up.
11· · · · Q.· ·And the same thing with, I guess, questions about
12· ·Kosinski provided inadequate supervision of the inmates in
13· ·his care.· What did Kosinski -- what's the basis for your
14· ·opinion about Kosinski?
15· · · · A.· ·He's, again, not -- his watches, how often he's
16· ·going in there, the length of time that it takes him, the
17· ·fact that he's not -- he's not enforcing rules while he's
18· ·in there, that all plays into that.
19· · · · Q.· ·Okay.
20· · · · A.· ·Same thing with Miller.
21· · · · Q.· ·And you would agree that at the time of the
22· ·incident involving Mr. Merchant and Mr. Lutterloah, that
23· ·Miller was not in the rover station but had left to allow
24· ·another deputy to go on a lunch break.
25· · · · A.· ·Yes.· Correct.· He was relieving someone for


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 130 of 235
                                 PageID 2494
                                                                                  130

·1· ·lunch break.
·2· · · · Q.· ·Right.
·3· · · · · · ·Which happens in the corrections industry,
·4· ·correct?
·5· · · · A.· ·Of course, yeah.
·6· · · · Q.· ·And then, I guess, 13 and 14 -- and I don't know
·7· ·if these are just rehashing what we've already been talking
·8· ·about -- but conducting inadequate well-being/security
·9· ·checks and timing, form, and on a predictable schedule, is
10· ·there any other basis for that other than what we've
11· ·already talked about, that you didn't like the --
12· · · · A.· ·No, there isn't.
13· · · · Q.· ·-- the length of time that they walked through
14· ·there and the way they recorded it?
15· · · · A.· ·No, there is not.
16· · · · Q.· ·Okay.
17· · · · · · ·So, at this point, as we sit here today, is what
18· ·we were gonna be marking as Exhibit 2, your Technical
19· ·Report, is that complete in terms of the opinions that
20· ·you're prepared to give when this case goes to trial, as
21· ·you sit here today?
22· · · · A.· ·As I sit here today.
23· · · · · · ·As I said at the onset of the deposition, I
24· ·suspect that I'll be receiving more information as
25· ·depositions take place.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 131 of 235
                                 PageID 2495
                                                                                  131

·1· · · · Q.· ·Right.
·2· · · · A.· ·And I could be supplementing my report.
·3· · · · Q.· ·Okay.
·4· · · · · · ·So let me just go over a few things here I need
·5· ·to clean up.
·6· · · · · · ·Let's see.
·7· · · · · · ·So I just want to make sure.
·8· · · · · · ·When you left the Hillsborough County Jail, it
·9· ·was in 2021; did I get that correct?
10· · · · A.· ·June of 2021, yes, sir.
11· · · · Q.· ·June of 2021.· And at that time you were in court
12· ·services, not in the jail?
13· · · · A.· ·Correct.
14· · · · Q.· ·And the reason you left -- or decided to retire,
15· ·did --
16· · · · A.· ·I was in the DROP program.· I entered that and it
17· ·was time for me to retire.
18· · · · Q.· ·Okay.
19· · · · · · ·So we've gotten some, I guess, invoices from Miss
20· ·Harton this morning and I think I totaled those up and it
21· ·looks like you billed around $26,000 so far in this case;
22· ·is that accurate?
23· · · · A.· ·I don't know if it's accurate.· It sounds
24· ·reasonable, based upon the amount of work I've done on the
25· ·case.


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 132 of 235
                                 PageID 2496
                                                                                  132

·1· · · · Q.· ·Okay.
·2· · · · · · ·And your billing at the -- I know you said you
·3· ·had a $3,000 retainer but then after that retainer, you
·4· ·bill at a rate of $505 an hour?
·5· · · · A.· ·That has increased to $535 an hour at this point.
·6· · · · Q.· ·Okay.
·7· · · · A.· ·But that's what it started out as, yes.
·8· · · · Q.· ·Okay.
·9· · · · · · ·Are we paying you $535 an hour, then, today for
10· ·this deposition?
11· · · · A.· ·Yes, sir.
12· · · · Q.· ·It's my understanding that you will be billing us
13· ·for that.
14· · · · · · ·And then --
15· · · · · · ·Yes, you can take your --
16· · · · A.· ·I was.· My -- our agreement is with Miss Harton's
17· ·firm, not you.
18· · · · Q.· ·Okay.
19· · · · A.· ·I'll be billing as I normally do and Robson will
20· ·bill Miss Harton for my time today and how you guys work
21· ·that out is between you, I guess.
22· · · · Q.· ·Well, I'm sure she has a lot of money so she
23· ·probably will pay for it so --
24· · · · · · ·So if this case were to go to trial, then, is it
25· ·the same rate, you bill by the hour to appear at the


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 133 of 235
                                 PageID 2497
                                                                                  133

·1· ·courthouse and travel and everything --
·2· · · · A.· ·Yes, sir.
·3· · · · Q.· ·-- it's all at your hourly rate?
·4· · · · A.· ·Yes, sir.
·5· · · · Q.· ·Okay.
·6· · · · · · ·And, I guess, in terms of cases that you've
·7· ·worked so far -- I know, obviously, you've given only three
·8· ·depositions -- have you ever worked or been retained by any
·9· ·Sheriffs in Florida to get -- consult or give opinions on a
10· ·case?
11· · · · A.· ·Can I look at something?
12· · · · Q.· ·Yeah.· Sure.
13· · · · A.· ·Let me see if I can tell from this.· I might be
14· ·able to tell.
15· · · · · · ·Not that I can see.
16· · · · Q.· ·Okay.
17· · · · · · ·So -- and just for clarification purposes, what
18· ·is the methodology that you are using as it relates to your
19· ·preparation of opinions?
20· · · · A.· ·Deductive reasoning.
21· · · · Q.· ·Okay.
22· · · · · · ·And in -- your deductive reasoning would include
23· ·consideration of everything in terms of the testimony that
24· ·is given or has been taken in the case?
25· · · · A.· ·Yes.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 134 of 235
                                 PageID 2498
                                                                                  134

·1· · · · Q.· ·And you would agree with me that it's not your
·2· ·role to be an advocate for the Plaintiff in this case?
·3· · · · A.· ·Correct.
·4· · · · Q.· ·You're supposed to be completely objective as it
·5· ·relates to the overall analysis of this case?
·6· · · · A.· ·Absolutely.· That's why our firm prides itself on
·7· ·taking plaintiff and defense cases.
·8· · · · Q.· ·Okay.
·9· · · · · · ·And not to -- I think you mentioned at the
10· ·beginning here today that, I guess, there are some things
11· ·that you've been subsequently provided that came out after
12· ·this report came out.· And, just to be fair, I do want to
13· ·point out, though, that I guess when you made this initial
14· ·report as well as those conclusions, you had not received
15· ·the depositions of the Defendants, Kosinski and Miller?
16· · · · A.· ·Correct.
17· · · · Q.· ·And I think the only deposition transcript you
18· ·had actually seen was from Sergeant Dukes; is that fair?
19· · · · A.· ·Correct.
20· · · · · · ·And Kosinski, Miller, McNeely and Peterson all
21· ·support what I had previously opined on in my report.
22· · · · Q.· ·And Miss Harton gave me your notes that you have
23· ·prepared, I guess, when you reviewed the case or -- yeah, I
24· ·guess it's all of the -- not just depositions but you've
25· ·made notes.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 135 of 235
                                 PageID 2499
                                                                                  135

·1· · · · · · ·Is there a reason why you have different coloring
·2· ·in your highlighting?
·3· · · · A.· ·To draw my attention to those areas.
·4· · · · Q.· ·Okay.· Is there a significance, though, between
·5· ·blue, yellow, green -- and I don't think you have any other
·6· ·colors here.· You have yellow, blue, green it looks like.
·7· · · · A.· ·Only because the other colors are too dark and I
·8· ·can't use them.
·9· · · · Q.· ·Okay.· So there's no secret code to the coloring
10· ·system, then.
11· · · · A.· ·No, sir.
12· · · · Q.· ·Okay.
13· · · · · · ·I just don't know if I got this clarified or not
14· ·but I just want to make sure.
15· · · · · · ·There is no controlling standard that -- whether
16· ·you want to call it the standard of care -- for a model to
17· ·follow for the number of corrections officers that need to
18· ·be assigned to any particular number of inmates -- to
19· ·supervise any particular number of inmates.· Does that
20· ·question make sense?
21· · · · · · ·In other words, is there some standard or
22· ·controlling standard or model guideline that you looked to
23· ·and said, you know, you need five more inmates for, you
24· ·know, 2,000 -- excuse me, five more correction officers for
25· ·2,000 inmates or some number guideline along those lines?


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 136 of 235
                                 PageID 2500
                                                                                  136

·1· ·Do you understand what I'm saying?
·2· · · · A.· ·I do.· I understand that.
·3· · · · · · ·I didn't look at that in this -- in this
·4· ·situation, but I can't think of anything off the top of my
·5· ·head.· I would have to do more research to determine that.
·6· · · · Q.· ·Okay.
·7· · · · · · ·So it's not one of your opinions, then, that they
·8· ·failed to meet a standard of care as it relates to the
·9· ·number of inmates that were employed -- well, wait a
10· ·minute.
11· · · · · · ·It's not your opinion that they failed to meet a
12· ·standard as it relates to the number of correction officers
13· ·that they employed versus the number of inmates in their
14· ·care, custody and control.
15· · · · A.· ·It is not.
16· · · · Q.· ·Okay.
17· · · · · · ·MR. BOGAN:· All right.· I don't think I have any
18· · · · other questions.
19· · · · · · ·MS. HARTON:· I just have a few follow-ups.
20· · · · · · · · · · · · CROSS-EXAMINATION
21· ·BY MS. HARTON:
22· · · · Q.· ·So, Mr. Adee, this was a fairly large record that
23· ·you reviewed, right?
24· · · · A.· ·This is one of the larger ones that I've worked
25· ·on.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 137 of 235
                                 PageID 2501
                                                                                  137

·1· · · · Q.· ·Yeah.· And that's part of the reason why
·2· ·you're -- you know, you've billed approximately $30,000 at
·3· ·this point, right; you've had to review all the records in
·4· ·the case, right?
·5· · · · A.· ·Yes, ma'am.
·6· · · · Q.· ·Okay.
·7· · · · · · ·And you don't have the entire record in front of
·8· ·you right now, right?
·9· · · · A.· ·No, ma'am.
10· · · · Q.· ·So it's fair to say that, to the extent there are
11· ·any factual bases for your opinions that you weren't able
12· ·to articulate in this deposition, they're probably more
13· ·precisely articulated in your case notes and in your
14· ·report, right?
15· · · · A.· ·Yes, ma'am.
16· · · · Q.· ·Okay.
17· · · · · · ·We talked a lot about the Florida Model Jail
18· ·Standards and the FCAC, which the acronym is escaping me
19· ·right now.
20· · · · · · ·Can you tell me a little bit about how the
21· ·Florida Model Jail Standards are developed; if you know?
22· · · · A.· ·Sure.
23· · · · · · ·So a number of years ago, all county jails
24· ·were -- were overseen or monitored, if you will, by the
25· ·Florida Department of Corrections under Chapter 33-8.


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 138 of 235
                                 PageID 2502
                                                                                  138

·1· · · · · · ·At some point -- and I can't remember if it was
·2· ·the late '90s or early 2000s, the Department of Corrections
·3· ·said, hey, we're no longer enforcing 33-8 and the Florida
·4· ·Sheriffs through the Florida Sheriffs Association said,
·5· ·hey, that's not good for us, we need to make sure our jails
·6· ·stay where -- up to par, if you will.
·7· · · · · · ·And through the Sheriffs Association and the
·8· ·Florida Association of Counties, they developed the Florida
·9· ·Model Jail Standards.
10· · · · · · ·At the time, I was a -- probably a lower ranking
11· ·employee.· I think I was a corporal maybe when that
12· ·happened.
13· · · · · · ·But, in essence, they took 33-8 and put the
14· ·Florida Model Jail Standards title on it for all intents
15· ·and purposes and that's what initially became the jail
16· ·standards.
17· · · · Q.· ·And those --
18· · · · A.· ·Throughout the years --
19· · · · · · ·I'm sorry.
20· · · · Q.· ·Go ahead.
21· · · · A.· ·Throughout the years, they've been modified and
22· ·tweaked based upon society's demands for change.
23· · · · Q.· ·And so those Florida Model Jail Standards, as
24· ·they've been developed and modified since you moved away
25· ·from the 33-8 section, those standards are developed by the


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 139 of 235
                                 PageID 2503
                                                                                  139

·1· ·sheriffs and the counties themselves, right?
·2· · · · A.· ·Yes, they are.· In fact, I've actually been in --
·3· ·participated in meetings through the Florida Model Jail
·4· ·Standards committee to weigh in on what I thought we
·5· ·should -- what we should be doing in certain situations.
·6· · · · Q.· ·So the Florida -- the Florida Jails -- sorry,
·7· ·excuse me.· The Florida sheriffs and counties who will be
·8· ·bound by the Florida Model Jail Standards are the ones who
·9· ·are developing the standards themselves; that's fair to
10· ·say, right?
11· · · · A.· ·That's 100% accurate.
12· · · · Q.· ·Okay.
13· · · · · · ·What about the FCAC Standards; how are those
14· ·developed?
15· · · · A.· ·That, I don't know.
16· · · · Q.· ·Okay.
17· · · · · · ·So I want to talk a little bit about your opinion
18· ·regarding monitoring detainees.· You -- we discussed -- or
19· ·you discussed with Mr. Bogan a lot about your opinion that
20· ·they should be monitored more than once an hour on the hour
21· ·at night, correct?
22· · · · A.· ·Absolutely.· That is correct.
23· · · · Q.· ·Okay.
24· · · · · · ·And you and Mr. Bogan had a back-and-forth about
25· ·how the Florida Model Jail Standards -- that is, the


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 140 of 235
                                 PageID 2504
                                                                                  140

·1· ·Florida Model Jail Standards provision that at least jails
·2· ·must do checks every hour on the hour at night, right?
·3· · · · A.· ·That is correct, yes.
·4· · · · · · ·MR. BOGAN:· Object to the form.
·5· ·BY MS. HARTON:
·6· · · · Q.· ·And can you talk a little bit about what your
·7· ·opinion is as far as why that is not enough monitoring and
·8· ·supervision specifically as it pertains to Gulf Alpha at
·9· ·the Marion County Jail?
10· · · · A.· ·So Gulf Alpha has got a mixed population in
11· ·there.· They're all sex offenders but some are violent
12· ·offenders, some are nonviolent offenders.· Some are
13· ·classified higher than others.· And the lack of
14· ·supervision, in general, creates an environment where the
15· ·inmates are going to do what they want to do.· They're
16· ·gonna -- they're gonna mete out justice, if you will,
17· ·internally because staff's not there to enforce the rules.
18· ·And even if they are there, they're not enforcing the
19· ·rules, so the inmates take matters into their own hands.
20· ·And that's what happens when you don't supervise inmates.
21· · · · Q.· ·And so what you're saying is that the Gulf Alpha
22· ·is -- because of the mixed population of violent and
23· ·nonviolent detainees needs to have a particular -- a
24· ·particularly heightened monitoring or surveillance or
25· ·supervision than maybe some other general population dorms;


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 141 of 235
                                 PageID 2505
                                                                                  141

·1· ·is that fair?
·2· · · · · · ·MR. BOGAN:· Objection.
·3· · · · · · ·THE WITNESS:· I would say that all the -- all the
·4· · · · dorms need to comply with the standard of care.· They
·5· · · · should all be doing 30-minute -- checks within 30
·6· · · · minutes at irregular intervals 24 hours a day.
·7· ·BY MS. HARTON:
·8· · · · Q.· ·And that's especially important for a pod like
·9· ·Alpha, where you've got violent and nonviolent offenders
10· ·mixed, right?
11· · · · A.· ·Absolutely.· It matters even more at that point.
12· · · · Q.· ·Okay.
13· · · · · · ·And why is that?
14· · · · A.· ·Because of the heightened risk for violence.
15· · · · Q.· ·Okay.
16· · · · · · ·And just -- I think this is my last -- my last
17· ·line of questioning.
18· · · · · · ·We talked a little bit about, during lockdown,
19· ·the ability for some detainees to get up from their bunks,
20· ·use the bathroom, talk to a correctional officer if they
21· ·need something; there are ways in which a detainee would be
22· ·permitted to go off their bunk during lockdown for a
23· ·specific purpose, right?
24· · · · A.· ·Correct.
25· · · · Q.· ·But to the extent any detainee is milling around,


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 142 of 235
                                 PageID 2506
                                                                                  142

·1· ·just kind of chatting with other detainees during lockdown,
·2· ·that is not permitted under the written policy of the
·3· ·Marion County Jail, correct?
·4· · · · · · ·MR. BOGAN:· Object to form.
·5· · · · · · · · · Go ahead.
·6· · · · · · ·THE WITNESS:· Sorry.
·7· · · · · · · · · That is correct.
·8· ·BY MS. HARTON:
·9· · · · Q.· ·And why is it important for that policy to be
10· ·enforced on a regular basis?
11· · · · A.· ·Well, specifically, at night, when inmates are
12· ·trying to sleep, you don't want somebody -- none of us on
13· ·this Zoom right now would want somebody five or ten feet
14· ·away from us laughing and joking and talking with other
15· ·inmates and keeping us awake.· I mean, that's a pretty
16· ·crucial time of the day or night, it's 1:00 o'clock in the
17· ·morning, you can hear a pin drop in there.· And if you
18· ·allow the inmates off of their bunks to go fraternize with
19· ·other inmates, things like this are gonna happen.
20· · · · Q.· ·Can you explain a little bit how that relates to
21· ·the potential for violence within a jail?
22· · · · A.· ·Sure.
23· · · · · · ·Especially when the -- when staff's not coming in
24· ·there -- when they're only coming in once an hour -- and
25· ·for the -- for the other, let's say, 50 minutes of the hour


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  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 143 of 235
                                 PageID 2507
                                                                                  143

·1· ·were left unsupervised -- I'm gonna take matters into my
·2· ·own hand.· That's what my experience has been with inmates
·3· ·over my career.· If staff aren't gonna -- if staff aren't
·4· ·gonna enforce the rules and take care of the problem
·5· ·inmates, we're going to.
·6· · · · · · ·It's funny, inmates actually appreciate it when
·7· ·staff enforces rules so they don't have to, because none of
·8· ·them want to get in more trouble.· But if you put them in a
·9· ·position to do it, they will.
10· · · · · · ·MS. HARTON:· I think that's everything for me.
11· · · · · · · · · Oh, one more thing.
12· ·BY MS. HARTON:
13· · · · Q.· ·Your supplemental report that you discussed in
14· ·this deposition, based on the -- the information you've
15· ·gotten throughout discovery on a rolling basis, you don't
16· ·expect any of your opinions to change, correct?
17· · · · A.· ·No, ma'am.
18· · · · Q.· ·Okay.
19· · · · · · ·But if there were some sort of fact that were to
20· ·change your opinion, you would be sort of responsible for
21· ·making sure that you were honest about your evaluation of
22· ·the evidence and would note that change in your opinion,
23· ·right?
24· · · · A.· ·Absolutely.
25· · · · · · ·MR. BOGAN:· Object to the form.


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                                                                                    YVer1f
  Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 144 of 235
                                 PageID 2508
                                                                                  144

·1· · · · · · · · · Go ahead.
·2· · · · · · ·THE WITNESS:· Absolutely, yeah.
·3· ·BY MS. HARTON:
·4· · · · Q.· ·Okay.
·5· · · · · · ·And, you know, we talked earlier about the
·6· ·factual bases for your opinions and how you don't have the
·7· ·full record in front of you.
·8· · · · · · ·As far as what you would sort of refer to for the
·9· ·most precise accounting of the factual bases for your
10· ·opinion, that would include your -- your current technical
11· ·report, your case notes, and then, also, once it is -- it
12· ·is produced, whatever is in your supplemental report,
13· ·right?
14· · · · A.· ·Yes, ma'am.
15· · · · · · ·MS. HARTON:· Okay.· That's all I have.
16· · · · · · ·MR. BOGAN:· I don't have any other questions.
17· · · · · · · · · So what we're gonna do, Mr. Adee, as I
18· · · · mentioned at the beginning of the deposition, I'd like
19· · · · for you to have an electronic -- I don't know if you
20· · · · want to set it up with Dropbox, if you want to, you
21· · · · know, have them send it to me in a thumbdrive,
22· · · · whatever, you can send it to Miss Harton first and
23· · · · then she can send it to me, whatever the best and
24· · · · easiest method is, I'm agreeable to, but I need to
25· · · · have a complete copy of your file materials and so


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 Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 145 of 235
                                PageID 2509
                                                                                 145

·1· ·that's what I'm gonna attach.· I've already, I think,
·2· ·identified and labeled what I'm gonna mark it, so
·3· ·that's all I want to say.
·4· · · · · · ·And, I guess, Miss Harton will, I guess,
·5· ·tell me what her view of that is but --
·6· · · · MS. HARTON:· Bruce, I guess I just have a
·7· ·question.
·8· · · · · · ·So he's going to get, obviously, Dr.
·9· ·Hough -- or Hough's testimony, Cory -- sorry, not
10· ·Cory -- Krysti and Tommie's testimony that's gonna
11· ·happen next week.· Do you want whatever he has right
12· ·now or do you want whatever he has towards the end of
13· ·discovery?
14· · · · MR. BOGAN:· Yeah.· No.· What I'll take is what he
15· ·has right now.· I mean, I don't think anything in
16· ·those depositions are gonna be something that I won't
17· ·already get from him, so I understand he's gonna look
18· ·at it so --
19· · · · MS. HARTON:· Okay.· Okay.· That's fine.
20· · · · · · ·And then if we want to go off the record, I
21· ·want to talk to you about something else.
22· · · · · · ·(Discussion off the record)
23· · · · · · ·(Whereupon, this deposition
24· · · · · · · was concluded at 2:36 p.m.)
25· · · · · · · · · · · - - - - -


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     Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 146 of 235
                                    PageID 2510
                                                                                     146

·1· · · · · · · · · · · ·CERTIFICATE OF OATH

·2· ·STATE OF FLORIDA:
· · ·COUNTY OF ORANGE:
·3

·4· · · · · · ·I, the undersigned authority, certify that

·5· · · · PAUL MICHAEL ADEE personally appeared before me and

·6· · · · was duly sworn on April 4, 2025.

·7

·8· · · · · · ·WITNESS my hand and official seal on this 29th

·9· · · · day of April 2025.

10

11
· · · · · · · · · · · · · · · · · · · ·_______________________
12· · · · · · · · · · · · · · · · · · ·Candy Morgan
· · · · · · · · · · · · · · · · · · · ·Notary Public
13· · · · · · · · · · · · · · · · · · ·Commission #HH176851
· · · · · · · · · · · · · · · · · · · ·Expires:· 9/26/2025
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     Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 147 of 235
                                    PageID 2511
                                                                                     147

·1· · · · · · · · · · ·CERTIFICATE OF REPORTER

·2· ·STATE OF FLORIDA:
· · ·COUNTY OF ORANGE:
·3

·4· · · · · · ·I, CANDY MORGAN, being a Registered Professional

·5· · · · Reporter, a Florida Professional Reporter and Notary

·6· · · · Public, State of Florida at large, do hereby certify

·7· · · · that I was authorized to and did stenographically

·8· · · · report the deposition of PAUL MICHAEL ADEE; that a

·9· · · · review of the transcript was not requested; and that

10· · · · the transcript, pages 4 through 145, inclusive,

11· · · · constitutes a true and complete record of my

12· · · · stenographic notes transcribed by me to the best of my

13· · · · ability.

14· · · · · · ·I further certify that I am neither counsel for,

15· · · · related to, nor employed by any of the parties to the

16· · · · action in which this deposition was taken, and further

17· · · · that I am not a relative or employee of any attorney

18· · · · or counsel employed by the parties thereto, nor

19· · · · financially or otherwise interested in the outcome of

20· · · · the action.

21

22· · · · · · · · · DATED this 29th day of April 2025.

23

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25· · · · · · · · · · · · · · · · ·CANDY MORGAN, RPR, FPR

26


                              Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL              Document 52-2        Filed 07/03/25        Page 148 of 235
                                          PageID 2512
                                                                                                         148
                              15,18 105:18              30,000-foot 35:9
                $                                                                               8
                             1:10 104:11                30- 66:25 67:1 68:13
   $26,000 131:21            1:22-cv-02460 19:9         30-minute 65:24 66:5,25    8 15:23
                                                         68:4 141:5
   $3,000 10:11 132:3                                                              80 90:6,13
                                          2             32 53:5
   $30,000 137:2
                                                        32-plus 114:9 126:20                    9
   $505 132:4                2 8:3 51:23,24,25 106:25
                              121:23 130:18             33-8 137:25 138:3,13,25
   $535 132:5,9                                                                    9 15:25 123:20
                             2,000 135:24,25            3300 51:11 53:5
                                                                                   90 90:6
                0            20 19:8 26:23 61:23        365 60:7
                                                                                   90% 58:22
                              93:14 94:11
                                                        38 14:11
   0600 99:8                                                                       90s 138:2
                             20-something 43:8
                                                                                   94 100:12
                             2000s 138:2                            4
                1
                                                                                   96% 100:12
                             2010 49:20
                                                        4 14:18 15:13,16,25 16:9
   1 8:1,20 19:7 51:22,24,
                             2017 50:19                  112:15,17                              A
    25 52:22 58:15
                             2019 27:24 28:11 29:16     48 59:3
   1's 52:1
                              53:11                                                A-D-E-E 5:21
   10 16:4 19:7 84:8
                             2020 33:6 50:19 54:9                   5              a.m. 37:25 62:21 64:23
   10% 58:23                                                                        78:16 105:17,18
                             2021 22:9 28:11 29:6
                                                        5 29:18,22 114:16
   100% 139:11                33:5 49:21 50:12,15                                  ability 39:17 41:22 44:5
                                                         123:23 126:25
                              52:21 53:3 54:11 131:9,                               88:8 117:16 141:19
   10:00 37:25 62:20 64:23
                              10,11                     50 142:25
    81:21 82:16 83:20 84:1                                                         absolutely 20:20 54:22
    99:18,20 100:13 107:13   2022 35:25                                             57:9 67:17 84:1 86:23
    108:1 111:20,21 112:12                                          6               134:6 139:22 141:11
                             2024 42:7
                                                                                    143:24 144:2
   11 16:7 19:8
                             2025 6:17,23 8:6 19:23     6 97:25
                                                                                   ACA 38:6,11,15
   11-year 49:21
                             21 20:16 89:18,19 91:8     6.011 97:19
                                                                                   acceptable 64:18
   11:00 37:25 107:14,25
                             22 36:3                    60 49:11 62:20 98:9
                                                                                   access 9:17
   11:30 62:10
                             2200 99:8                  60-minute 65:25 66:6
                                                                                   accomplish 44:5
   12 16:13
                             24 48:7 49:6,13,18 60:6    6011 96:12 98:1
                                                                                   accomplished 99:9
   13 130:6                   65:17 66:5,25 68:4,13,
                                                        6011.00 92:14
                              17,18 98:9 107:4 141:6                               accordance 48:4
   13th 19:23 42:7
                                                        6164 96:12 97:20 98:18
                             25 32:16                                              accounting 144:9
   14 116:23 130:6
                                                        6164.00 92:16
                             26 14:20,24 90:1,3                                    Accreditation 36:11
   14th 35:25
                                                        6766.00 97:11               69:3
                             2nd 6:17 8:5
   15 84:8
                                                        68 35:25                   accredited 36:11
   17 18:20
                                          3             6:00 37:25 62:21 64:23     accurate 28:13 29:7
   1700 51:9                                             78:16                      83:11 102:25 103:25
                             3 7:11,13 8:11,14,17 9:6                               108:2 122:8 131:22,23
   1:00 94:1 103:22,24
                              13:13,14,15,16,19,23                                  139:11
    105:16,17 108:5 142:16                                          7
                              30:19,25 71:23 110:7
                                                                                   accurately 62:22
   1:04 103:23 104:12         121:23
                                                        7 118:9
    105:17                                                                         acronym 137:18
                             3's 8:6
                                                        72 59:17 60:20,22
   1:06 104:15,18                                                                  acting 23:10
                             30 32:17,18 49:10 65:17
                                                        7th 22:9 25:5 103:9
   1:09 103:24 104:6,11,      98:8 123:11,12 141:5                                 activity 77:20




                                  Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL                 Document 52-2      Filed 07/03/25       Page 149 of 235
                                             PageID 2513
                                                                                                         149
   actual 13:2,25 28:19         101:2 102:7 111:11        8:6,7,11,14 13:12,14,    assume 9:13 16:17 38:8
    31:1 100:5                  117:24 118:1,22 123:1     15,16,19,23
                                                                                   assuming 6:21 15:11
                                125:7 129:21 134:1
   add 7:2                                               applicable 16:15           40:6 44:11 76:12 80:10
                               agreeable 144:24           107:16,19,21              102:9
   added 119:12
                               agreed 93:11 111:8,13     applied 124:3             assumption 16:21 81:4
   additional 7:3,9,18 11:5,
    13                         agreement 10:3 39:8,10    apply 16:17               assumptions 100:22
                                40:17 41:1 132:16                                   101:4 102:22 103:8
   address 5:23                                          approach 128:5
                               ahead 12:25 31:23                                   asterisks 8:11
   Adee 5:5,11,13,21                                     approaching 123:6
                                36:17 63:13 103:13
    136:22 144:17                                                                  attached 6:4
                                113:19 138:20 142:5      appropriately 30:25
   adequate 84:12,20,23         144:1                                              attaching 7:24
                                                         approximately 26:23
    91:21 98:17 100:18
                               air 60:18                  56:2 59:15 137:2         attempt 86:1
    103:4 115:5,6,8 124:10
    125:18 128:21              aisle 84:19               Architects 39:2           attempting 75:17
   adequately 55:23 91:24      Albeit 100:14             area 60:10,16,25 93:2     attempts 42:10
    106:18                                                94:2 118:15
                               Alexandria 19:11                                    attended 33:21
   Administration 63:25                                  areas 35:7 55:16 84:16
                               alive 84:24 86:9 114:5                              attention 120:16 135:3
                                                          100:19 102:2 121:13,20
   administrative 58:25
                               allegations 43:2           135:3                    audio 16:1 76:16
   administrator 54:19
                               alleged 42:23             argue 102:18              author 9:2
    55:3 65:16,21 66:18,22
    67:22 68:3 72:21 109:8     allowed 39:11 87:15       arguing 111:24            authored 16:14
    116:10,17 126:17 127:3      94:23 95:7 115:3 118:6
                                                         argument 23:9 86:3        authoritative 17:3 63:9
   administrator's 66:4        allowing 94:19,23 128:5                              71:21 111:10 113:10
                                                         argumentative 112:6
                                                                                    116:1,11,13
   administrators 63:8,18      Alpha 90:15 91:2 103:19
                                                         arguments 25:3
    65:8 72:9 109:10 116:7,     104:14,19 119:8 120:18                             authority 51:14 72:10
    16 127:2 128:13             121:17,21 122:3,6,15,    arrest 74:22
                                                                                   authorization 88:3
                                16,19,20 123:3 140:8,
   advantage 44:3                                        article 21:16 72:4
                                10,21 141:9                                        authors 113:9
   advertising 20:19,21                                  articles 16:13 71:24
                               altercation 25:16                                   automatically 71:2
                                                          72:1,2
   advocate 134:2
                               Alvis 41:11                                         average 53:2,7 56:1,22
                                                         articulate 137:12
   advocating 89:3                                                                  91:1
                               amount 10:7 26:19 78:8
                                                         articulated 137:13
   affirm 5:7                   85:1,13 87:5 103:2,6                               averaging 90:22
                                113:11,25 131:24         ascertain 114:5
   age 71:7 73:17                                                                  awake 142:15
                               ample 85:1                asleep 128:23
   agency 35:10 50:22                                                              aware 21:9 24:6,20
    109:8,15                   analysis 35:23 50:18,22   aspects 124:13             27:8,23,25 28:1 33:3
                                51:4,12 134:5                                       36:10 41:4 42:9 43:13
   ages 70:25 71:4                                       assault 54:14,21 70:4,
                                                                                    75:16 114:15 124:2,21
                               analyzing 30:12 31:1       10,23 71:2
   agree 22:7 23:17,20,25
                                                                                   ax 46:18
    24:5,14 25:1,11,24         and/or 11:2 48:25         assaultive 69:17,25
    26:8,11 31:3,5 32:21                                  70:1 86:3
                               anticipate 11:25
    33:25 34:13 43:24 44:1,                                                                     B
    8,17,20 45:2 47:21                                   assaults 54:2,8 55:4
                               apologize 6:8 17:15
    54:13,16 55:2,20,21,24                                62:25 67:6 70:25 106:7
                                31:15 72:25 89:9 93:19                             back 10:15 18:6 28:17,
    56:12 58:7 63:23 65:4,                               assessment 90:18           20 46:18 53:20 62:10,
                               appeared 21:10
    7,22 66:4 67:7,11 71:6,                                                         14 69:10 83:18 87:3,6
    8 73:7,11 78:13,14,23                                assigned 61:10 135:18
                               appearing 5:23                                       88:11 97:10,24 100:16
    79:3,5 81:13,18,24                                   assignments 48:18          104:21,25 118:16
    83:19,23 84:4 85:7         appears 7:8 27:1
    86:4,10,11 87:21 88:17                               Association 138:4,7,8     back-and-forth 139:24
                               appendix 7:11,13,24
    95:13,21 99:16 100:21



                                    Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL             Document 52-2          Filed 07/03/25        Page 150 of 235
                                         PageID 2514
                                                                                                            150
   bad 61:5 62:25 111:5       bit 85:4 106:23 112:24     brought 74:23 79:2         Carolina 40:5
                               137:20 139:17 140:6
   barriers 59:25 128:6                                  Brown 40:9                 case 9:21,25 10:4,9,10,
                               141:18 142:20
                                                                                     11,24 11:3 13:5 14:22
   based 24:5 29:24 31:5                                 Bruce 5:3 8:10 14:19
                              black 95:6                                             15:18 16:15,20 18:9,21,
    39:7 40:16,25 42:20                                   31:24 61:22 93:16
                                                                                     23 19:9,19,25 20:11
    57:10 69:13 70:25 71:4    Blandin 22:1                111:24 123:6
                                                                                     21:12,14 22:11,14,16,
    79:9,17,18 80:12 89:11,
                              blanket 83:15 85:2         building 60:15              22 23:4,10 24:6 25:2
    16 96:20 100:21 101:4
                               114:6                                                 27:14 28:17 29:8 35:23
    102:10 103:2 113:23                                  built 51:10
                                                                                     36:23 39:2,12,22 40:1,
    114:3 115:20 122:23       blue 135:5,6
                                                         bunk 25:6 26:20,21          4,7,19 41:7,9,13 44:13,
    126:2 131:24 138:22
                              bodies 47:19                60:23 61:10,13 80:13       19 47:2,7 67:14,20 73:1
    143:14
                                                          86:6,14,25 87:3,6,19       74:4,8 76:3 81:25 85:10
                              Bogan 5:3,16 7:16,22                                   86:10 97:19 111:15
   bases 137:11 144:6,9                                   93:1,6,13,18,22 94:2,4,
                               8:14,16,18 12:24 14:23                                112:4 117:6,12,22
                                                          6,9,14,19 95:3,11
   basing 69:18 99:25          15:9,13,15 17:14 19:18
                                                          141:22                     118:4 119:18 121:7
    122:24                     23:13 24:11 25:12 27:6,                               130:20 131:21,25
                               20 32:1,8,13 37:15,21     bunks 60:23,24,25 61:6      132:24 133:10,24
   basis 32:21 66:1 73:4
                               43:23 44:9,18 45:5,21      79:4 90:13 92:1,23         134:2,5,23 137:4,13
    87:18 91:11,17 109:16
                               46:23 47:14 54:18 55:5,    94:23 98:21 105:23         144:11
    112:23 114:23,24
                               17 56:7 57:16 61:24        141:19 142:18
    119:19 123:22 125:17
                               62:3,6,9,12,14,16 65:3,                              case-by-case 73:4
    126:3 127:5 128:20                                   business 92:3 93:4
                               18 66:14 67:12,19 68:7
    129:8,13 130:10 142:10                                                          cases 6:19,23 18:20,21
                               69:9 70:14,21 71:17
    143:15                                                                           21:25 38:17,24 41:3
                               74:2 75:23 77:14 79:24                  C
                                                                                     133:6 134:7
   bathroom 95:23 141:20       82:9 83:4,24 84:13
                               93:19,23 97:8 101:1       calculate 105:3            category 29:20 121:24
   battery 27:9,14 54:8
                               102:16 106:2,16 109:24
    70:22 71:13                                          calculations 18:7,8,9,     caused 26:13 91:15
                               112:2,8 113:21 116:12
                                                          13,18                      107:6 114:19 117:2,11,
   Beckley 41:14               117:9,18,23 118:2
                                                                                     20 118:4
                               119:2 120:3,25 122:9      calendar 50:18
   bed 61:13 85:9 114:6
                               123:9,16,19 136:17                                   causing 112:21
                               139:19,24 140:4 141:2     call 51:22 91:12 135:16
   beds 60:23 94:2
                                                                                    cell 79:19 80:5 82:2
                               142:4 143:25 144:16       called 6:16 29:16
   began 18:11 125:15                                                                115:6 119:15
                              book 56:5 95:18            calling 16:9
   begin 25:7 74:23 82:4                                                            cells 59:2,3
                              booked 56:3                calls 80:6
   beginning 51:7 78:16                                                             centered 75:25
    134:10 144:18             booking 56:22              Candy 7:25 15:13           certification 38:6,15
   behalf 19:5                books 66:23                capable 41:25 121:13       certifications 36:22,23
   behavior 30:15 62:25       bound 139:8                capacity 56:16             certified 36:18
    86:3
                              brand-new 51:8             Captain 89:17,25 95:4      challenged 39:17
   believability 43:20                                    99:25 100:1 110:16
                              breadth 128:17
                                                          115:1                     chance 9:11
   believable 43:25 44:25
                              break 62:1,4,13 91:25
                                                         care 47:19 64:1,9 65:23    change 11:18 49:22
   big 49:23 90:5              92:4 123:7,8,9,14,17,18
                                                          66:9,13,17 67:8 72:20      138:22 143:16,20,22
                               129:24 130:1
   bigger 56:14,16                                        91:14,15 92:2 107:6
                                                                                    changed 11:23 49:16,22
                              breaks 128:6                109:1,2,6,7,12,14,18
   biggest 65:1
                                                          110:10,13 112:21 113:3    changing 77:25
                              breathed 60:18
   bill 132:4,20,25                                       114:19 116:24 118:18
                                                                                    Chantelle 19:4
                              breathing 84:24 86:7        126:12 129:13 135:16
   billed 131:21 137:2
                                                          136:8,14 141:4 143:4      Chantelle's 19:13
                              bringing 77:25
   billing 9:12,14,21 10:19
                                                         career 48:19,21 51:1,7,    Chapter 137:25
    132:2,12,19               broad 92:6
                                                          8,10 143:3
                                                                                    characterization 111:12
   bills 9:7,9,24 10:17       broadcasts 21:7
                                                         cares 65:5
                                                                                    characterize 12:5 27:3



                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL             Document 52-2          Filed 07/03/25       Page 151 of 235
                                         PageID 2515
                                                                                                          151
    69:15,18 75:9             clarifying 120:6           comparison 50:14          conform 34:6 68:4 69:7
   characterizing 62:22       class 33:20 71:23          complete 9:12 12:7        conformance 69:1
    69:13 112:3                                           14:12 31:16 90:2
                              classification 28:3                                  confronts 25:6
                                                          102:25 130:19 144:25
   charge 52:9 69:15,17        29:15,23 30:1,4,9,11,18
                                                                                   confusing 7:25 108:13
    70:20,23 71:13 72:22       31:1,6 34:14 69:11        completely 134:4
    73:13 74:16 119:4          71:12 72:6,8 97:1,3,6                               consecutively 82:24
                                                         completing 11:25
    120:20 121:4               118:10,12,20 120:9
                                                                                   consent 5:2,3 71:6
                               122:24                    compliance 32:24 36:6,
   charged 27:14 70:11,16,
                                                          8 37:6                   consideration 44:14,24
    25                        classifications 97:23
                                                                                    73:19 113:7 133:23
                                                         comply 47:19 99:10
   charges 28:7 30:13,14      classified 30:25 71:2
                                                          141:4                    considered 73:9,10
    31:6                       118:21 119:5 122:5
                               140:13                    complying 98:21           consistent 47:16,18
   charts 16:23
                                                                                    128:20
                              clean 88:7 131:5           comport 34:6
   chatting 142:1
                                                                                   consistently 82:2
                              cleaning 88:1              comports 34:10
   check 65:10 78:21
                                                                                   consult 133:9
    79:12 82:16 84:7,12,20,   clear 46:25 52:21 67:21    composite 8:4
    23 86:7 89:7,14 90:9       70:8 108:25 122:4                                   consulted 35:21
                                                         comprehensive 34:8
    100:13 101:15 103:5,18
                              client 10:18                47:9                     consulting 21:22
    104:5,14 105:16,17
    108:7 113:12 114:1        clients 9:14               computer 60:5             contact 75:18
   checked 83:10 84:3         clock 105:4,5              conceding 122:5           contained 15:12 16:8
   checks 36:25 37:3,11,                                                            20:9 24:21 77:2 98:24
                              close 20:4 21:20           concern 22:19,25
    17 38:1,10 47:12,16                                                            continuing 13:16,17
                              closed 19:22               concerned 47:2 78:5
    48:4,25 49:8 62:20 64:7
    65:17,25 66:5,6 68:14                                                          contradictory 107:3,12
                              closest 30:23              conclude 116:2
    72:11 78:17,18,19                                                               108:12
    81:12,20 82:2 85:4 90:7   clue 77:22                 concluding 91:17
                                                                                   contrary 23:11 47:5
    99:17 100:11,23 103:9                                 114:16 117:20
                              co-authored 16:14
    104:17 105:9,11,19,20                                                          contributed 16:14
                                                         conclusion 37:3 108:12
    106:4 107:4,9 108:15,     code 135:9
                                                          114:14 115:20 116:22     control 35:16 136:14
    16 110:9 111:17           codify 109:13
    112:11,19 114:4 115:6                                conclusions 134:14        controlling 69:1 135:15,
    124:11,12,22 125:21,24    collectively 89:13                                    22
                                                         conclusory 91:10,12
    126:1,4 130:9 140:2       Colonel 52:9,10,11,13,      97:17                    conviction 27:9
    141:5                      16,17,19
                                                         concrete 26:3             copies 18:3
   child 19:5 27:14 121:8     coloring 135:1,9
                                                         condition 85:9            copy 6:4,15 13:6,22
   choose 64:3 65:10,11       colors 135:6,7                                        14:12,16 15:3 28:14
    104:12                                               conduct 36:24 48:4 49:7
                                                                                    50:7,8 74:6 144:25
                              combative 29:10             50:18,22 89:6 99:19
   circumstances 65:13                                    115:18                   corporal 138:11
    70:18 73:16 74:17         commander 52:5 53:18
                                                         conducted 33:17 38:4,     correct 6:22 9:22 10:1
   cite 17:2,6                commercials 21:7
                                                          15 47:13 48:25 51:13      11:14 15:11 16:21
   cited 17:8 63:6 72:10      Commission 36:12 69:3       105:12,16,17 107:4        20:18 21:5 22:12 27:15
                                                          124:22                    28:19 32:8,25 38:20
   City 5:24                  committed 121:7
                                                                                    42:22,25 45:7,11,16
                                                         conducting 37:17 79:11
   civilians 53:23            committee 139:4                                       46:12 53:13 76:14
                                                          83:19 99:16 103:4
                                                                                    78:13,20,22 79:4,8
   clarification 10:12        common 40:6 57:11           110:8 111:17 112:18
                                                                                    80:2,9,21 81:10,11
    133:17                     80:12 86:17                113:12 114:1 130:8
                                                                                    82:18,19,21 83:8 84:16
   clarified 135:13           communicating 85:18        confidentiality 39:8,10    90:14 95:20 99:1 100:4
                                                          40:17 41:1                101:16 105:3 106:12
   clarify 120:5              compare 54:1                                          107:17,20,21 108:9
                                                         confinement 29:6 58:25



                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL                Document 52-2       Filed 07/03/25        Page 152 of 235
                                            PageID 2516
                                                                                                          152
    116:19 117:12 129:25       131:8 137:23 140:9                                   department 9:14 17:7,
    130:4 131:9,13 134:3,      142:3                                 D               16 27:13,18,23 63:7
    16,19 139:21,22 140:3                                                            110:14 137:25 138:2
                              County's 50:15
    141:24 142:3,7 143:16                                daily 53:2,7 56:1 91:1
                                                                                    depend 90:11
                              couple 48:14,17 60:25
   correction 135:24                                     dangerous 73:14
                               63:14 88:1 116:10                                    depended 73:4
    136:12
                                                         dark 85:3 135:7
                              Coupled 126:20                                        depending 65:12 73:12,
   correctional 64:11 67:8
                                                         database 12:10              16 84:14
    69:3 105:22 107:5         court 19:10,14 40:1,4,5,
    109:1,2,19 110:10,13       6,19 41:14,21 53:16,17    date 25:16 90:20           deposition 6:1,5,24 7:4
    113:3 114:19 116:24        80:18 81:2 117:6                                      8:2,20 12:18 13:24
                                                         dated 6:17 8:5 42:7
    126:12,16 141:20           131:11                                                14:11,18,25 19:19 20:5,
                                                         Daubert 41:2                7 39:12 40:11,20 94:25
   corrections 17:17 18:4     courthouse 48:9,18
                                                                                     115:21 127:15 130:23
    27:13,19,24 29:10,12       53:20 133:1               day 48:7 49:6 60:6
                                                                                     132:10 134:17 137:12
    35:3 36:11 38:21 39:3,6                               65:17 66:5,6,8,25 68:5,
                              courtroom 38:19,20                                     143:14 144:18
    40:12,15,21,24 41:12                                  13,17,18 78:4,12,16,18,
                               42:11
    44:23 53:22 57:4,7,13                                 22 80:2,17,21 81:14       depositions 7:10 11:6
    60:3 63:16 72:7,13        covered 114:8               85:5 98:6 105:8,20         12:2 20:6 116:3 130:25
    87:14 91:15 95:15                                     106:9 107:5 108:17         133:8 134:15,24
    109:4 112:21 113:9        created 66:21
                                                          141:6 142:16
                                                                                    deputies 19:6 49:7 57:4,
    116:15 130:3 135:17       creates 140:14
                                                         days 60:7                   13,21 59:20 60:11,19
    137:25 138:2
                              creating 92:1 93:2                                     81:17 89:6 92:3,9 95:5
   correctly 37:24 53:6                                  daytime 77:21
                                                                                     108:14 115:5 128:9
    61:16 90:8 103:22         credence 30:16
                                                         deal 57:18,22 90:5
                                                                                    deputy 22:17,23 45:8,
    122:5 129:4               credible 43:25
                                                         death 26:10 41:22 42:3      10,24 59:12 60:3 80:15,
   corroborated 45:9          crime 69:21,22,25                                      23 88:18 93:5 110:17,
                                                         decedent 22:8 23:21         22 129:24
   corroborates 45:4,18       criminal 74:6 77:4,8
                                                         decide 71:13 95:19         describe 20:10
   Cory 22:8,15 23:5,21       critical 102:22             117:21
    24:2,6,15 29:23 31:7                                                            describes 24:22 100:2
    73:22 74:7,20 75:17       criticism 81:19            decided 131:14
                                                                                    desire 127:11
    76:2,3,8 85:8 91:15,19    criticisms 62:17           decision 66:4 67:9
    93:1,6 103:20 104:7                                                             detained 30:8
    107:6 112:21 114:19       criticize 102:4,24         declarations 88:22
    117:2,11,21                                                                     detainee 141:21,25
                              CROSS-EXAMINATION          deductive 133:20,22
   counsel 12:14               136:20                                               detainees 139:18
                                                         deep 35:11                  140:23 141:19 142:1
   count 78:21 92:11,19       crucial 142:16
                                                         Defamation 43:3            determine 124:10 136:5
    98:18,22,24,25 99:7       cubical 61:8,10,12
                                                         Defendants 22:16 23:9      determining 73:19
   counter 97:20              cubicles 61:9,13            134:15
   counties 138:8 139:1,7                                                           deters 62:25
                              current 6:22 8:21 13:19    defense 134:7
   counts 78:17,19,22          30:12,14 31:5 144:10                                 develop 35:10
                                                         deliberately 23:11
   county 16:5 17:25 18:3     custody 73:21 121:23                                  developed 137:21
                                                         delineate 92:24 100:4       138:8,24,25 139:14
    21:23 24:16,21 27:13,      136:14
                                                          101:6,12
    19 28:10 30:7 31:18       custom 92:22 99:13                                    developing 139:9
    32:16,19 33:4,15,19                                  delineation 96:22
                               110:8 112:17                                         deviation 65:22 66:8,12
    36:5,10 42:19 47:1 48:3                              deliver 80:4
    49:1 50:9,17,21 53:25     customs 42:1 91:22                                     67:8,16
    54:1,4,9 56:3,18,19,23                               delivered 79:7,20          dialogue 115:18
                              cut 96:11
    57:18 61:18 62:18                                    Dellun 123:21
    66:19 68:24 69:6 72:16,   CV 6:19,23 8:21,22                                    diaries 9:6
    25 73:1,2 86:13,22,25      53:12                     Delta 121:17 122:20        difference 28:2
    107:1 112:15,17                                      demands 138:22             differently 65:11
    114:17,22 118:9 124:3



                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL                 Document 52-2      Filed 07/03/25        Page 153 of 235
                                             PageID 2517
                                                                                                           153
   difficult 15:4 85:3 110:1    69:19                    early 138:2                enforcing 92:21,22
                                                                                     106:5 129:17 138:3
   difficulty 57:12            documents 7:9 8:12        easiest 144:24
                                                                                     140:18
                                11:1 14:1,2,20 15:3,17
   direct 5:15 20:23 58:21                               easy 72:17
                                16:8 18:8 20:9 25:2                                 engage 86:2
    59:11,18 64:15,16,21
                                31:16 32:11 33:7 36:1,   educated 53:4
    116:9,17 127:2                                                                  enhanced 106:10
                                14,19 64:8 74:12,22
                                                         education 113:6,24
   directly 27:12 85:14                                                             ensure 80:23
                               domestic 27:9              126:20
   disagree 29:20 84:20                                                             entered 131:16
                               door 79:10,14 80:5,10,    effect 50:11 95:1,7
    111:12 118:25 119:3,6
                                14 81:10                  99:21                     entire 13:25 28:10,15
   disagreement 22:15,20,                                                            52:23 102:18 108:17
                               doorway 58:9 79:23        Effective 63:16
    24 25:7                                                                          137:7
                                81:3
                                                         eight-hour 49:19 65:25
   disagreements 23:5                                                               entitled 15:2
                               dorm 124:7
                                                         electronic 12:8,13 13:6,
   disciplinary 29:5 58:25                                                          entity 20:16
                               dormitories 59:6,16        22,24 14:1,2,18 15:6
   disclose 15:1 40:25          61:8                      144:19                    enunciation 96:22
   disclosed 14:22             dormitory 59:17,20,21     electronically 14:17       environment 91:13,18
                                60:2 76:23 79:2,3,20      15:3,6 17:21,22            92:2 97:19 140:14
   disclosure 14:24
                               dormitory-style 86:17     elevated 60:10,12,14,15    equipment 60:5
   discovery 143:15
                               dorms 140:25 141:4        email 7:19 20:23           Eric 22:9 23:22 24:2
   discretion 65:8 95:10,
                                                                                     30:17
    14,15,19,22 96:1           dot 110:23                emails 10:23
                                                                                    escape 118:17 119:15
   discuss 39:7                double 60:23,25 61:6      emergency 86:6
                                                                                     120:15
   discussed 58:8 110:5        double- 61:11             employed 21:23 136:9,
                                                                                    escaped 84:22
    123:23 126:25 139:18,                                 13
                               double-bunked 59:4
    19 143:13                                                                       escaping 137:18
                                84:16                    employee 9:20 10:13
   discusses 20:15                                        138:11                    essence 138:13
                               double-check 7:20
   discussion 37:14 55:1                                 employees 45:13 100:6,     essential 25:25
                               drafting 11:4
                                                          9 114:18
   dismissed 42:16                                                                  essentially 84:18 95:24
                               draw 135:3
                                                         employees' 96:23
   dispute 22:15,24 25:20                                                           establish 63:25 64:9
                               drink 87:11 95:16
    26:13,18,24 29:3,13                                  employer 20:17              101:21
    75:11                      drive-by 127:19
                                                         employer's 39:17           established 106:6
   disputes 25:3               drop 75:18 76:3 131:16
                                                         employment 9:19 20:11      Estate 41:10
                                142:17
   disputing 68:24 94:3                                   49:14
                                                                                    estimate 56:1,6
    121:1                      Dropbox 14:21 144:20
                                                         encompass 16:8
                                                                                    evaluating 44:13
   disrespectful 29:10         duces 8:2
                                                         encompasses 30:14
                                                                                    evaluation 143:21
   distinction 123:2           Dukes 23:3,5 89:2 95:8,    127:10
                                25 114:25 115:14                                    evening 25:5 106:19
   District 19:10                                        encourage 44:23
                                123:20 124:16 127:4
                                                                                    event 14:13 115:13
   division 19:11 41:12         134:18                   end 7:23 30:22 48:19,21
    48:9,19 52:22 53:19,21                                61:7,15 84:6 105:8,20     everybody's 85:5
                               Dukes' 126:23 127:15
    57:7 58:14                                            116:23
                                                                                    evidence 25:3 94:4,14
                               duly 5:14
   Divisions 51:24                                       ended 27:24 103:23,24       143:22
                               duties 55:23 77:24 78:3
   document 17:19 18:15                                  enforce 39:18 95:6 96:9    exact 101:21,22
    22:7 66:23 77:17           duty 81:16                 108:23 140:17 143:4
                                                                                    EXAMINATION 5:15
   documentation 24:14                                   enforced 87:8 96:5,6
                                            E                                       examiner 26:4,8
    119:18                                                142:10
                                                                                    exception 118:15,16
   documented 23:18 24:1                                 enforces 95:5 143:7
                               earlier 107:15 144:5


                                    Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL                  Document 52-2       Filed 07/03/25       Page 154 of 235
                                              PageID 2518
                                                                                                            154
   exchange 94:10               139:2 143:19              figure 58:17 63:3 109:25   Forensic 9:20,25 10:13,
                                                            111:4                     17 12:11,12 20:16,19
   excuse 8:5 63:24 66:18      factors 89:21
                                                                                      21:1,6
    72:24 79:19 97:25                                     file 12:8,13 13:6,25
                               factual 137:11 144:6,9
    107:1 119:4 122:13                                      14:18 16:9 77:3 144:25   form 17:13 21:7 23:12
    135:24 139:7               fail 124:1                                              24:9 25:9 27:4,16
                                                          files 13:2 15:20 16:1
                                                                                       37:13,18 43:21 44:7,16
   exercise 80:18              failed 55:23 91:13,18,
                                                          fill 57:6,20                 45:1,17 46:21 47:8
                                 21,24 107:4 108:18
   exhibit 6:4 7:24 8:1,4,19                                                           54:15,23 55:14 56:4
                                 124:1 136:8,11           filled 57:4
    14:18 15:13,16,25 16:9                                                             57:14 64:5 65:14 66:11
    130:18                     fair 27:2,5 29:17 30:4     filling 57:12                67:10,18 68:1 69:4
                                 40:2 48:15 80:8 81:17                                 70:12,17 71:15 74:1
   exhibits 8:17                                          final 123:8
                                 82:5,20 83:7,10 95:12                                 75:20 77:10 79:21 82:6
   exist 85:15                   102:24 121:10 123:5      find 9:1 36:4 41:19          83:2,21 84:10 93:16
                                 134:12,18 137:10 139:9     46:14                      97:7 100:24 102:13
   exists 13:8                                                                         105:24 106:14 109:21
                                 141:1
                                                          finding 112:16               111:23 112:19 113:7,
   expanded 48:7 49:6
                               fairly 136:22                                           14,17 115:7 116:5
                                                          findings 91:7 116:23
   expect 32:18 143:16                                                                 117:7,15,25 118:24
                               Falkenburg 52:2 59:5,7,
                                                          fine 62:3                    119:23 120:23 130:9
   expectation 87:7             14 61:8
                                                          finish 83:16 93:12           140:4 142:4 143:25
   expected 87:3 104:19        falls 121:23
                                                          finished 73:1 123:24       formal 33:17,23
   experience 57:11,12         familiar 33:10 41:6,13
    113:5,6,24 114:10            78:4 86:15               firm 9:9 22:1,4 39:8,20    format 13:24 15:6 46:9
    126:13,21 143:2                                         132:17 134:6             formats 21:11
                               FCAC 36:18,22 37:4,7,9,
   expert 9:5 14:11,13 15:2     16,23 38:4,7,11 47:6,17   firm's 39:10               forms 20:21
    21:10 38:21 39:3 40:14,     137:18 139:13
                                                          firsthand 128:10           fortunate 58:1
    21 67:9
                               February 19:23
                                                          fit 95:6                   forward 44:21
   explain 121:15 142:20
                               fed 78:15
                                                          Five's 62:9                foster 44:4
   extensively 98:8
                               federal 40:1,19 41:14
                                                          five-minute 123:17         found 26:9 47:16
   extent 11:21 111:14
                               feed 80:11
    137:10 141:25                                         five-second 89:22          frame 48:11 49:3,18
                               feeding 77:24 79:13                                     50:1 67:2 105:9,21
   eye 85:18                                              flip 91:8
                                 80:1,25
                                                          floor 26:3,6,13 128:13     fraternize 142:18
                               feel 87:13
                 F
                                                          Florida 5:24 31:17 32:1,   freely 59:23
                               feeling 87:13
                                                           3,19,24 33:5,12,16        French 39:2,22 40:1
   face 86:8
                               feet 142:13                 34:4,7,13 35:22 36:6,11
   facilities 51:6,19 52:5                                 47:5,17,21,22 48:1,5      frequent 62:24 64:7,14
                               fell 52:10
                                                           67:22,24 68:5,9,12,21     frequently 55:16 64:22
   facility 24:16 30:3,8
                               felon 70:10,15              69:2,3,7 70:19 71:7         108:17
     32:20 33:23 34:4,10
                                                           133:9 137:17,21,25
     51:8,10 52:23 55:11       felony 69:15,17 70:1
                                                           138:3,4,8,14,23 139:3,    Friday 44:22 45:4,11,20
     66:8 72:22 76:23            121:19
                                                           6,7,8,25 140:1             88:19
     105:22 109:19 120:8
                               felt 93:3                                             front 137:7 144:7
     121:3 128:15                                         fluctuate 53:8
                               field 9:3 21:10 39:6                                  full 5:18 90:14,15
   fact 24:12 27:12 41:6                                  folks 58:6
                                 40:11,14,23                                           102:25 128:16 144:7
     46:19 50:3 58:6 59:19
                                                          follow 47:23,24 64:3
     60:24 62:19 71:3 75:24    fight 22:8 25:8,21,24,25
                                                            65:11 68:12,21 82:7      full-time 10:12
     76:8 78:25 79:19 81:7       26:16,21 27:2 91:20
                                                            97:2 124:1 135:17        funny 43:7 143:6
     91:19 93:25 98:24 99:7      93:7 94:6,10,15 104:9
     101:12 102:10,19                                     follow-ups 136:19
                               fighting 29:9
     104:17 105:8,20 108:16
                                                          food 79:1,6,7,20                         G
     110:16 117:5,10 119:20    fights 44:22,24 45:4,11,
     124:22 128:19 129:3,17      20 68:17 88:20 89:3      force 34:24                Gail 40:9



                                    Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL             Document 52-2          Filed 07/03/25        Page 155 of 235
                                         PageID 2519
                                                                                                            155
   gain 44:3,5                guidelines 64:2 116:19      113:14,16,17 116:5         123:15 124:23 132:4,5,
                                                          117:7,14,25 118:24         9,25 139:20 140:2
   gap 49:23                  Gulf 61:18 77:21 82:1,
                                                          119:23 120:23 122:7        142:24,25
                               10,12 83:20 89:7 91:2
   gathered 115:16                                        123:6,12 131:20 132:20
                               101:16,22 102:18,20                                  hourly 38:1 133:3
                                                          134:22 136:19,21 140:5
   gave 40:20 55:25            103:19 104:14,19
                                                          141:7 142:8 143:10,12     hours 48:7,24 49:5,6,13,
    124:16,19 134:22           107:17,20 108:7 111:21
                                                          144:3,15,22                18 60:6 62:20 64:23
                               112:11 119:6,7,8 120:9,
   general 35:18 39:5 73:6,                                                          65:17 66:5,6,25 68:4,
                               18,22 121:9 122:3,6,15,   Harton's 132:16
    8,15 92:6 108:13 121:9                                                           13,17,18 77:21 92:1
                               19 123:3 125:4,7,8,10
    140:14,25                                            head 18:24,25 26:3,5,6,     98:9 104:11 107:4
                               140:8,10,21
                                                          9,13 87:21 89:1 92:11,     141:6
   generated 30:2
                              guy 81:9 95:16,17           19 97:20 98:18,22,24
                                                                                    house 51:11 73:19 75:7
   generates 10:18                                        99:7 114:8 136:5
                              guys 62:8 132:20                                       119:7,15 121:18,21
   girl 75:6,10                                          hear 128:9 142:17
                                                                                    housed 28:12,15 29:2
   give 5:8 14:4 21:11                     H             heard 45:11,12,13,25        30:8,16 51:9 52:22
    22:19 41:22 42:2 56:6                                 77:7 123:3                 58:24 59:17 73:5,6,8
    68:20 89:5,8,19 106:21    hair 71:12                                             76:23 118:13,18,23
                                                         heightened 140:24
    118:6 130:20 133:9                                                               119:4,6 120:8 121:9
                              half 21:19                  141:14
                                                                                     122:19,20
   giving 5:22 40:20 46:17
                              hand 5:6 143:2             Hernando 66:18 72:24,
                                                                                    housing 27:7 28:3,9,14,
   God 5:10                                               25 73:1
                              hand-in-hand 97:4                                      18 34:17,18 58:13,19
   good 5:17,20 62:3,9,12                                hey 61:22 111:2 123:6       59:19 60:2,19,22 73:3,
                              handbook 24:15,22,25
    68:10 125:18 127:23                                   138:3,5                    10,14 79:4 80:20 82:1,
    129:6 138:5               handle 53:21 93:4                                      3,11,15,17,24 83:6,20
                                                         high 121:22
                                                                                     84:8 89:7 90:12,20 97:3
   gotcha 16:3 106:22         handout 16:18                                          99:19 100:22 101:5,6,
                                                         higher 31:7 56:22
    124:24                                                                           21 102:11,15 103:1
                              hands 140:19                140:13
   great 53:9                                                                        118:11,12 119:20,25
                              happen 55:12,22 106:8      highlighting 135:2          121:10,12,14 122:23
   green 135:5,6               108:19 142:19                                         125:1,5,8 127:16
                                                         Hillsborough 17:25
   grind 46:18                happened 94:6,15            18:3 21:23 32:15 42:19    hundred 39:23 55:18
                               108:24 138:12              48:3 50:9,17,21 51:18      56:9 74:11
   ground 26:3,14,22                                      53:25 54:4,9 56:2,3,13,
                              happening 45:16 55:19                                 hypothetically 82:10
   guarantee 54:20 55:3                                   18,22 57:18 72:24 73:2
                               61:5 86:6 128:18
                                                          86:22,24 131:8
   guess 6:2,18,21 7:8,9
                              harm 91:15 107:6                                                     I
    8:20 9:1,9 12:5 13:12,                               histories 30:15
                               112:21 114:19 117:2,
    15 20:16 21:3 26:12                                  history 22:8,15,18
                               11,20 118:4 120:21                                   i.e. 107:3 112:19
    27:8 31:9 32:16 36:3
    38:14,18 41:7,11,21       harmed 121:3               hit 26:3,6,13 93:13        idea 46:7,17,22
    43:18 47:3 48:13 49:12,
                              Harton 5:1 7:14,19 8:7,    HLM 19:6                   identified 6:11 73:23
    23 51:17 52:22 53:4
                               10,15 9:8 10:22 12:22                                  115:9
    58:5,14 60:20,23 63:23                               hold 117:14 121:16
                               14:19 17:11 23:12 24:9
    74:15 81:24 83:18                                                               identify 6:3,12 88:18
                               25:9 27:4,16 31:24        home 5:24
    84:14 86:4,13 88:8 89:5                                                           89:2 101:13 102:1
                               32:5,9 37:13,18 43:21
    90:11 91:11 101:20                                   honest 14:10 70:9
                               44:7,16 45:1,17 46:21                                illegal 86:2
    102:23 105:3 119:18                                   143:21
                               47:8 54:15,23,25 55:14
    125:4 129:11 130:6
                               56:4 57:14 61:22,25       hope 68:16 121:11          immediately 52:11 87:3
    131:19 132:21 133:6                                                              108:10
                               62:5,7,10 64:5 65:14
    134:10,13,23,24                                      hoping 123:10
                               66:11 67:10,18 68:1
                                                                                    implying 109:5
   guide 63:16,17 67:23        69:4 70:12,17 71:15       hospital 15:17
    72:8,15 116:7,16 127:1     74:1 75:20 77:10 79:21                               important 74:15 86:9
                               82:6 83:2,21 84:10        host 63:2                   91:4 141:8 142:9
   guideline 68:13 72:15,
                               93:16 97:7 100:24         hour 61:23 64:22 99:9,
    18 135:22,25                                                                    imposed 87:4
                               102:13 105:24 106:14       11 104:23,25 110:23
                               109:21 111:23 112:6



                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL               Document 52-2          Filed 07/03/25         Page 156 of 235
                                           PageID 2520
                                                                                                              156
   impossible 54:13,17,19      injured 91:20               instance 45:3 127:24         30:7 31:18,25 32:1,4,
    83:25 101:25 102:4                                                                  16,19,24 33:12,16,21
                               injury 26:5,9,13            instances 35:14 59:10
    103:4                                                                               34:5,7,11,12,13 35:5,22
                                                             70:24 92:24
                               inmate 24:15,21 30:3                                     36:5,6,8,11 46:19 47:1,
   inaccurate 28:25
                                 42:21,23 43:10,19 48:4    Institute 17:17 63:15,24     5,17,22 48:4,5,13,23
   inact 65:16 68:3              53:3,7 59:24 62:25          72:13 109:3 110:13         50:18,21 51:18,22,23,
                                 64:16 69:15 72:5,11         113:8 116:14,15            24,25 52:1,2,8,13,14,22
   inadequacy 96:11
                                 73:20 77:13 78:17 79:1                                 53:11,25 54:1,5,9,19,21
                                                           instituted 49:22
   inadequate 62:21 63:6         84:12 89:3,23 91:23                                    55:2 56:1,14 57:3,8,20
     69:6,8 92:20 96:8,13,24     114:2 118:10 119:5,9,     Institutes 72:7              58:18 59:2,5,7 61:9,19
     97:13,18 98:1,19 99:5,      19 120:7,20                                            62:18 63:7,16,18,24
                                                           insufficient 102:9,15        64:2,18 65:8,15 66:17,
     13 100:17 101:11,14
                               inmate's 30:12 43:5
     107:5 112:18 114:17                                   insufficiently 101:23        19,21 67:3,22 68:3
                                 80:6 86:5
     118:11 123:21 124:6                                     102:5,6                    69:2,6,7 72:8,9,16,19,
     125:21,24 126:1,23        inmate-on-inmate 54:2,                                   21 74:23 77:21 86:22
                                                           intended 63:25 64:9          109:8,10 116:7,16
     127:4 129:12 130:8          8,14,21 55:4 67:6 68:17
                                 85:20,23 106:7            intents 138:14               127:1 131:8,12 137:17,
   inadequately 106:15,18,                                                              21 138:9,14,15,23
     21 114:23 126:4           inmates 24:8 30:8           interested 60:8              139:3,8,25 140:1,9
                                 34:15,18,21,24 43:25                                   142:3,21
   incarcerations 30:13                                    internally 140:17
                                 44:2,14,21 45:6,8 46:1
   incident 23:6 74:20           51:9,11 52:21 56:2        interval 65:24,25 66:5      Jail's 24:21 33:5 73:2
     90:21 93:12 103:19          57:21 58:24 59:12 60:4,     68:14                     jails 47:22,23 51:19,21
     104:6 129:22                20,22 61:5,9 64:13,24
                                                           intervals 141:6               53:3 56:13 57:11 58:22,
                                 65:23 68:14 69:1 71:20,
   incidents 25:14                                                                       23 68:12,21 116:9,17
                                 22 73:8,23 77:13 78:5,    interview 46:5                127:2 137:23 138:5
   include 15:25 16:2,4          12 80:11,14,17,24 81:1,
                                                           interviewed 21:13 46:3        139:6 140:1
     32:23 34:20,23 35:2         16,21 84:19 86:18
     133:22 144:10               87:24 88:1,5,12 89:12,      74:3                      Jane 19:6,8
                                 25 90:4,12 91:14,19       interviews 76:19 77:15
   includes 30:11 34:14,17                                                             January 6:17,23 8:5,23
                                 92:2,11,12,18,19,23         88:11
   increase 89:24                94:19,23 95:3 98:3,10,                                John 19:6,8
                                 21 99:8 102:2 103:6       investigation 25:19
   increased 132:5                                           74:6 75:17,25 76:4        joking 142:14
                                 104:22 105:2,23 107:1
   increases 90:1                108:20,21 110:18          investigative 15:20         Joshua 40:9
                                 111:4,14 112:20 114:2,      74:10
   incremental 48:11 49:3                                                              judgment 42:17
                                 24 115:2,7,19 118:22
                                 121:3,19,22 125:22        investigator 77:4           jump 123:20
   increments 48:24
                                 127:5,9,10,18 128:1,5,    investigators 77:8
   independent 50:22             7,10,12,14,17,23 129:9,                               June 131:10,11
                                 12 135:18,19,23,25        invoices 131:19             jungle 64:25
   individual 121:9
                                 136:9,13 140:15,19,20     involved 38:25 50:5
   individually 19:5 22:16,      142:11,15,18,19 143:2,                                jurisdiction 65:13
                                                             69:21 71:9,10 89:2
     17                          5,6                                                   jury 67:9 117:10,21
                                                           involving 73:13 129:22        118:4
   industry 130:3              inmates' 45:19 86:12
                                                           irregular 141:6             justice 17:7,16 63:7
   ineffective 127:25          inside 59:20,23 60:9,19
                                 79:23 80:10               isolation 73:5                110:14 140:16
   inefficient 128:3
                               inspected 33:15 83:10       issue 57:18 69:11 85:8      Justin 45:8
   information 11:10
                                                             124:12 126:9
     24:12,20 80:1 102:25      inspection 32:2,4,20,23
     130:24 143:14                                         item 8:16 16:4                         K
                                 33:5,12,16,18,23 34:1
   information's 24:24           102:20
                                                           Ivan 43:10,13,17            keep-away 23:18,21
   initial 119:13 134:13       inspections 31:18,25                                     24:2,7,23 73:23,24
                                 32:7 38:4,15                         J
   initially 10:3 89:11                                                                keeping 83:11 142:15
     138:15                    inspector 33:11,25
                                                           jail 27:14,19 28:10 29:15   kind 25:20 63:9 142:1



                                    Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL              Document 52-2         Filed 07/03/25        Page 157 of 235
                                          PageID 2521
                                                                                                         157
   knew 114:25 115:2          letter 75:25 76:2,5,9      Louisiana 19:11             27:13,19 28:10 30:7
                                                                                     31:18 32:19 33:4,15,19
   knocked 93:13              level 29:15,23 30:18       lower 138:10
                                                                                     36:5,10 47:1 49:1 50:15
                                31:6 39:20 65:9 85:15
   knowledge 20:1 88:19                                  lump 97:3                   54:1 56:19,23 61:18
                              levels 73:17 121:23                                    62:18 66:19 68:24 69:6
   Kosinski 22:23 45:8,10,                               lunch 129:24 130:1
                                                                                     72:16 86:12 107:1
    24 89:2 100:10 104:3,4,   lieutenant 115:11,13
                                                         Lutterloah 22:9 23:22       112:15,17 114:17,22
    19 110:17,22 112:11
                              likelihood 85:23            24:2 25:4,5,15,21 26:19    118:9 124:3 140:9
    123:21 124:8 125:19
                                                          30:17,24 75:2 93:3,17,     142:3
    129:12,13,14 134:15,20    limit 42:10 86:24 87:4
                                                          20 94:8,14 104:7
                                                                                    mark 6:10 8:1,16 14:17
   Krysti 74:3 76:1,4         limitation 41:21            121:23 122:5 128:7
                                                                                     15:12 19:6 123:7
                                                          129:22
                              limited 41:8 47:10                                    Marker 40:18
                L
                              linear 64:17                            M             marketing 20:23
   labeled 8:14               lines 135:25                                          marking 130:18
                                                         M-A-R-L-E-R 19:15
   lack 91:23 140:13          link 14:22                                            Marler 19:5 40:18
                                                         made 10:23 100:14,23
   laid 35:18 58:20           list 6:12,19,23 7:21 8:3    116:22 134:13,25          master 100:19
                                10:15 13:1,16,17 14:1,
   large 98:5 136:22
                                20 18:6,20 31:16,21      maintain 12:7 55:10        materials 11:5,13,18,19,
   larger 56:18 136:24          32:11 36:13 40:3 74:12                               22 12:6,8,13,19 13:1,6
                                                         maintained 12:10
                                76:17 103:17                                         14:12,16 16:10 20:10
   late 138:2
                                                         majority 98:6               23:23,25 43:3 46:11,14
                              listed 13:18 18:13 32:11                               74:10 144:25
   lateness 6:8
                                35:25 71:24 103:21       make 14:14 28:2 38:19
   Latterloah 74:23             104:1 110:4               43:18 44:5 47:4 50:8      matter 40:15,23 93:25
                                                          61:5 64:21 67:9 72:17
   laughing 142:14            listened 76:16,19                                     matters 140:19 141:11
                                                          76:22 78:15 79:1 85:1
                                                                                     143:1
   laundry 77:25              literally 115:15            86:7 91:10 103:8
                                                          105:23 109:11 114:13      max 119:9,19,24 120:7
   law 22:1 32:20 47:22       living 118:15               120:5 126:6 131:7          122:13
     48:1 64:4 67:21,24                                   135:14,20 138:5
                              lock- 86:18                                           maximum 30:23 118:22
     68:5,9
                              lockdown 58:24 86:12       makes 61:3 101:11           119:5,13 121:22
   laws 64:25
                                87:19 94:24 98:23 99:2                              Mcneely 95:4,8,24
                                                         making 34:6 91:7 92:23
   laying 114:6                 129:6 141:18,22 142:1     98:21 99:11 100:22         100:1 110:17 134:20
   leadership 51:15           log 28:15 100:22            101:4 102:22 143:21
                                                                                    meals 80:19
   leading 74:22 90:23        logbooks 129:5             male 121:19,22
                                                                                    means 128:21
     115:12                                              manage 64:16
                              logistics 51:18                                       meant 93:19
   learn 128:18                                          management 58:18
                              logs 90:20 101:5 126:2                                media 20:21,23 21:7,11,
   leave 35:9                                             64:19
                              long 18:12 21:18 86:25                                 12
   leaving 48:10 60:14          89:6 93:21 94:5,14       managing 67:2 69:1
                                                                                    medical 15:16 19:7,8
                                95:10 101:22 102:11,25                               26:4,8 28:23 29:1,2
   lecture 16:19                                         mandate 58:3 78:1
                                104:6 114:4                                          80:20 85:9 86:5 117:16
   led 97:18                                             mandated 64:3 77:23
                              longer 52:17 84:11 85:4,                               118:17 120:16
   left 48:7,8 49:14 53:10      22 113:1 138:3           mandating 58:5
                                                                                    medication 80:13 87:23
     61:25 98:5 129:23                                   mandatory 57:24 72:15
                              looked 6:19 17:20 25:2                                medications 80:5,7
     131:8,14 143:1
                                31:17 76:12 77:1,6
                                                         manner 15:21 23:10
   legal 22:3 43:3 70:6         90:15 135:22                                        medicine 87:25
                                                          47:10 82:3,24 99:14
   lend 30:15                 lost 120:24                 100:11                    medium 29:16,18,22
                                                                                     30:19,22,25
   length 110:5 112:19        lot 44:3 78:11 80:19       Maria 19:4
     129:16 130:13              115:23 132:22 137:17                                mediums 121:22
                                                         Marion 16:5 24:16,21
                                139:19



                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL             Document 52-2          Filed 07/03/25       Page 158 of 235
                                         PageID 2522
                                                                                                          158
   meet 136:8,11              minutes 49:10,11 62:5,     moved 53:18 138:24        note 143:22
                               11,20 65:17 84:8 89:18,
   meeting 33:20                                         movement 28:18 80:16      notes 7:17 10:22,23
                               20 90:2,3,5,7,9 98:9
                                                                                    11:2 28:17,21 29:8
   meetings 139:3              103:23,25 104:12          multiple 10:23 51:18,19
                                                                                    103:15 134:22,25
                               123:11,12 141:6 142:25
   Melissa 52:16                                         murder 121:7               137:13 144:11
                              Miranda 41:10
   members 19:8 64:22                                    Murphy 77:16 88:13,14     nother 51:10
                              mischaracterizing
   memo 41:20                                            mute 17:11                nothing's 95:5
                               117:8,17
   memory 37:24 53:5                                                               notice 6:5 8:2,19 47:4
                              misdeeds 105:1
    61:16 90:8 103:21                                               N
                                                                                   notion 45:19 111:2
    129:4                     mispronouncing 21:3
                                                         named 43:10               November 22:9 25:5
   mentioned 77:12 78:25      misquoted 17:15
                                                                                    28:11 35:24 103:9
    80:25 115:23 122:2                                   national 17:17 63:7,15,
                              misstates 12:22 100:24
    134:9 144:18                                          24 65:7 66:17 67:22      number 8:20 9:6,9
                              mistaken 17:7 35:13         72:7,13,18 109:3          15:23,25 16:4,7,13
   Merchant 22:8,16,19,23
                               74:19 90:21                110:13 113:8 116:14,15    18:20 20:16 35:25
    23:5,11,21 24:3,6,15
                                                                                    46:15 48:9 56:22 68:11,
    25:4,6,15,20 26:2,20      mistaking 122:15           nature 21:8 39:5 43:1
                                                                                    15 73:18 76:18 87:24
    27:8 29:23 30:2 73:22                                 45:4 74:16 88:7
                              misunderstood 49:12                                   89:12,16,25 90:4 96:16
    74:3,4,20,23 75:3,4,17
                                                         necessarily 28:4 31:3      97:5,17,22 103:6
    76:2,5,9 85:8 91:16,19    mixed 140:10,22 141:10
                                                          35:17 45:15               106:25 110:7 112:15,16
    93:1,5,6,13,18,22 94:3,
                              model 31:18,24 32:1,3,                                114:16 118:9 123:20,23
    5 103:20 104:7 107:6                                 needed 93:3 118:17
                               24 33:5,12,16 34:5,7,13                              126:25 135:17,18,19,25
    112:22 114:20 117:2,                                  120:16
                               35:22 36:6 47:5,17,22                                136:9,12,13 137:23
    11,21 128:6 129:22
                               48:5 69:2,7 135:16,22     neighborhood 89:18
                                                                                   numbers 31:14 53:9
   Merchant's 28:9 29:15       137:17,21 138:9,14,23
                                                         newer 59:7,9               68:20 89:11 92:13
    31:7 74:7                  139:3,8,25 140:1
                                                         newest 58:14              nurse 77:25 80:4,6,8,9,
   mete 140:16                models 64:18
                                                                                    14,15 81:1 87:23
                                                         news 21:11 42:4
   method 144:24              modified 138:21,24
                                                         NIC 50:23 114:12                     O
   methodology 133:18         money 132:22
                                                          126:14,22 127:1,2
   meticulous 101:19          monitor 96:23 98:15
                                                         night 25:21 44:22 45:4,   oath 5:6
                               100:8
   Michael 5:11,13,21                                     11,20 60:3 76:14,24      object 14:19 17:12,13
                              monitored 137:24            78:22 82:3,25 84:6        23:12 25:9 27:4,16
   middle 87:24
                               139:20                     85:2,4 87:24 88:20        37:13,18 43:21 44:7,16
   Miller 22:17,19 88:18                                  90:17,25 92:1 99:17,20    45:1,17 46:21 47:8
                              monitoring 79:13
    89:2 90:8 100:11 104:3                                103:9 104:20,23 106:9,
                               100:10 139:18 140:7,24                               54:15,23 55:14 56:4
    110:24 123:22 124:8                                   12 111:17,21 112:11       57:14 64:5 66:11 67:10,
    125:19 129:20,23          Monteverde 43:6             115:11 127:16 139:21      18 68:1 69:4 70:12,17
    134:15,20                                             140:2 142:11,16           71:15 74:1 75:20 77:10
                              month 90:23 91:2
   milling 141:25              115:12                    nighttime 49:6             79:21 82:6 83:2,21
                                                                                    84:10 93:16 97:7
   minimize 55:15             Moore 52:16                nonassaultive 69:16        105:24 106:14 111:23
                                                          70:10,15                  113:14 116:5 117:7,15,
   minimum 35:12,15           morning 5:17,20 6:6 9:9
    47:23,25                   38:1 94:1 108:6 131:20    noncomprehensive           25 118:24 119:23
                               142:17                     107:3                     120:23 140:4 142:4
   minor 19:5 73:13,17                                                              143:25
    120:21                    Mosley 39:2                nonconsensual 71:13
                                                                                   objected 113:17
   minors 71:6                motion 41:3,19             nonviolent 71:14
                                                          108:21 118:14 120:2      Objection 12:22 24:9
   minute 7:3 67:1,2 68:14    motivation 44:2 46:16                                 65:14 100:24 109:21
                                                          140:12,23 141:9
    104:10,11 122:14                                                                122:7 141:2
                              move 88:8 106:23 112:7
    136:10                                               notation 115:12
                               121:11                                              objective 72:8 134:4



                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL             Document 52-2          Filed 07/03/25       Page 159 of 235
                                         PageID 2523
                                                                                                         159
   observation 64:14 99:7     open-bay 59:6              overseen 137:24           performed 18:9 38:11
   observations 107:3         open-dormitory 59:14       oversight 115:18          performing 126:4
   observe 60:11 61:5         opened 51:8,11             overtime 57:23,24 58:2,   period 48:6 49:21 53:17
                                                          5,7                       57:2 83:9 86:12 94:12
   observing 112:20           opening 51:5
    128:16                                                                         periodically 9:15 81:13
                              openings 57:6                           P
   occasions 29:6                                                                  permission 88:9
                              operate 64:20
   occur 54:21 55:22                                     p.m. 37:25 62:21 64:23    permitted 38:18 39:7
                              operated 59:11
    68:17,18 85:21,24 95:7                                83:20                     42:2 86:18 91:22
    106:7                     operation 50:6 54:5                                   141:22 142:2
                                                         paper 127:20
   occurred 45:20 54:8        operations 63:17 72:19                               permitting 89:3
                                                         paperwork 30:2
    103:20
                              opine 37:5 88:22                                     perpetrator 71:1
                                                         par 138:6
   occurring 45:23 50:24,
                              opined 134:21                                        person 70:15 73:14
    25 55:8 71:3                                         paragraph 20:14
                                                                                    89:15 95:11 109:15
                              opinion 11:18 17:9
   occurs 25:8 26:21 99:8                                paroduced 8:22             114:4,5 115:1 119:3,25
                               21:11 29:23 36:4 41:22
   offender 73:8 119:4         42:2 63:10 66:13,15,16,   part 7:10 20:22 37:5      person's 84:24 105:18
    120:7 121:6                24 68:10 70:1,6 89:5,8     46:11 74:7 81:17 86:3
                                                                                   pertains 140:8
                               92:8 97:17 100:21          107:10 128:11 137:1
   offenders 73:3,12
                               101:24 106:21 109:17                                Peterson 89:17,25
    118:13,18,21,23 120:1,                               partially 92:20
                               110:3,12,15 112:24                                   99:25 110:16 115:1
    2 121:2,14 122:1,3
                               113:5,7,23 114:10,24      participants 71:4          134:20
    140:11,12 141:9
                               116:1,11 117:1,8,15
                                                         participated 33:22        ph 43:6
   offense 73:13 121:8         118:7,9 123:22,23
                                                          139:3
                               124:6 125:18 126:6,12                               phases 51:12
   offenses 121:19
                               127:3,6 129:8,14          pass 80:13
                                                                                   physical 14:1 25:15
   offered 40:14               136:11 139:17,19 140:7
                                                         passages 17:18
                               143:20,22 144:10                                    picture 26:23
   offhand 24:17
                                                         passed 33:4 79:7,10
                              opinions 6:18 11:16,17,                              pin 142:17
   Office 17:25 18:4 42:20
                               23 12:20 17:5 40:20       past 22:20,25 23:6 24:8
    48:3 49:14 50:9,17 54:5                                                        place 46:3 68:25 69:6
                               42:1 71:19 106:24          30:12,13,14,15 34:1
    69:14 107:2 110:8                                                               77:15 88:12 101:16
                               109:17 117:2,17 130:19     126:13
    112:17 118:10 124:3                                                             102:20 130:25
                               133:9,19 136:7 137:11
                               143:16 144:6              patrol 53:22
   officer 62:24 79:6,9                                                            Place's 46:16
    80:7,20,22 84:1 87:14,                               pattern 104:21
                              opposed 32:4 67:9                                    placing 120:22
    15 126:17 141:20
                              opposite 61:7              Paul 5:11,13,21
                                                                                   plaintiff 5:1 76:1 134:2,7
   officer's 78:3 85:25
                              option 58:6                pay 132:23
                                                                                   Plaintiff's 12:14
   officers 29:10 35:3
                              order 41:20 42:7 78:6      paying 132:9
    44:23 45:13 55:23 66:7                                                         Plaintiffs 74:4
    79:19 81:15 85:14          96:18 99:19 107:22,24     people 58:1 59:1 71:5
    95:10,15,25 127:8          108:13 128:17                                       plan 97:4 118:12
                                                          76:22 118:17
    128:1 135:17,24 136:12                                                          121:12,14
                              orders 96:14 97:20 99:4    percent 39:23 55:19
   officers' 77:20             107:2                                               planned 81:15
                                                          74:11
   official 72:16             Orient 52:1 59:2                                     Plant 5:24
                                                         percentages 18:10
                              original 13:14,16,17        68:21                    plausible 96:3
   older 59:8
                               89:16                     percentile 90:7           play 89:21 95:14
   one's 52:2
                              outlined 78:7              perform 55:23             plays 129:18
   ongoing 25:20 39:22
                              overlap 106:24             performance 96:24         Pleas 40:6
   onset 130:23
                              overlapping 105:12          100:9 124:15,16,20
   open 57:3,12 60:16                                                              PLLC 22:4
                                                          126:9




                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL              Document 52-2       Filed 07/03/25        Page 160 of 235
                                          PageID 2524
                                                                                                       160
   pod 28:12 59:24 60:4,16    possession 54:4          prevail 64:25              protective 73:21
    61:4,7,18 77:21 79:11
                              possibility 55:7 67:6    prevent 42:10 54:14        provide 73:2 91:13,18
    82:1,10,12 83:20 85:14
                                                        55:13,18                   98:11,14 117:16
    88:2 89:7,13 90:15 91:2   post 21:14 78:6 96:14,
    93:3 96:16 97:21 98:15     18 97:20 99:4 104:4     preventable 41:23,24       provided 6:4 7:14 8:8
    99:4 101:13,16,22          107:2,22,24 108:13       42:3                       12:6,9,14 18:10 24:15
    102:20 103:3,5,9,19                                                            28:14 89:12,17 114:17
                              post-incident 25:19      previous 33:6
    104:14,19 107:17,20                                                            119:18 123:21 127:4
    108:7,19 111:21 112:11    potential 142:21         previously 6:11,16,20       129:12 134:11
    119:6,7 120:9,22                                    8:23 21:25 72:10 77:11
                              potentially 45:13                                   Provider 19:7
    121:10,17,21 122:6,15,                              122:2 134:21
    16,17,19,20 125:7,8,10    power 62:2                                          providing 11:17 40:10
    141:8                                              prides 134:6
                                                                                   115:4,8 125:21 128:21
                              practice 80:12 92:22
   pods 28:24 59:3 100:20                              primarily 58:21
                               94:22 95:2 99:14                                   province 118:3
    123:2 125:5,22 127:19      104:21 110:8 111:3      primary 109:16
    128:8                                                                         provision 99:2 126:22
                               129:6
                                                       principles 64:11            140:1
   point 11:21 21:14 25:4,    practices 38:22 42:1
    18 26:19 28:25 29:2                                prior 6:1 7:14 20:10       prudent 64:7 65:15,20
                               64:11 91:22
    43:18 48:12,23 51:4                                 25:16 27:8 48:10 126:8     66:21 67:2 68:2 72:21
    64:25 97:25 100:14        practitioner 126:16,18                               109:8,15 111:3 126:15,
                                                       prison 72:19
    104:4 112:10 130:17                                                            18
                              pre-sentence 29:16
    132:5 134:13 137:3                                 prisons 57:11
                                                                                  publication 16:18 72:4,
    138:1 141:11              precise 144:9
                                                       privilege 44:3 87:19        12 113:10 116:8
   pointing 126:23            precisely 137:13
                                                       privileges 88:5            publications 9:2 72:3
   points 31:3 57:9           predict 110:19 111:14                                109:9 113:9 116:11
                                                       problem 91:8 143:4
   policies 16:4 17:24 18:4   predictability 106:8                                publicized 121:7
                                                       problems 23:6 51:4
    30:6 34:2,3 35:2,4,8      predictability-wise       128:8                     pulling 81:1
    36:5 47:1 50:11,15         115:8
    62:19 64:1 65:16 67:23                             procedure 35:7,16,17       punch 26:2
    68:3,25 69:5 73:2 91:21   predictable 99:12,14      92:11 118:10 124:2
                                                                                  purpose 106:20 141:23
    92:5,7 97:13,17 99:23      100:12 105:10 110:9
                                                       procedures 16:5 17:24
    107:2,13 108:5             111:16 130:9                                       purposes 6:3 13:24
                                                        18:4 30:7 34:3 35:2,5,8
                                                                                   14:17 35:22 44:12
   policy 35:6,10,15,17,19    predictible 81:20         36:5 38:22 42:2 47:1,7
                                                                                   133:17 138:15
    65:7,24 86:13 92:10,13,                             50:11 64:1 68:25 73:2
                              prediction 81:22
    14,17,21,22 94:19,22                                86:13 91:22 92:5,8        put 5:6 15:6 43:20 63:15
    96:4,12,13,15,16,20       preparation 11:22 18:1    107:2                      64:2 72:22 108:20
    97:1,3,6,11,19,20,21,      133:19                                              109:13 119:19 120:19
                                                       process 11:4 24:22
    23,25 98:25 99:11,24                                                           121:25 138:13 143:8
                              prepared 10:22 11:2       30:9,11 34:4 79:13
    100:2 107:16,19,22,25      18:16 130:20 134:23
    108:1,8,13 112:17                                  produce 12:12,19 14:21                Q
    115:10 118:10 122:6,      prescribed 34:11
                                                       produced 6:16,23 13:7,
    23,24 124:2,4 142:2,9     presence 62:24 77:20      23 15:1 144:12            qualifiers 120:10,14,18
   population 53:3,7 56:1,     81:23 85:19 124:7                                   122:2
                                                       producing 67:5
    18 64:16 73:6,8,15         127:23 128:1                                       quality 124:10
    91:1,24 121:22 140:10,                             professional 8:21
                              present 66:7 85:21                                  quantify 87:5
    22,25                      88:19                   program 131:16
   portions 52:24,25                                                              question 6:21 12:16
                              presentation 16:19       progress 11:7               17:12 23:3,19 38:14
   position 51:14 63:5 64:6   presented 46:8           proof 24:18                 40:10 43:22 55:9 60:13
    72:5 80:15 113:2                                                               70:13 71:8 81:24 82:7
    122:22 143:9              pretty 7:19 21:20 38:8   proper 88:3                 83:5,19 90:17 94:4,20
                               49:23 72:17 127:14                                  101:3 102:23 111:25
   positions 57:3,12,19                                properly 129:9
                               142:15                                              112:15,16 113:18,20,22
                                                       protection 59:1 73:6        116:22 119:13 123:4



                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL               Document 52-2         Filed 07/03/25        Page 161 of 235
                                           PageID 2525
                                                                                                            161
    135:20                     record 5:18 6:3 37:14      relying 63:20 94:21        requires 14:20 65:24
                                 55:1 62:15 100:19,22       110:12 113:4 115:25        67:22 68:9
   questioning 123:8
                                 101:5,10,11,14,15,23
    141:17                                                remain 92:23 94:19         requred 78:4
                                 102:3,10,19 136:22
                                                            95:3,11
   questions 91:6 123:13         137:7 144:7                                         research 136:5
    129:11 136:18 144:16                                  remainder 66:8
                               recorded 101:8 102:17                                 Resource 63:17,24 65:8
   quick 26:1 27:2               103:3,10 104:2 130:14    remember 18:22 25:10        66:17 67:22 116:7,16
                                                            29:1,11 31:17 33:19       127:1
   quickly 19:22               recordings 76:16
                                                            43:3,5,10 74:9 75:15
                                                                                     resources 17:8 63:7,14
   quoted 17:18                recordkeeping 100:17         76:17 89:1,10 104:5
                                                            138:1                    respect 116:25
                               records 9:6 10:19 15:17
                R                83:12 100:18 102:21,     remote 58:24 64:17         respectfully 111:12
                                 23,24 105:13 137:3
                                                          rendered 11:2              responsibilities 96:22
   raise 5:5
                               recreation 81:1
                                                          rendering 42:1             responsible 78:11,15,
   ranking 138:10
                               reduce 55:7                                             17 79:1 88:7 100:5
                                                          renovating 52:25
   rape 70:11,16,19                                                                    143:20
                               reducing 67:5
                                                          repeat 66:2
   rate 132:4,25 133:3                                                               responsive 11:1
                               refer 144:8
                                                          report 6:16 8:4 10:21,25
   read 77:7,17,18 88:11                                                             restate 48:22 65:6
                               reference 95:9               11:5,11,12,23 12:1
     122:4,12 124:14
                                                            16:24,25 17:2 18:1,13    restroom 86:15,19 87:1,
                               referenced 67:23
   reading 94:25 95:17                                      20:12,14 24:1 25:18        2,6
                               referencing 97:9             28:15,18 29:11 37:6
   ready 19:4                                                                        result 26:5
                                                            39:12 62:17 63:11 91:8
                               referred 16:23
   reality 55:12                                            104:5,8 110:4 130:19     resume' 8:21
                               referring 32:5,6 59:19       131:2 134:12,14,21
   reask 23:19                                              137:14 143:13 144:11,    retained 39:3 133:8
                                 95:25 96:2,4 98:8,23
   reason 22:24 23:8             107:7 109:2                12                       retainer 10:3,4,7,10,11
     26:12,24 28:24 29:3,13                               reported 21:12 23:17,20      132:3
                               reflect 11:12
     41:16 46:18 131:14
                                                          reporter 19:14             retire 131:14,17
     135:1 137:1               reflects 24:14 85:14
                                                          reports 11:2 28:21         retired 48:14 49:21
   reasonable 64:7 65:15,      regular 32:20 142:10
                                                                                       52:15 53:19
     20,23 66:21 68:2,22
                               Rehabilitation 41:12       represent 9:12 36:16,18
     72:20 105:22 109:7,10,                                                          retirement 48:10
     14,18 126:15,18 131:24    rehashing 130:7            representing 76:1
                                                                                     review 22:11,14,22 23:4
   reasoning 133:20,22         relate 34:23               represents 6:18              24:5 25:2 36:3,13,22
                                                                                       47:2 88:21 115:18
   reasons 51:13 73:9          related 17:4 32:7,23       reputable 109:23 110:2
                                                                                       124:17 137:3
     80:17,19 92:25              33:20 35:2 36:24 47:11
                                                          request 11:2 13:22
                                 54:4 62:19 90:20                                    reviewed 7:10 11:13,22
   reassigned 48:8                                          14:10 23:18,20 24:2,7,
                                                                                       12:6,20 13:2,3 14:13
                               relates 16:19 37:3 38:9      23 41:7 73:21,24
   recall 24:17,24 25:14,22                                                            15:18 16:1 23:23 24:1
                                 47:6 73:3 116:1 126:23
     27:10,17,21,22 31:20                                 requested 51:4 73:23         29:24 30:1 31:19 32:12
                                 133:18 134:5 136:8,12
     32:10 33:7 43:1 49:2,9                                                            35:24 36:1 47:7 69:14
                                 142:20                   require 14:21 65:16
     50:24,25 57:3 75:13,21,                                                           74:7 107:24 125:20
                                                            68:5,6 78:8 80:22 98:2
     22 76:6,11 78:6 91:3      relationship 23:1 75:6,                                 134:23 136:23
                                                            107:4 115:11
     94:25                       10
                                                                                     reviewing 10:24 31:15
                                                          required 10:8 32:19
   received 6:6 9:10 24:18     reliable 126:5                                          44:12 62:17 116:2
                                                            38:1 47:17,23 49:7
     36:19 134:14
                               relied 17:20,22 63:10        80:16 92:9 96:21         reviews 124:14,20
   receiving 130:24              71:20 72:5 113:24          116:18
                                                                                     rights 23:11
   recollection 37:22 89:4     relieving 129:25           requirement 127:20
                                                                                     risk 73:7 119:10,12,14,
   recommended 48:5            rely 17:24                 requirements 36:23           15,21 120:16,21 121:2
                                                            37:4,16 38:6               141:14



                                    Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL             Document 52-2          Filed 07/03/25        Page 162 of 235
                                         PageID 2526
                                                                                                           162
   risks 118:17               secret 135:9                144:20                     18:2,5,17,19 19:20
                                                                                     21:24 22:2,5,21 23:2,7,
   road 8:1 52:1,2 59:2,5     section 101:13 121:18,     setting 86:18
                                                                                     15 24:4,10 30:5,10
    61:9                       21 122:16,19,20 125:2,
                                                         setup 60:1                  32:22 33:1 39:14 40:8,
                               3,6,15 138:25
   Robert 52:20                                                                      13,22 42:12 46:13
                                                         sex 71:7 73:3,7,12,13
                              sections 100:20 103:5                                  47:25 48:2 50:10,13,16
   Robson 9:19,25 10:13,                                  75:8 118:13,18,21,23
                                                                                     52:6 54:10,12 56:10,15,
    17 12:11,12 13:7 20:16,   secure 105:23               119:3 120:7,20 121:2,6,
                                                                                     17,20 57:15 63:21 74:5
    19 21:1,4,6,20 132:19                                 8,14,25 122:2 140:11
                              security 30:23 31:6                                    76:15,25 82:13 86:20
   Rodriguez 43:11,13,17       34:20 37:11,17 38:10      sexual 27:14 70:22,23,      87:16 90:23 106:13
                               48:4,25 55:11 62:20        24 71:2,13 121:19          107:10,18 112:9
   role 67:14 116:9,17                                                               117:12,17,24 126:10
                               77:19 79:12 80:23
    117:12 127:3 134:2                                   sheriff 16:5 19:6 21:23     131:10 132:11 133:2,4
                               81:16,20 82:16 89:7
                                                          24:16 72:21 74:18          135:11
   rolling 143:15              92:17 99:16 100:23
                                                          91:13,18 114:17,23
                               101:15 103:18 104:14,
   Romanucci 22:1                                                                   sister's 76:10
                               17 105:9,11 106:4         Sheriff's 17:25 18:4
   rotated 125:16              107:9 108:7,15,16          42:20 48:3 49:14 50:9,    sit 33:4 54:20 130:17,
                               113:12 114:1 118:22        17 54:5 63:16 67:23        21,22
   roughly 89:18               119:5,9,10,12,14,19,21,    69:14 77:3,7 107:1
                                                                                    situation 86:5 136:4
   routinely 81:2              24 120:7 121:22            110:7 112:16,17 118:9
                                                          124:3                     situations 139:5
   rover 129:23               seeking 24:2
                                                         sheriffs 133:9 138:4,7     Slater 22:3
   RPSO 19:6                  segregation 71:20,22
                                                          139:1,7
                                                                                    sleep 142:12
   rule 14:19,24 95:19,20     select 82:4
                                                         shift 100:8
                                                                                    small 20:14 87:24
   rules 91:25 95:5,6 106:5   send 15:7 144:21,22,23
                                                         shifts 49:19
    108:23 129:17 140:17,                                                           Smith 41:7,10 117:6
                              sends 9:14
    19 143:4,7                                           short 62:13 123:18
                                                                                    sneaking 75:7
                              sense 92:7 135:20
   run 57:20                                             show 105:13
                                                                                    social 20:23
                              sentence 27:24
   running 128:9                                         showed 76:4
                                                                                    society's 138:22
                              separate 7:24 14:25
                                                         showing 18:8
                               18:15 83:6                                           solemnly 5:7
               S
                                                         shows 28:15 105:16
                              separated 60:17                                       someone's 69:21
                                                          125:23 127:13
   safe 56:21 91:13,18
                              separation 71:23 72:6                                 sort 22:20,24 75:5 93:2
    97:18                                                Shrewsbury 41:11,23
                                                                                     143:19,20 144:8
                              September 42:7
   safety 36:25 37:3 79:12                               sight 61:3 93:14
                                                                                    sound 64:10 67:2 111:3
    80:24                     sergeant 23:3,5 95:8
                                                         sign 10:4
                               100:3 114:25 115:14                                  sounds 53:12 62:12
   Sam 5:1 7:16 54:24
                               123:20 126:23 127:15      signed 39:8 41:1            108:2 131:23
    117:19
                               134:18
                                                         significance 135:4         source 17:18 126:5
   satisfy 127:20
                              sergeants 124:3
                                                         similar 38:7,8,14 110:24   sources 63:20 109:23
   schedule 110:9 130:9
                              served 8:4 33:11 79:2,                                 110:2,3
                                                         simple 89:11
   scientific 9:2              20
                                                                                    South 40:5
                                                         simply 79:13
   scope 20:10 47:11          serves 37:24 53:5 61:16
                                                                                    speak 46:1
                               90:8 103:21 129:4         simultaneously 83:7
   search 82:15 83:6,20
                                                                                    speaking 113:16
    84:7 108:6                Service 19:7               single 60:24 61:10
                                                          119:15                    special 88:5
   searched 84:3 101:6        services 53:16,17
                               131:12                    single-cell 119:20,25      specific 37:16,19 45:3
   searches 81:14
                                                          120:8                      68:13 75:1 96:21
                              serving 27:23
   seconds 25:7 26:23                                                                141:23
                                                         sir 5:12,17 7:6,12 8:24
    89:14,23,25 93:6,14,18    set 34:12 37:9,16,19
                                                          9:4 10:5,20 11:24 12:10   specifically 37:9 47:11
    94:11,13                   60:9 61:9 65:9 108:18
                                                          15:14,19,22 16:6,16        49:24 88:22 92:5,7 95:2



                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL              Document 52-2        Filed 07/03/25        Page 163 of 235
                                          PageID 2527
                                                                                                        163
    102:10 112:10 113:25       100:13,15,16 104:25      submitted 9:24              127:3 134:21
    140:8 142:11               107:25 108:1 110:19
                                                        subsequently 134:11        supported 109:22 113:8
   spectrum 30:22             started 51:9 103:22,23
                                                        sued 42:13,21 43:14        supporting 17:9 71:24
                               110:23 111:21 124:24
   spell 19:13                                                                      109:20
                               132:7                    suffering 85:9
   spend 84:25 85:14                                                               supports 108:11
                              starting 21:20 108:12     sufficient 89:20
    113:11 114:13
                                                                                   suppose 13:8
                              starts 82:4,16 99:18      sufficiently 102:6
   spending 112:25
                               107:13,14 111:20                                    supposed 25:10 35:20
                                                        suggest 22:23 104:16
   spent 85:13 102:11,14       124:25                                               47:12 108:23 127:7
    103:1 114:1                                         suggested 23:4              134:4
                              state 5:18 40:4,6 68:12
   split 71:12                                          suggesting 67:21 74:17     surprised 57:22
                              stated 107:13
                                                         104:13
   spoken 76:22                                                                    surveillance 98:16
                              statement 35:18 46:6,8
                                                        suicidal 118:17             140:24
   spontaneous 27:2
                              statements 77:1,3,6,12
                                                        suicide 120:17             suspect 56:24 130:24
   spontaneously 106:8         91:10,12
                                                        summary 42:17              suspicion 76:8
   stacked 61:12              states 19:9 107:14
                                                        sums 129:10                sustained 26:4
   staff 19:8 29:12 55:16     station 129:23
    64:21 85:19,21,22 98:2                              supervise 64:12 91:25      swear 5:7
                              stationed 59:20,21
    115:19 128:12 143:3,7                                96:23 98:3,11 108:21
                                                                                   switch 49:18
                              statistics 53:24 54:3      114:23 135:19 140:20
   staff's 140:17 142:23
                                                                                   sworn 5:14
                              status 29:16 30:12        supervised 106:11,12,
   staffing 50:18,22 51:3,
                               60:12                     15                        syllabus 16:18
    12
                              stay 60:3 91:25 93:1      supervising 100:3          system 31:2 44:4,5 52:8
   stage 108:18
                               98:21 115:3 138:6         127:8,22 128:21 129:9      72:8 135:10
   staggered 67:1
                              STENOGRAPHER 5:4,         supervision 34:18 35:3
   stand 41:16 80:8,9          12 15:14 19:16            58:22,24 59:11,18                       T
    104:10                                               64:15,17,18,21 65:10,
                              steps 124:9
                                                         23 68:25 91:23 92:11,     tables 16:23
   standard 32:2 35:6,15
                              Steven 77:16 88:13,14      18 97:25 98:10,12,14,
    37:7 47:19 64:1,9 65:5,                                                        takes 87:6 89:6 90:9
                                                         17 100:5 106:19 114:17
    23 66:9,13,17,21 67:8,    sticks 43:7                                            101:16 102:20 113:1
                                                         115:5,9 116:9,17
    15,16 72:20 91:15                                                                114:4 129:16
                              stop 93:4 115:17           123:21 124:6 125:19,22
    107:6 109:1,2,5,7,11,
                                                         126:24 127:2,5 128:11,    taking 6:5 8:2,20 134:7
    14,18 110:10 112:21       stopped 86:7
                                                         22 129:12 140:8,14,25
    113:3 114:12,19 116:24                                                         talk 7:2 9:18 39:11
                              stopping 74:15 89:22
    126:12 135:15,16,21,22                              supervisor 97:25 99:23,      87:14 127:18 128:5,14,
                               127:10
    136:8,12 141:4                                       24 124:19 128:4 129:4       17 139:17 140:6 141:20
                              stops 95:17 127:17
   standards 31:25 32:4,6,                              supervisors 96:21          talked 47:15 98:7 99:15
    7,25 33:12,16,21 34:5,    stored 15:5                128:13                      107:8 109:3 112:24
    7,11,12,13 35:12,22                                                              130:11 137:17 141:18
                              strike 23:19 33:10 38:3   supervisory 96:20
    36:7,8 37:9 38:9 47:6,                                                           144:5
                               56:25 57:17 58:12         97:19,21 115:18
    17,22 48:5 69:2,8
                               69:25 76:13 94:20                                   talking 39:6 74:20,22
    126:14 137:18,21                                    supplement 11:9,11,12
                                                                                     82:1 90:16 110:11
    138:9,14,16,23,25         strongest 65:1
                                                        supplemental 8:7 11:4,       126:13 127:10 130:7
    139:4,8,9,13,25 140:1
                              stuck 82:11                23 12:1 143:13 144:12       142:14
   standing 79:23 81:10
                              stuff 16:25 59:1          supplementing 11:16        talks 64:10
    85:25
                                                         131:2
                              style 58:18 60:2                                     targeting 47:3
   standpoint 47:9
                                                        support 12:20 23:9
                              subject 34:8,9 40:15,23                              technical 6:16 8:3 9:2
   stands 79:9                                           63:5,10 64:6 66:24 72:5
                               41:2                                                  130:18 144:10
                                                         109:9,10 111:2 116:11
   start 81:21 83:16 93:12



                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL              Document 52-2         Filed 07/03/25        Page 164 of 235
                                          PageID 2528
                                                                                                            164
   tecum 8:3                   77:25 78:12,19 80:22      tonight 84:1               understand 39:16 51:17
                               81:14 105:25 111:5                                    60:14 90:16 91:11
   teen 48:17                                            tool 35:16
                               115:22,23 128:12,14                                   106:17 113:23 120:6
   teetered 58:9               131:4 134:10 142:19       top 18:24,25 87:21 89:1     123:1 136:1,2
                                                           110:23 124:22 136:4
   television 21:6,7          thought 49:12 74:19                                   understanding 30:18
                                106:20 113:16 125:5      topic 47:3                  31:12 37:10 39:14 70:7
   telling 49:9 102:12
                                139:4                                                77:19 120:13 125:9,12
     103:2 117:10                                        topics 34:14,17,20,23
                                                                                     132:12
                              thousand 56:9
   tells 94:5                                            total 26:18 94:11 125:10
                                                                                    unhappy 46:19
                              threat 69:20 70:3,5 71:3
   ten 62:5,6 89:14 93:6,18                              totaled 131:20
                                                                                    unit 59:14,19 60:2,9,20,
     94:13 142:13             threatened 75:1
                                                         totally 100:12              22 80:20 82:3,11 83:10
   tension 93:2               three-hour 123:7                                       84:2,7,9 85:14 89:7
                                                         touch 59:24,25              90:1,12 101:6,21,22
   term 45:11,12,14,15,25     three-punch 25:8,25
                                                         track 83:12 96:23           102:11,15 103:1 125:1
     70:7 92:6 125:4,6
                              throw 119:14
                                                         training 48:9,18 53:19,    unit's 84:3
   terms 25:1,24 27:7 28:2,
                              thrown 69:12                 21 113:6,24 126:14,20
     9 30:17 37:10 38:17                                                            United 19:9
     39:17 46:16 55:25 60:1   thumbdrive 144:21          transcript 134:17          units 34:18 58:13,19
     63:5 69:11 71:19 77:20
                              time 7:5 9:6 15:1 26:16,   transcripts 20:5,7          82:1,17,24 83:6,7,13,
     78:3 81:12 82:1 88:6
                                19 28:10,16 39:1 48:6,                               16,20 99:20 100:7
     96:11 97:16 101:20                                  transferred 53:15,20
                                11,24 49:3,18 50:1,18                                115:7,17 125:5,6,8
     102:17,19 107:8
                                51:15 52:13,14 53:18     travel 133:1                127:16
     111:10,16 113:2 130:19
                                57:2 62:4 67:2 78:9
     133:6,23                                            trial 7:5 130:20 132:24    Unknown 19:7
                                79:20 81:22 82:17,20
   Terry 46:3,16 77:15          83:9,12,13,15,22 84:25   Tricky 60:13               unpredictible 67:1
    88:12                       85:1,13 86:24 87:4,6
                                                         trouble 143:8              unsupervised 98:6
                                88:18 89:9 90:12,22
   testified 5:14 38:21,25                                                           143:1
                                94:12 99:17 100:13,18    true 42:24 83:11 118:23
     89:17 127:15
                                101:14,21,22 102:1,2,                               unsure 52:23
   testify 38:19                14 103:2,7 104:8,23      trustee 88:6
                                                                                    untruthful 44:4
                                105:3,9,12,21 106:9      truth 5:8,9
   testimony 5:8 6:20 7:5
                                110:23 112:1,19,25                                  unusual 14:9 15:4
     12:23 40:11 41:8 42:10                              truthful 44:15 45:16
                                113:11,25 114:13
     45:3,9 46:17 75:19                                                             up-to-date 9:12,13
                                124:24,25 129:16,21      turns 76:4
     81:25 94:25 95:1 96:20
                                130:13 131:11,17                                    updated 7:13,21,24
     99:19,21,25 100:25                                  tweaked 138:22
                                132:20 138:10 142:16
     110:18,22 111:5,11,18,                                                         upper 30:22
     19,25 112:4 115:16       timer 94:11                type 30:3 41:19 58:13,
                                                           17 79:12 81:16 115:18    Ura 52:20
     117:16 119:1 120:11
                              times 18:11,12 28:23
     124:23 127:13,14                                    types 81:12                utilize 70:20
                                42:15 44:2 51:13 52:6
     133:23
                                78:16 80:2 108:12        typically 35:5,9 53:9      utilized 15:21 17:8
   text 17:3 63:9 71:21         110:20 129:3               80:14 90:9                52:24 58:18 74:11 75:2
     111:10 113:11 116:1,13
                              timing 37:10,17,20,22                                 utilizing 48:12 52:24
   theoretically 86:2           107:8 115:7 125:25                     U
                                130:9
   theory 85:3                                                                                    V
                              title 138:14               U-R-A 52:20
   thereof 91:23
                              today 5:23 6:1 7:14 8:17   U.S. 17:7,16 63:6          vague 34:9
   thing 15:10 45:24 107:7
                                33:4 50:4 54:20 120:14   ultimately 53:19           vaguely 29:1
     110:12,18 112:3 117:18
                                130:17,21,22 132:9,20
     121:12 129:11,20                                    unconscious 85:9           varies 10:9
                                134:10
     143:11
                              told 26:18 100:6 117:6     underaged 75:6,10          vast 98:6
   things 6:10,12,18 21:8
     31:2 34:2 44:3,12,23     Tommie 74:4                undergo 32:19              verbal 25:15
     55:7 60:11 63:2 73:18



                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL             Document 52-2         Filed 07/03/25        Page 165 of 235
                                         PageID 2529
                                                                                                     165
   version 35:25 36:4         walks 26:20 127:15,17,    Wood 19:6
                               20
   versus 19:6 39:2 40:9                                word 28:19
    49:19 57:24 65:25         wall 61:15
                                                        words 10:3 24:22 25:7
    69:16 71:14 98:9
                              walls 60:17                26:21 28:18 78:17 94:9
    136:13
                                                         135:21
                              warden 72:21
   victim 71:1 75:18 76:1,
                                                        work 9:20 10:2,4 11:6
    3,9                       Washington 21:14
                                                         21:22 42:20 58:7 59:22
   video 61:20 79:9,17,18,    waste 112:1                124:10 131:24 132:20
    22,25 81:9 93:8 94:8
                              watch 120:17              worked 21:25 32:15
    98:16 125:20,23
                                                         133:7,8 136:24
                              watched 76:14
   videos 76:14 126:8
                                                        working 53:10 104:4
                              watches 18:11 66:25
   view 35:9 62:21 69:12
                               67:1 129:15              workstation 60:5,9
    70:7 106:17 113:1
    122:25                    water 87:11 95:16         worse 14:14
   violate 87:19              Watts 40:9                wrap 123:10
   violating 95:19,20         ways 141:21               writing 76:2,9 109:13
   violation 91:14 107:5      weaker 65:2               written 21:15,16 29:11
    109:1 110:10 112:20                                  34:3 46:9,25 47:6 72:18
    113:3 114:18 116:24       webinar 20:25
                                                         77:12 101:5 104:9
                              website 21:1               108:1 109:11 142:2
   violence 69:20,21,24
    70:3,5 71:3,9,10 73:17,   weeds 35:11               wrong 99:23
    18 75:1 85:15,20,24
                              week 60:7                 wrote 75:25 76:5 107:15
    141:14 142:21
                                                         126:2
   violent 69:22 70:2 71:9,   weigh 139:4
    14 108:20 118:14 120:1    well-being 36:25 37:3,                Y
    140:11,22 141:9            11,17 38:10 48:25 49:8
   Virginia 41:11,15           79:12 110:8              year 21:19 33:5,6 50:25
                              well-being/security        51:9 53:8 56:3 60:7
   virtually 83:25
                               130:8                    years 14:11 21:19
   vision 61:4
                              well-being/wellness/       32:16,17,18 43:8 48:10,
   voluntarily 58:6           security 112:18            14 49:16 50:19 114:9
                                                         137:23 138:18,21
   voluntary 57:23,24,25      well-known 121:6
                                                        years' 126:21
   volunteered 58:2           wellness 36:25 49:8
                               84:23 115:6 124:11,12    yellow 135:5,6
              W               wellness/security 110:9   yesterday 73:1

   wait 119:12 122:14         West 19:10 41:11,14
                                                                    Z
    136:9                     Western 19:10
   waiting 11:5               whatsoever 23:8           Zoom 142:13
   walk 80:23 87:6 94:9       whichever 82:3 104:12
    95:16 100:6,7 101:7
    104:24 115:11,14          white 95:6

   walked 115:13,15           window 68:4 75:8,15
    130:13                     98:15

   walking 59:23 79:11        windows 60:17
    80:11,12 84:15,19 85:5    wise 121:11
    127:22 128:2,16




                                   Landmark Reporting, Inc.
Case 5:23-cv-00661-JSM-PRL    Document 52-2   Filed 07/03/25   Page 166 of 235
                                PageID 2530



                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                         OCALA DIVISION

                         CASE NO.: 5:23-cv-00661

KRYSTI MERCHANT, as Personal
Representative for the Estate of
Cory Merchant, Deceased,

     Plaintiff,

v.

BILLY WOODS, Sheriff of Marion County,
Florida, in his official capacity;
Deputy Justin Kosinski;
Deputy Dellun Miller,
Sergeant Jerome Dukes,

     Defendants.
__________________________________________/
                     NOTICE OF DEPOSITION
                        (Via Videoconference-Zoom)

     PLEASE TAKE NOTICE that Defendants, BILLY WOODS, Sheriff of

Marion County, et al. will take the deposition of Paul M. Adee, by remote

audio –video conference on Friday, April 4, 2025 at 11:00 a.m. (EST). This

deposition is taken for the purposes of discovery, or use as evidence in this

action, or for such purposes as authorized under applicable statutes or rules

of Court. The deposition will continue from day to day until completed.

                                                                   EXHIBIT
                                      1
                                                                Ex. 1 - P. Adee - 4/4/25
Case 5:23-cv-00661-JSM-PRL     Document 52-2    Filed 07/03/25   Page 167 of 235
                                 PageID 2531



      Please Take Further Notice that:

      1.    The deposition will be conducted remotely, using audio-visual
conference technology before Landmark Reporting, a Notary Public, or
before some other officer authorized by law to administer oaths;

      2.    The court reporter will report the deposition from a location
separate from the witness;

      3.    Counsel for the parties and their clients will be participating
from various, separate locations;

      4.    The court reporter will administer the oath to the witness
remotely;

      5.    The witness will be required to provide identification
satisfactory to the court reporter, and this identification must be legible on
camera;

      6.    Each participating attorney may be visible to all other
participants, and their statements will be audible to all participants;

      7.    The court reporter will record the testimony;

      8.    The deposition may be recorded electronically; and

      9.    Counsel for all parties will be required to stipulate on the record:

            a. Their consent to this manner of deposition; and

            b. Their waiver of any objection to this manner of deposition,
      including any objection to the admissibility at trial of this testimony
      based on this manner of deposition.

                                       2
Case 5:23-cv-00661-JSM-PRL        Document 52-2      Filed 07/03/25   Page 168 of 235
                                    PageID 2532



                            CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on this 2nd day of April, 2025, I electronically
served the following notice to counsel for Plaintiff, Sam Harton, Esquire,
Romanucci and Blandin, 321 North Clark Street, Chicago, Illinois 60654 and James
M. Slater, Esquire, Slater Legal, PLLC, 113 South Monroe Street, Tallahassee,
Florida 32301.


                                        /s/ Bruce R. Bogan
                                        Bruce R. Bogan, Esquire
                                        Fla. Bar No. 599565
                                        Gary M. Glassman, Esquire
                                        Fla. Bar No. 0825786
                                        Hilyard, Bogan & Palmer, P.A.
                                        Post Office Box 4973
                                        Orlando, FL 32802-4973
                                        Telephone: 407-425-4251
                                        Facsimile: 407-841-8431
                                        Email: bbogan@hilyardlawfirm.com
                                               gary@hilyardlawfirm.com
                                        Attorneys for Defendants

Topic: MERCHANT V. BILLU

Time: Apr 4, 2025 11:00 AM Eastern Time (US and Canada)

Join Zoom Meeting

https://us06web.zoom.us/j/88178677955



Meeting ID: 881 7867 7955

Passcode: 407026



cc: Landmark Reporting




                                           3
Case 5:23-cv-00661-JSM-PRL               Document 52-2          Filed 07/03/25      Page 169 of 235
                                           PageID 2533




                                            EXHIBIT “A”

1. A professional resume or curriculum vitae summarizing said witness’ professional
qualifications.

2. Copies of all scientific and technical publications authored by said witness.

3. All time records, diaries, and bills prepared and rendered in connection with said
witness’ investigation and evaluation of the issues involved in the lawsuit.

4. Any and all reports and notes rendered or prepared in this case.

5. All depositions, summaries of testimony, reports, x-rays, test results, photographs, or
any other items reviewed in forming or preparing said witness’ opinions or the basis
of his opinions herein.

6. Any written notes, correspondence, tests, texts, pamphlets, or articles reviewed,
consulted or otherwise relied upon by said witness in reviewing, evaluating and/or
formulating opinions in this matter.

7. Any and all medical records, hospital records or other documentation utilized by said
witness in reviewing this matter.

8. Any and all investigation files utilized by said witness in reviewing this matter.

9. Any and all in audio files utilized by said witness in reviewing this matter.

10. Any and all policies and procedures utilized by said witness in reviewing this matter.

11. Said witness’ complete file in connection with his investigation and evaluation of the
issues involved in the lawsuit, including but not limited to:

      a.    All documents furnished to him by anyone;
      b.    All documents obtained or created by him;
      c.    All documents he reviewed, referred to, or relied upon in arriving at any of his
            opinions or conclusions concerning the issues involved in the lawsuit,
            including but not limited to all scientific and technical articles, publications,
            codes, standards, and other literature;
      d.    All models, illustrations, photographs, or other exhibits or documents of any
            kind, which said witness intends or contemplates using to explain, illustrate,
            or support his testimony at trial.

12. Any and all articles authored, coauthored, or contributed to concerning any of the
conditions, analysis or procedures applicable to this case.




                                                    4
Case 5:23-cv-00661-JSM-PRL            Document 52-2        Filed 07/03/25     Page 170 of 235
                                        PageID 2534


13. Copies of all publications, syllabuses and other handouts or visual aids used during
any lectures or presentations pertaining to any issues about which said witness intends
to testify in this matter.

14. Any tables or charts referred to or utilized in rendering said witness’ opinions in this
matter.

15. Any calculations performed.

16. Any correspondence, notes, records, or any other computer-assisted generated by said
witness, listing any opinions or conclusions formulated or proposed or preliminary
opinions in this case.

17. A listing of all cases within the last three (3) years in which said witness has given
testimony as an expert, including identification of: the case style; plaintiff’s attorney;
defendant’s attorney; court in which case was pending; and whether the testimony
was by deposition, trial or both.

18. A list of all previous depositions given and/or trials in which testimony was given
along with copies of transcripts of depositions in all cases within the three (3) years in
which said witness has testified as an expert.

19. An approximation of said witness’ involvement as an expert witness based on the
number of hours, percent of hours, or income derived from expert services, including
percentage of work performed for plaintiffs vs. defendants.

20. Documents describing the scope of his employment in the pending case.

21. Copies of any advertisements concerning his availability as an expert or consultant or
a listing of any expert locator/referral services in which he has participated or agreed
to make referrals to him.

22. Financial documentation showing the total amount of fees the Defendant(s) Romanucci & Blandin
or Slater Legal, PLLC, has paid for your services in the last three (3) years.

23. Financial documentation showing the total amount of fees the Defendant(s) counsel,
Romanucci & Blandin or Slater Legal, PLLC, has paid for your services in the last three (3) years.

24. Copies of all articles, treatises, or other publications in the witness’s possession or
control reviewed, referred to, or relied upon in arriving at any of his opinions or
conclusions concerning the issues involved in the lawsuit.




                                                5
Case 5:23-cv-00661-JSM-PRL           Document 52-2          Filed 07/03/25     Page 171 of 235
                                       PageID 2535




                                     TECHNICAL REPORT

                                             of the

                                 CORY MERCHANT INCIDENT




  Krysti Merchant, as Personal Representative for the Estate of Cory Merchant, Deceased

                                               v.

Billy Woods, Sheriff of Marion County, Florida, in his official capacity; Deputy Justin Kosinski;
                     Deputy Joseph Miller, Sergeant Jerome Dukes, et al.



                                       RFI File: 24LL0261




                                         Prepared by:

                                Paul M. Adee, C.C.M., C.C.H.P.

                                        January 2, 2025

                                                                                     EXHIBIT

                                                                                  Ex. 2 - P. Adee - 4/4/25




                                                                                           Page 1 of 22
 Case 5:23-cv-00661-JSM-PRL               Document 52-2          Filed 07/03/25       Page 172 of 235
                                            PageID 2536


                                       CORY MERCHANT INCIDENT


                                                                                         JANUARY 2, 2025

A.      INTRODUCTION

Mr. Cory Merchant (Merchant) was an inmate at the Marion County Jail (MCJ) in Ocala, Florida on 11/7/21.
He was initially arrested on 11/8/19 for Lewd or Lascivious Behavior (Victim Aged 12-16); and
subsequently had 2 additional charges filed on 1/27/20 for Sexual Assault by 24 years of age (YOA) Older
Sexual Battery Victim 16 or 17 YOA and Lewd Lascivious Behavior Offender 18 YOA or Older Victim 12 YOA
less 16 YOA.

Mr. Eric Lutterloah (Lutterloah) was also an inmate at the Marion County Jail in Ocala, Florida on 11/7/21.
He was arrested on 6/4/20 for Armed Kidnapping and Sexual Battery Physical Force Not Likely to Cause
Injury.

At the time of this incident Merchant and Lutterloah were being housed in G-Pod Section-A, together.
During the early morning hours on 11/7/21, Lutterloah attacked Merchant by striking him and causing
him to fall to the floor. Subsequently, Merchant was transported to the hospital where he died on
11/13/21 as a result of the injuries sustained during the attack by Lutterloah.

                                                                                       (MCSO), Sheriff Billy

Procedures, and Post Orders and the correctional standard of care regarding the care and treatment of
Cory Merchant while in their custody.

My investigation into this matter and the preparation of this report was performed at the request of Sam
Harton, Esq. of Romanucci and Blandin Law, LLC.

B.      QUALIFICATIONS

I, Paul M. Adee, served 32 years as a correctional officer. I began my career as a correctional officer with

commander) with the Hillsborough County Sherif
a correctional officer/detention deputy; field training officer; detention supervisor as corporal, sergeant,
and lieutenant; detention/corrections administrator as a captain and major. My assignments included
correctional officer/pod deputy, assistant squad supervisor (corporal), squad supervisor (sergeant),
detention training sergeant, shift commander(lieutenant), transportation bureau commander
(lieutenant), judicial protection bureau commander (lieutenant), deputy division commander (captain),
and division commander (major).




                                                                                                Page 2 of 22
 Case 5:23-cv-00661-JSM-PRL               Document 52-2          Filed 07/03/25        Page 173 of 235
                                            PageID 2537


As a correctional officer and detention deputy, I was trained in the proper protocol regarding the care,
custody, and control of inmates. I was also trained to conduct well-being or wellness checks as required
by policy, procedure, and established standards. As a correctional officer and detention deputy, I was
responsible for conducting routine well-being checks and inspections of inmates and their living areas to
ensure their health and welfare. As a field training officer and supervisor, I provided initial and ongoing
training to subordinates regarding these same matters.

As a detention supervisor and commander assigned to the detention facilities, I provided oversight and
supervision of deputies and supervisors in the proper care, custody, and control of inmates. I ensured
subordinate personnel conducted adequate well-being checks of inmates in their charge and that they
were managing the inmate living areas in accordance with established policy and standards. As a division
commander, I also provided oversight of the classification unit which was responsible for initial and
ongoing inmate classification processes. I have conducted and/or reviewed numerous investigations of
alleged officer and/or inmate misconduct and recommended discipline when appropriate.

I hold a Bachelor of Arts degree in Criminal Justice from Saint Leo University and have successfully
completed over 1,500 hours of basic, annual, and advanced training. I am a graduate of the University of
Louisville Southern Police Institute Command Offic
Health Professional (CCHP) through the National Commission on Correctional Health Care (NCCHC) and a
Certified Correctional Manager (CCM) through the American Correctional Association (ACA).

My CV outlining my complete education, experience, and training is attached as Appendix 1.

The approach taken for the analysis of this investigation is based on reliable scientific reasoning and
methodology which is accepted by the scientific community. My opinions are offered to within a
reasonable degree of professional certainty relying on correctional principles and practices. My opinions
are subject to change if additional information becomes available.

Terms of Compensation

The professional service fees Robson Forensic, Inc. charges for all tasks that I have undertaken in this case
is currently $505 per hour, subject to change. To date Robson Forensic has billed approximately $15,150
for my work in this matter.

Testimony as an Expert

A document listing each of the occasions on which I have given expert testimony in the past 4 years is
attached as Appendix 2.




                                                                                                 Page 3 of 22
    Case 5:23-cv-00661-JSM-PRL             Document 52-2         Filed 07/03/25       Page 174 of 235
                                             PageID 2538


Exhibits

I may use the following materials as exhibits to illustrate testimony: all references and documents cited
in this report or listed as Materials Available for Review.

C.         MATERIALS AVAILABLE FOR REVIEW

Attached as Appendix 3.

D.         EMPLOYEE BACKGROUND                                                                        AND
           POST ORDERS

Employee Background

Billy Woods was employed as the Sheriff of Marion County during the time that Cory Merchant was
confined at the Marion County Jail at the time of this incident.



during the time that Cory Merchant was confined therein at the time of this incident.

Justin Kosinski was employed as a Detention Deputy at the Marion County Jail by the Marion County
                                                                   at the time of this incident.

Dellun Miller was employed as a Detention Deputy at the Marion County Jail by the Marion County
                                                                  at the time of this incident.




                                 Policy 6011.00 Supervision of Inmates Jail, dated 4/13/23:1

           Duty posts are located adjacent to inmate living areas to permit detention deputies to hear and
           respond promptly to emergency situations and are staffed to provide full coverage of designated
           security posts, surveillance of inmates and performance of all ancillary functions. Each housing
           area has at least one certified detention deputy present at all times.
           All high and medium security inmates are observed by a detention deputy as frequently as
           possible. More frequent observation is required for those inmates who are violent, mentally
           disordered, suicidal, or who demonstrate unusual or bizarre behavior. Suicidal inmates housed
           alone are under continual observation.
           All inmates will be visually checked every hour between 10:00 PM and 6:00 AM, with the results
           recorded and maintained in the Daily Log of the Jail Management Computer System.


1
                                                             Jail, dated 4/13/23



                                                                                               Page 4 of 22
    Case 5:23-cv-00661-JSM-PRL             Document 52-2          Filed 07/03/25       Page 175 of 235
                                             PageID 2539



         A permanent log, recording routine, emergency and unusual situations shall be maintained in the

         Procedures
             o The Jail Watch Commanders shall: Conduct daily walk-through tours and inspections of
                housing units to gauge the temperament of the inmate population and ensure that both
                staff and inmates are adhering to Agency rules and regulations. An unannounced
                supervisor check will be documented in the daily pod log.
             o The Sergeants shall: Ensure that each pod detention deputy maintains a daily activity

                 system. Each shift shall prepare a daily shift activity report (Detention Supervisor Control
                 Sheet) regarding all unusual occurrences for submittal to the Bureau Major through the
                 chain of command. An unannounced supervisor check will be documented in the daily
                 pod log when the sergeant makes his rounds.
         Inspections
             o It is the responsibility of the supervisory staff to continuously assess inmate morale and
                 the quality of care and supervision inmates receive. Line supervisory staff will conduct a
                 patrol of all areas of the facility on a shift basis, including weekends and holidays.
         General Supervision
             o Detention deputies should vary their routines so that inmates cannot determine when
                 their cell block or cells will be checked or inspected.
             o All staff members shall monitor inmate movement to ensure the security and orderly
                 running of the facility.

                                Policy 6164.00 Headcount of Inmates, dated 3/7/24:2

         Headcount of Inmates
             o Night shift will conduct one (1) lock-down headcount. The full "Lock-Down" count will
                  be accomplished when all inmates are required to be immobilized and visually inspected.
         Definitions
             o Lock-Down Headcount - A headcount where all inmates stand for the count by their
                  respective cell door or bunk. After identification of the inmate, the inmates are secured
                  in their cells or restricted to their bunks.
         6164.35 Security Checks
             o When conducting a security check, all flashlights will be used sparingly, but with enough
                  light thrown on the inmate to leave no doubt as to whether a human is actually in the
                  bunk. The detention deputy must be certain of seeing flesh in all cases rather than
                  counting an inmate on the basis of seeing any part of his/her clothing, hair or shoes.
             o All inmates will be visually checked every hour between the hours of 2300 and 0600,
                  unless they are involved in an outside program that precludes a personal check. Checks
                  will be entered in the Daily Activity Log.


2




                                                                                                 Page 5 of 22
    Case 5:23-cv-00661-JSM-PRL           Document 52-2         Filed 07/03/25       Page 176 of 235
                                           PageID 2540


                               Post Order Post: Gulf Pod, dated 1/8/19:3

         Purpose: The purpose of this Post Order is to outline the duties and responsibilities of those
         detention deputies assigned to the Gulf Pod post. This Post Order supersedes all previous Gulf
         Pod Post Orders and will not be changed without the approval of the Detention Bureau Chief or
         his/her designee.
         General Responsibilities
             o 1. Maintain the security of the facility at all times.
             o 2. Maintain vigilance of all inmates assigned to the unit.
             o
             o 4. Maintain a clean and orderly operation of the post during tour of duty.
         Specific Duties and Responsibilities
             o 5. Conduct headcounts as follows:
                           b. An additional lockdown headcount will be conducted as the inmates are
                           locked-down each evening at 2200 hours.
             o 25. Security checks will be accomplished every hour between the hours of 2200 to 0600.
                  These checks will be logged and maintained by the pod officer in the computers Daily
                  Activity Log.

                               Policy 6766.00 Classification of Inmates, dated 3/14/24:4

         The policy of the Marion County Sheriff's Office is to segregate inmates housed in the Marion
         County Jail to ensure the safety and security of the individual inmates, as well as the smooth
         operation of the facility. The classification system evaluates the following:
             o History of assaultive behavior by reviewing current charges, past criminal conviction
                  and institutional behavior.
         Classifications personnel shall use the following data and techniques to determine special needs
         of the inmates:
             o Criminal history
         SCREENING OF INMATES
             o Screening of inmates who are potentially vulnerable, and/or dangerous, or present a
                  security risk shall include:
                          A review of the frequency, recentness and severity of both community and
                          facility violent behavior by the inmate.
                          Inmates who are potentially vulnerable and/or aggressive will be housed
                          according to their classification, and may need to be separated from other
                          inmates.
                          Sex Offenders, witnesses and LGBTQ inmates may need protection, and may need
                          to be separated from other inmates.



3
4




                                                                                             Page 6 of 22
    Case 5:23-cv-00661-JSM-PRL                Document 52-2             Filed 07/03/25             Page 177 of 235
                                                PageID 2541



           Medium Security Levels- Includes inmates designated as Custody Levels 3 Medium High, 4 or 5.
           Inmates assigned to the medium security level will include sentenced misdemeanors and felons
           who do not qualify for minimum security and do not require a maximum level of security. In
           addition, inmates awaiting trial or sentencing and likely prison bound who do not require a
           maximum level of security will be placed in medium security. Medium High 3 inmates do not
           qualify for inmate worker status and may be limited to programs in their assigned housing area.
           Custody Levels 4 and 5 may qualify for inmate worker status and programs outside of their
           assigned housing area.
           Maximum Security Levels- Includes inmates designated as Custody Levels 1-High and 2-Close.
           Inmates who are assigned to maximum security will be those who have been charged with
           serious assaultive felony crimes or have a history of assaultive felony violent convictions. They
           also have other holds or detainers concerning such types of crimes or may be individuals who
           have displayed a significant disciplinary problem within the facility or display a need for a
           maximum amount of supervision and may have limited out of cell time. They will have limited
           access to programs that will be reviewed on a case by case basis. Maximum Security Inmates who
           are High Risk Security/Escape Risk will be placed in a solid red uniform and housed in confinement.

E.         DESCRIPTION OF THE INCIDENT

Merchant / Lutterloah Charges, Classification, Housing Assignments

Cory Merchant was arrested on 11/8/19 for Lewd or Lascivious Behavior (Victim Aged 12 -16); and
subsequently had 2 additional charges filed on 1/27/20 for Sexual Assault by 24 YOA Older Sexual Battery
Victim 16 or 17 YOA and Lewd Lascivious Behavior Offender 18 YOA or Older Victim 12Y less 16Y and
booked into the Marion County Jail. According to MCJ documents,                 charge was considered a
non-assaultive felony and he was classified as medium (5) (pre) security, which was on the low end of
the medium security spectrum.5                                                     , Merchant had been
                            6
assigned to G-Pod Section-A.

Eric Lutterloah was arrested on 6/4/20 for Armed Kidnapping and Sexual Battery Physical Force Not Likely
to Cause Injury.7 According to MCJ documents,              charges were considered assaultive felonies,
and he had a previous history of sexual assault/battery in a prison or jail.8, 9 He was classified as high
medium (3) security, which was on the high end of the medium security spectrum.10 Despite this,
Lutterloah was also assigned to G-Pod Section-A, along with Cory Merchant.11



5
6                            Incident Report #210005382 by Deputy Justin Kosinski, dated 11/7/21
7

    dated 5/12/20
8
9
10
11




                                                                                                          Page 7 of 22
 Case 5:23-cv-00661-JSM-PRL                        Document 52-2                Filed 07/03/25            Page 178 of 235
                                                     PageID 2542


Lutterloah Attack on Merchant

According to his incident report, Deputy Kosinski was alerted to an incident (i.e., man down) in G-Pod A-
Section at approximately 0110 hours. Deputy Kosinski described the event as follows:

           Upon review of the section cameras, it appears Inmate Cory Merchant and Inmate Eric Lutterloah
          where in a physical altercation. Inmate Lutterloah gets out of his assigned bed (G/Ax12) and
          confronts Inmate Merchant in between Bunks G/A X14 and 16. Inmate Lutterloah appears to
          strike Inmate Merchant several times, causing him to fall to the ground between bunks G/A128
          and 129. When Inmate Merchant fell, he was no longer in view of the camera. Inmate Lutterloah
          appears to walk to his assigned bunk area, then walk back to Inmate Merchant a couple of times
          before sitting on his assigned bunk. Inmate Merchant is assigned to bunk G/A123B and was out
                                                                          12




Merchant was transported, via EMS, to Ocala Regional Medical Center for treatment.13 Cory Merchant
subsequently died as a result of the injuries he sustained in this attack. According to his Death Certificate,
Cory Merchant died on 11/13/21 as a result of complications of blunt head trauma and assault with the
manner of death listed as homicide.14

G-Pod Description

G-Pod was comprised of 4 sections (i.e., A, B, C, and D) that can house a total population of 256 inmates.
It was operated as a podular remote supervision housing unit, that is, staff were not assigned or located
directly inside of the inmate living areas (i.e., sections). Instead, they were located in a control room
adjacent to the sections. The control room had a window and video surveillance monitors to aid staff in
providing supervision of the inmate population.15

G-Pod Security Checks



conduct security checks between the hours of 2200-0600 or 2300-0600 hours, depending upon which
policy, procedure or post order you were following, as they contradicted each other.16, 17, 18

                                                                                      -Pod on 11/7/21, Deputy Kosinski
completed two separate security checks                                                                      as follows:


12
13
                                  Supplemental Incident Report #210005382 by Sergeant Jerome Dukes, dated 11/7/21
14 State of Florida Bureau of Vital Statistics Certification of Death re: Cory Merchant, dated 11/23/21
15 Marion County Jail Staff Analysis by CRS Incorporated, dated 4/24/19
16                                                                          Jail, dated 4/13/23
17
18                                           Post: Gulf Pod, dated 1/8/19



                                                                                                                 Page 8 of 22
 Case 5:23-cv-00661-JSM-PRL                       Document 52-2              Filed 07/03/25            Page 179 of 235
                                                    PageID 2543


0100-0104 check logged on 11/7/21 at 0104 hours and 0100-0109 check logged on 11/7/21 at 0119
hours.19

F.          ANALYSIS

Security/Well-being/Wellness Check Policies/Procedures/Post Orders

Policies and procedures are the formal mechanisms which administrators use to communicate with staff.
Policies and procedures are often utilized during internal and external investigations when determining if
policies and procedures, along with statutory requirements, are being followed by the agency and/or
whether they are followed by staff during specific instances. In either case, policies and procedures must
be specific and non-contradictory, as vagueness and/or contradictions confuse staff members and
oftentimes cause less than desirable outcomes. As identified by the U.S. Department of Justice, National
Institute of Corrections:20

            Failure to direct - This is a failure in the obligation or affirmative duty to provide employees written
            directives in the form of policies and procedures or other such directives that clearly limit and
            outline the duties and responsibilities of staff at each level of administration.

One of the core functions of a jail or correctional facility is to ensure the safety and well-being of the
people who are committed therein. This is accomplished by staff conducting wellness/well-being/security
checks, within designated time frames and on an irregular schedule, of the inmate population. These
checks are utilized for multiple purposes. They are used to ensure inmates are not engaging in self-harm,
causing harm to others, where they are supposed to be, and not violating facility rules, etc. An adequate
check of each offender should take between 5-10 seconds, as the officer
body to ensure that they are breathing by looking for their chest to rise and fall. Officers should also
observe the inmate to ascertain if they are moving their limbs, head, or another body part that would
indicate they are alive. If the inmate is standing and/or moving around inside of the cell or living area, the
check may take slightly less time. As identified by the U.S. Department of Justice, National Institute of
Corrections in the                                             :21

            Jail staff must be able to account for and assure the well-being of inmates at all times. This is
            accomplished through a system of inmate well-being checks and counts. The presence of staff in
            inmate-occupied areas is the most effective means of assuring the well-being of inmates. Good
            practice dictates that all inmates in the general population be viewed by staff in person at least
            every 30 minutes on an irregular schedule. Persons who are violent, mentally ill, intoxicated, or
            have other special problems warranting closer supervision require more frequent checks.


19                                                                       11/7/21
20 U.S. Department of Justice, National Institute of Corrections, Resource Guide for Jail Administrators, Mark D. Martin & Thomas

     A. Rosazza, 2004
21                                                                                                                          Paul
     Katsampes, D.P.A., 2007



                                                                                                                   Page 9 of 22
 Case 5:23-cv-00661-JSM-PRL                       Document 52-2              Filed 07/03/25            Page 180 of 235
                                                    PageID 2544


As identified by the U.S. Department of Justice, National Institute of Corrections in the Resource Guide
for Jail Administrators:22

            Good practice dictates that all inmates in general population housing be viewed by staff in
            person at least every 30 minutes on an irregular schedule. People who are violent, mentally ill,
            intoxicated, or have other special problems warranting closer supervision require more frequent
            checks or, in some cases, constant supervision. The jail should have an established method for
            documenting the time and results of well-being checks.

                                                                                                     were
inadequate as they ONLY required security (i.e., well-being or wellness) checks between the hours of 2200
  0600 or 2300 0600, depending upon which policy or post order you were following as indicated below.

As identified in the Daily Log for G-Pod from 10/7/21 11/7/21,
documented. 194 of the 203 security checks (i.e., 96%) began at the top of each hour between 2300 hours
each night with the final check beginning at 0500 hours the following morning. For clarity, I have again
provided t                                                                               discuss security
(i.e., well-being or wellness) checks on inmates are highlighted below.

Policy 6011.00 Supervision of Inmates:23

            All high and medium security inmates are observed by a detention deputy as frequently as
            possible. More frequent observation is required for those inmates who are violent.
            All inmates will be visually checked every hour between 10:00 PM and 6:00 AM.
            All high and medium security inmates are observed by a detention deputy as frequently as
            possible. More frequent observation is required for those inmates who are violent, mentally
            disordered, suicidal, or who demonstrate unusual or bizarre behavior. Suicidal inmates housed
            alone are under continual observation.

Policy 6164.00 Headcount of Inmates:24

            6164.35 Security Checks
               o When conducting a security check, all flashlights will be used sparingly, but with enough
                   light thrown on the inmate to leave no doubt as to whether a human is actually in the
                   bunk. The detention deputy must be certain of seeing flesh in all cases rather than
                   counting an inmate on the basis of seeing any part of his/her clothing, hair or shoes.
               o All inmates will be visually checked every hour between the hours of 2300 and 0600.



22 U.S. Department of Justice, National Institute of Corrections, Resource Guide for Jail Administrators, Mark D. Martin & Thomas

     A. Rosazza, 2004
23                                                                       Jail, dated 4/13/23
24




                                                                                                                 Page 10 of 22
 Case 5:23-cv-00661-JSM-PRL                     Document 52-2             Filed 07/03/25          Page 181 of 235
                                                  PageID 2545


Post Order Post: Gulf Pod:25

            Specific Duties and Responsibilities
               o Security checks will be accomplished every hour between the hours of 2200 to 0600.
                     These checks will be logged and maintained by the pod officer in the computers Daily
                     Activity Log.

The contradiction between policies and post orders, the fact that security/well-being/wellness checks
were not required throughout the entire 24-hour cycle of each day, and the Marion County
custom and practice of beginning security checks at the top of each hour, thereby making them extremely
predictable, created a dangerous condition for Cory Merchant.

Lockdown / Headcount

Based on my experience, education and training, maintaining control of the inmate population is achieved
through adequate supervision of the inmates and consistent enforcement of policies, procedures, and the
inmate rules and regulations. Failure to adequately control the inmate population through consistent
enforcement of these rules creates an environment wherein the inmates feel that they are free to behave
in any manner they desire as staff do not care. As identified by the U.S. Department of Justice, National
Institute of Corrections:26

            The fifth element of inmate behavior management (IBM) is supervising inmates to hold them
            individually accountable for their behavior. Staff presence in inmate-occupied areas and positive
            staff interaction with inmates will result in desired inmate behavior. Skills such as decision making,
            problem solving, communication, and motivation contribute to the effectiveness of this element.


                                                                                         27




            Headcount of Inmates
                o Night shift will conduct one (1) lock-down headcount. The full "Lock-Down" count will
                     be accomplished when all inmates are required to be immobilized and visually inspected.
            Definitions
                o Lock-Down Headcount - A headcount where all inmates stand for the count by their
                     respective cell door or bunk. After identification of the inmate, the inmates are secured
                     in their cells or restricted to their bunks.
                                                                                                                 28




25 Marion County
26 U.S. Department of Justice, National Institute of Corrections, Inmate Behavior Management: Guide to Meeting Basic Needs,

     2014
27
28




                                                                                                            Page 11 of 22
 Case 5:23-cv-00661-JSM-PRL                      Document 52-2         Filed 07/03/25         Page 182 of 235
                                                   PageID 2546


          Lockdown -                                                                                Detention
          Deputy. By 10:00 P/M. you are ordered to stand by your assigned cell/bunk. The Detention
                                                                                               lights must be
          off by 10:00 P.M. Inmates in open bay housing are to be on their bunk by 10:00 P.M. No inmates
          are to get off their bunk during lockdown except to use the bathroom. All lights will be turned
          off and excessive noise will not be tolerated. Lights are turned on at approximately 5:30 A.M. At
          this time, you are to get ready for breakfast with starts at approximately 6:00 A.M.

In this instance, Sergeant Dukes knew that deputies allowed inmates to remain off of their assigned bunks
after lockdown in violation of policy, procedure and the inmate rules and regulations. According to
                            regarding what an officer was supposed to do when they observed an inmate
off their bunk and chatting with another inmate at their bunk after lockdown, It is a judgement call by

When it becomes excessive, you address it and tell the inmate to get back to their bunk. 29 Neither
                                                                                           ensuring
inmates were restricted to their bunks during lockdown hours. This created a dangerous condition for
Cory Merchant.

Classification of Inmates

Based on my experience, education and training, adequate and proper classification of the inmate
population is essential to the safety, security, and orderly running of a jail. There are several groups of
people that should not be housed together (i.e., males and females, adults and juveniles, violent and non-
violent, etc.). As identified by the U.S. Department of Justice, National Institute of Corrections:30



          all persons placed in its custody. Classification is an essential management tool for performing
          this function. By definition, classification is the process of placing things or people into groups
          according to some rational idea or plan. A good system of classifying inmates will reduce escapes
          and escape attempts, suicides and suicide attempts, inmate-on-inmate assaults, and the
          unnecessary incarceration of non-threatening persons. These outcomes conserve valuable
          resources by reducing expenditures for legal fees and court costs, overtime pay, and medical care.

          Due to the diversity of the population, inmates are generally separated into broad categories.
          Most jurisdictions, for example, distinguish between pre-trial and sentenced inmates, adults and
          juveniles, and males and females. Many also categorize inmates by the amount of their bond if it
          is set by statute. Numerous jails attempt to separate the violent from the non-violent or those



29 Deposition Transcript of Jerome Dukes, dated 9/12/24, pages 91-92
30 U.S.
      Department of Justice National Institute of Corrections, Objective Jail Classification Systems: A Guide for Jail
  Administrators, James Austin Ph.D., 1998



                                                                                                        Page 12 of 22
 Case 5:23-cv-00661-JSM-PRL               Document 52-2          Filed 07/03/25       Page 183 of 235
                                            PageID 2547


        charged with felonies from those charged with misdemeanors. In addition, some jurisdictions try
        to identify special management inmates (protective custody, suicide risk, etc.).

        A Housing Plan Consistent with the Classification System

        Each jail must ensure that it has a written housing plan for each housing unit. The function of a
        housing plan is to establish sufficient space at each custody level to accommodate housing the
        number of inmates assigned to each level. For example, minimum-custody inmates should be
        housed in a minimum-security unit (typically dorm type units). Medium-custody inmates should
        be housed in double cells or secure dorm units, and maximum-custody inmates should be housed
        in single-cell units.



they were considered violent or non-violent, in the same living area (i.e., G-Pod A-Section). Eric
                             considered assaultive felonies, and he had a previous history of sexual
assault/battery in a prison or jail.31, 32 He should have been separated and housed in a different area than
non-violent offenders such as Cory Merchant, as his charge was considered a non-assaultive felony33 and
he did not have a history of violence. This violated their own Classification Policy which stated:34

        The policy of the Marion County Sheriff's Office is to segregate inmates housed in the Marion
        County Jail to ensure the safety and security of the individual inmates, as well as the smooth
        operation of the facility. The classification system evaluates the following:
           o History of assaultive behavior by reviewing current charges, past criminal conviction
                and institutional behavior.
        SCREENING OF INMATES
           o Screening of inmates who are potentially vulnerable, and/or dangerous, or present a
                security risk shall include:
                        A review of the frequency, recentness and severity of both community and
                        facility violent behavior by the inmate.
                        Inmates who are potentially vulnerable and/or aggressive will be housed
                        according to their classification and may need to be separated from other
                        inmates.

This created a dangerous condition for Cory Merchant.




31
                                                                      #A0070076 Booking #2000004904
32
33
34
                                                                        24



                                                                                               Page 13 of 22
 Case 5:23-cv-00661-JSM-PRL                        Document 52-2              Filed 07/03/25            Page 184 of 235
                                                     PageID 2548


Prior Attacks on Cory Merchant

Cory Merchant was the victim of two violent attacks within G-Pod A-Section prior to being attacked by
Inmate Eric Lutterloah on 11/7/21. He was attacked by Inmate John McDowell on 3/24/2035 and again on
6/29/20 by Inmate Walter Summers.36 After each attack, Merchant was left in G-Pod A-Section where he
would be looked at as someone who was weak and vulnerable. Th                                     had a
duty and obligation to protect him from future attacks and they failed to do such. They could have, and
should have, transferred Merchant to another pod for his own protection, but failed to do such. As
identified by the U.S. Department of Justice, National Institute of Corrections:37

            Safety needs: Protection from harm, including personal injuries resulting from assault or unsafe
            environmental conditions. In the context of the jail, this means ensuring that inmates do not
            victimize one another, eliminating hazardous environmental conditions, and developing plans to
                                -being during emergencies.

As identified in American Jails Magazine by author Hal Brotheim:38


            Amendments of the U.S. Constitution, is to provide reasonable protection for that person. Jails
                                                                                                     suicide,
            fires and other facility dangers, and preventable illness. We are charged with preventing assault
            and the excessive use of force as well as suicide and self-harm. We must respond to serious
            medical and mental health needs; and we must avoid unconstitutional conditions of confinement.

As identified by the American Bar Association in ABA Standards for Criminal Justice 3rd Edition Treatment
of Prisoners:39

            Correctional officials should implement procedures for identifying those prisoners who are
            particularly vulnerable to physical or sexual abuse, manipulation, or psychologically harmful
            verbal abuse by other prisoners or by staff, and for protecting these and other prisoners who
            request and need protection.

This created a dangerous condition for Cory Merchant.

G-Pod Level of Violence & Lack of Staff Supervision of the Inmates

Based on my education, training, and experience working in and managing jail operations, it is my opinion
that providing ongoing supervision and management of the inmate population is what minimizes the


35                                                                                                       24/20
36
37 U.S. Department of Justice, National Institute of Corrections, Resource Guide for Jail Administrators, Mark D. Martin & Thomas

     A. Rosazza, 2004
38 American Jails Magazine, Transgender Inmates The Dilemma, Hal Brotheim, 2013
39 American Bar Association Standards for Criminal Justice 3 rd Edition: Treatment of Prisoners, 2011




                                                                                                                 Page 14 of 22
 Case 5:23-cv-00661-JSM-PRL                       Document 52-2              Filed 07/03/25            Page 185 of 235
                                                    PageID 2549


number and frequency of inmate-on-inmate assaults, inmate-on-staff assaults, thefts, and other
violations of facility rules. If staff are not in direct continuous contact with the inmates such as in this
instance, and they are not conducting well-being, wellness, or security checks within 30-minute intervals,
the inmates will manage themselves. Typically this will cause the number and frequency of inmate-on-
inmate assaults, inmate-on-staff assaults, thefts, and various other violations of facility rules to increase.
As identified by the U.S. Department of Justice, National Institute of Corrections:40

         Given the importance of inmate behavior management in achieving safety and security, it may
                                                                                      concern. You should
         consider all decisions regarding jail operations with respect to their impact on inmate behavior
         management.

         Staff interaction with inmates has a clear purpose: to obtain positive inmate behavior, namely,
         compliance with jail rules to achieve the goals of the behavior management plan. In this
         interaction, jail staff are in the role of supervisor.

         Several barriers can impede staff interaction with inmates and, therefore, supervision of inmates.
         These barriers include the following factors:

                     The physical plant.
                     Staffing levels.
                     Staff placement.
                     Staff behavior.
                     The level of administrative commitment to staff interaction with inmates.

         Because supervision is dependent on staff interaction with inmates, the jail must develop
         strategies to decrease barriers between staff and inmates. Doing so will assist staff in
         establishing control over all areas of the jail. For example, if the physical plant is a barrier to
         supervision and cannot be changed, the jail can increase supervision by changing expectations
         for the level and type of staff interaction with inmates.

         Inmate Behavior Management: The Key to a Safe and Secure Jail

         In the absence of staff management of inmate behavior, however, the emphasis on physically
         containing inmates failed to keep jails secure. With inmates left to their own devices inside
         cellblocks, problems such as violence, vandalism, and lack of sanitation became so common
         that they seemed inherent to jails, which, along with communities, have paid dearly for these
         problems through costly litigation, staff and inmate deaths, jail riots and fires, and escapes.




40 U.S. Department of Justice, National Institute of Corrections, Resource Guide for Jail Administrators, Mark D. Martin & Thomas

  A. Rosazza, 2004



                                                                                                                 Page 15 of 22
 Case 5:23-cv-00661-JSM-PRL                       Document 52-2    Filed 07/03/25       Page 186 of 235
                                                    PageID 2550


Friday Night Fight Nights

Terry Place, who was an inmate at the Marion County Jail and assigned to G-Pod, stated the following as
it related to the level of violence within G-Pod at the Marion County Jail: 41

            Gulf-Alpha was extremely violent, and I constantly feared for my safety at the hands of other
            inmates and correctional staff.
            There is a pervasive culture of violence in the Marion County Jail.
            Lutterloah had an extremely violent reputation amongst the inmates and guards.
            On multiple occasions, I witnessed guards encourage Lutterloah to be violent towards other

            Inmates in Gulf Pod were able to engage in physical violence against each other constantly
            without intervention from guards.

            least two inmates, but often up to six inmates, would engage in physical and violent altercations.
            Guards usually not make any effort to stop Friday Night Fight Nights.
            Friday Night Fight Nights occurred most Fridays in Gulf Pod.
            The few times that I did witness guards address inmates engaging in Friday Night Fight Nights,
            they would only come into the pod, tell the inmates to stop, then leave.
            After the guards left the pod, inmates would continue fighting and would not receive any
            discipline.
            I only witnessed inmates getting punished for fighting in the jail after the fight had already
            escalated to the point that someone had to receive medical care.
            As a result of the pervasive violence throughout the jail, I witnessed several inmates receive

            Violent altercations in Gulf-Alpha occurred approximately 4-5 times a week.
            At 10 p.m., the inmates are supposed to go on lockdown after the last headcount.
            During lockdown, the inmates are supposed to be in their bunks and not roaming around the
            dorm.
            Almost no officers at the Marion County Jail enforced lockdown.

            final headcount of the night and put Gulf-Alpha on lockdown but did not enforce headcount
            throughout the night.


Steven Murphy, who was an inmate at the Marion County Jail and assigned to G-Pod, stated the following
as it related to the level of violence within G-Pod at the Marion County Jail:42
          The Marion County Jail was extremely violent, with fights occurring on a daily basis.
          I knew Eric Lutterloah while I was in the Marion County Jail, and he was a visibly and obviously
          aggressive person.
          Eric Lutterloah tended to pick on others in his dorm who were smaller and weaker than him.

41
     Declaration of Terry Place, dated 10/26/23
42 Declaration of Steven Murphy, dated 10/25/23




                                                                                                 Page 16 of 22
 Case 5:23-cv-00661-JSM-PRL                     Document 52-2             Filed 07/03/25           Page 187 of 235
                                                  PageID 2551



        Eric Lutterloah would often pick fights by escalating a verbal altercation into a full on brawl.

        Pod.

        such as watching YouTube videos when they were supposed to be surveilling the dorms, and
        making fart noises over the intercom.
        Officers in the Marion County Jail often encourage fighting.
        On several occasions, I witnessed an inmate complain to a Marion County Jail guard about getting
        physically attacked by another inmate, then witnessed the guards respond by laughing.
        Gulf Pod had a reputation throughout the jail of being the most violent pod.
        Foxtrot also had a reputation of being extremely violent.


In this instance, based on the facts contained in 115 separate incident reports that originated from G-Pod
and were dated between 2018 2021, the number of inmate-on-inmate fights, inmate-on-inmate
assaults/batteries, inmate-on-inmate aggravated batteries, and deaths increased each year as follows:43




        *(2020: 45 incidents in 12 months = 3.75 per month; 2021: 41 incidents in 10 ½ months = 3.90 per month = 47 per year)

T                                     did not require well-being, wellness, or security checks within 30-
minute intervals at all. They merely required hourly checks, and then, only during the nighttime lockdown
hours (2200 or 2300 0600). Face-to-face supervision of the inmate population was virtually non-
existent, which allowed for the level of physical violence to exponentially increase year-after-year as
previously outlined.

Based on the G-Pod Daily Log for the time frame 10/7/21 11/7/21, when Deputies Kosinski and Miller
entered G-Pod to conduct their hourly security checks of the 4 inmate living sections containing 256
inmates, 89% (i.e., 51 of 57) and 96% (i.e., 49 of 51) of the security checks, respectively, were conducted
within 9 minutes or less. Furthermore, Deputies Kosinski and Miller conducted their hourly security checks
in 7 minutes or less 75% (i.e., 43 of 57) and 94% (i.e., 48 of 51) of the time, respectively. These are woefully
inadequate timeframes to check 256 inmates in 4 separate living areas. On average, when viewing each
inmate for 5 seconds, it should take approximately 21 minutes to complete well-being, wellness, or
security check of 256 inmates. This does not include                    routine observations, inspection of the
physical plant, and interactions with inmates while walking through each area.

Jail administrators should be continuously analyzing facility operations, to include the level of violence
therein. This is not a complicated process, as administrators have access to all reports generated by staff.



43                                                               - 2021



                                                                                                              Page 17 of 22
 Case 5:23-cv-00661-JSM-PRL                         Document 52-2            Filed 07/03/25            Page 188 of 235
                                                      PageID 2552


As identified by the U.S. Department of Justice, National Institute of Corrections in the Resource Guide
for Jail Administrators:44



          inspections and reviews. An internal monitoring system provides timely observation and
          assessment of critical jail functions and helps the jail administrator stay informed about
          programs, activities, and problems in the jail. It can reveal how well the facility is complying
          with policies and procedures, standards, and other legal requirements. It also provides a means
          to determine if the jail is meeting its goals and helps to identify areas needing change.




Effective jail Operations:45

          The sheriff has a responsibility to provide a safe jail setting for staff, inmates, and others who visit
          or use the facility. The primary goal of safety in the jail is to protect inmates, staff, and the public
          from harm. This goal is achieved through the identification and management of risks to the
          safety and well-being of jail occupants and the community. These risks include not only those
          unique to the jail environment, such as inmate assaults or violence, but also risks inherent in any
          residential and work setting (e.g., accidents, disease, natural disaster).

In this instance, during the review of said reports, the administrator should have taken notice of the
increasing number of inmate-on-inmate assaults, batteries, and fights year after year. They could have
and should have enacted a solution to counter the increased level of violence by mandating that staff
conduct                                                                                 within 30 minute
intervals at varied times. Not only would this have reduced the level of violence, but it would also have
conformed with the standard of care.

The lack of inmate
Miller, created a dangerous condition for Cory Merchant.

Supervisory Oversight

Effective supervision is critically important to the efficient and effective operation of a jail. Supervisors are
responsible for the direct supervision and oversight of subordinate personnel and the areas assigned to
them. Supervision is an ongoing process whereby the supervisor has regular, frequent interaction with
their subordinates. They observe, ask questions, elicit feedback, and take an active approach in the

tasks as required and monitor the quality of their work.

44 U.S. Department of Justice, National Institute of Corrections, Resource Guide for Jail Administrators, Mark D. Martin & Thomas

  A. Rosazza, 2004
45 U.S. Department of Justice, National Institute of Corrections,

  Katsampes, D.P.A., 2007



                                                                                                                 Page 18 of 22
 Case 5:23-cv-00661-JSM-PRL                        Document 52-2             Filed 07/03/25            Page 189 of 235
                                                     PageID 2553


Supervisors also have an obligation to take an active role in the supervision of the inmates that their
subordinates are responsible for. They must have that same regular frequent interaction with the inmates.
This provides the inmates with an opportunity to be heard, whether they are lodging a complaint, asking
a question, or merely looking to have a conversation with the supervisor. This type of supervisory
engagement, with employees and inmates, sets the stage for open communication by breaking down any
perceived barriers. As identified by the U.S. Department of Justice, National Institute of Corrections:46

            Jail functions that should be monitored:

                        General Security: Shift supervisors observe security practices during daily patrol.
                        Jail Log: Shift supervisors review and sign off on jail log daily.
                        Well-being Checks & Counts: Administrator, or designee, observe and review logs
                        weekly.

            Failure to supervise - This is a failure in the obligation or affirmative duty to provide ongoing
            supervision and direction to staff. In addition to training and directing staff (through written policy
            and procedures) at all levels, you must guide, coach, correct, and monitor them on a continuing
            basis to meet the duty to supervise. Jail administrators too often direct and train employees but
            then leave them unsupervised.

As identified by the U.S. Department of Justice, National Institute of Corrections:47




            the shift, assessing staff performance, and providing coaching and support to individual staff.


supervision of their employees and the inmates in their charge. Sergeant Dukes testified that he would
walk through all the sections within the course of his hours, but he would only address the inmates (i.e.,
interact, take questions from, etc.) in one section of the pod.48 Thereby, ignoring the remaining inmates
located in the other three sections of the pod. It is unknown how much time Sergeant Dukes or any other
supervisor spent in G-Pod as the Daily Log only captured the time each supervisor entered the pod, and
not the time they departed.

Sergeant Dukes knew that the deputies he was responsible for supervising conducted security checks at
the top of each hour, as he testified, he believed Deputy Kosinski was conducting a security check in
another section when Merchant was attacked by Lutterloah
                                                  Because how close it is to the the 1:00 as far as the

46 U.S. Department of Justice, National Institute of Corrections, Resource Guide for Jail Administrators, Mark D. Martin & Thomas

     A. Rosazza, 2004
47 U.S. Department of Justice, National Institute of Corrections, Direct Supervision Jails the Role of the Administrator, David

     Bogard, Virginia A. Hutchinson, Vicci Persons, 2010
48
     Deposition Transcript of Jerome Dukes, dated 9/12/24, page 125



                                                                                                                 Page 19 of 22
 Case 5:23-cv-00661-JSM-PRL                       Document 52-2            Filed 07/03/25   Page 190 of 235
                                                    PageID 2554


                                     49
one the the                             Sergeant Dukes should have corrected Deputies Kosinski and Miller
by advising them that good practice and the standard of care dictates that security checks be staggered
or conducted at irregular intervals.

Additionally, had Sergeant Dukes, or any other supervisor or administrator from the Marion County
                          reviewed the surveillance video of the security checks or analyzed the amount of
time that it took their staff to conduct a security check of 4 different sections that held 256 inmates, they
would have identified that the security checks were inadequate in timing and form. As previously
indicated, Sergeant Dukes also knew that deputies were not following policy and procedures by allowing
inmates to remain off of their bunks after lockdown.
Th
their employees and inmates created a dangerous condition for Cory Merchant.

                              (The remainder of this page was left blank intentionally.)




49
     Deposition Transcript of Jerome Dukes, dated 9/12/24, pages 136-138



                                                                                                  Page 20 of 22
Case 5:23-cv-00661-JSM-PRL                 Document 52-2          Filed 07/03/25       Page 191 of 235
                                             PageID 2555


G.        FINDINGS

Within the bounds of reasonable professional certainty, and subject to change if additional information
becomes available, it is my professional opinion that:

     1.
          care. This was in violation of the correctional standard of care and caused harm to Cory Merchant.

     2.
          observation (i.e., well-being/wellness/security checks) of inmates were contradictory, non-
          comprehensive (i.e., failed to require said checks to be conducted 24 hours per day), and
          inadequate. This was in violation of the correctional standard of care and caused harm to Cory
          Merchant.

     3.                                                                                                     -
          being/wellness/security checks on a predictable schedule. This was in violation of the correctional
          standard of care and caused harm to Cory Merchant.

     4.                                                                                              -
          being/wellness/security checks in timing and form (i.e., length of time actually observing
          inmates). This was in violation of the correctional standard of care and caused harm to Cory
          Merchant.

     5.
          violation of the correctional standard of care and caused harm to Cory Merchant.

     6.
          This was in violation of the correctional standard of care and caused harm to Cory Merchant.

     7.
          housing plan were inadequate. This was in violation of the correctional standard of care and
          caused harm to Cory Merchant.

     8.                                                                                              -violent
          inmate, from Eric Lutterloah, a violent inmate. This was in violation of the correctional standard
          of care and caused harm to Cory Merchant.

     9. Sergeant Jerome Dukes provided inadequate supervision of Deputies Justin Kosinski and Dellun
        Miller. This was in violation of the correctional standard of care and caused harm to Cory
        Merchant.

     10. Sergeant Jerome Dukes provided inadequate supervision of the inmates in his care. This was in
         violation of the correctional standard of care and caused harm to Cory Merchant.

     11. Deputy Justin Kosinski provided inadequate supervision of the inmates in his care. This was in
         violation of the correctional standard of care and caused harm to Cory Merchant.




                                                                                                Page 21 of 22
Case 5:23-cv-00661-JSM-PRL              Document 52-2         Filed 07/03/25       Page 192 of 235
                                          PageID 2556


    12. Deputy Dellun Miller provided inadequate supervision of the inmates in his care. This was in
        violation of the correctional standard of care and caused harm to Cory Merchant.

    13. Deputy Justin Kosinski conducted inadequate well-being/wellness/security checks in timing, form,
        and on a predictable schedule. This was in violation of the correctional standard of care and
        caused harm to Cory Merchant.

    14. Deputy Dellun Miller conducted inadequate well-being/wellness/security checks in timing, form,
        and on a predictable schedule. This was in violation of the correctional standard of care and
        caused harm to Cory Merchant.




Paul M. Adee, C.C.M., C.C.H.P.




                                                                                           Page 22 of 22
Case 5:23-cv-00661-JSM-PRL   Document 52-2        Filed 07/03/25   Page 193 of 235
                               PageID 2557




                                  Appendix 1
                      CV of Paul M. Adee, C.C.M., C.C.H.P.
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 194 of 235
                               PageID 2558
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 195 of 235
                               PageID 2559
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 196 of 235
                               PageID 2560
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 197 of 235
                               PageID 2561
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 198 of 235
                               PageID 2562
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 199 of 235
                               PageID 2563
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 200 of 235
                               PageID 2564
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 201 of 235
                               PageID 2565
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 202 of 235
                               PageID 2566
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 203 of 235
                               PageID 2567
Case 5:23-cv-00661-JSM-PRL   Document 52-2   Filed 07/03/25   Page 204 of 235
                               PageID 2568
Case 5:23-cv-00661-JSM-PRL     Document 52-2       Filed 07/03/25     Page 205 of 235
                                 PageID 2569



                                   Appendix 2
                Testimony History of Paul M. Adee, C.C.M., C.C.H.P.
       Case 5:23-cv-00661-JSM-PRL              Document 52-2         Filed 07/03/25       Page 206 of 235
                                                 PageID 2570
      Paul Adee
      History of Expert Testimony by Deposition or Trial

            Date      Case Name and Description

          9/11/23     Estate of Nicolette Tanya Eugenua French, et al. v. Moseley Architects, P.C. and
                      Moseley Architects of South Carolina, P.C., et al.
                      Case No.: 2021-CP-26-06200
                      Court of Common Pleas of Horry County, South Carolina; Deposition

         8/13/24      Joshua Brown v. Gail Watts, Emanual Okome, Ashley Ehirim, Correctional Officer Idowu,
                      Correctional Officer King, Correctional Officer Langford, Correctional Officer Rice,
                      Correctional Officer Oakley
                      Case No.: 21-CV-02248-DLB
                      United States District Court for the District of Maryland; Deposition




Updated: 8/15/2024                                                                                       Page 1 of 1
Case 5:23-cv-00661-JSM-PRL   Document 52-2      Filed 07/03/25   Page 207 of 235
                               PageID 2571



                                 Appendix 3
                        Materials Available for Review
Case 5:23-cv-00661-JSM-PRL              Document 52-2        Filed 07/03/25       Page 208 of 235
                                          PageID 2572


                                      24LL0261 Harton-Merchant

                                 Case Materials Available for Review

                                             Appendix 3



Documents

   1.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661-
         JSM-PRL First Amended Complaint, dated 12/8/23
   2.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661

   3.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661

   4.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661

   5.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant Jerome Dukes Answers to Interrogatories
   6.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661

         Complaint, dated 12/22/23
   7.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661

         Complaint, dated 12/22/23
   8.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661

         dated 12/22/23
   9.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661

         Complaint, dated 12/22/23
   10.   United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661

         4/1/24
   11.   United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661

   12.   United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661

   13.   Fed. R. Civ. P. 30(B)(6) Rider Marion County, undated
   14.   Marion County Jail Staff Analysis by CRS Incorporated, dated 4/24/19
   15.   Marion County Jail Personnel Distribution, 2016 - 2021
   16.
   17.                                                                                               7
   18.
         Procedures, dated 12/13/21
Case 5:23-cv-00661-JSM-PRL          Document 52-2         Filed 07/03/25       Page 209 of 235
                                      PageID 2573


  19.                                                                                             Jail,
        dated 2/23/17
  20.                                  Operations Directive 4700.00 Unusual Occurrences, dated
        2/10/17
  21.
  22.
        2/13/17
  23.                                                                                             Jail,
        dated 2/23/17
  24.                                                                       Hours of Work, dated
        2/23/17
  25.
  26.                                     6091.00 Employee Regulations Jail, dated 10/30/18
  27.
  28.                                     6631.00 Juvenile Detention, dated 10/30/18
  29.                                       6633.00 Inmate Grievance and Request Procedures,
        dated 12/13/21
  30.                                     3036.00 Personnel Injury and Disability, dated 1/2/19
  31.                                     6314.00 Mass Arrest, Jail Procedures, dated 2/23/17
  32.                                                                      Jail, dated 4/13/23
  33.
  34.
  35.
  36.
  37.
  38.
  39.
  40.
        or Death, dated 2/14/20
  41.                                     6330.00 Security and Control, General, dated 2/6/24
  42.
  43.
  44.
  45.
  46.                         Office Post Order Post: Bravo Control, dated 12/19/14
  47.                                                                   -Down Unit), dated 7/2/19
  48.
  49.                         Office Post Order Post: Charlie Pod, dated 1/8/19
  50.                                                 Delta Control, dated 6/29/19
  51.                                                 Delta Pod, dated 6/19/19
  52.                                                 Echo Pod, dated 5/12/12
  53.                                                 Echo/Foxtrot Control, dated 1/3/05
  54.                                                 Foxtrot Pod, dated 6/21/19
  55.
Case 5:23-cv-00661-JSM-PRL            Document 52-2        Filed 07/03/25      Page 210 of 235
                                        PageID 2574


  56.                                                Hotel Pod, dated 1/8/19
  57.                                                Intake Control, dated 8/24/10
  58.                                                Master Control, dated 6/25/19
  59.
  60.   Official Minutes of Marion County Board of County Commissioners (Pl Merchant 0001-1473)
  61.   Report on Suicide Prevention Practices Within the Marion County Jail by Lindsay M. Hayes,
        dated 11/10/18 (Pl Merchant 1474-1517)
  62.   PREA Facility Audit Report: Final, dated 1/2/22 (Pl Merchant 1518-1633)
  63.                                                                                      -2563)
  64.   Marion County Crime Statistics (Pl Merchant 1634-1635)
  65.
        A. DeFerrari, CJM and Lieutenant Chris Vorisek, dated 10/15/18 (Pl Merchant 1636-1672)
  66.
        Merchant 1673-1701)
  67.
  68.   Florida Model Jail Standards, dated 11/14/22 (Pl Merchant 1702-1793)
  69.   Official Minutes of Marion County Board of County Commissioners (Pl Merchant 1794-1797)
  70.   Letter from Cathy Wyckoff to Marion County Commissioners, dated 3/22/19 (Pl Merchant
        1798-1801)
  71.   Emailed Public Record Requests (Pl Merchant 1802-1813)
  72.   Handwritten Note, dated 11/16/18 (Pl Merchant 1814)
  73.   Official Minutes of Marion County Board of County Commissioners (Pl Merchant 1815-1818)
  74.   Letter from Timothy McCourt to Cathy Wyckoff, dated 3/6/19 (Pl Merchant 1819)
  75.   Report on Suicide Prevention Practices Within the Marion County Jail by Lindsay M. Hayes,
        dated 11/10/18 (Pl Merchant 1820-1863)
  76.   Email from Cathy Wyckoff to Tim McCourt, Williams Woods and others re: Inmate Violence in
        the Marion County Jail Investigation, dated 9/25/23 (Pl Merchant 1864-1866)
  77.                                                                                   -1874)
  78.                                                                                       -1897)
  79.   EMS Call Logs dated 1/1/17-9/25/23 (Pl Merchant 1898-1916)
  80.   FDLE Internal Investigation Report re: Jerome Dukes, dated 10/13/16 (Pl Merchant 1917-1922)
  81.   Marion County
        dated 9/25/16 (Pl Merchant 1928-1933)
  82.   FOIA Request and Response (Pl Merchant 1934-1947)
  83.
        2/25/16
  84.
        5/21/16
  85.
        6/20/16
  86.                                                                                     -Sanchez,
        dated 10/15/16
  87.
        2/16/17 (Pl Merchant 1962-1977)
Case 5:23-cv-00661-JSM-PRL           Document 52-2   Filed 07/03/25     Page 211 of 235
                                       PageID 2575


  88.                                                              Detective Rhonda Stroup,
         dated 2/16/17 (Pl Merchant 1978-1982)
  89.
         11/25/17 (Pl Merchant 1983-1985)
  90.                                                              Detective Rhonda Stroup,
         dated 11/25/17 (Pl Merchant 1986-1990)
  91.                                                              Detective Rhonda Stroup,
         dated 3/3/18 (Pl Merchant 1991-1994)
  92.                                                              Detective Rhonda Stroup,
         dated 6/12/18 (Pl Merchant 1995-1999)
  93.                                             #18018460(03) by Detective Nathan McLain,
         dated 7/24/18 (Pl Merchant 2000-2006)
  94.                                             #18022684(01) by Detective Nathan McLain,
         dated 8/24/18 (Pl Merchant 2007-2010)
  95.
         dated 5/15/19 (1952-1960)
  96.
         dated 5/17/19
  97.
         6/1/19
  98.
         6/15/19
  99.
         dated 7/10/19 (Pl Merchant 2011-2014)
  100.
         11/12/19
  101.                                            #200001425 by Deputy Tyler Adams, dated
         3/21/20 (Pl Merchant 2015-2017)
  102.
         dated 3/24/20
  103.
         6/29/20
  104.
         8/29/20
  105.
         5/7/21
  106.
         5/8/21
  107.
         5/11/21
  108.
         6/27/21
  109.
         7/16/21
Case 5:23-cv-00661-JSM-PRL             Document 52-2      Filed 07/03/25     Page 212 of 235
                                         PageID 2576


  110.
         date 8/19/21
  111.
         dated 11/1/21
  112.
         11/7/21
  113.                                                 #18000682 by Deputy Christopher Turner,
         dated 2/12/18 (Pl Merchant 2018-2022)
  114.                                                 #18001025 by Deputy Christopher Turner,
         dated 3/3/18 (Pl Merchant 2023-2024)
  115.                                               #180002178 by Deputy Devon McCarthy, dated
         5/9/18 (Pl Merchant 2025-2027)
  116.                                               #180002853 by Deputy Andrew Yacuzzo, dated
         6/12/18 (Pl Merchant 2028)
  117.                                               #180004140 by Deputy Zachary Welch, dated
         8/22/18 (Pl Merchant 2029-2030)
  118.                                               #180005050 by Deputy Zachary Welch, dated
         10/8/18 (Pl Merchant 2031)
  119.                                               #180006476 by Deputy Kristofer Valdez, dated
         12/26/18 (Pl Merchant 2032-2033)
  120.                                               #190001098 by Deputy Brandon Dowels, dated
         3/12/19 (Pl Merchant 2034-2038)
  121.                                                 #190002664 by Deputy Shaquille Thomas,
         dated 6/23/19 (Pl Merchant 2039-2041)
  122.                                               #190003159 by Deputy Cory Schweitzer, dated
         7/25/19 (Pl Merchant 2042-2043)
  123.                                                  #190003469 by Deputy Cody Liss, dated
         8/15/19 (Pl Merchant 2044-2045)
  124.                                                 #190003958 by Richard Zimmerman, dated
         9/16/19 (Pl Merchant 2046-2048)
  125.                                                #190004802 by Deputy Robert Regan, dated
         11/8/19 (Pl Merchant 2049)
  126.                                                #190004893 by Deputy Jacqueline Johnson-
         Cabrera, dated 11/9/19 (Pl Merchant 2050)
  127.                                                #190004955 by Deputy Robert Regan, dated
         11/17/19 (Pl Merchant 2051)
  128.                                               #190004991 by Deputy Xavier McMiller, dated
         11/19/19 (Pl Merchant 2052-2054)
  129.                                                 #190004999 by Deputy Gregory Spicher Jr.,
         dated 11/19/19 (Pl Merchant 2055)
  130.                                                 #190005006 by Deputy Errol James, dated
         11/19/19 (Pl Merchant 2056-2057)
  131.
         dated 11/20/19 (Pl Merchant 2058)
Case 5:23-cv-00661-JSM-PRL             Document 52-2    Filed 07/03/25    Page 213 of 235
                                         PageID 2577


  132.
         11/22/19 (Pl Merchant 2059)
  133.                                              #190005203 by Deputy Samaryon Wyman,
         dated 11/30/19 (Pl Merchant 2060)
  134.                                            #190005235 by Deputy Xavier McMiller, dated
         12/2/19 (Pl Merchant 2061-2062)
  135.                                             #190005589 by Deputy William Arias, dated
         12/19/19 (Pl Merchant 2063)
  136.                                              #190005710 by Deputy Samaryon Wyman,
         dated 12/28/19 (Pl Merchant 2064)
  137.                                             #190005742 by Deputy Robert Regan, dated
         12/29/19 (Pl Merchant 2065-2066)
  138.                                              #200000116 by Deputy Samaryon Wyman,
         dated 1/7/20 (Pl Merchant 2067)
  139.                                            #200000204 by Deputy Tammy Counts, dated
         1/12/20 (Pl Merchant 2068-2069)
  140.                                            #200000206 by Deputy Justin Kosinski, dated
         1/13/20 (Pl Merchant 2070)
  141.                                            #200000217 by Deputy Justin Kosinski, dated
         1/13/20 (Pl Merchant 2071)
  142.                                            #200000312 by Deputy Xavier McMiller, dated
         1/18/20 (Pl Merchant 2072-2074)
  143.                                             #200000381 by Deputy Darryl Keaton, dated
         1/21/20 (Pl Merchant 2075-2077)
  144.                                              #200000482 by Deputy Samaryon Wyman,
         dated 1/26/20 (Pl Merchant 2078)
  145.                                                 #200000531 by Deputy Isai Palau, dated
         1/29/20 (Pl Merchant 2079)
  146.                                            #200001092 by Deputy Justin Kosinski, dated
         3/1/20 (Pl Merchant 2080-2081)
  147.                                            #200001102 by Deputy Xavier McMiller, dated
         3/2/20 (Pl Merchant 2082-2083)
  148.                                             #200001122 by Deputy Tyler Adams, dated
         3/3/20 (Pl Merchant 2084-2085)
  149.                                            #200001383 by Deputy Cory Schweitzer, dated
         3/19/20 (Pl Merchant 2086-2087)
  150.                                            #200001514 by Deputy Justin Kosinski, dated
         3/27/20 (Pl Merchant 2088-2089)
  151.                                             #200001520 by Deputy Jarred Bryant, dated
         3/28/20 (Pl Merchant 2090-2092)
  152.                                            #200001761 by Deputy Xavier McMiller, dated
         4/10/20 (Pl Merchant 2093-2094)
  153.                                            #200001983 by Deputy Zachary Linder, dated
         4/24/20 (Pl Merchant 2095-2096)
Case 5:23-cv-00661-JSM-PRL             Document 52-2     Filed 07/03/25    Page 214 of 235
                                         PageID 2578


  154.                                            #200002227 by Deputy Dylan Roberts, dated
         5/9/20 (Pl Merchant 2097-2099)
  155.                                            #200002383 by Deputy Cory Schweitzer, dated
         5/19/20 (Pl Merchant 2100-2102)
  156.                                            #200002773 by Deputy Justin Kosinski, dated
         6/11/20 (Pl Merchant 2103-2105)
  157.                                                 #200002806 by Deputy John Frye, dated
         6/12/20 (Pl Merchant 2106-2108)
  158.                                                 #200002867 by Deputy Samaryon, dated
         6/17/20 (Pl Merchant 2109-2110)
  159.                                            #200002944 by Deputy Edwin Rushing, dated
         6/21/20 (Pl Merchant 2111)
  160.                                              #200003138 by Deputy Jared Davis, dated
         7/6/20 (Pl Merchant 2112-2115)
  161.                                                 #200003191 by Deputy John Frye, dated
         7/10/20 (Pl Merchant 2116-2117)
  162.                                                 #200003208 by Deputy John Frye, dated
         7/11/20 (Pl Merchant 2118)
  163.                                              #200003212 by Deputy Samaryon Wyman,
         dated 7/12/20 (Pl Merchant 2119-2121)
  164.                                              #200003301 by Deputy Errol James, dated
         7/17/20 (Pl Merchant 2122)
  165.                                              #200003411 by Deputy Jared Davis, dated
         7/25/20 (Pl Merchant 2123-2124)
  166.                                            #200003561 by Deputy Dylan Roberts, dated
         8/3/20 (Pl Merchant 2125-2127)
  167.                                              #200003572 by Deputy Samaryon Wyman,
         dated 8/3/20 (Pl Merchant 2128-2131)
  168.                                              #200003610 by Deputy Errol James, dated
         8/6/20 (Pl Merchant 2132)
  169.                                                 #200003726 by Deputy Laura Vogt, dated
         8/15/20 (Pl Merchant 2133-2134)
  170.                                            #200004079 by Deputy Tammy Counts, dated
         9/10/20 (Pl Merchant 2135-2136)
  171.                                            #200004097 by Deputy Justin Kosinski, dated
         9/12/20 (Pl Merchant 2137-2139)
  172.                                              #200004218 by Deputy Samaryon Wyman,
         dated 9/19/20 (Pl Merchant 2140-2141)
  173.                                            #200004254 by Deputy Xavier McMiller, dated
         9/21/20 (Pl Merchant 2142)
  174.                                              #200004421 by Deputy Samaryon Wyman,
         dated 10/2/20 (Pl Merchant 2143-2144)
  175.                                              #200005052 by Deputy Errol James, dated
         11/12/20 (Pl Merchant 2145)
Case 5:23-cv-00661-JSM-PRL           Document 52-2     Filed 07/03/25      Page 215 of 235
                                       PageID 2579


  176.                                            #200005190 by Deputy Xavier McMiller, dated
         11/21/20 (Pl Merchant 2146-2148)
  177.                                            #200005240 by Deputy Cory Schweitzer, dated
       11/25/20 (Pl Merchant 2149-2150)
  178. Marion County                               #200005255 by Deputy Justin Kosinski, dated
       11/25/20 (Pl Merchant 2151-2153)
  179.
       (Pl Merchant 2154-2158)
  180.                                              #200005468 by Deputy James Errol, dated
       12/10/20 (Pl Merchant 2159)
  181.                                            #210000047 by Deputy Xavier McMiller, dated
       1/3/21 (Pl Merchant 2160-2161)
  182.                                            #210000051 by Deputy Xavier McMiller, dated
       1/4/21 (Pl Merchant 2162)
  183.                                              #210000181 by Deputy Errol James, dated
       1/11/21 (Pl Merchant 2163)
  184.                                               #210000322 by Deputy John Frye, dated
       1/18/21 (Pl Merchant 2164-2166)
  185.                                             #210000346 by Deputy Darryl Keaton, dated
       1/19/21 (Pl Merchant 2167-2168)
  186.                                            #210000568 by Deputy Xavier McMiller, dated
       2/1/21 (Pl Merchant 2169-2172)
  187.                                              #210000741 by Deputy Samaryon Wyman,
       dated 2/10/21 (Pl Merchant 2173)
  188.                                              #210000789 by Deputy Errol James, dated
       2/13/21 (Pl Merchant 2174)
  189.                                              #210000860 by Deputy Tyler Adams, dated
       2/16/21 (Pl Merchant 2175-2176)
  190.                                               #210000992 by Deputy Joe Phillips, dated
       2/25/21 (Pl Merchant 2177)
  191.                                            #210001008 by Deputy Xavier McMiller, dated
       2/27/21 (Pl Merchant 2178-2182)
  192.                                              #210001075 by Deputy Tyler Adams, dated
       3/2/21 (Pl Merchant 2183-2185)
  193.                                            #210001120 by Deputy Xavier McMiller, dated
       3/5/21 (Pl Merchant 2186-2188)
  194.                                       Report #210001623 by Deputy Dellun Miller, dated
       3/31/21 (Pl Merchant 2189-2197)
  195.                                       Report #210001675 by Deputy Tyler Adams, dated
       4/3/21 (Pl Merchant 2198-2199)
  196.                                      Report #210001947 by Deputy Xavier McMiller, dated
       4/20/21 (Pl Merchant 2200-2203)
  197.                                      Report #210002246 by Deputy Dylan Roberts, dated
       5/8/21 (Pl Merchant 2204-2205)
Case 5:23-cv-00661-JSM-PRL            Document 52-2     Filed 07/03/25     Page 216 of 235
                                        PageID 2580


  198.                                        Report #210002287 by Deputy John Frye, dated
         5/11/21 (Pl Merchant 2206)
  199.                                      Report #210002523 by Deputy Cory Schweitzer, dated
         5/23/21 (Pl Merchant 2207-2208)
  200.                                      Report #210002751 by Deputy Dylan Roberts, dated
         6/5/21 (Pl Merchant 2209-2210)
  201.                                      Report #210003100 by Deputy Darryl Keaton, dated
         6/26/21 (Pl Merchant 2211-2217)
  202.                                       Report #210003168 by Deputy Cherrelle Jennings,
         dated 6/30/21 (Pl Merchant 2218)
  203.                                      Report #210003344 by Deputy Darryl Keaton, dated
         7/10/21 (Pl Merchant 2219-2220)
  204.                                       Report #210003730 by Deputy Dellun Miller, dated
         8/1/21 (Pl Merchant 2221-2224)
  205.                                             210003835 by Deputy John Frye, dated 8/8/21
         (Pl Merchant 2225-2226)
  206.                                             210003841 by Deputy John Frye, dated 8/8/21
         (Pl Merchant 2227-2230)
  207.                                                210003939 by Deputy Errol James, dated
         8/15/21 (Pl Merchant 2231)
  208.                                                210004366 by Deputy Joe Phillips, dated
         9/8/21 (Pl Merchant 2232-2233)
  209.                                                 210004389 by Deputy John Frye, dated
         9/10/21 (Pl Merchant 2234-2235)
  210.                                                 210004395 by Deputy John Frye, dated
         9/10/21 (Pl Merchant 2236-2237)
  211.                                                 210004401 by Deputy John Frye, dated
         9/10/21 (Pl Merchant 2238)
  212.
         dated 9/12/21
  213.                                             210004678 by Deputy Cory Schweitzer, dated
         9/25/21 (Pl Merchant 2239-2240)
  214.                                              210004804 by Deputy Dylan Roberts, dated
         10/4/21 (Pl Merchant 2241-2242)
  215.                                              210004881 by Deputy Dylan Roberts, dated
         10/8/21 (Pl Merchant 2243-2244)
  216.                                              210004896 by Deputy Justin Kosinski, dated
         10/9/21 (Pl Merchant 2245-2246)
  217.                                             210005039 by Deputy Cory Schweitzer, dated
         10/18/21 (Pl Merchant 2247-2248)
  218.                                              210005382 by Deputy Justin Kosinski, dated
         11/7/21 (Pl Merchant 2251-2253)
  219.                                                210005399 by Deputy Joe Phillips, dated
         11/8/21 (Pl Merchant 2254-2255)
Case 5:23-cv-00661-JSM-PRL            Document 52-2          Filed 07/03/25      Page 217 of 235
                                        PageID 2581


  220.                                                    210005516 by Deputy Robert Regan, dated
         11/14/21 (Pl Merchant 2256-2258)
  221.                                                    210005517 by Deputy Robert Regan, dated
         11/14/21 (Pl Merchant 2259-2261)
  222.                                                       19OFF020557(13) by Detective Nathan
         McLain, dated 8/1/19 (Pl Merchant 2262-2330)
  223.                                                       19OFF030278(02) by Detective Nathan
         McLain, dated 11/26/19 (Pl Merchant 2231-2238)
  224.
         McLain, dated 3/31/20 (Pl Merchant 2339-2343)
  225.
         McLain, dated 3/31/20 (Pl Merchant 2344-2349)
  226.                                                   20OFF003779(03) by Detective I. Palau, dated
         2/19/21 (Pl Merchant 2350-2356)
  227.                                                   21OFF014588(02) by Detective I. Palau, dated
         6/30/21 (Pl Merchant 2357-2364)
  228.                                                       21OFF020749(01) by Detective Nathan
         McClain, dated 10/1/21 (Pl Merchant 2365-2370)
  229.                                                       21OFF023413(10) by Detective Nathan
       McClain (Pl Merchant 2371-2397)
  230.                                Administrative Review Report #AR-21-231 re: Lieutenant Kristin
       Johnson #5163, dated 11/15/21 (Pl Merchant 2399-2416)
  231.                                                                     -05-127 re: Officer William
       Konopinski #5673, dated 6/28/16 (Pl Merchant 2417-2421)
  232.
       #5573, dated 12/20/12 (Pl Merchant 2422-2428)
  233.
       dated 2/8/11 (Pl Merchant 2429-2434)
  234.                                                                -148 re: Corey Merchant, dated
       5/18/19 (Pl Merchant 2435-2449)
  235.                                                              -063 re: Deputy Kristofer Valdez
       #6168, dated 11/16/17 (Pl Merchant 2532-2537)
  236.                                                            -010 re: Deputy Craig Savage #6172,
       dated 2/16/18 (Pl Merchant 2538-2542)
  237.                                 -Custody Report, dated 10/1/21 11/30/21
  238. Various Newspaper Articles (Pl Merchant 2452-2505)
  239. Newspaper Article (Pl Merchant 2526-2531)
  240. Medical Examiner Districts 5 & 24 Report #2021-2744 re: Cory Merchant, dated 1/11/22 (Pl
       Merchant 2507-2522)
  241. State of Florida Bureau of Vital Statistics Certification of Death re: Cory Merchant, dated
       11/23/21 (Pl Merchant 4784)
  242. December 2022 Positions (Pl Merchant 2523)
  243. January 2022 Positions (Pl Merchant 2524)
  244. June 2021 Positions (Pl Merchant 2525)
Case 5:23-cv-00661-JSM-PRL            Document 52-2         Filed 07/03/25       Page 218 of 235
                                        PageID 2582


  245. Declaration of Terry Place, dated 10/26/23 (Pl Merchant 3564-3566)
  246. Declaration of Steven Murphy, dated 10/25/23 (Pl Merchant 3567-3568)
  247. Ocala Health System Medical Records re: Cory Merchant #G000789582 (Pl Merchant 3569-
       4693)
  248. FDLE Criminal History Information on the Internet re: Cory Merchant, dated 4/17/24 (Pl
       Merchant 4694-4727)
  249. Sprint Telephone Records/Billing re: Cory Merchant (Pl Merchant 4728-4783)
  250. Marion County Jail Video Visitation Report re: Cory Merchant, dated 7/7/20 6/23/21
  251. Circuit Court of Marion County Order Appointing Personal Representative 23CP000581AX (Pl
       Merchant 4785-4786)
  252.
  253. Booking Property Photos (3)
  254.                                                    99022042 by Deputy Alfred Greenway, dated
       7/8/1999
  255.                                                                                  Sirolli, dated
       3/15/01
  256.
       4/1/01
  257.
       6/20/04
  258.                                 Incident Report #
  259.
       dated 5/28/05
  260.
  261.
       8/26/05
  262.                                                   #07049249 by Deputy Elliott Chauncey, dated
       9/25/07
  263.
       12/9/08
  264.
       6/19/14
  265.
       9/2/15
  266.
       1/13/16
  267.
       1/25/16
  268.
       5/10/16
  269.
       5/6/16
  270.
       5/6/16
Case 5:23-cv-00661-JSM-PRL         Document 52-2       Filed 07/03/25     Page 219 of 235
                                     PageID 2583


  271.
         4/26/18
  272.
         10/8/18
  273.
  274.
         dated 7/26/19
  275.
         dated 11/17/21
  276.
  277. Incident Detail Report #2111070079, dated 11/7/21
  278.                                                                      , various booking
       numbers
  279.                                                                          ID #A0092328
       Booking #1900010514
  280.                                                               ID #A0092328 Booking
       #1900010514
  281.
       #1900010514
  282.
  283.
       11/24/19
  284.
       4/11/20
  285.
       9/23/20
  286.
       12/15/20
  287.
  288.
         12/22/21
  289.
       #2000004904
  290.
       #MCSO20OFF009528/2005110789 by Detective B. Burleson #5542, dated 5/12/20
  291.
  292.
  293.
  294.
       Booking #2000004904
  295.
       Booking #2000004904
  296.
Case 5:23-cv-00661-JSM-PRL            Document 52-2        Filed 07/03/25      Page 220 of 235
                                        PageID 2584


   297.
          #2000004904
   298.
   299.
   300.
          6/4/20
   301.
   302.                                                                     11/7/21
   303.                                                                     11/8/21
   304. Training Records re: Jerome Dukes
   305. Training Records re: Justin Kosinski
   306. Training Records re: Dellun Miller
   307. Personnel File re: Dellun Miller
   308.
        4/14/21
   309.
        12/29/20
   310.
        7/7/14
   311. Deposition Transcript of Jerome Dukes, dated 9/12/24




Audio Recordings

   1. Interview: Inmate Posey (Pl Merchant 1923)
   2. Interview: Nurse Ramos (Pl Merchant 1924)
   3. Interview: Officer Dukes (Pl Merchant 1925)
   4. Interview: Officer Moore (Pl Merchant 1 926)
   5. Interview: Merchant (Pl Merchant 1948)
   6. Interview: Merchant (Pl Merchant 1949)
   7. Interview: Lightle Baker (Pl Merchant 1950)
   8. Interview: KJ Case, Lightle (Pl Merchant 2398)
   9. 911 Call: Swift Pace (Pl Merchant 2506)
   10. McPhadden Call (Pl Merchant 2543)
   11. Interview 210917 0907
   12. Interview 210917 0909
   13. Interview 210917 0903
   14. Interview 210917 0857
   15. Victim Interview 2021-09-29 12064
   16. Interview (Extraction 1.1) Deputy Kosinski
   17. Interview (Extraction 1.1) Tommie Merchant px
   18. Interview 211107 0732
   19. Interview 211107 0741
Case 5:23-cv-00661-JSM-PRL             Document 52-2        Filed 07/03/25   Page 221 of 235
                                         PageID 2585


   20. Interview 211107 0749
   21. Interview 211107 0757
   22. Interview Angel Acost-Cruz Audio 2021-11-07 06
   23. Interview Deputy Kosinski Audio 2021-11-07 054
   24. Interview Eric Lutterloah Audio 2021-11-07 0751
   25. Interview Frank Calabria Audio 2021-11
   26. Interview Ryan Glover Audio 2021-11-07
   27. Interview Jason Santore Audio 2021-11-07 065311 5
   28. Interview 211105 2021
   29. Interview 211126 0000
   30. Interview Nurses John Little and Natasha Sa
   31. Interview Robert Furr Audio 2-21-11-07 070418 5212
   32. Interview 211104 2205
   33. Interview 211108 2253
   34. 10.26.101.27-350e240a0a24651b3a001137b9
   35. 10.36.148.13-000be3770a24940d76e93442a




Video Surveillance

   1.   Posey Complaint Video, dated 9/24/16 (Pl Merchant 1927)
   2.
   3.   Exhibit 16 Surveillance Video, dated 10/9/21
   4.   Exhibit 17 Surveillance Video, dated 9/10/21
   5.   Surveillance Video G-Pod, dated 9/10/21
   6.   Surveillance Video 1 Book-Cam-29-Rel-Ent-2020-09-12, dated 9/12/21
   7.   Surveillance Video 2 Book-Cam-29-Rel-Ent-2020-09-12, dated 9/12/21
Case 5:23-cv-00661-JSM-PRL             Document 52-2         Filed 07/03/25       Page 222 of 235
                                         PageID 2586



                                     24LL0261 Harton-Merchant

                                 Case Materials Available for Review

                                             Appendix 3



Documents

   1.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661-
         JSM-PRL First Amended Complaint, dated 12/8/23
   2.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant, Billy Woods’ Answers to Interrogatories
   3.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant, Dellun Miller’s Answers to Interrogatories
   4.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant, Justin Kosinski’s Answers to Interrogatories
   5.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant Jerome Dukes Answers to Interrogatories
   6.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant Sheriff, Billy Woods’ Answer and Affirmative Defenses to Plaintiff’s Amended
         Complaint, dated 12/22/23
   7.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant Deputy, Jerome Dukes’ Answer and Affirmative Defenses to Plaintiff’s Amended
         Complaint, dated 12/22/23
   8.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant, Dellun Miller’s, Answer and Affirmative Defenses to Plaintiff’s Amended Complaint,
         dated 12/22/23
   9.    United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant, Justin Kosinski’s, Answer and Affirmative Defenses to Plaintiff’s Amended
         Complaint, dated 12/22/23
   10.   United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant Sheriff Billy Woods’ Objections to Plaintiff’s First Request for Production, dated
         4/1/24
   11.   United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant, Billy Woods Responses to Plaintiff’s Request for Production, dated 4/1/24
   12.   United States District Court Middle District of Florida Ocala Division Case No. 5:23-cv-00661
         Defendant, Billy Woods Responses to Plaintiff’s Third Request for Production, dated
   13.   Fed. R. Civ. P. 30(B)(6) Rider Marion County, undated
   14.   Marion County Jail Staff Analysis by CRS Incorporated, dated 4/24/19
   15.   Marion County Jail Personnel Distribution, 2016 - 2021
   16.   Marion County Sheriff’s Office Operations Directive 6050.00 Post Orders, dated 2/23/17
   17.   Marion County Sheriff’s Office Operations Directive 6136.00 Detention Training, dated 2/23/17
   18.   Marion County Sheriff’s Office Operations Directive 6633.00 Inmate Grievance and Request
         Procedures, dated 12/13/21

                                                                                  EXHIBIT

                                                                               Ex. 3 - P. Adee - 4/4/25
Case 5:23-cv-00661-JSM-PRL              Document 52-2          Filed 07/03/25       Page 223 of 235
                                          PageID 2587



  19.   Marion County Sheriff’s Office Operations Directive 6006.00 Staff Communications – Jail,
        dated 2/23/17
  20.   Marion County Sheriff’s Office Operations Directive 4700.00 Unusual Occurrences, dated
        2/10/17
  21.   Marion County Sheriff’s Office Operations Directive 6013.00 Incident Reports, dated 2/23/17
  22.   Marion County Sheriff’s Office Operations Directive 6540.00 Jail Medical Facility, dated
        2/13/17
  23.   Marion County Sheriff’s Office Operations Directive 6315.00 Critical Incident Debriefing – Jail,
        dated 2/23/17
  24.   Marion County Sheriff’s Office Policy 3041.00 Duty Assignment – Hours of Work, dated
        2/23/17
  25.   Marion County Sheriff’s Office Policy 3350.00 Discipline Policy, dated 7/21/21
  26.   Marion County Sheriff’s Office Policy 6091.00 Employee Regulations – Jail, dated 10/30/18
  27.   Marion County Sheriff’s Office Policy 6630.00 Special Management Inmates, dated 2/14/17
  28.   Marion County Sheriff’s Office Policy 6631.00 Juvenile Detention, dated 10/30/18
  29.   Marion County Sheriff’s Office Policy 6633.00 Inmate Grievance and Request Procedures,
        dated 12/13/21
  30.   Marion County Sheriff’s Office Policy 3036.00 Personnel Injury and Disability, dated 1/2/19
  31.   Marion County Sheriff’s Office Policy 6314.00 Mass Arrest, Jail Procedures, dated 2/23/17
  32.   Marion County Sheriff’s Office Policy 6011.00 Supervision of Inmates – Jail, dated 4/13/23
  33.   Marion County Sheriff’s Office Policy 6766.00 Classification of Inmates, dated 3/14/24
  34.   Marion County Sheriff’s Office Policy 6012.00 Facility Reports, dated 3/27/18
  35.   Marion County Sheriff’s Office Policy 6164.00 Headcount of Inmates, dated 3/7/24
  36.   Marion County Sheriff’s Office Policy 6723.00 Orientation of Inmates, dated 12/14/22
  37.   Marion County Sheriff’s Office Policy 6322.00 Jail Housekeeping Plan, dated 2/23/17
  38.   Marion County Sheriff’s Office Policy 3030.00 Personnel Management, dated 10/25/21
  39.   Marion County Sheriff’s Office Policy 6729.00 Inmate Gain Time, dated 2/17/17
  40.   Marion County Sheriff’s Office Policy 6570.00 Notification in the Event of Injury, Serious Illness
        or Death, dated 2/14/20
  41.   Marion County Sheriff’s Office Policy 6330.00 Security and Control, General, dated 2/6/24
  42.   Marion County Sheriff’s Office Policy6721.00 Intake and Booking Procedures, dated 2/6/24
  43.   Marion County Sheriff’s Office Post Order Post: Alpha Control, dated 6/26/19
  44.   Marion County Sheriff’s Office Post Order Post: Alpha Pod, dated 9/11/18
  45.   Marion County Sheriff’s Office Post Order Post: Alpha/Echo, dated 8/31/23
  46.   Marion County Sheriff’s Office Post Order Post: Bravo Control, dated 12/19/14
  47.   Marion County Sheriff’s Office Post Order Post: Bravo Alpha (Step-Down Unit), dated 7/2/19
  48.   Marion County Sheriff’s Office Post Order Post: Charlie Control, dated 3/31/06
  49.   Marion County Sheriff’s Office Post Order Post: Charlie Pod, dated 1/8/19
  50.   Marion County Sheriff’s Office Post Order Post: Delta Control, dated 6/29/19
  51.   Marion County Sheriff’s Office Post Order Post: Delta Pod, dated 6/19/19
  52.   Marion County Sheriff’s Office Post Order Post: Echo Pod, dated 5/12/12
  53.   Marion County Sheriff’s Office Post Order Post: Echo/Foxtrot Control, dated 1/3/05
  54.   Marion County Sheriff’s Office Post Order Post: Foxtrot Pod, dated 6/21/19
  55.   Marion County Sheriff’s Office Post Order Post: Gulf Pod, dated 1/8/19
Case 5:23-cv-00661-JSM-PRL            Document 52-2         Filed 07/03/25      Page 224 of 235
                                        PageID 2588



  56.   Marion County Sheriff’s Office Post Order Post: Hotel Pod, dated 1/8/19
  57.   Marion County Sheriff’s Office Post Order Post: Intake Control, dated 8/24/10
  58.   Marion County Sheriff’s Office Post Order Post: Master Control, dated 6/25/19
  59.   Marion County Sheriff’s Office Booking & Release Internal Manual, dated 2/28/24
  60.   Official Minutes of Marion County Board of County Commissioners (Pl Merchant 0001-1473)
  61.   Report on Suicide Prevention Practices Within the Marion County Jail by Lindsay M. Hayes,
        dated 11/10/18 (Pl Merchant 1474-1517)
  62.   PREA Facility Audit Report: Final, dated 1/2/22 (Pl Merchant 1518-1633)
  63.   Marion County Sheriff’s Office Detention Bureau Annual Report 2022 (Pl Merchant 2544-2563)
  64.   Marion County Crime Statistics (Pl Merchant 1634-1635)
  65.   Marion County Sheriff’s Office Analysis of Security and Operational Functions Report by Nancy
        A. DeFerrari, CJM and Lieutenant Chris Vorisek, dated 10/15/18 (Pl Merchant 1636-1672)
  66.   Marion County Sheriff’s Office Inmate Rules and Regulations Handbook, dated 12/2017 (Pl
        Merchant 1673-1701)
  67.   Marion County Sheriff’s Office Inmate Rules and Regulations Handbook, dated 6/2024
  68.   Florida Model Jail Standards, dated 11/14/22 (Pl Merchant 1702-1793)
  69.   Official Minutes of Marion County Board of County Commissioners (Pl Merchant 1794-1797)
  70.   Letter from Cathy Wyckoff to Marion County Commissioners, dated 3/22/19 (Pl Merchant
        1798-1801)
  71.   Emailed Public Record Requests (Pl Merchant 1802-1813)
  72.   Handwritten Note, dated 11/16/18 (Pl Merchant 1814)
  73.   Official Minutes of Marion County Board of County Commissioners (Pl Merchant 1815-1818)
  74.   Letter from Timothy McCourt to Cathy Wyckoff, dated 3/6/19 (Pl Merchant 1819)
  75.   Report on Suicide Prevention Practices Within the Marion County Jail by Lindsay M. Hayes,
        dated 11/10/18 (Pl Merchant 1820-1863)
  76.   Email from Cathy Wyckoff to Tim McCourt, Williams Woods and others re: Inmate Violence in
        the Marion County Jail Investigation, dated 9/25/23 (Pl Merchant 1864-1866)
  77.   Marion County Sheriff’s Office Job Descriptions, dated 2/22/23 (Pl Merchant 1867-1874)
  78.   Cathy Wyckoff Communications with Marion County Sheriff’s Office (Pl Merchant 1875-1897)
  79.   EMS Call Logs dated 1/1/17-9/25/23 (Pl Merchant 1898-1916)
  80.   FDLE Internal Investigation Report re: Jerome Dukes, dated 10/13/16 (Pl Merchant 1917-1922)
  81.   Marion County Sheriff’s Office Citizen Comment/Complaint Report re: Corporal Jerome Dukes,
        dated 9/25/16 (Pl Merchant 1928-1933)
  82.   FOIA Request and Response (Pl Merchant 1934-1947)
  83.   Marion County Sheriff’s Office Incident Report #16000961 by Deputy Gregory Spicher, dated
        2/25/16
  84.   Marion County Sheriff’s Office Incident Report #16002104 by Deputy Ronald Palmer, dated
        5/21/16
  85.   Marion County Sheriff’s Office Incident Report #16002520 by Deputy Robert Regan, dated
        6/20/16
  86.   Marion County Sheriff’s Office Incident Report #16004360 by Deputy Jordan Leon-Sanchez,
        dated 10/15/16
  87.   Marion County Sheriff’s Office Incident Report #17000773 by Deputy Alan Drake, dated
        2/16/17 (Pl Merchant 1962-1977)
Case 5:23-cv-00661-JSM-PRL           Document 52-2        Filed 07/03/25      Page 225 of 235
                                       PageID 2589



  88.  Marion County Sheriff’s Office Incident Report #17004822(01) by Detective Rhonda Stroup,
       dated 2/16/17 (Pl Merchant 1978-1982)
  89. Marion County Sheriff’s Office Incident Report #17005302 by Deputy Justin Kosinski, dated
       11/25/17 (Pl Merchant 1983-1985)
  90. Marion County Sheriff’s Office Incident Report #17032302(01) by Detective Rhonda Stroup,
       dated 11/25/17 (Pl Merchant 1986-1990)
  91. Marion County Sheriff’s Office Incident Report #18006531(01) by Detective Rhonda Stroup,
       dated 3/3/18 (Pl Merchant 1991-1994)
  92. Marion County Sheriff’s Office Incident Report #18015700(01) by Detective Rhonda Stroup,
       dated 6/12/18 (Pl Merchant 1995-1999)
  93. Marion County Sheriff’s Office Incident Report #18018460(03) by Detective Nathan McLain,
       dated 7/24/18 (Pl Merchant 2000-2006)
  94. Marion County Sheriff’s Office Incident Report #18022684(01) by Detective Nathan McLain,
       dated 8/24/18 (Pl Merchant 2007-2010)
  95. Marion County Sheriff’s Office Incident Report #19013548(04) by Detective Nathan McLain,
       dated 5/15/19 (1952-1960)
  96. Marion County Sheriff’s Office Incident Report #190002112 by Deputy Howard Cromwell,
       dated 5/17/19
  97. Marion County Sheriff’s Office Incident Report #190002339 by Deputy Andrew Yacuzzo, dated
       6/1/19
  98. Marion County Sheriff’s Office Incident Report #190002533 by Deputy Jason Lester, dated
       6/15/19
  99. Marion County Sheriff’s Office Incident Report #19018702(01) by Detective Nathan McLain,
       dated 7/10/19 (Pl Merchant 2011-2014)
  100. Marion County Sheriff’s Office Incident Report #190004880 by Deputy Andrew Yacuzzo, dated
       11/12/19
  101. Marion County Sheriff’s Office Incident Report #200001425 by Deputy Tyler Adams, dated
       3/21/20 (Pl Merchant 2015-2017)
  102. Marion County Sheriff’s Office Incident Report #200001461 by Deputy Courtney Washington,
       dated 3/24/20
  103. Marion County Sheriff’s Office Incident Report #200003047 by Deputy John Frye, dated
       6/29/20
  104. Marion County Sheriff’s Office Incident Report #200003926 by Deputy Sandra Denardis, dated
       8/29/20
  105. Marion County Sheriff’s Office Incident Report #210002232 by Deputy Jarrod Henson, dated
       5/7/21
  106. Marion County Sheriff’s Office Incident Report #210002252 by Deputy Kristofer Valdez, dated
       5/8/21
  107. Marion County Sheriff’s Office Incident Report #210002303 by Deputy Didier Canelle, dated
       5/11/21
  108. Marion County Sheriff’s Office Incident Report #210003128 by Deputy Andrew Yacuzzo, dated
       6/27/21
  109. Marion County Sheriff’s Office Incident Report #210003457 by Deputy Shawn Prince, dated
       7/16/21
Case 5:23-cv-00661-JSM-PRL           Document 52-2        Filed 07/03/25      Page 226 of 235
                                       PageID 2590



  110. Marion County Sheriff’s Office Incident Report #210004010 by Deputy Justin Enchautequi,
       date 8/19/21
  111. Marion County Sheriff’s Office Incident Report #210005261 by Deputy Samaryon Wyman,
       dated 11/1/21
  112. Marion County Sheriff’s Office Incident Report #210005382 by Deputy Justin Kosinski, dated
       11/7/21
  113. Marion County Sheriff’s Office Incident Report #18000682 by Deputy Christopher Turner,
       dated 2/12/18 (Pl Merchant 2018-2022)
  114. Marion County Sheriff’s Office Incident Report #18001025 by Deputy Christopher Turner,
       dated 3/3/18 (Pl Merchant 2023-2024)
  115. Marion County Sheriff’s Office Incident Report #180002178 by Deputy Devon McCarthy, dated
       5/9/18 (Pl Merchant 2025-2027)
  116. Marion County Sheriff’s Office Incident Report #180002853 by Deputy Andrew Yacuzzo, dated
       6/12/18 (Pl Merchant 2028)
  117. Marion County Sheriff’s Office Incident Report #180004140 by Deputy Zachary Welch, dated
       8/22/18 (Pl Merchant 2029-2030)
  118. Marion County Sheriff’s Office Incident Report #180005050 by Deputy Zachary Welch, dated
       10/8/18 (Pl Merchant 2031)
  119. Marion County Sheriff’s Office Incident Report #180006476 by Deputy Kristofer Valdez, dated
       12/26/18 (Pl Merchant 2032-2033)
  120. Marion County Sheriff’s Office Incident Report #190001098 by Deputy Brandon Dowels, dated
       3/12/19 (Pl Merchant 2034-2038)
  121. Marion County Sheriff’s Office Incident Report #190002664 by Deputy Shaquille Thomas,
       dated 6/23/19 (Pl Merchant 2039-2041)
  122. Marion County Sheriff’s Office Incident Report #190003159 by Deputy Cory Schweitzer, dated
       7/25/19 (Pl Merchant 2042-2043)
  123. Marion County Sheriff’s Office Incident Report #190003469 by Deputy Cody Liss, dated
       8/15/19 (Pl Merchant 2044-2045)
  124. Marion County Sheriff’s Office Incident Report #190003958 by Richard Zimmerman, dated
       9/16/19 (Pl Merchant 2046-2048)
  125. Marion County Sheriff’s Office Incident Report #190004802 by Deputy Robert Regan, dated
       11/8/19 (Pl Merchant 2049)
  126. Marion County Sheriff’s Office Incident Report #190004893 by Deputy Jacqueline Johnson-
       Cabrera, dated 11/9/19 (Pl Merchant 2050)
  127. Marion County Sheriff’s Office Incident Report #190004955 by Deputy Robert Regan, dated
       11/17/19 (Pl Merchant 2051)
  128. Marion County Sheriff’s Office Incident Report #190004991 by Deputy Xavier McMiller, dated
       11/19/19 (Pl Merchant 2052-2054)
  129. Marion County Sheriff’s Office Incident Report #190004999 by Deputy Gregory Spicher Jr.,
       dated 11/19/19 (Pl Merchant 2055)
  130. Marion County Sheriff’s Office Incident Report #190005006 by Deputy Errol James, dated
       11/19/19 (Pl Merchant 2056-2057)
  131. Marion County Sheriff’s Office Incident Report #190005038 by Deputy Samaryon Wyman,
       dated 11/20/19 (Pl Merchant 2058)
Case 5:23-cv-00661-JSM-PRL           Document 52-2       Filed 07/03/25      Page 227 of 235
                                       PageID 2591



  132. Marion County Sheriff’s Office Incident Report #190005068 by Deputy Cory Schweitzer, dated
       11/22/19 (Pl Merchant 2059)
  133. Marion County Sheriff’s Office Incident Report #190005203 by Deputy Samaryon Wyman,
       dated 11/30/19 (Pl Merchant 2060)
  134. Marion County Sheriff’s Office Incident Report #190005235 by Deputy Xavier McMiller, dated
       12/2/19 (Pl Merchant 2061-2062)
  135. Marion County Sheriff’s Office Incident Report #190005589 by Deputy William Arias, dated
       12/19/19 (Pl Merchant 2063)
  136. Marion County Sheriff’s Office Incident Report #190005710 by Deputy Samaryon Wyman,
       dated 12/28/19 (Pl Merchant 2064)
  137. Marion County Sheriff’s Office Incident Report #190005742 by Deputy Robert Regan, dated
       12/29/19 (Pl Merchant 2065-2066)
  138. Marion County Sheriff’s Office Incident Report #200000116 by Deputy Samaryon Wyman,
       dated 1/7/20 (Pl Merchant 2067)
  139. Marion County Sheriff’s Office Incident Report #200000204 by Deputy Tammy Counts, dated
       1/12/20 (Pl Merchant 2068-2069)
  140. Marion County Sheriff’s Office Incident Report #200000206 by Deputy Justin Kosinski, dated
       1/13/20 (Pl Merchant 2070)
  141. Marion County Sheriff’s Office Incident Report #200000217 by Deputy Justin Kosinski, dated
       1/13/20 (Pl Merchant 2071)
  142. Marion County Sheriff’s Office Incident Report #200000312 by Deputy Xavier McMiller, dated
       1/18/20 (Pl Merchant 2072-2074)
  143. Marion County Sheriff’s Office Incident Report #200000381 by Deputy Darryl Keaton, dated
       1/21/20 (Pl Merchant 2075-2077)
  144. Marion County Sheriff’s Office Incident Report #200000482 by Deputy Samaryon Wyman,
       dated 1/26/20 (Pl Merchant 2078)
  145. Marion County Sheriff’s Office Incident Report #200000531 by Deputy Isai Palau, dated
       1/29/20 (Pl Merchant 2079)
  146. Marion County Sheriff’s Office Incident Report #200001092 by Deputy Justin Kosinski, dated
       3/1/20 (Pl Merchant 2080-2081)
  147. Marion County Sheriff’s Office Incident Report #200001102 by Deputy Xavier McMiller, dated
       3/2/20 (Pl Merchant 2082-2083)
  148. Marion County Sheriff’s Office Incident Report #200001122 by Deputy Tyler Adams, dated
       3/3/20 (Pl Merchant 2084-2085)
  149. Marion County Sheriff’s Office Incident Report #200001383 by Deputy Cory Schweitzer, dated
       3/19/20 (Pl Merchant 2086-2087)
  150. Marion County Sheriff’s Office Incident Report #200001514 by Deputy Justin Kosinski, dated
       3/27/20 (Pl Merchant 2088-2089)
  151. Marion County Sheriff’s Office Incident Report #200001520 by Deputy Jarred Bryant, dated
       3/28/20 (Pl Merchant 2090-2092)
  152. Marion County Sheriff’s Office Incident Report #200001761 by Deputy Xavier McMiller, dated
       4/10/20 (Pl Merchant 2093-2094)
  153. Marion County Sheriff’s Office Incident Report #200001983 by Deputy Zachary Linder, dated
       4/24/20 (Pl Merchant 2095-2096)
Case 5:23-cv-00661-JSM-PRL           Document 52-2       Filed 07/03/25      Page 228 of 235
                                       PageID 2592



  154. Marion County Sheriff’s Office Incident Report #200002227 by Deputy Dylan Roberts, dated
       5/9/20 (Pl Merchant 2097-2099)
  155. Marion County Sheriff’s Office Incident Report #200002383 by Deputy Cory Schweitzer, dated
       5/19/20 (Pl Merchant 2100-2102)
  156. Marion County Sheriff’s Office Incident Report #200002773 by Deputy Justin Kosinski, dated
       6/11/20 (Pl Merchant 2103-2105)
  157. Marion County Sheriff’s Office Incident Report #200002806 by Deputy John Frye, dated
       6/12/20 (Pl Merchant 2106-2108)
  158. Marion County Sheriff’s Office Incident Report #200002867 by Deputy Samaryon, dated
       6/17/20 (Pl Merchant 2109-2110)
  159. Marion County Sheriff’s Office Incident Report #200002944 by Deputy Edwin Rushing, dated
       6/21/20 (Pl Merchant 2111)
  160. Marion County Sheriff’s Office Incident Report #200003138 by Deputy Jared Davis, dated
       7/6/20 (Pl Merchant 2112-2115)
  161. Marion County Sheriff’s Office Incident Report #200003191 by Deputy John Frye, dated
       7/10/20 (Pl Merchant 2116-2117)
  162. Marion County Sheriff’s Office Incident Report #200003208 by Deputy John Frye, dated
       7/11/20 (Pl Merchant 2118)
  163. Marion County Sheriff’s Office Incident Report #200003212 by Deputy Samaryon Wyman,
       dated 7/12/20 (Pl Merchant 2119-2121)
  164. Marion County Sheriff’s Office Incident Report #200003301 by Deputy Errol James, dated
       7/17/20 (Pl Merchant 2122)
  165. Marion County Sheriff’s Office Incident Report #200003411 by Deputy Jared Davis, dated
       7/25/20 (Pl Merchant 2123-2124)
  166. Marion County Sheriff’s Office Incident Report #200003561 by Deputy Dylan Roberts, dated
       8/3/20 (Pl Merchant 2125-2127)
  167. Marion County Sheriff’s Office Incident Report #200003572 by Deputy Samaryon Wyman,
       dated 8/3/20 (Pl Merchant 2128-2131)
  168. Marion County Sheriff’s Office Incident Report #200003610 by Deputy Errol James, dated
       8/6/20 (Pl Merchant 2132)
  169. Marion County Sheriff’s Office Incident Report #200003726 by Deputy Laura Vogt, dated
       8/15/20 (Pl Merchant 2133-2134)
  170. Marion County Sheriff’s Office Incident Report #200004079 by Deputy Tammy Counts, dated
       9/10/20 (Pl Merchant 2135-2136)
  171. Marion County Sheriff’s Office Incident Report #200004097 by Deputy Justin Kosinski, dated
       9/12/20 (Pl Merchant 2137-2139)
  172. Marion County Sheriff’s Office Incident Report #200004218 by Deputy Samaryon Wyman,
       dated 9/19/20 (Pl Merchant 2140-2141)
  173. Marion County Sheriff’s Office Incident Report #200004254 by Deputy Xavier McMiller, dated
       9/21/20 (Pl Merchant 2142)
  174. Marion County Sheriff’s Office Incident Report #200004421 by Deputy Samaryon Wyman,
       dated 10/2/20 (Pl Merchant 2143-2144)
  175. Marion County Sheriff’s Office Incident Report #200005052 by Deputy Errol James, dated
       11/12/20 (Pl Merchant 2145)
Case 5:23-cv-00661-JSM-PRL           Document 52-2        Filed 07/03/25      Page 229 of 235
                                       PageID 2593



  176. Marion County Sheriff’s Office Incident Report #200005190 by Deputy Xavier McMiller, dated
       11/21/20 (Pl Merchant 2146-2148)
  177. Marion County Sheriff’s Office Incident Report #200005240 by Deputy Cory Schweitzer, dated
       11/25/20 (Pl Merchant 2149-2150)
  178. Marion County Sheriff’s Office Incident Report #200005255 by Deputy Justin Kosinski, dated
       11/25/20 (Pl Merchant 2151-2153)
  179. Marion County Sheriff’s Office Incident Report #200005448 by Xavier McMiller, dated 12/9/20
       (Pl Merchant 2154-2158)
  180. Marion County Sheriff’s Office Incident Report #200005468 by Deputy James Errol, dated
       12/10/20 (Pl Merchant 2159)
  181. Marion County Sheriff’s Office Incident Report #210000047 by Deputy Xavier McMiller, dated
       1/3/21 (Pl Merchant 2160-2161)
  182. Marion County Sheriff’s Office Incident Report #210000051 by Deputy Xavier McMiller, dated
       1/4/21 (Pl Merchant 2162)
  183. Marion County Sheriff’s Office Incident Report #210000181 by Deputy Errol James, dated
       1/11/21 (Pl Merchant 2163)
  184. Marion County Sheriff’s Office Incident Report #210000322 by Deputy John Frye, dated
       1/18/21 (Pl Merchant 2164-2166)
  185. Marion County Sheriff’s Office Incident Report #210000346 by Deputy Darryl Keaton, dated
       1/19/21 (Pl Merchant 2167-2168)
  186. Marion County Sheriff’s Office Incident Report #210000568 by Deputy Xavier McMiller, dated
       2/1/21 (Pl Merchant 2169-2172)
  187. Marion County Sheriff’s Office Incident Report #210000741 by Deputy Samaryon Wyman,
       dated 2/10/21 (Pl Merchant 2173)
  188. Marion County Sheriff’s Office Incident Report #210000789 by Deputy Errol James, dated
       2/13/21 (Pl Merchant 2174)
  189. Marion County Sheriff’s Office Incident Report #210000860 by Deputy Tyler Adams, dated
       2/16/21 (Pl Merchant 2175-2176)
  190. Marion County Sheriff’s Office Incident Report #210000992 by Deputy Joe Phillips, dated
       2/25/21 (Pl Merchant 2177)
  191. Marion County Sheriff’s Office Incident Report #210001008 by Deputy Xavier McMiller, dated
       2/27/21 (Pl Merchant 2178-2182)
  192. Marion County Sheriff’s Office Incident Report #210001075 by Deputy Tyler Adams, dated
       3/2/21 (Pl Merchant 2183-2185)
  193. Marion County Sheriff’s Office Incident Report #210001120 by Deputy Xavier McMiller, dated
       3/5/21 (Pl Merchant 2186-2188)
  194. Marion County Sheriff’s Office Incident Report #210001623 by Deputy Dellun Miller, dated
       3/31/21 (Pl Merchant 2189-2197)
  195. Marion County Sheriff’s Office Incident Report #210001675 by Deputy Tyler Adams, dated
       4/3/21 (Pl Merchant 2198-2199)
  196. Marion County Sheriff’s Office Incident Report #210001947 by Deputy Xavier McMiller, dated
       4/20/21 (Pl Merchant 2200-2203)
  197. Marion County Sheriff’s Office Incident Report #210002246 by Deputy Dylan Roberts, dated
       5/8/21 (Pl Merchant 2204-2205)
Case 5:23-cv-00661-JSM-PRL           Document 52-2        Filed 07/03/25      Page 230 of 235
                                       PageID 2594



  198. Marion County Sheriff’s Office Incident Report #210002287 by Deputy John Frye, dated
       5/11/21 (Pl Merchant 2206)
  199. Marion County Sheriff’s Office Incident Report #210002523 by Deputy Cory Schweitzer, dated
       5/23/21 (Pl Merchant 2207-2208)
  200. Marion County Sheriff’s Office Incident Report #210002751 by Deputy Dylan Roberts, dated
       6/5/21 (Pl Merchant 2209-2210)
  201. Marion County Sheriff’s Office Incident Report #210003100 by Deputy Darryl Keaton, dated
       6/26/21 (Pl Merchant 2211-2217)
  202. Marion County Sheriff’s Office Incident Report #210003168 by Deputy Cherrelle Jennings,
       dated 6/30/21 (Pl Merchant 2218)
  203. Marion County Sheriff’s Office Incident Report #210003344 by Deputy Darryl Keaton, dated
       7/10/21 (Pl Merchant 2219-2220)
  204. Marion County Sheriff’s Office Incident Report #210003730 by Deputy Dellun Miller, dated
       8/1/21 (Pl Merchant 2221-2224)
  205. Marion County Sheriff’s Office Incident Report #210003835 by Deputy John Frye, dated 8/8/21
       (Pl Merchant 2225-2226)
  206. Marion County Sheriff’s Office Incident Report #210003841 by Deputy John Frye, dated 8/8/21
       (Pl Merchant 2227-2230)
  207. Marion County Sheriff’s Office Incident Report #210003939 by Deputy Errol James, dated
       8/15/21 (Pl Merchant 2231)
  208. Marion County Sheriff’s Office Incident Report #210004366 by Deputy Joe Phillips, dated
       9/8/21 (Pl Merchant 2232-2233)
  209. Marion County Sheriff’s Office Incident Report #210004389 by Deputy John Frye, dated
       9/10/21 (Pl Merchant 2234-2235)
  210. Marion County Sheriff’s Office Incident Report #210004395 by Deputy John Frye, dated
       9/10/21 (Pl Merchant 2236-2237)
  211. Marion County Sheriff’s Office Incident Report #210004401 by Deputy John Frye, dated
       9/10/21 (Pl Merchant 2238)
  212. Marion County Sheriff’s Office Incident Report #210004426 by Deputy Shaquille Thomas,
       dated 9/12/21
  213. Marion County Sheriff’s Office Incident Report #210004678 by Deputy Cory Schweitzer, dated
       9/25/21 (Pl Merchant 2239-2240)
  214. Marion County Sheriff’s Office Incident Report #210004804 by Deputy Dylan Roberts, dated
       10/4/21 (Pl Merchant 2241-2242)
  215. Marion County Sheriff’s Office Incident Report #210004881 by Deputy Dylan Roberts, dated
       10/8/21 (Pl Merchant 2243-2244)
  216. Marion County Sheriff’s Office Incident Report #210004896 by Deputy Justin Kosinski, dated
       10/9/21 (Pl Merchant 2245-2246)
  217. Marion County Sheriff’s Office Incident Report #210005039 by Deputy Cory Schweitzer, dated
       10/18/21 (Pl Merchant 2247-2248)
  218. Marion County Sheriff’s Office Incident Report #210005382 by Deputy Justin Kosinski, dated
       11/7/21 (Pl Merchant 2251-2253)
  219. Marion County Sheriff’s Office Incident Report #210005399 by Deputy Joe Phillips, dated
       11/8/21 (Pl Merchant 2254-2255)
Case 5:23-cv-00661-JSM-PRL            Document 52-2        Filed 07/03/25      Page 231 of 235
                                        PageID 2595



  220. Marion County Sheriff’s Office Incident Report #210005516 by Deputy Robert Regan, dated
       11/14/21 (Pl Merchant 2256-2258)
  221. Marion County Sheriff’s Office Incident Report #210005517 by Deputy Robert Regan, dated
       11/14/21 (Pl Merchant 2259-2261)
  222. Marion County Sheriff’s Office Incident Report #19OFF020557(13) by Detective Nathan
       McLain, dated 8/1/19 (Pl Merchant 2262-2330)
  223. Marion County Sheriff’s Office Incident Report #19OFF030278(02) by Detective Nathan
       McLain, dated 11/26/19 (Pl Merchant 2231-2238)
  224. Marion County Sheriff’s Office Incident Report #20OFF006894(01) by Detective Nathan
       McLain, dated 3/31/20 (Pl Merchant 2339-2343)
  225. Marion County Sheriff’s Office Incident Report #20OFF006894(01) by Detective Nathan
       McLain, dated 3/31/20 (Pl Merchant 2344-2349)
  226. Marion County Sheriff’s Office Incident Report #20OFF003779(03) by Detective I. Palau, dated
       2/19/21 (Pl Merchant 2350-2356)
  227. Marion County Sheriff’s Office Incident Report #21OFF014588(02) by Detective I. Palau, dated
       6/30/21 (Pl Merchant 2357-2364)
  228. Marion County Sheriff’s Office Incident Report #21OFF020749(01) by Detective Nathan
       McClain, dated 10/1/21 (Pl Merchant 2365-2370)
  229. Marion County Sheriff’s Office Incident Report #21OFF023413(10) by Detective Nathan
       McClain (Pl Merchant 2371-2397)
  230. Marion County Sheriff’s Office Administrative Review Report #AR-21-231 re: Lieutenant Kristin
       Johnson #5163, dated 11/15/21 (Pl Merchant 2399-2416)
  231. Marion County Sheriff’s Office Administrative Review Report #DA-05-127 re: Officer William
       Konopinski #5673, dated 6/28/16 (Pl Merchant 2417-2421)
  232. Marion County Sheriff’s Office Administrative Review Report #9017 re: Officer Justin Kosinski
       #5573, dated 12/20/12 (Pl Merchant 2422-2428)
  233. Marion County Sheriff’s Office Observation Report #6560 re: Officer Justin Kosinski #5573,
       dated 2/8/11 (Pl Merchant 2429-2434)
  234. Marion County Sheriff’s Office Use of Force Report #UOF 19-148 re: Corey Merchant, dated
       5/18/19 (Pl Merchant 2435-2449)
  235. Marion County Sheriff’s Office Observation Report #OR17-063 re: Deputy Kristofer Valdez
       #6168, dated 11/16/17 (Pl Merchant 2532-2537)
  236. Marion County Sheriff’s Office Observation Report #OR18-010 re: Deputy Craig Savage #6172,
       dated 2/16/18 (Pl Merchant 2538-2542)
  237. Marion County Sheriff’s Office In-Custody Report, dated 10/1/21 – 11/30/21
  238. Various Newspaper Articles (Pl Merchant 2452-2505)
  239. Newspaper Article (Pl Merchant 2526-2531)
  240. Medical Examiner Districts 5 & 24 Report #2021-2744 re: Cory Merchant, dated 1/11/22 (Pl
       Merchant 2507-2522)
  241. State of Florida Bureau of Vital Statistics Certification of Death re: Cory Merchant, dated
       11/23/21 (Pl Merchant 4784)
  242. December 2022 Positions (Pl Merchant 2523)
  243. January 2022 Positions (Pl Merchant 2524)
  244. June 2021 Positions (Pl Merchant 2525)
Case 5:23-cv-00661-JSM-PRL           Document 52-2       Filed 07/03/25      Page 232 of 235
                                       PageID 2596



  245. Declaration of Terry Place, dated 10/26/23 (Pl Merchant 3564-3566)
  246. Declaration of Steven Murphy, dated 10/25/23 (Pl Merchant 3567-3568)
  247. Ocala Health System Medical Records re: Cory Merchant #G000789582 (Pl Merchant 3569-
       4693)
  248. FDLE Criminal History Information on the Internet re: Cory Merchant, dated 4/17/24 (Pl
       Merchant 4694-4727)
  249. Sprint Telephone Records/Billing re: Cory Merchant (Pl Merchant 4728-4783)
  250. Marion County Jail Video Visitation Report re: Cory Merchant, dated 7/7/20 – 6/23/21
  251. Circuit Court of Marion County Order Appointing Personal Representative 23CP000581AX (Pl
       Merchant 4785-4786)
  252. Marion County Sheriff’s Office 67 Case Photos re: MCSO21OFF023413
  253. Booking Property Photos (3)
  254. Marion County Sheriff’s Office Incident Report #99022042 by Deputy Alfred Greenway, dated
       7/8/1999
  255. Marion County Sheriff’s Office Incident Report #01009187 by Deputy Beckie Sirolli, dated
       3/15/01
  256. Marion County Sheriff’s Office Incident Report #01011340 by Deputy Timothy Ohara, dated
       4/1/01
  257. Marion County Sheriff’s Office Incident Report #04034398 by Deputy Niels Tonnesen, dated
       6/20/04
  258. Marion County Sheriff’s Office Incident Report #
  259. Marion County Sheriff’s Office Incident Report #05029238 by Deputy Christophe Erickson,
       dated 5/28/05
  260. Marion County Sheriff’s Office Incident Report #05030150, unknown author, dated 6/2/05
  261. Marion County Sheriff’s Office Incident Report #05046038 by Deputy Robert Youmans, dated
       8/26/05
  262. Marion County Sheriff’s Office Incident Report #07049249 by Deputy Elliott Chauncey, dated
       9/25/07
  263. Marion County Sheriff’s Office Incident Report #08063462 by Deputy Richard Peters, dated
       12/9/08
  264. Marion County Sheriff’s Office Incident Report #14016693 by Deputy Regina Graham, dated
       6/19/14
  265. Marion County Sheriff’s Office Incident Report #15028953 by Deputy Roy Johnson, dated
       9/2/15
  266. Marion County Sheriff’s Office Incident Report #16001728 by Deputy Kasey Newton, dated
       1/13/16
  267. Marion County Sheriff’s Office Incident Report #16003345 by Deputy David Christmas, dated
       1/25/16
  268. Marion County Sheriff’s Office Incident Report #16013038 by Deputy Dawn Heath, dated
       5/10/16
  269. Marion County Sheriff’s Office Incident Report #16016110 by Deputy Robert Rath, dated
       5/6/16
  270. Marion County Sheriff’s Office Incident Report #16016111 by Deputy Robert Rath, dated
       5/6/16
Case 5:23-cv-00661-JSM-PRL             Document 52-2         Filed 07/03/25       Page 233 of 235
                                         PageID 2597



  271. Marion County Sheriff’s Office Incident Report #18011135 by Deputy Kevin Johnson, dated
       4/26/18
  272. Marion County Sheriff’s Office Incident Report #18027202 by Detective Stephen Juliano, dated
       10/8/18
  273. Marion County Sheriff’s Office Incident Report #19016128, dated 6/11/19
  274. Marion County Sheriff’s Office Incident Report #19OFF020168 by Detective Daniel Pinder,
       dated 7/26/19
  275. Marion County Sheriff’s Office Incident Report #21OFF023413 by Detective Nathan McLain,
       dated 11/17/21
  276. Marion County Sheriff’s Office Detention Personnel Post Assignments, dated 11/6/21
  277. Incident Detail Report #2111070079, dated 11/7/21
  278. Marion County Sheriff’s Office Disciplinary Report History re: Cory Merchant, various booking
       numbers
  279. Marion County Sheriff’s Office Housing Movements Report re: Cory Merchant ID #A0092328
       Booking #1900010514
  280. Marion County Sheriff’s Office Inmate File re: Cory Merchant ID #A0092328 Booking
       #1900010514
  281. Marion County Sheriff’s Office Inmate Mail History re: Cory Merchant ID #A0092328 Booking
       #1900010514
  282. Marion County Sheriff’s Office Inmate Medical Records re: Cory Merchant ID #A0092328
  283. Marion County Sheriff’s Office Inmate Request Form re: Cory Merchant ID #A0092328, dated
       11/24/19
  284. Marion County Sheriff’s Office Inmate Request Form re: Cory Merchant ID #A0092328, dated
       4/11/20
  285. Marion County Sheriff’s Office Inmate Request Form re: Cory Merchant ID #A0092328, dated
       9/23/20
  286. Marion County Sheriff’s Office Inmate Request Form re: Cory Merchant ID #A0092328, dated
       12/15/20
  287. Marion County Sheriff’s Office Inspection of Confinement Log re: Cory Merchant
  288. Marion County Sheriff’s Office Telephone Call Detail Report re: Cory Merchant, dated 11/8/19
       – 12/22/21
  289. Marion County Sheriff’s Office Inmate File re: Eric Lutterloah ID#A0070076 Booking
       #2000004904
  290. Marion       County      Sheriff’s     Office      Probable        Cause      Affidavit     Case
       #MCSO20OFF009528/2005110789 by Detective B. Burleson #5542, dated 5/12/20
  291. Marion County Sheriff’s Office Lutterloah Inmate File 1 of 2
  292. Marion County Sheriff’s Office Lutterloah Inmate File 2 of 2
  293. Marion County Sheriff’s Office Alerts History Report re: Eric Lutterloah
  294. Marion County Sheriff’s Office Housing Movements Report re: Eric Lutterloah ID #A0070076
       Booking #2000004904
  295. Marion County Sheriff’s Office Inmate Classification Report re: Eric Lutterloah ID #A0070076
       Booking #2000004904
  296. Marion County Sheriff’s Office Inmate Classification Record re: Eric Lutterloah, dated 6/4/20
Case 5:23-cv-00661-JSM-PRL             Document 52-2         Filed 07/03/25      Page 234 of 235
                                         PageID 2598



   297. Marion County Sheriff’s Office Inmate Mail History re: Eric Lutterloah ID #AXXXXXXXX Booking
        #2000004904
   298. Marion County Sheriff’s Office Keep Aways Report re: Eric Lutterloah
   299. Marion County Sheriff’s Office Inmate Visitors Report re: Eric Lutterloah
   300. Marion County Sheriff’s Office PREA Sexual Violence Screening Form re: Eric Lutterloah, dated
        6/4/20
   301. Marion County Sheriff’s Office Courthouse Division Bailiff Unit Internal Manual, dated 10/2023
   302. Marion County Sheriff’s Office Daily Logs Location: G, dated 10/7/21 – 11/7/21
   303. Marion County Sheriff’s Office Daily Logs Location: G, dated 11/6/21 – 11/8/21
   304. Training Records re: Jerome Dukes
   305. Training Records re: Justin Kosinski
   306. Training Records re: Dellun Miller
   307. Personnel File re: Dellun Miller
   308. Marion County Sheriff’s Office Letter of Counseling re: Deputy Dellun Miller #4614, dated
        4/14/21
   309. Marion County Sheriff’s Office Memorandum re: Sergeant Dellun Miller #4614, dated
        12/29/20
   310. Marion County Sheriff’s Office Letter of Reprimand re: Deputy Dellun Miller #4614, dated
        7/7/14
   311. Deposition Transcript of Jerome Dukes, dated 9/12/24




Audio Recordings

   1. Interview: Inmate Posey (Pl Merchant 1923)
   2. Interview: Nurse Ramos (Pl Merchant 1924)
   3. Interview: Officer Dukes (Pl Merchant 1925)
   4. Interview: Officer Moore (Pl Merchant 1 926)
   5. Interview: Merchant (Pl Merchant 1948)
   6. Interview: Merchant (Pl Merchant 1949)
   7. Interview: Lightle Baker (Pl Merchant 1950)
   8. Interview: KJ Case, Lightle (Pl Merchant 2398)
   9. 911 Call: Swift Pace (Pl Merchant 2506)
   10. McPhadden Call (Pl Merchant 2543)
   11. Interview 210917 0907
   12. Interview 210917 0909
   13. Interview 210917 0903
   14. Interview 210917 0857
   15. Victim Interview 2021-09-29 12064
   16. Interview (Extraction 1.1) Deputy Kosinski
   17. Interview (Extraction 1.1) Tommie Merchant px
   18. Interview 211107 0732
   19. Interview 211107 0741
Case 5:23-cv-00661-JSM-PRL             Document 52-2        Filed 07/03/25   Page 235 of 235
                                         PageID 2599



   20. Interview 211107 0749
   21. Interview 211107 0757
   22. Interview Angel Acost-Cruz Audio 2021-11-07 06
   23. Interview Deputy Kosinski Audio 2021-11-07 054
   24. Interview Eric Lutterloah Audio 2021-11-07 0751
   25. Interview Frank Calabria Audio 2021-11
   26. Interview Ryan Glover Audio 2021-11-07
   27. Interview Jason Santore Audio 2021-11-07 065311 5
   28. Interview 211105 2021
   29. Interview 211126 0000
   30. Interview Nurses John Little and Natasha Sa
   31. Interview Robert Furr Audio 2-21-11-07 070418 5212
   32. Interview 211104 2205
   33. Interview 211108 2253
   34. 10.26.101.27-350e240a0a24651b3a001137b9
   35. 10.36.148.13-000be3770a24940d76e93442a




Video Surveillance

   1.   Posey Complaint Video, dated 9/24/16 (Pl Merchant 1927)
   2.   Baker Kimberly’s Center, dated 1/21/16 (Pl Merchant 1951)
   3.   Exhibit 16 Surveillance Video, dated 10/9/21
   4.   Exhibit 17 Surveillance Video, dated 9/10/21
   5.   Surveillance Video G-Pod, dated 9/10/21
   6.   Surveillance Video 1 Book-Cam-29-Rel-Ent-2020-09-12, dated 9/12/21
   7.   Surveillance Video 2 Book-Cam-29-Rel-Ent-2020-09-12, dated 9/12/21
